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   SEEGER WEISS LLP
   CHRISTOPHER A. SEEGER
   DAVID R. BUCHANAN
   55 Challenger Road, 6th Floor
   Ridgefield Park, NJ 07660
   Telephone: 212/584-0700
   212/584-0799 (fax)

   Local Counsel

   ROBBINS GELLER RUDMAN
    & DOWD LLP
   JAMES E. BARZ
   FRANK A. RICHTER
   200 South Wacker Drive, 31st Floor
   Chicago, IL 60606
   Telephone: 312/674-4674
   312/674-4676 (fax)

   Lead Counsel for Plaintiffs

   [Additional counsel appear on signature page.]

                        UNITED STATES DISTRICT COURT

                             DISTRICT OF NEW JERSEY

   In re VALEANT PHARMACEUTICALS ) Master No. 3:15-cv-07658-MAS-LHG
   INTERNATIONAL, INC. SECURITIES )
   LITIGATION                     ) CLASS ACTION
                                  )
                                  ) MEMORANDUM OF LAW IN
   This Document Relates To:      ) SUPPORT OF LEAD PLAINTIFF’S
                                  ) MOTION FOR CLASS
          ALL ACTIONS.            ) CERTIFICATION
                                  )




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            Lead Plaintiff Teachers Insurance and Annuity Association of America

    (“TIAA” or “Lead Plaintiff”) respectfully submits this memorandum of law in support

    of Lead Plaintiff’s Motion for Class Certification and requests that, pursuant to

    Federal Rule of Civil Procedure 23(a) and (b)(3), the Court certify this case as a class

    action, appoint TIAA and named plaintiffs City of Tucson together with and on behalf

    of the Tucson Supplemental Retirement System (“Tucson”) and IBEW Local Union

    481 Defined Contribution Plan and Trust (“IBEW”) (collectively referred to herein as

    “plaintiffs”) as Class Representatives, and appoint Robbins Geller Rudman & Dowd

    LLP (“Robbins Geller”) as Class Counsel and Seeger Weiss LLP (“Seeger Weiss”) as

    Liaison Class Counsel pursuant to Rule 23(g).1

    I.      INTRODUCTION
            Plaintiffs seek certification on behalf of a Class consisting of:

                   All persons who purchased or otherwise acquired Valeant equity
            securities, as defined in 15 U.S.C. §78c(11) and 17 C.F.R. §240.3a11-1,
            and senior notes between January 4, 2013 and March 15, 2016, inclusive

    1
       In accordance with this Court’s April 28, 2017 Memorandum Opinion and Order,
    defendants are Valeant Pharmaceuticals International, Inc. (“Valeant” or the
    “Company”), J. Michael Pearson, Howard Schiller, Robert L. Rosiello, Deborah A.
    Jorn, Ari S. Kellen, Ronald H. Farmer, Colleen Goggins, Robert A. Ingram, Anders
    Lönner, Theo Melas-Kyriazi, Robert N. Power, Norma Provencio, Katherine B.
    Stevenson, Jeffrey W. Ubben, Tanya Carro, PricewaterhouseCoopers LLP, Deutsche
    Bank Securities Inc., HSBC Securities (USA) Inc., Mitsubishi UFJ Securities (USA),
    Inc., DNB Markets Inc., Barclays Capital, Inc., Morgan Stanley & Co. LLC, RBC
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    L.P., ValueAct Capital Master Fund, L.P., ValueAct Co-Invest Master Fund, L.P., VA
    Partners I, LLC and ValueAct Holdings, L.P. (collectively, “defendants”).


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            (the “Class Period”), including all persons who purchased or otherwise
            acquired Valeant common stock in and/or traceable to the Company’s
            March 2015 stock offering, and all persons who purchased or otherwise
            acquired any of the following Valeant senior notes during the Class
            Period: (1) 5.375% senior notes due 2020; (2) 5.875% senior notes due
            2023; (3) 6.125% senior notes due 2025; (4) 5.5% senior notes due 2023;
            (5) 5.625% senior notes due 2021; (6) 6.75% senior notes due 2018; (7)
            7.5% senior notes due 2021; (8) 6.375% senior notes due 2020; (9)
            7.25% senior notes due 2022; (10) 6.75% senior notes due 2021; or
            (11) 7.0% senior notes due 2020.

                   Excluded from the Class are defendants, present or former
            executive officers of defendants and members of their immediate
            families, present or former directors of defendants and members of their
            immediate families, any entity in which a defendant has a controlling
            interest, and the legal representatives, heirs, successors or assigns of any
            such excluded party.

            The Third Circuit recognizes that “‘[c]lass actions are a particularly appropriate

    and desirable means to resolve claims based on the securities laws, since the

    effectiveness of the securities laws may depend in large measure on the application of

    the class action device.’” Yang v. Odom, 392 F.3d 97, 109 (3d Cir. 2004).2 Moreover,

    “private civil actions filed pursuant to the Federal securities laws are important; they

    ‘provide “a most effective weapon in the enforcement” of the securities laws and are

    “a necessary supplement to [Securities and Exchange] Commission action.”’” In re

    Lucent Techs. Sec. Litig., 194 F.R.D. 137, 144 (D.N.J. 2000). This case is no

    exception to that widely held premise.



    2
       Citations and footnotes are omitted and emphasis is added throughout unless
    otherwise noted.


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            While this case is unique in the size and scope of damages suffered by the

    proposed Class, it is similar to most securities fraud suits in being perfectly suited to

    class certification. The requirements of Rule 23(a) – numerosity, commonality,

    typicality and adequacy – are easily met: the proposed Class consists of thousands of

    injured investors dispersed throughout the country who were similarly injured by

    defendants’ false and misleading statements throughout the Class Period. And the

    proposed Class Representatives and proposed Class Counsel are adequate. As this

    Court has already recognized, TIAA and Tucson are large financial institutions whose

    Class Period purchases of Valeant equity securities and senior notes on the open

    market, as well as purchases of Valeant common stock directly in or traceable to the

    Company’s March 2015 stock offering, resulted in substantial losses. Both TIAA and

    Tucson have actively and zealously represented the interests of the Class to date,

    including defeating multiple motions to dismiss brought by defendants. TIAA and

    Tucson’s selected counsel, Robbins Geller, is one of the most successful and

    experienced securities class action law firms, committed to and capable of prosecuting

    and trying this action vigorously on behalf of the Class.

            In addition, common issues of fact and law are subject to common proof and

    plainly predominate over any individual issues. Because the respective markets for

    Valeant securities were efficient during the Class Period, all Class members are

    entitled to the fraud-on-the-market presumption of reliance under Basic Inc. v.


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    Levinson, 485 U.S. 224 (1988), reaffirmed in Halliburton Co. v. Erica P. John Fund,

    Inc., __U.S.__, 134 S. Ct. 2398, 2414 (2014) (“Halliburton II”). Further, the

    accompanying expert report by Professor Steven P. Feinstein (“Feinstein Rpt.”)

    regarding the efficiency of the market for Valeant common stock and options and the

    report by Cynthia L. Jones, CFA (“Jones Rpt.”) regarding the efficiency of the market

    for Valeant senior notes establish that common issues predominate with respect to the

    element of reliance. The evidence presented demonstrates that the market for Valeant

    securities was efficient during the Class Period.3

    II.     THE PROPOSED CLASS REPRESENTATIVES
            The proposed Class Representatives, TIAA and Tucson, have already expended

    substantial time and effort in informing themselves about this case, working with

    counsel to vigorously prosecute this action on behalf of the Class they represent and

    participating in discovery.    TIAA and Tucson have represented the Class by

    overseeing the litigation and communicating with Lead Counsel. TIAA and Tucson

    have also responded to defendants’ discovery requests, and have worked, and will

    continue to work, aggressively to obtain critical evidence supporting the Class’s

    claims.

            The proposed Class Representatives are:

    3
       Because this Court is familiar with the underlying facts of this case, plaintiffs do
    not repeat them here. See In re Valeant Pharm. Int’l, Inc. Sec. Litig., No. 15-7658
    (MAS) (LHG), 2017 WL 1658822, at *2-*9 (D.N.J. Apr. 28, 2017).


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            Lead Plaintiff TIAA.4 TIAA is a large institutional investor headquartered in

    New York City, New York. ¶315; see also Declaration of Christopher A. Seeger in

    Support of Lead Plaintiff’s Motion for Class Certification (“Seeger Decl.”), Ex. 1, ¶B,

    filed concurrently herewith. TIAA was established in 1918 as a joint stock life

    insurance company and has since grown to become one of the largest retirement

    systems in the world based on assets under management. ¶31. TIAA services the

    nation’s education and research communities. Id. As of October 31, 2014, it served

    over five million individuals and managed over $500 billion in assets. During the

    Class Period, TIAA purchased Valeant debt and equity securities at artificially inflated

    prices. Id.; see also ECF No. 80-2.

            Tucson.    The Tucson Supplemental Retirement System, also a large

    institutional investor, is a defined benefit pension plan, qualified under Internal


    4
       TIAA consists of: Active Extension Fund III, LLC; Active Extension Analyst
    Market Neutral, LLC Fund/Active Extension Fund V; General Act Pension
    (“TIAA”)/Teachers Insurance and Annuity Association of America; CREF Growth
    Account; CREF Stock Account; CREF Global Equities Account; CREF Social Choice
    Account; CREF Bond Market Account; TIAA-CREF Growth & Income Fund; TIAA-
    CREF Large-Cap Growth Fund; TIAA-CREF Enhanced Large-Cap Value Index
    Fund; TIAA-CREF Life Growth Equity Fund; TIAA-CREF Life Growth & Income
    Fund; TIAA-CREF Life Bond Fund; TIAA-CREF Bond Fund; TIAA-CREF Bond
    Plus Fund; TIAA-CREF High-Yield Fund; TIAA-CREF Social Choice Bond Fund;
    TIAA-CREF Short-Term Bond Fund; and TIAA Global Public Investments, LLC.
    5
        Unless otherwise indicated, paragraph references (“¶_” or “¶¶_”) are to the
    Consolidated Complaint for Violations of the Federal Securities Laws (“Complaint”),
    filed June 24, 2016 (ECF No. 80).


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    Revenue Code §401(a) and established by the City of Tucson charter in 1953 to

    provide eligible city employees with retirement benefits. ¶32; see also Seeger Decl.,

    Ex. 2, ¶B. The Plan is headquartered in Tucson, Arizona. Tucson also purchased

    Valeant securities at artificially inflated prices, and it purchased stock in and/or

    traceable to Valeant’s 2015 offering. Id.; see also ECF No. 80-3.

            IBEW. IBEW is a large institutional investor. IBEW also purchased Valeant

    common stock at artificially inflated prices during the Class Period, including on June

    11, 2015, and was damaged thereby. See FAC, ¶33; see also Seeger Decl., Ex. 3, ¶B.6

    III.    THE PROPOSED CLASS SATISFIES THE STANDARDS FOR
            CLASS CERTIFICATION UNDER RULE 23
            To be certified, a putative class must demonstrate that it satisfies all four of the

    requirements of Rule 23(a) and one of the categories of Rule 23(b) of the Federal

    Rules of Civil Procedure. In re Constar Int’l Inc. Sec. Litig., 585 F.3d 774, 780 (3d

    Cir. 2009). Following Supreme Court precedent, the Third Circuit makes clear that

    “[a]lthough the court must undertake a rigorous analysis at the certification stage and

    consider some merits-related issues, the class certification stage is not the place for a

    6
       On September 20, 2018, Lead Plaintiff filed the First Amended Consolidated
    Complaint for Violations of the Federal Securities Laws (“FAC”), which added claims
    pursuant to §§20A and 20(a) of the Securities Exchange Act of 1934 (“Exchange
    Act”) (Counts III and IV) against the Insider Trading Defendants, consisting of
    defendant Ubben and newly named defendants ValueAct Capital Management L.P.,
    ValueAct Capital Master Fund, L.P., ValueAct Co-Invest Master Fund, L.P., VA
    Partners I, LLC and ValueAct Holdings, L.P. ECF No. 352. IBEW is an additional
    named plaintiff in the September 20, 2018 FAC.


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    decision on the merits.” Williams v. Jani-King of Phila. Inc., 837 F.3d 314, 322 (3d

    Cir. 2016) (citing Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466

    (2013)). Because all of the requirements of Rule 23 have been met here, the Court

    should certify the proposed Class.

            A.    The Proposed Class Satisfies the Standards for Class
                  Certification Under Rule 23(a)

                  1.    The Class Is so Numerous that Joinder Is
                        Impracticable

            The numerosity requirement mandates that the proposed Class be “so numerous

    that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). Joinder “‘need

    not be impossible to satisfy Rule 23’” but can simply be difficult or inconvenient.

    Korrow v. Aaron’s Inc., No. 10-6317 (MAS)(LHG), 2013 WL 5811496, at *7 (D.N.J.

    July 31, 2013) (Shipp, J.). And while there is no “‘minimum number,’” “the Rule

    23(a) numerosity requirement is generally met” where a “class is likely to exceed

    forty members.” Id. (citing Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 595 (3d

    Cir. 2012)). Courts in this Circuit have also found that the numerosity requirement “is

    readily” met in securities cases involving an issuer whose stock trades publicly on the

    New York Stock Exchange (“NYSE”). City of Sterling Heights Gen. Emps.’ Ret. Sys.

    v. Prudential Fin., Inc., No. 12-5275, 2015 WL 5097883, at *8 (D.N.J. Aug. 31,

    2015); see also In re Schering-Plough Corp./ENHANCE Sec. Litig., No. 8-397

    (DMC)(JAD), 2012 WL 4482032, at *3 (D.N.J. Sept. 25, 2012).



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            There are far more than 40 members in the proposed Class here. Throughout

    the Class Period, Valeant averaged: (1) 333.1 million shares of common stock

    outstanding; (2) a market capitalization of $44.2 billion; and (3) a daily trading

    volume of 3.8 million shares on the NYSE. Feinstein Rpt., ¶¶49, 80, 83; see also

    McIntire v. China MediaExpress Holdings, Inc., 38 F. Supp. 3d 415, 423 (S.D.N.Y.

    2014); Wilkof v. Caraco Pharm. Labs., Ltd., 280 F.R.D. 332, 338 (E.D. Mich. 2012).

            There were also at least 1,337 major institutions that reported ownership of

    Valeant common stock during the Class Period. Feinstein Rpt., ¶58; see also

    Smilovits v. First Solar, Inc., 295 F.R.D. 423, 428 (D. Ariz. 2013). Additionally, over

    $17 billion (par value) of Valeant senior notes were issued and/or outstanding during

    the Class Period. Jones Rpt., ¶23; see also In re NII Holdings, Inc. Sec. Litig., 311

    F.R.D. 401, 406 (E.D. Va. 2015). Thus, the numerosity requirement is satisfied.

                  2.     Common Questions of Law and Fact Exist
            Rule 23(a)(2) requires the existence of “questions of law or fact common to the

    class.” Fed. R. Civ. P. 23(a)(2); In re NFL Players Concussion Injury Litig., 821 F.3d

    410, 426-27 (3d Cir. 2016), cert. denied, __ U.S. __, 137 S. Ct. 591 (2016). As the

    Third Circuit recently emphasized, “[m]eeting this requirement is easy enough: ‘[W]e

    have acknowledged commonality to be present even when not all members of the

    plaintiff class suffered an actual injury, when class members did not have identical

    claims, and, most dramatically, when some members’ claims were arguably not even


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    viable.’” Id. at 427 (quoting In re Cmty. Bank of N. Va. Mortg. Lending Practices

    Litig., PNC Bank NA, 795 F.3d 380, 397 (3d Cir. 2015), cert. denied, __ U.S. __, 136

    S. Ct. 1167 (2016)). To satisfy Rule 23(a)(2), a plaintiff need only demonstrate that

    the “‘common contention . . . must be of such a nature that it is capable of classwide

    resolution – which means that determination of its truth or falsity will resolve an issue

    that is central to the validity of each one of the claims in one stroke.’” Alfaro v. First

    Advantage LNS Screening Sols., Inc., No. 15-5813 (MAS) (TJB), 2017 WL 3567974,

    at *2 (D.N.J. Aug. 16, 2017) (Shipp, J.) (quoting Wal-Mart Stores, Inc. v. Dukes, 564

    U.S. 338, 350 (2011)).

            Where, as here, plaintiffs allege injury from similar material misrepresentations

    and omissions, commonality is satisfied. See Schering-Plough, 2012 WL 4482032, at

    *4; W. Palm Beach Police Pension Fund v. DFC Glob. Corp., No. 13-6731, 2016 WL

    4138613, at *8 (E.D. Pa. Aug. 4, 2016).

            Here, “[s]ince a single question of fact suffices to satisfy commonality, it is

    easily met.” Li v. Aeterna Zentaris, Inc., 324 F.R.D. 331, 339 (D.N.J. 2018).

    Specifically, plaintiffs allege that defendants, inter alia, engaged in deceptive “price

    gouging” and other deceptive reimbursement and sales practices facilitated by the

    creation of a “‘secret network of specialty pharmacies’” and concealed these practices

    “through materially false and misleading statements and omissions,” including the

    issuance of materially misstated financials publicly filed during the Class Period with


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    the U.S. Securities and Exchange Commission (“SEC”). See Valeant, 2017 WL

    1658822, at *2-*8. Virtually all of the questions of law or fact are common to Class

    members, for example:

                 Whether defendants’ statements and omissions violated the federal
                  securities laws;

                 Whether the Exchange Act Defendants (defined in ¶53) acted with the
                  requisite intent when making material misrepresentations or omissions;

                 Whether Valeant’s interim and year-end financial statements for 2014
                  and 2015 were materially false and/or misleading; and

                 Whether investors suffered damages when the artificial inflation in the
                  price of Valeant securities, created or maintained by defendants’ false
                  statements and/or omissions, was eliminated.

            Evidentiary proof of these claims will necessarily be common to all members of

    the Class. Under similar circumstances, courts have routinely found the commonality

    requirement satisfied. See, e.g., Dartell v. Tibet Pharm., Inc., No. 14-3620, 2016 WL

    718150, at *3 (D.N.J. Feb. 22, 2016); DFC Glob., 2016 WL 4138613, at *8. Indeed,

    there is no doubt that absent Class members would have to prove virtually identical

    facts and address the same legal issues if they pursued their claims individually.

    Accordingly, the proposed Class satisfies Rule 23(a)(2)’s commonality requirement.

                  3.    The Proposed Class Representatives’ Claims Are
                        Typical of Those of the Class

            Rule 23(a)(3) requires a showing that “the claims or defenses of the

    representative parties are typical of the claims or defenses of the class.” Fed. R. Civ.

    P. 23(a)(3). Typicality “‘ensures the interests of the class and the class representatives

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    are aligned “so that the latter will work to benefit the entire class through the pursuit

    of their own goals.”’” NFL Players, 821 F.3d at 427-28. The Third Circuit has “set a

    ‘low threshold’ for typicality” so that “‘“[e]ven relatively pronounced factual

    differences will generally not preclude a finding of typicality where there is a strong

    similarity of legal theories” or where the claim arises from the same practice or course

    of conduct.’” Id. at 428; Alfaro, 2017 WL 3567974, at *3 (same).

            Finding Rule 23(a)(3)’s typicality requirement satisfied, courts in this Circuit

    and throughout the country have certified securities fraud class actions where

    purchasers of different types of securities issued by the same company were included

    in the class definition. See Schering-Plough, 2012 WL 4482032, at *12 (common

    stock, preferred stock and options); In re DVI Inc. Sec. Litig., 249 F.R.D. 196, 220

    (E.D. Pa. 2008) (“DVI I”) (common stock and bonds), aff’d, 639 F.3d 623 (3d Cir.

    2011).7 Courts in the Third Circuit have also repeatedly certified securities class

    actions alleging claims under both the Exchange Act and the Securities Act of 1933

    (“Securities Act”). See Schering-Plough, 2012 WL 4482032, at *2; Smith v. Suprema

    Specialties, Inc., No. 02-168 (WHW), 2007 WL 1217980, at *2-*3 (D.N.J. Apr. 23,

    7
       See also NII Holdings, 311 F.R.D. at 414 (common stock and bonds); In re Winstar
    Commc’ns Sec. Litig., 290 F.R.D. 437, 451-52 (S.D.N.Y. 2013) (same); Bennett v.
    Sprint Nextel Corp., 298 F.R.D. 498, 502-03 (D. Kan. 2014) (same); Plumbers &
    Pipefitters Nat’l Pension Fund v. Burns, 967 F. Supp. 2d 1143, 1163-64 (N.D. Ohio
    2013) (same); In re Juniper Networks Sec. Litig., 264 F.R.D. 584, 594-95 (N.D. Cal.
    2009) (same); In re Countrywide Fin. Corp. Sec. Litig., 273 F.R.D. 586, 624-25 (C.D.
    Cal. 2009) (same).


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    2007); DFC Glob., 2016 WL 4138613, at *15; In re Wilmington Tr. Sec. Litig., 310

    F.R.D. 243, 244 (D. Del. 2015); In re DaimlerChrysler AG Sec. Litig., 216 F.R.D.

    291, 296 (D. Del. 2003).

            Plaintiffs assert claims typical of the absent Class members. The Complaint

    alleges that defendants made material misrepresentations and omitted material facts

    necessary to make their public statements not false or misleading. ¶¶133-230, 314-

    385, 678-711. As a result of the disclosure of defendants’ misconduct, the prices of

    Valeant securities plummeted. ¶¶473-528. Thus, the proposed Class Representatives

    – each of whom purchased or otherwise acquired both Valeant equity and debt

    securities during the Class Period – and all other Class members were damaged by the

    same alleged course of conduct. Li, 324 F.R.D. at 340. In fact, the proposed Class

    Representatives’ claims are not merely similar to those of the other Class members,

    they are virtually identical and will be proven by common evidence. Accordingly, the

    typicality requirement of Rule 23(a)(3) is satisfied.

                  4.    The Proposed Class Representatives Will Fairly and
                        Adequately Protect the Interests of the Class
            The adequacy requirement of Rule 23(a)(4) demands that “the representative

    parties will fairly and adequately protect the interests of the class.” Fed. R. Civ. P.

    23(a)(4). As the Third Circuit holds, “[t]he adequacy requirement primarily examines

    two matters: the interests and incentives of the class representatives, and the

    experience and performance of class counsel.” Cmty. Bank, 795 F.3d at 392; see also

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    NFL Players, 821 F.3d at 431.         Moreover, “‘[t]he burden to prove that the

    representation is not adequate rests with the party challenging the class’

    representation.’” Alfaro, 2017 WL 3567974, at *3.

            As demonstrated above, the typicality of the proposed Class Representatives’

    claims and the commonality of interest presented by the common questions of law and

    fact ensure the proposed Class Representatives’ adequate representation of the

    proposed Class. See §III.A.2.-3., supra. TIAA, Tucson and IBEW purchased Valeant

    equity and debt securities in the open market, and Tucson also purchased common

    stock in and/or traceable to Valeant’s March 2015 offering of common stock. Each of

    the proposed Class Representatives is alleged to have been damaged by the acquisition

    of Valeant securities at prices that were artificially inflated. See ¶31; see also ECF

    No. 80-2 (TIAA Certification); ECF No. 80-3 (Tucson Certification); ECF No. 352 at

    pages 305-07 of 307 (IBEW Certification). Accordingly, TIAA, Tucson and IBEW’s

    interests are aligned with those of the absent Class members who also purchased or

    acquired Valeant securities during the Class Period and who now seek redress for

    defendants’ violations of the federal securities laws.

            TIAA and Tucson have already successfully represented the interests of the

    Class and demonstrated their adequacy, assertiveness, and commitment to zealously

    prosecute this action. Since the Court appointed TIAA Lead Plaintiff on May 31,

    2016, it has continuously overseen the litigation and worked with counsel to protect


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    the Class members’ interests. See Seeger Decl., Ex. 1, ¶C. Since being added as a

    plaintiff, Tucson has done the same. Seeger Decl., Ex. 2, ¶C. For example, both

    TIAA and Tucson have overseen: (1) the filing of an extensively detailed Complaint

    with a comprehensive set of claims; (2) the defending of those claims through

    voluminous motion to dismiss briefing; and (3) Lead Counsel’s vigorous pursuit of

    critical discovery from defendants and important third parties. Seeger Decl., Ex. 1,

    ¶C, Ex. 2, ¶C. Additionally, TIAA and Tucson searched for and produced thousands

    of pages of documents in response to defendants’ discovery requests. See Seeger

    Decl., Ex. 1, ¶C, Ex. 2, ¶C. Thus, the proposed Class Representatives will more than

    adequately protect the interests of the Class, as they have to date.

            TIAA, Tucson and IBEW have also engaged Robbins Geller, a “proposed class

    counsel [that] is highly qualified to represent the class.” Sterling Heights, 2015 WL

    5097883, at *9; see also Grodko v. Cent. European Distrib. Corp., No. 12-5530 (JBS-

    KMW), 2012 WL 6595931, at *10 (D.N.J. Dec. 17, 2012) (“Robbins Geller has

    extensive experience with complex securities litigation and a successful track

    record.”). Robbins Geller possesses extensive experience litigating securities class

    actions both before courts in this Circuit and throughout the country, and has

    successfully prosecuted hundreds of securities class actions on behalf of injured

    investors. See In re Enron Corp. Sec., Derivative & ERISA Litig., 586 F. Supp. 2d

    732, 790 (S.D. Tex. 2008) (noting that the court considered Robbins Geller “‘a lion’ at


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    the securities bar on the national level”). The firm has achieved numerous appellate

    victories for investors, including several notable securities cases decided by the Third

    Circuit. See, e.g., Constar, 585 F.3d at 774; Alaska Elec. Pension Fund v. Pharmacia

    Corp., 554 F.3d 342 (3d Cir. 2009); Institutional Inv’rs Grp. v. Avaya, Inc., 564 F.3d

    242 (3d Cir. 2009); In re Merck & Co. Sec., Derivative & ERISA Litig., 493 F.3d 393

    (3d Cir. 2007); see also Seeger Decl., Ex. 4 (firm resume).

            Liaison Counsel Seeger Weiss also has been recognized for its extensive

    experience prosecuting complex class actions in this Circuit. See In re NFL Players’

    Concussion Injury Litig., 307 F.R.D. 351, 373 (E.D. Pa. 2015), aff’d, 821 F.3d 410 (3d

    Cir. 2016); see also In re FieldTurf Artificial Turf Mktg. & Sales Practices Litig., No.

    3:17-md-02779-MAS-TJB (D.N.J. Aug. 22, 2017) (ECF No. 61); Lehigh Cty. Emps.’

    Ret. Sys. v. Novo Nordisk A/S, No. 3:17-cv-00209-BRM-LHG (D.N.J. June 1, 2017)

    (ECF No. 42); In re Liquid Aluminum Sulfate Antitrust Litig., No. 2:16-md-02687-

    JLL-JAD (D.N.J. Apr. 8, 2016) (ECF No. 139); Genesee Cty. Emps.’ Ret. Sys. v.

    Merck & Co., Inc., No. 2:08-cv-2177-ES-JAD (D.N.J. July 3, 2008) (ECF No. 18).

            Here, Robbins Geller and Seeger Weiss extensively investigated defendants’

    conduct, successfully opposed all five of defendants’ motions to dismiss, pressed for

    discovery from defendants and over 100 relevant third parties, and litigated vigorously

    against determined and experienced defense counsel. In short, Lead and Liaison

    Counsel are qualified, experienced, and able to prosecute this action.


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                  5.     The Court Should Appoint Lead Plaintiffs’ Choice of
                         Counsel as Class Counsel Under Rule 23(g)

            In addition to satisfying the adequacy prong of Rule 23(a)(4), consideration of

    Rule 23(g) supports appointing Robbins Geller as Class Counsel and Seeger Weiss as

    Liaison Class Counsel. Under Rule 23(g)(4), the Court shall appoint counsel who will

    fairly and adequately represent the Class. Because “the [Private Securities Litigation

    Reform Act (‘PSLRA’)] provides that the lead plaintiff ‘shall, subject to the approval

    of the court, select and retain counsel to represent the class,’”8 there is “a strong

    presumption in favor of approving a properly-selected lead plaintiff’s decisions as to

    counsel selection and counsel retention.” In re Cendant Corp. Litig., 264 F.3d 201,

    218, 276 (3d Cir. 2001). Accordingly, and for the reasons stated above regarding

    counsel’s experience and resources, TIAA’s, Tucson’s and IBEW’s selection of

    Robbins Geller and Seeger Weiss as Class Counsel and Liaison Counsel, respectively,

    should be approved.

            B.    The Proposed Class Satisfies the Standard for Class
                  Certification Under Rule 23(b)(3)

            Having met the Rule 23(a) prerequisites, the present action also satisfies Rule

    23(b)(3)’s requirements that common questions of law or fact predominate over

    individual questions and that a class action is the superior method to adjudicate this

    dispute. See Amgen, 568 U.S. at 460.

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        15 U.S.C. §78u-4(a)(3)(B)(v).


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                  1.    The Class’s Claims Are Based on Common Factual
                        and Legal Issues

            Under Rule 23(b)(3), predominance exists where the proposed class is

    “‘sufficiently cohesive to warrant adjudication by representation.’” Id. at 469.

    Moreover, “‘[t]he presence of individual questions does not per se rule out a finding

    of predominance,’” and as long as “issues common to the class overwhelm individual

    issues, predominance should be satisfied.” Neale v. Volvo Cars of N. Am., LLC, 794

    F.3d 353, 371 (3d Cir. 2015). Indeed, the Supreme Court said as much when it

    recently held:

            When “one or more of the central issues in the action are common to the
            class and can be said to predominate, the action may be considered
            proper under Rule 23(b)(3) even though other important matters will
            have to be tried separately, such as damages or some affirmative
            defenses peculiar to some individual class members.”

    Tyson Foods, Inc. v. Bouaphakeo, __ U.S. __, 136 S. Ct. 1036, 1045 (2016).

            The Class’s claims depend on the same factual circumstances – i.e., a single

    wrongful course of conduct that will need to be proven for each claim to succeed.

    ¶¶132-230. Plaintiffs allege that this course of conduct artificially inflated (or

    artificially maintained) the prices of Valeant equity and debt securities. ¶¶473-474.

    And when the truth regarding Valeant’s financial condition, deceptive business

    practices, and false accounting was revealed through a series of disclosures between

    September 28, 2015 and June 7, 2016, the price of Valeant securities fell and Class

    members were damaged. ¶¶231-301, 475-528.


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            The Class’s claims also depend on proof of common legal issues. For instance,

    to establish liability for its Securities Act claims, the Class must prove that defendants

    made materially false or misleading statements of fact in the registration statements.

    15 U.S.C. §§77k, 77l(a)(2). The Securities Act claims focus on the contents of the

    March 2015 offering registration statement and are just as well-suited for class

    treatment. See Constar, 585 F.3d at 783; Dartell, 2016 WL 718150, at *4.

            Likewise, the Class’s Exchange Act claims also depend on proof of the same

    falsity as the Securities Act claims, as well as other common legal issues. The

    Supreme Court holds that questions of whether a defendant knowingly and/or

    recklessly made public material misstatements and/or omissions (i.e., the scienter,

    falsity and materiality elements of a §10(b) claim) and whether the revelation(s) of the

    alleged fraud proximately caused that company’s stock price to decline (i.e., the loss

    causation element) are each common questions of law and fact that predominate over

    individualized ones. See Amgen, 568 U.S. at 467-70, 475; Erica P. John Fund, Inc. v.

    Halliburton Co., 563 U.S. 804, 813 (2011). With respect to the element of reliance,

    the predominance requirement is typically met in a securities fraud class action

    because the plaintiffs are entitled to rely on the fraud-on-the-market presumption of

    reliance. See Basic, 485 U.S. at 241; Halliburton II, 134 S. Ct. at 2405, 2408; Amgen,

    568 U.S. at 461. The fraud-on-the-market theory “holds that ‘the market price of

    shares traded on well-developed markets reflects all publicly available information,


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    and, hence, any material misrepresentations,’” and that whenever an “investor buys or

    sells stock at the market price, his ‘reliance on any public material misrepresentations

    . . . may be presumed for purposes of a Rule 10b-5 action.’” Halliburton II, 134 S. Ct.

    at 2408 (quoting Basic, 485 U.S. at 246-47).

                  2.     Valeant Securities Traded in Efficient Markets
                         During the Class Period
            During the Class Period, Valeant stock, including its preferred stock and option

    contracts, and Valeant senior notes were widely traded in efficient markets. To

    establish that the markets for Valeant securities were efficient, entitling plaintiffs to

    the fraud-on-the-market presumption, the Cammer factors are generally considered.

    Sterling Heights, 2015 WL 5097883, at *6 (citing Cammer v. Bloom, 711 F. Supp.

    1264, 1286-87 (D.N.J. 1989)). The Cammer factors are meant to be a non-exhaustive

    list of relevant factors. See, e.g., In re DVI, Inc. Sec. Litig., 639 F.3d 623, 634 n.16

    (3d Cir. 2011) (“DVI II”); Local 703, I.B. of T. Grocery & Food Emps. Welfare Fund

    v. Regions Fin. Corp., 762 F.3d 1248, 1255 (11th Cir. 2014); Waggoner v. Barclays

    PLC, 875 F.3d 79, 98 (2d Cir. 2017), cert. denied, __ U.S. __, 138 S. Ct. 1702 (2018);

    In re Petrobras Sec. Litig., 862 F.3d 250, 278 (2d Cir. 2017).

            In assessing market efficiency, courts within the Third Circuit also frequently

    utilize three additional factors, typically referred to as the Krogman/Unger factors.

    Sterling Heights, 2015 WL 5097883, at *6.




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            In support of TIAA’s motion, plaintiffs offer expert declarations from Professor

    Steven P. Feinstein and Cynthia L. Jones, CFA. Professor Feinstein is a Professor of

    Finance at Babson College with a Ph.D. in Economics from Yale University.

    Feinstein Rpt., ¶¶6-16. As the founder and president of the financial consulting firm,

    Crowninshield, Professor Feinstein is an expert in the financial markets and has been

    asked to analyze and render an opinion on market efficiency regarding Valeant

    common stock and options traded during the Class Period. Id., ¶¶1-5. Cynthia Jones

    has an M.B.A. from Rutgers University, and is the vice president of the financial

    consulting firm, Monument Economics Group. Ms. Jones has been qualified in

    federal district courts to provide opinions concerning class certification matters,

    including market efficiency. Jones Rpt., ¶¶6-8. Here, Ms. Jones has been asked to

    analyze and render an opinion on market efficiency regarding Valeant senior notes

    traded during the Class Period. Id., ¶¶1-5.

            Professor Feinstein analyzed the market for Valeant common stock and options

    using the Cammer and Krogman/Unger factors. Feinstein Rpt., ¶¶37-213. In addition

    to analyzing Valeant stock trading information and SEC filings, Professor Feinstein

    undertook an economic event study to test whether the price of Valeant common stock

    and options reacted to material and unexpected, Valeant-related news. Id. Based on

    his analysis and studies, Professor Feinstein concludes that, during the Class Period,




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    Valeant common stock and options satisfy all of the Cammer and Krogman/Unger

    factors, strongly demonstrating market efficiency. Id., ¶¶17-20.

            Ms. Jones similarly analyzed the markets for the Valeant senior notes using the

    Cammer and Krogman factors. Ms. Jones also undertook economic event studies for

    each of the Valeant senior notes to test whether the price of these securities reacted to

    material and unexpected, Valeant-related news. Jones Rpt., ¶¶33-96. Ms. Jones

    concluded that each of the Valeant senior notes traded in efficient markets during the

    Class Period. Id.

                         a.    Valeant’s NYSE Listing Is Strong Evidence of
                               Market Efficiency

            Throughout the Class Period, Valeant common stock was listed and traded on

    one of the largest and most developed securities markets in the world, the NYSE. See

    Feinstein Rpt., ¶¶25, 64. Congress and the courts, including the Supreme Court,

    recognize that the price of stocks traded on such well-developed markets generally

    reflects publicly available information, the hallmark of an efficient market. In Basic,

    the Supreme Court noted that “[i]n drafting . . . [the Exchange Act], Congress

    expressly relied on the premise that securities markets are affected by information,

    and enacted legislation to facilitate an investor’s reliance on the integrity of those

    markets.” Basic, 485 U.S. at 445-46.

            Consistent with Basic, courts routinely recognize that a stock’s listing on the

    NYSE is strong evidence that the market for the stock is efficient. See, e.g., DVI II,

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    639 F.3d at 634 (“[T]he listing of a security on a major exchange such as the NYSE or

    the NASDAQ weighs in favor of a finding of market efficiency.”); In re Merck & Co.,

    Sec., Derivative & “ERISA” Litig., No. 1658 (SRC), 2013 WL 396117, at *11 (D.N.J.

    Jan. 30, 2013) (“In this case, however, a Cammer analysis is not required for Plaintiffs

    to establish market efficiency. It is undisputed that Merck stock trades on the New

    York Stock Exchange (‘NYSE’), consistently recognized by courts – including the

    Third Circuit and other United States Courts of Appeals – as ‘open and developed’

    and thus ‘well suited for application of the fraud on the market theory.’”); In re

    Comput. Scis. Corp. Sec. Litig., 288 F.R.D. 112, 119 (E.D. Va. 2012); Lumen v.

    Anderson, 280 F.R.D. 451, 459-60 (W.D. Mo. 2012); Feinstein Rpt., ¶64.

                        b.     Cammer Factor 1: Weekly Trading Volume
            For Cammer Factor 1, an “‘average weekly trading of two percent or more of

    the outstanding shares would justify a strong presumption that the market for the

    security is an efficient one; one percent would justify a substantial presumption.’” In

    re Merck & Co. Inc. Vytorin/Zetia Sec. Litig., No. 08-2177 (DMC)(JAD), 2012 WL

    4482041, at *5 (D.N.J. Sept. 25, 2012). High trading volume “is often seen as

    indicative of efficiency because ‘many investors are executing trades on the basis of

    newly available or disseminated corporate information.’” DVI I, 249 F.R.D. at 208

    (quoting Cammer, 711 F. Supp. at 1286). The trading volume of Valeant equity and

    debt securities during the Class Period satisfies this factor.


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            The weekly trading volume during the Class Period of 19.1 million shares,

    equal to 5.6% of all Valeant shares outstanding, far exceeds the 2% threshold

    established in Cammer as indicative of market efficiency. Feinstein Rpt., ¶¶49-51; see

    also Vytorin/Zetia, 2012 WL 4482041, at *5; Schering-Plough, 2012 WL 4482032, at

    *5.

            Valeant senior notes were actively traded. Jones Rpt., ¶¶37-42. Concerns

    about transparency issues in the over-the-counter market for bonds have been largely

    eliminated since the inception of FINRA’s TRACE system, which publicly reports

    trading information for the bond market. Id., ¶27. Based on the data collected by

    FINRA, the average weekly trading volumes for Valeant bonds during the Class

    Period ranged from $5.9 million for the 7.25% Notes Due 2025 to $122.2 million for

    the 6.125% Notes Due 2025, with an average turnover ranging from 0.9% to 3.8%.

    Id., ¶¶39-40; see also id., Ex. 8. The higher trader activity exhibited by the newly

    issued Valeant bonds is consistent with findings in the pertinent academic literature on

    trading activity for corporate bonds and findings by courts certifying classes of debt

    security investors. Id., ¶39 & n.36; see also DVI I, 249 F.R.D. at 214 (1.25% average

    weekly trading volume); Burns, 967 F. Supp. 2d at 1161 (1% to 2% for nine bonds);

    NII Holdings, 311 F.R.D. at 410; Bennett, 298 F.R.D. at 508.

            Ms. Jones also found that the aggregate trading volume as a percentage of par

    value (weighted by the amount issued for each Valeant note) was 2.1%, amply


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    satisfying Cammer’s threshold for a “‘substantial presumption’” of market efficiency

    despite differences in stock and bond market turnover. Jones Rpt., ¶40; see also DVI

    I, 249 F.R.D. at 209.

                        c.     Cammer Factor 2: Analyst and Media Coverage
            Security analysts serve to facilitate information flow and promote efficiency,

    and only a few analysts are necessary to strengthen the presumption of efficiency. In

    fact, according to economic literature, coverage by just one or two analysts

    strengthens the presumption of efficiency. Feinstein Rpt., ¶56; see also DVI I, 249

    F.R.D. at 209 (coverage by three analysts found sufficient); Winstar, 290 F.R.D. at

    446 (same). Here, at least 29 firms covered Valeant during the Class Period,

    publishing hundreds of reports on the Company’s business as a whole, reporting on

    information defendants provided to the market in SEC filings, press releases, and

    conference calls with analysts and investors. The information in these reports was

    equally available and relevant to both equity and bond investors. See Jones Rpt.,

    ¶¶43-48; id., Ex. 10; see also Feinstein Rpt., ¶¶52-57; Winstar, 290 F.R.D. at 446

    (noting that analysts’ coverage of the company as a whole was instructive to finding

    efficiency for both bonds and stock); Burns, 967 F. Supp. 2d at 1150, 1162. The

    analyst coverage of Valeant easily satisfies this Cammer factor and supports a finding

    that the markets for Valeant securities were efficient. See McIntire, 38 F. Supp. 3d at

    431.


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            Additionally, Valeant’s senior note investors also benefited from detailed and

    comprehensive reports issued by rating agencies such as Moody’s Investor Service

    (“Moody’s”) and Standard & Poor’s Rating Services (“S&P”), which rated Valeant

    bonds. Jones Rpt., ¶46. Valeant’s bond ratings were continuously monitored by

    Moody’s and S&P during the Class Period. Id. This additional source of Valeant-

    related information contributes to the market efficiency analysis for Valeant senior

    notes. Id.; see also Burns, 967 F. Supp. 2d at 1150.

            Courts have also held that widespread media coverage supports a finding of

    efficiency. See Vytorin/Zetia, 2012 WL 4482041, at *5. Here, over 15,000 articles

    concerning Valeant were published during the Class Period by major news sources.

    Feinstein Rpt., ¶¶59-61. In conjunction with wide analyst coverage, Valeant’s

    extensive media coverage provides further support for the efficiency of the markets

    for Valeant securities. DVI I, 249 F.R.D. at 209-10.

                        d.     Cammer Factor 3: Market Makers
            “Cammer explains that ‘[t]he existence of market makers and arbitrageurs

    would ensure completion of the market mechanism; these individuals would react

    swiftly to company news and reported financial results by buying or selling stock and

    driving it to a changed price level.’” Carpenters Pension Tr. Fund of St. Louis v.

    Barclays PLC, 310 F.R.D. 69, 79 (S.D.N.Y. 2015) (quoting Cammer, 711 F. Supp. at

    1286-87). During the Class Period, Valeant common stock traded on the venerable


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    NYSE, which means that trading in Valeant stock was done by a highly developed

    network of brokers, and this market was overseen by the NYSE-designated specialist

    market maker for Valeant stock. Feinstein Rpt., ¶64.9 Indeed, there were at least 217

    active market makers for Valeant common stock during the Class Period, including

    firms such as Barclays, Goldman Sachs, Morgan Stanley and UBS. As Professor

    Feinstein concludes, these facts are “compelling evidence of the efficiency of the

    market for Valeant stock.” Feinstein Rpt., ¶¶62-68; see also In re Am. Realty Capital

    Props., Inc. Litig., No. 15-mc-40 (AKH), 2017 WL 3835881, at *1 (S.D.N.Y. Aug.

    31, 2017).

            For corporate debt securities like the Valeant senior notes, it is not market

    makers per se who facilitate the trading but rather a network of dealers known as

    “‘market participants.’” Jones Rpt., ¶49. These dealers supply “‘immediacy’” to the

    market, providing “‘reliable price information to market participants.’” Id. The

    presence of these “large, active professionals also increases the efficiency of the

    market for these securities.” Id. During the Class Period, Valeant senior notes

    benefited from a range of 54 to 94 dealers – including major institutions such as

    Barclays, Merrill Lynch, Citigroup, Goldman Sachs and J.P. Morgan – several of


    9
       Courts have found that a stock’s trading on the NYSE with a designated market
    maker supports a finding of market efficiency. See In re Bos. Sci. Corp. Sec. Litig.,
    604 F. Supp. 2d 275, 284 (D. Mass. 2009); Nguyen v. Radient Pharm. Corp., 287
    F.R.D. 563, 573 (C.D. Cal. 2012).


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    whom, as alleged in the Complaint (see ¶¶564-567), served as underwriters for the

    bonds. Jones Rpt., ¶50. The significant number of market participants and dealers,

    far exceeding the five to ten market-maker benchmark set forth in Cammer,

    contributes to a finding of efficiency in the Valeant bond market. Id.; see also

    Cammer, 711 F. Supp. at 1293.

            Additionally, more than 100 major institutional investors – which typically

    employ in-house financial analysts – invested in Valeant equity and debt securities

    during the Class Period. Feinstein Rpt., ¶58; Jones Rpt., ¶¶61-64. Typically, the in-

    house analysts, or “buy-side analysts,” conduct research on securities the institutions

    buy, enabling the institutions to act as arbitrageurs and enhance market efficiency.

    See DVI I, 249 F.R.D. at 215.10

            The large number of market makers and institutional investors transacting in

    Valeant securities during the Class Period is further evidence of market efficiency.

    Feinstein Rpt., ¶¶58, 62-68; Jones Rpt., ¶¶49-51.

                         e.    Cammer Factor 4: Form S-3 Eligibility
            A company is eligible to file a Form S-3 registration statement if it has filed

    SEC reports for 12 consecutive months and has at least $75 million of float. See 17

    C.F.R. §239.13. The ability to file this form indicates that the company is easily able

    10
       See also Todd v. STAAR Surgical Co., No. CV-14-05263-MWF-RZ, 2017 WL
    821662, at *8 (C.D. Cal. Jan. 5, 2017) (quoting Countrywide, 273 F.R.D. at 614); In
    re Alstom SA Sec. Litig., 253 F.R.D. 266, 280 (S.D.N.Y. 2008).


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    to issue new securities and is evidence of market efficiency. DVI I, 249 F.R.D. at 210

    & n.23.

            Valeant was eligible to file Form S-3 registration statements for most of the

    Class Period and did so on June 10, 2013. Feinstein Rpt., ¶¶69-78; Jones Rpt., ¶¶52-

    55; see also Schering-Plough, 2012 WL 4482032, at *5; Vytorin/Zetia, 2012 WL

    4482041, at *5. Indeed, Valeant’s float averaged $27.9 billion during the Class

    Period, far exceeding the S-3 registration threshold. Feinstein Rpt., ¶¶73, 82.

    Therefore, Cammer Factor 4 is met, evidencing market efficiency.

                        f.     Cammer Factor 5: Valeant Securities Reacted to
                               Unexpected, Company-Specific Information

            The final Cammer factor focuses on whether plaintiffs can make a prima facie

    showing that, during the Class Period, Valeant securities responded to the release of

    new company-specific “unexpected” news events. Cammer, 711 F. Supp. at 1287. To

    test whether Valeant securities responded to new, unexpected Valeant-related

    information, Professor Feinstein and Ms. Jones conducted event studies for the

    Valeant securities at issue here. See Feinstein Rpt., ¶¶99-213; Jones Rpt., ¶¶74-96.

    The Second Circuit has noted that event studies are “‘standard operating procedure in

    federal securities litigation,’” In re Vivendi, S.A. Sec. Litig., 838 F.3d 223, 253 (2d

    Cir. 2016), but “a plaintiff seeking to demonstrate market efficiency need not always

    present direct evidence of price impact through event studies.” Waggoner, 875 F.3d at




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    97. See also DVI II, 639 F.3d at 634-35; Schering-Plough, 2012 WL 4482032, at *5;

    Sterling Heights, 2015 WL 5097883, at *6.

            Professor Feinstein’s and Ms. Jones’s event studies examined the causal

    relationship between the announcement of Valeant-specific news and a response in the

    price of Valeant common stock and bonds. Feinstein Rpt., ¶¶99-180; Jones Rpt.,

    ¶¶74-96. The statistical analysis both experts conducted determined how much of that

    price response can be explained by market and peer group factors rather than

    company-specific information. The portion of the price change that cannot be

    attributed to market and peer-group factors is called the “residual return.” Feinstein

    Rpt., ¶101; Jones Rpt., ¶¶77-85. If the residual return over a particular event period is

    statistically significant, this indicates that the price movement was caused by new and

    unexpected company-specific information. Feinstein Rpt., ¶102; Jones Rpt., ¶85. A

    cause-and-effect relationship between new and unexpected, Valeant-specific

    information and the reaction in the price of Valeant common stock or bonds is

    evidence of market efficiency. Feinstein Rpt., ¶102; Jones Rpt., ¶74.11 Based on their


    11
       As Ms. Jones notes in her report, “bond prices would not, necessarily, be expected
    to respond to information that might cause a significant change in stock prices”
    because they “tend to react to information that affects the probability or likelihood of
    default.” Jones Rpt., ¶¶74-76. Moreover, “[p]rice responsiveness of bonds is
    determined, in part, by relative coupon rates and time until maturity, with lower
    coupon and longer maturity term bonds exhibiting greater price sensitivity to
    information.” Id. Therefore, as to the Valeant senior notes at issue in this litigation,
    because they had varying issue dates, coupon rates and maturity dates, Ms. Jones did
    not “expect them to respond uniformly to new, company-specific information” but did

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    respective event studies for Valeant common stock, options and senior notes, both

    Professor Feinstein and Ms. Jones determined that there was a cause-and-effect

    relationship between new, material Valeant-related information resulting in

    appropriate movements in the prices of Valeant securities at issue and evidencing that

    they traded in efficient markets during the Class Period. Feinstein Rpt., ¶¶18, 141,

    166, 182, 204, 212; Jones Rpt., ¶¶86-96.

                        g.     Krogman Factor 1: Market Capitalization
            Market capitalization is an indicator of market efficiency because investors

    have greater incentive to invest in more highly capitalized corporations, and such

    companies tend to be more well-known and closely followed. See DVI I, 249 F.R.D.

    at 212 (citing Krogman v. Sterritt, 202 F.R.D. 467, 478 (N.D. Tex. 2001)); Feinstein

    Rpt., ¶¶80-81; Jones Rpt., ¶56.

            During the Class Period, Valeant’s market capitalization based on the

    Company’s common stock averaged $44.2 billion. That market capitalization put

    Valeant in the first decile of all U.S. companies by size, with higher market

    capitalization than 90% of all publicly traded companies. Feinstein Rpt., ¶80; see also

    Jones Rpt., ¶¶56-58; Krogman, 202 F.R.D. at 478 (finding the fact that a company’s

    market capitalization was in the top 60% of its sample group, derived from NYSE,


    expect (and ultimately found) that these securities responded to “credit-relevant
    information, such as changes in credit ratings, and significant events which reflect on
    the solvency of the Company.” Id.


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    AMEX and NASDAQ listings, weighed in favor of market efficiency). Valeant’s

    sizeable market capitalization throughout the Class Period far exceeded the market

    capitalizations of securities found to be trading in efficient markets and, thus, is

    further evidence of efficiency. See, e.g., DVI I, 249 F.R.D. at 212; Am. Realty, 2017

    WL 3835881, at *1.

            For Valeant senior notes, the total aggregate par value was approximately $17.7

    billion during the Class Period. Jones Rpt., ¶23. This number is either similar to or

    dwarfs the outstanding par value of bonds that several courts have held to be trading

    in efficient markets. See, e.g., Winstar, 290 F.R.D. at 449 ($1.88 billion); NII

    Holdings, 311 F.R.D. at 412 ($1.45 billion); In re HealthSouth Corp. Sec. Litig., 261

    F.R.D. 616, 636-37 (N.D. Ala. 2009) (ranging from approximately $870 million to

    $3.5 billion); Bennett, 298 F.R.D. at 510-11 (ranging from approximately $14.2

    billion to $18.1 billion). Indeed, a large outstanding par value is prima facie evidence

    of a liquid and efficient market because when more securities are available for trading,

    “the more likely that a potential buyer or seller is to find a counterpart willing to

    transact.” Winstar, 290 F.R.D. at 449.

                         h.    Krogman Factor 2: Bid-Ask Spread
            A bid-ask spread is the difference between the prices at which investors are

    willing to buy and current stockholders are willing to sell securities, with a low bid-

    ask spread indicating a more efficient market. See Sterling Heights, 2015 WL


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    5097883, at *6 (citing Krogman, 202 F.R.D. at 478); Feinstein Rpt., ¶¶85-89. “A

    narrow bid-ask spread indicates the presence of an efficient market because it suggests

    that the stock is liquid and more likely to be traded.” NII Holdings, 311 F.R.D. at 413.

    Courts have found markets for securities efficient with bid-ask spreads ranging from

    0.02% to 2.91%. See, e.g., In re JPMorgan Chase & Co. Sec. Litig., No. 12 Civ.

    03852 (GBD), 2015 WL 10433433, at *7 (S.D.N.Y. Sept. 29, 2015) (bid-ask spread of

    0.02%); NII Holdings, 311 F.R.D. at 413 (bid-ask spread of 0.10%); Countrywide, 273

    F.R.D. at 619 (bid-ask spread of 0.51%); Petrie v. Elec. Game Card, Inc., 308 F.R.D.

    336, 356 (C.D. Cal. 2015) (bid-ask spread of 2.91%).

            Valeant common stock had a tight bid-ask spread during the Class Period,

    averaging 0.02%. Feinstein Rpt., ¶87. As for Valeant senior notes, the median bid-

    ask spread ranged from 0.24% to 0.47%. Jones Rpt., ¶66. Thus, the respective bid-

    ask spreads for Valeant equity and debt securities trading during the Class Period each

    support a finding of market efficiency. Feinstein Rpt., ¶¶85-89; Jones Rpt., ¶69.

                         i.    Krogman Factor 3: Float
            A stock’s “public float” is defined as “the percentage of a security held by the

    public as opposed to company insiders.” DVI I, 249 F.R.D. at 212 (citing Krogman,

    202 F.R.D. at 478). “[A] high percentage of insiders holding stock (low float) weighs

    against a finding of market efficiency . . . while a low percentage of insiders holding

    stock (high float) supports a finding of market efficiency.” Petrie, 308 F.R.D. at 357;


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    Feinstein Rpt., ¶¶82-84; Jones Rpt., ¶59. During the Class Period, the average float of

    Valeant common shares was 63%. Feinstein Rpt., ¶83; see also McIntire, 38 F. Supp.

    3d at 433 (public float of 31%-43% of shares outstanding supported a finding of

    market efficiency).

            As for Valeant senior notes, the fact that they were widely held by numerous

    sophisticated institutional investors during the Class Period also supports market

    efficiency. Jones Rpt., ¶¶59-64; id., Ex. 12; see also DVI I, 249 F.R.D. at 212 n.26.

    As Ms. Jones discusses in her report, the “majority of the eleven Senior Notes were

    held by more than 100 different institutional investors.” Jones Rpt., ¶64; In re

    Petrobras Sec. Litig., 312 F.R.D. 354, 366 (S.D.N.Y. 2016), aff’d in part and vacated

    in part on other grounds, 862 F.3d 250 (2d Cir. 2017).

                          j.    Valeant Option Contracts Traded in an
                                Efficient Market During the Class Period
            A stock option is essentially a contract that allows the purchaser to either buy or

    sell the underlying common stock at a fixed price for a finite time period. Feinstein

    Rpt., ¶¶184-189. Consequently, the price of the option is directly linked to the price

    of the underlying security – here, Valeant common stock. Because an option market

    is tied to the market of the underlying security, where that security trades in an

    efficient market, the options are presumed to as well. See Merck, 2013 WL 396117, at

    *12 (where the security underlying the options contracts entered into by class

    members traded on an efficient market, “it is logical and appropriate to apply the same

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    presumption of reliance to class members who exercised options that were derivatives

    of that stock and whose value depended on the value of [that] stock”); see also

    McIntire, 38 F. Supp. 3d at 433; Deutschman v. Beneficial Corp., 841 F.2d 502, 504

    (3d Cir. 1988); In re Enron Corp. Sec. Derivative & “ERISA” Litig., 529 F. Supp. 2d

    644, 754 (S.D. Tex. 2006). As demonstrated by Professor Feinstein’s analysis of

    Valeant stock and option data, extending the presumption of market efficiency to

    Valeant’s option market is well-supported in this case. Feinstein Rpt., ¶¶184-213.

                                        *      *      *

            All of the Cammer and Krogman factors evidence that the market for Valeant

    securities was efficient during the Class Period. Thus, plaintiffs have demonstrated

    that class-wide reliance is appropriately presumed in accordance with the fraud-on-

    the-market doctrine.

            C.    Damages Are Measurable on a Class-wide Basis
            “[I]t remains the law in the Third Circuit that the need to perform individual

    damages calculations does not foreclose class certification under Rule 23(b)(3).”

    DFC Glob., 2016 WL 4138613, at *14 (citing Neale, 794 F.3d at 374; Sterling

    Heights, 2015 WL 5097883, at *13).             This is because “‘[t]he focus of the

    predominance inquiry is on liability, not damages.’” Grubb v. Green Tree Servicing,

    LLC, No. 13-07421 (FLW), 2017 WL 3191521, at *22 (D.N.J. July 27, 2017); see

    also Reyes v. Netdeposit, LLC, 802 F.3d 469, 481 n.12 (3d Cir. 2015).



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            The Supreme Court’s decision in Comcast Corp. v. Behrend, 569 U.S. 27

    (2013), likewise focused on the issue of liability; specifically whether an expert’s

    antitrust damages model partially based on theories of liability previously dismissed

    by the trial court satisfied Rule 23(b)(3)’s predominance requirement. See Dzielak v.

    Whirlpool Corp., No. 2:12-0089 (KM)(JBC), 2017 WL 1034197, at *13 (D.N.J.

    Mar. 17, 2017); In re Urban Outfitters, Inc., Sec. Litig., No. 13-5978, 2016 WL

    1043014, at *3 n.4 (E.D. Pa. Feb. 29, 2016).

            As the Third Circuit recently emphasized, Comcast “makes it clear that the

    predominance analysis was specific to the antitrust claim at issue.” Neale, 794 F.3d at

    374; see also In re Heckmann Corp. Sec. Litig., No. 10-378-LPS-MPT, 2013 WL

    2456104, at *14 (D. Del. June 6, 2013) (“[P]laintiff correctly points out that while

    Comcast addresses class action certification, it was not in regard to a securities fraud

    litigation, which have generally been certified for class status.”); Sterling Heights,

    2015 WL 5097883, at *13. In fact, if a court were to deny class certification based on

    a finding of individualized damages, such a rule would “amount[] to an abuse of

    discretion.” Neale, 794 F.3d at 375.

            While not necessary for certification, damages related to the Class’s Exchange

    Act claims can and will be calculated using a common methodology for purchasers of

    Valeant securities. See Feinstein Rpt., ¶¶214-228; Jones Rpt., ¶¶97-99. In sum, the

    damages per security will be the difference between inflation on the security purchase


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    date and inflation on the security sale date. Feinstein Rpt., ¶¶214-220; Jones Rpt.,

    ¶¶97-99.12 Per security damages will be calculated using the same mathematical

    computation for all Class members.

            Damages for the Class’s Securities Act claims related to Valeant’s March 2015

    stock offering are even more straightforward and are calculated using a computation

    described by the statute itself. See Constar, 585 F.3d at 785 (“damages are calculated

    as the difference between the purchase price of a security and the price at the time suit

    was filed or the security was sold, and any decline in value is presumed to be caused

    by the misrepresentation”) (citing 15 U.S.C. §77k(e)); N.J. Carpenters Health Fund v.

    Royal Bank of Scot. Grp., PLC, No. 08-CV-5310 (DAB), 2016 WL 7409840, at *10

    (S.D.N.Y. Nov. 4, 2016).

            Although the specific amount of total damages may vary among Class members

    – due to, for example, the time and volume of Valeant securities acquired –

    “‘[r]ecognition that individual damages calculations do not preclude class certification

    under Rule 23(b)(3) is well nigh universal.’” Neale, 794 F.3d at 374-75. Thus, like in



    12
        In certifying a federal securities fraud class action, one court recently noted that
    “[t]he Supreme Court long ago agreed with this approach when it held ‘the correct
    measure of damages . . . is the difference between the fair value of all [the plaintiff]
    received and the fair value of what he would have received had there been no
    fraudulent conduct.’” KBC Asset Mgmt. NV v. 3D Sys. Corp., No. 0:15-2393-MGL,
    2017 WL 4297450, at *7 (D.S.C. Sept. 28, 2017) (quoting Affiliated Ute Citizens of
    Utah v. United States, 406 U.S. 128, 155 (1972)).


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    Waggoner, “[t]his is not a case where a plaintiff’s damages model does not track his

    theory of liability.” Waggoner, 875 F.3d at 106.

            D.    A Class Is Superior to Other Available Methods for the Fair
                  and Efficient Adjudication of This Action
            The second Rule 23(b)(3) requirement is that the Court determines that “a class

    action is superior to other available methods for fairly and efficiently adjudicating the

    controversy.” Fed. R. Civ. P. 23(b)(3). Courts uniformly recognize that the class

    action device is superior to other available methods for the fair and efficient resolution

    of large-scale securities class actions comprised of thousands of separate individual

    cases. See Merck, 2013 WL 396117, at *13; see also Phillips Petroleum Co. v. Shutts,

    472 U.S. 797, 809 (1985); Amchem Prods. v. Windsor, 521 U.S. 591, 617 (1997).

            Here, each of the Rule 23(b)(3) factors weigh strongly in favor of class

    certification. The Class members’ interests in individually controlling the prosecution

    of separate actions is minimal because the trouble and expense of most individual

    actions, when weighed against the individual recoveries potentially obtainable, would

    be prohibitive. Additionally, the maintenance of a class action in this District ensures

    an efficient expenditure of resources and consistent rulings concerning matters

    relating to the Class’s claims. See Merck, 2013 WL 396117, at *13; DVI I, 249

    F.R.D. at 218. Additionally, because Valeant’s U.S. headquarters is in this District

    and many of the acts and practices complained of occurred in substantial part in this

    District, the District of New Jersey is a desirable forum for this class action.

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            Finally, plaintiffs do not foresee any management difficulties that will preclude

    this action from being maintained as a class action. Indeed, the parties have engaged

    in significant motion to dismiss briefing, undertaken extensive document discovery,

    and efficiently worked together in formulating and jointly submitting a protective and

    confidentiality order (see ECF No. 244) and a proposed Rule 26(f) Scheduling Order

    (submitted September 7, 2018). The litigation to date evidences that proceeding as a

    class action is the most efficient manner to litigate the Class’s claims. See In re MF

    Glob. Holdings Ltd. Inv. Litig, 310 F.R.D. 230, 239 (S.D.N.Y. 2015). Consistent with

    the requirements of Rule 23(b)(3), certification of this action as a class action is

    superior to other available methods for fairly and efficiently adjudicating the

    controversy.

    IV.     CONCLUSION
            For all of these reasons, Lead Plaintiff’s motion should be granted.

    DATED: September 28, 2018                  Respectfully submitted,

                                               SEEGER WEISS LLP
                                               CHRISTOPHER A. SEEGER
                                               DAVID R. BUCHANAN


                                                         s/ Christopher A. Seeger
                                                       CHRISTOPHER A. SEEGER




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                                          55 Challenger Road, 6th Floor
                                          Ridgefield Park, NJ 07660
                                          Telephone: 212/584-0700
                                          212/584-0799 (fax)
                                          cseeger@seegerweiss.com
                                          dbuchanan@seegerweiss.com

                                          Local Counsel

                                          ROBBINS GELLER RUDMAN
                                           & DOWD LLP
                                          DARREN J. ROBBINS
                                          TOR GRONBORG
                                          X. JAY ALVAREZ
                                          ROBERT R. HENSSLER JR.
                                          MATTHEW I. ALPERT
                                          DEBASHISH BAKSHI
                                          655 West Broadway, Suite 1900
                                          San Diego, CA 92101
                                          Telephone: 619/231-1058
                                          619/231-7423 (fax)

                                          ROBBINS GELLER RUDMAN
                                           & DOWD LLP
                                          JAMES E. BARZ
                                          FRANK A. RICHTER
                                          200 South Wacker Drive, 31st Floor
                                          Chicago, IL 60606
                                          Telephone: 312/674-4674
                                          312/674-4676 (fax)

                                          ROBBINS GELLER RUDMAN
                                           & DOWD LLP
                                          JACK REISE
                                          ROBERT J. ROBBINS
                                          KATHLEEN B. DOUGLAS
                                          120 East Palmetto Park Road, Suite 500
                                          Boca Raton, FL 33432
                                          Telephone: 561/750-3000
                                          561/750-3364 (fax)

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                                          ROBBINS GELLER RUDMAN
                                           & DOWD LLP
                                          JOHN C. HERMAN
                                          Monarch Tower, Suite 1650
                                          3424 Peachtree Road, N.E.
                                          Atlanta, GA 30326
                                          Telephone: 404/504-6500
                                          404/504-6501 (fax)

                                          Lead Counsel for Plaintiffs




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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



                                               Master No. 3:15-cv-07658-MAS-LHG



    IN RE VALEANT PHARMACEUTICALS
    INTERNATIONAL, INC. SECURITIES
    LITIGATION




                                   DECLARATION OF

                      PROFESSOR STEVEN P. FEINSTEIN, PH.D., CFA

                                  SEPTEMBER 28, 2018
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    I.       SCOPE OF PROJECT AND REPORT

             1.       I was asked by Robbins Geller Rudman & Dowd LLP, Lead Counsel for Plaintiffs,

    to determine whether the common stock of Valeant Pharmaceuticals International, Inc. (“Valeant”

    or the “Company”) traded in an efficient market during the period from 4 January 2013 to 15

    March 2016 (the “Class Period”).1 I was also asked to determine whether the exchange-traded call

    and put options on Valeant common stock (“Valeant options”) traded in an efficient market during

    the Class Period.

             2.       In addition, I have been asked to opine on: (i) whether damages in this matter can

    be computed using a common methodology for all Class members in connection with their claims

    under Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) and U.S.

    Securities and Exchange Commission (“SEC”) Rule 10b-5 adopted thereunder (collectively,

    “Section 10(b)”); (ii) whether Section 20A damages can be computed using a common

    methodology for all Class members who have claims under Section 20(A) of the Exchange Act;

    and (iii) whether Section 11 damages can be computed using a common methodology for all Class

    members who have claims under Section 11 of the Securities Act of 1933 (the “Securities Act”).

             3.       Toward these ends, I analyzed the markets for Valeant common stock and options,

    the price behavior of the securities, and the factors that are generally accepted to be indicative of

    market efficiency. I examined Company press releases, conference call transcripts, security analyst

    reports, news articles, SEC filings, the common stock prices, trading volume, daily prices of the

    put and call options, the performance of the overall stock market, and the performance of Valeant’s



    1
      As described herein, I also analyzed the factors that are generally accepted to be indicative of market efficiency for
    three sub-intervals within the Class Period: 4 January 2013 through 15 March 2014 (“Interval-1”), 16 March 2014
    through 16 March 2015 (“Interval-2”), and 17 March 2015 through 15 March 2016 (“Interval-3”). Unless otherwise
    stated herein, my conclusions as to the Class Period apply equally to all intervals.



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    industry sector, as well as other pertinent data and documents. I read the Consolidated Complaint

    for Violations of the Federal Securities Laws (“Complaint”) dated 24 June 2016, and considered

    the allegations therein. Exhibit-1 lists the documents I considered in preparing this report and

    arriving at the opinions expressed herein.

           4.      This report presents my methodology, findings, and conclusions.

           5.      I understand that discovery is ongoing in this matter. I reserve the right to amend,

    refine, or modify my opinion and report, including in the event any additional information or

    analyses become available.



    II.    CREDENTIALS

           6.      I am an Associate Professor of Finance at Babson College, and the founder and

    president of Crowninshield Financial Research, Inc., a financial economics consulting firm.

           7.      I hold a Ph.D. in Economics from Yale University, a Master of Philosophy degree

    in Economics from Yale University, a Master of Arts in Economics from Yale University, and a

    Bachelor of Arts degree in Economics from Pomona College. I also hold the Chartered Financial

    Analyst (“CFA”) designation, granted by the CFA Institute.

           8.      At Babson College, I have taught undergraduate and MBA level courses in Capital

    Markets, Investments, Equity Analysis, Fixed Income Analysis, Options and Futures, Financial

    Management, Risk Management, Quantitative Methods, and Security Valuation. I have also taught

    executive courses on investments and corporate financial management for numerous corporations.

    Other courses I have taught are listed in my curriculum vitae, which is attached as Exhibit-2.

           9.      At Babson College, I have held the Chair in Applied Investments and served as the

    Director of the Stephen D. Cutler Investment Management Center, a research and education center

    dedicated to the study and teaching of investments and capital markets.



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           10.     Prior to my joining the faculty at Babson College, I taught finance at Boston

    University. Previously, I was an Economist at the Federal Reserve Bank of Atlanta where my

    primary responsibilities were to monitor financial markets, analyze proposed regulation, and

    advise the Bank President in preparation for his participation in meetings of the Federal Open

    Market Committee – the government body responsible for monetary policy in the United States.

           11.     I have published in the field of finance. My finance articles have appeared in the

    Atlanta Federal Reserve Bank Economic Review, Derivatives Quarterly, Derivatives Weekly, The

    Engineering Economist, The Journal of Risk, The American Bankruptcy Institute Journal, The

    Journal of Financial Planning, The Journal of Forensic Economics, Managerial Finance, Risk

    Management, and Primus. I am the author of Finance and Accounting for Project Management,

    published by the American Management Association. I wrote two chapters in the book The

    Portable MBA in Finance and Accounting – one on corporate financial planning and the other on

    risk management. I have presented research at the annual conventions of the American Finance

    Association, the Academy of Financial Services, the Multinational Finance Society, the Financial

    Management Association, the Taxpayers Against Fraud Education Fund Conference, and the

    International Conference on Applied Business Research. Co-authored papers of mine have been

    presented at the Eastern Finance Association meetings and the Midwestern Finance Association

    meetings. A list of all the publications I authored in the previous ten years can be found in my

    curriculum vitae, which is attached as Exhibit-2.

           12.     I have been selected to review papers for numerous finance journals and

    conferences, and I have reviewed finance textbook manuscripts for Prentice-Hall, Elsevier,

    Blackwell, and Southwestern Publishing. I have been quoted on matters relating to finance and

    investments in The Wall Street Journal, The Washington Post, The New York Times, The Financial




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    Times, The Boston Globe, and Bloomberg News, and my research relating to financial analysis and

    valuation has been discussed in The Wall Street Journal, Bond Buyer, and Grant’s Municipal Bond

    Observer.

           13.     I am a member of the American Finance Association, the Financial Management

    Association, the North American Case Research Association, the National Association of Forensic

    Economics, the CFA Institute, and the CFA Society Boston, where I have served as a member of

    the education committee and ethics subcommittee. I served on the Fixed Income Specialization

    Examination Committee of the CFA Institute.

           14.     The CFA designation is the premier credential for financial analysts worldwide. In

    order to receive this credential, applicants must pass a series of three exams covering such topics

    as economics, equity analysis, financial valuation, business analysis, quantitative methods,

    investment analysis, portfolio management, risk management, financial accounting, and ethical

    and professional standards. For over ten years I taught in the Boston University CFA Review

    Program and the CFA Society Boston Review Program – two of the leading review programs that

    prepared candidates for the CFA exams. In both of these programs I taught candidates at the most

    advanced level.

           15.     In addition to my teaching, research, CFA, and academic community

    responsibilities, I practice extensively as a financial consultant. Past clients include the SEC, the

    Internal Revenue Service, the Attorney General of the State of Illinois, and the National

    Association of Securities Dealers. As a financial consultant, I have conducted analyses and

    presented opinions related to markets, valuation, and damages in over 100 cases. Exhibit-3 lists

    my prior testimony appearances over the past four years.




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           16.     I am the sole owner of the consulting firm Crowninshield Financial Research,

    which receives compensation for the work performed by me and the analysts who assist me on this

    case. My firm is being compensated at a rate of $875 per hour for my work. My compensation is

    neither contingent on my findings nor on the outcome of this matter.



    III.   CONCLUSIONS

           17.     Valeant stock traded in an efficient market over the course of the Class Period.

    Valeant stock satisfied the factors set forth in Cammer v. Bloom, 711 F. Supp. 1264, 1273 (D.N.J.

    1989), and Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex. 2001), which, consistent with financial

    economic principles and empirical research, indicate market efficiency.

           18.     Valeant stock satisfied all of the Cammer and Krogman factors by wide margins.

    In particular, with a high degree of statistical certainty, event study analysis proves that there was

    a cause and effect relationship between the release of new, Company-specific information and

    movements in Valeant’s stock price. Additional statistical tests examining the behavior of Valeant

    stock on important announcement dates collectively further indicate that the Valeant stock

    responded to new Company-specific information throughout the Class Period. The empirical

    analyses not only indicate market efficiency, but prove that the stock demonstrated market

    efficiency.

           19.     Similarly, event study analysis demonstrates that there was a cause and effect

    relationship between the release of new, Company-specific information and movements in the

    prices of Valeant’s put and call option contracts during the Class Period. Valeant’s option prices

    responded in a statistically significant fashion to new, Company-specific information, which not

    only indicates market efficiency, but demonstrates market efficiency.




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              20.   Based on the foregoing, I conclude that Valeant stock and options traded in efficient

  markets over the course of the Class Period.

              21.   For each respective claim (i.e. Section 10(b), Section 20A, and Section 11),

  damages in this matter can be computed for all Class members using a common methodology that

  is consistent with Plaintiffs’ allegations of liability.



  IV.         BACKGROUND

              A.    About the Company

              22.   Throughout the Class Period, Valent described itself as a “specialty pharmaceutical

  company that develops, manufactures and markets a broad range of pharmaceutical products and

  medical devices.”2 The Company’s primary product focus was in dermatology and neurology

  therapeutic classes.3

              23.   The Company’s stated business strategy was to focus on “core geographies and

  therapeutic classes that offer attractive growth opportunities while maintaining our lower selling,

  general and administrative cost model and decentralized operating structure.”4 Another “critical

  element” of the Company’s stated strategy was business development, or growth through

  acquisition.5 Over the course of the Class Period, Valeant acquired 12 companies for aggregate

  consideration totaling $30.3 billion.



  2
      Valeant Pharmaceuticals International, Inc., Form 10-K for fiscal year ended 31 December 2012, filed 28
  February 2013, p. 1.
  3
        Id.

  4
      Valeant Pharmaceuticals International, Inc., Form 10-K for fiscal year ended 31 December 2015, filed 29 April
  2016, p. 1.
  5
        Id.




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           24.      For the fiscal years 2012, 2013, 2014, and 2015, the Company reported revenues

  of $3.5 billion, $5.8 billion, $8.3 billion, and $10.4 billion, respectively.6 The Company reported

  earnings of -$116 million (-$0.38 per share), -$866.1 million (-$2.70 per share), $880.7 million

  ($2.63 per share), and -$291.7 million (-$0.85 per share) for these fiscal years, respectively.7

           25.      Prior to and throughout the Class Period, Valeant common stock was listed and

  traded on the New York Stock Exchange (“NYSE”) and the Toronto Stock Exchange (“TSX”)

  under the symbol VRX.8

           26.      During the Class Period, Valeant’s common stock price peaked at $262.52 per share

  on 5 August 2015, according to price data obtained from the Center for Research in Security Prices

  (“CRSP”), a reliable data source that is widely used by academic researchers and investment

  professionals. By the close of trading on 15 March 2016, the last day of the Class Period, Valeant’s

  stock price had fallen to $33.51 per share. The share price decline from 5 August 2015 to 15 March

  2016 was $229.01 per share, representing a loss of 87.2%.

           27.      During the Class Period, the total value of Valeant’s outstanding common stock

  peaked at $90.0 billion on 5 August 2015. By 15 March 2016, the last day of the Class Period, the

  total outstanding value of the common shares had fallen to $11.5 billion, also representing a decline

  of 87.2% from the Class Period peak.




  6
      Id., p. 39.
  7
      Id., p. 39.
  8
      Id., p. 35.




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                    1.      Public Offering of Valeant Stock

             28.    On 17 March 2015, the Company conducted a follow-on offering in which the

  Company and certain existing stockholders sold a total of 7,286,432 shares of common stock at

  $199.00 per share.9 The deal price of $199.00 per share represented a $3.42 per share discount to

  the $202.34 per share closing price on 16 March 2015, the previous trading day.10 Following the

  offering, the Company had 344.0 million shares outstanding.11



  V.         EFFICIENT MARKET DEFINED

             29.    The definition of market efficiency set forth by Judge Alfred J. Lechner, Jr. in the

  1989 decision in Cammer v. Bloom, 711 F. Supp. 1263 (D.N.J.), which is often cited as a legal

  authority on the meaning of market efficiency and is consistent with the definition of informational

  efficiency generally accepted by the academic finance community, is set forth below.


                    “As relevant here, courts have permitted a rebuttable presumption of
                    reliance in the case of securities traded in ‘efficient markets’ (i.e., markets
                    which are so active and followed that material information disclosed by a
                    company is expected to be reflected in the stock price).”
                    Cammer v. Bloom, 711 F. Supp. 1264, 1273 (D.N.J. 1989).


             30.    Judge Lechner also cited the definitions offered by commentators Alan R.

  Bromberg and Lewis D. Lowenfels, and by renowned financial economist and Nobel laureate

  Eugene Fama.


                    “An efficient market is one which rapidly reflects new information in
                    price.”

  9
       Valeant Pharmaceuticals International, Inc., Form 424B5, filed 18 March 2015.
  10
       Id.
  11
      Valeant Pharmaceuticals International, Inc., Form 424B5, filed 18 March 2015, p. S-14. The underwriters did not
  exercise any over-allotment option.




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                 Alan Bromberg & Lewis Lowenfels, Securities Fraud and Commodities Fraud, §7.4
                 (Dec. 2003); see also Cammer, 711 F. Supp. at 1276.


                 “A market in which prices always ‘fully reflect’ available information is
                 called ‘efficient.’”
                 “Efficient Capital Markets: A Review of Theory and Empirical Work,” by Eugene
                 Fama, Journal of Finance, 1970, cited in Cammer, 711 F. Supp. at 1280.


         31.     In his 1991 follow-up article titled “Efficient Capital Markets: II,” Professor Fama

  further elaborated.


                 “I take the market efficiency hypothesis to be the simple statement that
                 security prices fully reflect all available information …. A weaker and more
                 economically sensible version of the efficiency hypothesis says that prices
                 reflect information to the point where the marginal benefits of acting on
                 information (the profits to be made) do not exceed the marginal cost.”
                 “Efficient Capital Markets: II,” Eugene Fama, Journal of Finance, 1991, p. 1575.


         32.     More recently, Professor Fama and a group of other preeminent economists

  described market efficiency and the state of the profession’s general understanding thusly in an

  amici curiae brief that they submitted to the U.S. Supreme Court in the Halliburton II case.


                 “There is widespread debate about market efficiency among economists,
                 and the signatories of this brief include participants with varying positions
                 on that debate. It is critical, however, to be clear on what issues are in
                 dispute—and what issues are not. Economists disagree about whether
                 markets perfectly process information and how quickly they do so; about
                 whether prices reflect the fundamental value of the underlying stock; … and
                 about whether it is possible to ‘beat the market’ by pursuing various
                 investment strategies designed to exploit pricing anomalies. Such
                 disagreements existed when Basic [Inc. v. Levinson, 485 U.S. 224] was
                 decided in 1988, and they exist today. But economists do not generally
                 disagree about whether market prices respond to new material information.”
                 Brief of Financial Economists as Amici Curiae in Support of Respondents,
                 Halliburton Co. and David Lesar v., Erica P. John Fund, Inc., 5 February 2014, p. 3
                 (emphasis in original).


         33.     The Supreme Court in the 1988 Basic v. Levinson decision focused on the same

  important characteristic at the heart of these definitions of market efficiency.



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                 “The fraud on the market theory is based on the hypothesis that, in an open
                 and developed securities market, the price of a company’s stock is
                 determined by the available material information regarding the company
                 and its business ….”
                 Basic v. Levinson, 485 U.S. 224, 108 S. Ct. 978, 988-91, 99 (1998).


         34.     The Supreme Court’s 2013 Amgen decision defined market efficiency similarly.


                 “The fraud-on-the market premise is that the price of a security traded in an
                 efficient market will reflect all publicly available information about a
                 company ....”
                 Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 133 S. Ct. 1184, 1190
                 (2013).


         35.     In its 2014 Halliburton II decision, the Supreme Court addressed the cause-and-

  effect relationship at the center of market efficiency as follows:


                 “Even the foremost critics of the efficient-capital-markets hypothesis
                 acknowledge that public information generally affects stock prices. …
                 Debates about the precise degree to which stock prices accurately reflect
                 public information are thus largely beside the point. ‘That the . . . price [of
                 a stock] may be inaccurate does not detract from the fact that false
                 statements affect it, and cause loss,’ which is ‘all that Basic requires.’”
                 Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398, 2410, (2014) (emphasis in
                 original).


         36.     An efficient market, as defined and discussed by Cammer, Basic, Amgen,

  Halliburton II, Bromberg & Lowenfels, and Professor Fama and other leading scholars, is a market

  in which available information is incorporated into the price of a security such that the trading

  price reflects available information with reasonable promptness. As these cases have recognized,

  market efficiency is relevant to a securities case as it addresses the question of whether false

  information (e.g., in the form of an alleged misrepresentation or omission) would likely have

  impacted the prices at which investors bought and sold securities, and which were relied upon.




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         A.      The Cammer/Krogman Factors

                 1.      The Cammer Factors

         37.     The Cammer opinion lays out five factors that generally indicate whether the

  market for a security is efficient. As described below, economic rationales support each factor as

  an indicator of market efficiency. The five factors are: 1) trading volume; 2) coverage by securities

  analysts; 3) number of market makers; 4) eligibility for S-3 registration; and 5) empirical evidence

  that the security price reacts to new, company-specific information.

         38.     Empirical research has confirmed that trading volume, number of market makers,

  and analyst coverage are indicative of market efficiency.


                 “Consistent with the efficiency indicators used recently by the courts, the
                 inefficient firms have lower mean trading volume, fewer market makers,
                 lower analyst following, and lower institutional ownership (number and
                 percentage) than efficient firms.”
                 “The Fraud-on-the-Market Theory and the Indicators of Common Stocks’
                 Efficiency,” by Brad Barber, Paul Griffin, and Baruch Lev, The Journal of
                 Corporation Law, 1994, p. 302.


         39.     Barber, Griffin & Lev [1994], also found that high institutional ownership is

  indicative of market efficiency.

         40.     Consistent with financial economic theory and empirical research, the language

  used by the Cammer court describes the factors not as five necessary factors, but rather as factors

  that are each indicative of the degree to which the market for a security is expected to be efficient.


                 “There are several different characteristics pertaining to the markets for
                 individual stocks which are probative of the degree to which the purchase
                 price of a stock should reflect material company disclosures.”
                 Cammer, 711 F. Supp. at 1283.


         41.     The Cammer opinion describes the nature of the five factors as follows.




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             “There are several types of facts which, if alleged, might give rise to an
             inference that Coated Sales [stock] traded in an efficient market. It is useful
             to set forth an explanation of how the existence of such facts would cause
             the understanding that disclosed company information (or misinformation)
             would be reflected in the company’s stock price, the underpinning of the
             fraud on the market theory. Peil, supra, 806 F.2d at 1160.”
             Id. at 1285-86 (footnote omitted).


             “First, plaintiffs could have alleged there existed an average weekly trading
             volume during the class period in excess of a certain number of shares.
             Abell v. Potomac Ins. Co., 858 F.2d 1104, 1121 (5th Cir. 1988).”
             Id. at 1286.


             “Second, it would be persuasive to allege a significant number of securities
             analysts followed and reported on a company’s stock during the class
             period.”
             Id.


             “Third, it could be alleged the stock had numerous market makers.”
             Id.


             “Fourth, as discussed, it would be helpful to allege the company was entitled
             to file an S-3 Registration in connection with public offerings or, if
             ineligible, such ineligibility was only because of timing factors rather than
             because the minimum stock requirements set forth in the instructions to
             Form S-3 were not met.”
             Id. at 1287-88.


             “Finally, it would be helpful to a plaintiff seeking to allege an efficient
             market to allege empirical facts showing a cause and effect relationship
             between unexpected corporate events or financial releases and an
             immediate response in the stock price.”
             Id.


             “As previously noted, one of the most convincing ways to demonstrate
             efficiency would be to illustrate, over time, a cause and effect relationship
             between company disclosures and resulting movements in stock price.”
             Id. at 1291.




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                  2.      The Krogman Factors

          42.     In addition to the five Cammer factors that indicate market efficiency, the Fifth

  Circuit Court of Appeals in Unger v. Amedisys, 401 F.3d 316 (5th Cir. 2005), and the district court

  in Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex. 2001), recognized that three additional factors

  are also indicative of market efficiency.

          43.     These additional factors, the Krogman factors, are: 1) the company’s market

  capitalization; 2) the stock’s float; and 3) the typical bid-ask spread.

          44.     Market capitalization is the total value of all outstanding shares. It equals the

  number of shares outstanding times the price per share. Logically, the larger a company’s market

  capitalization, the more prominent and well known the company will be. Larger companies tend

  to attract more analyst and news media coverage, and gain the attention of greater numbers of

  investors, including large institutional investors. All of these characteristics, which accompany a

  large market capitalization, promote market efficiency.

          45.     The stock’s float is the number of shares outstanding, less shares held by insiders

  and affiliated corporate entities. It is generally the number of shares available for trading by outside

  investors in the open market. Float is closely related to market capitalization, but it focuses on the

  shares available for trading rather than all outstanding shares. Stocks with large floats tend to trade

  more actively, attract more analyst and news media coverage, and garner the attention of greater

  numbers of investors, including large institutional investors. All of these characteristics, which

  occur when a company has a high float level, promote market efficiency.

          46.     The bid-ask spread is the difference between the price at which market makers are

  offering to buy a security and the price at which they are offering the security for sale. If a security

  is actively traded and information about the security is readily available, the bid-ask spread will

  tend to be narrow. A narrow bid-ask spread makes trading in the security less costly for investors,



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  and thereby tends to attract greater interest, greater coverage, and greater volume, which in turn

  are factors that promote market efficiency.



  VI.       EFFICIENCY OF THE MARKET FOR VALEANT STOCK

            47.     To assess whether the market for Valeant stock was efficient during the Class

  Period, I analyzed the market for and behavior of Valeant stock, focusing on the factors that are

  generally accepted to be indicative of market efficiency for a publicly-traded security.

            48.     I examined these factors over the entire Class Period, and also examined them over

  the three sub-intervals to verify that my findings hold throughout the Class Period.


            A.      Cammer Factors

                    1.       Trading Volume

            49.     Throughout the Class Period, Valeant stock traded regularly and actively. On

  average, 3.8 million shares changed hands daily.12 Valeant’s stock trading data are presented in

  Exhibit-4.

            50.     In addition to average daily trading volume, another volume metric to consider in

  determining market efficiency is the percentage of outstanding shares that turn over each week.

  During the Class Period, the average weekly trading volume of Valeant stock was approximately

  19.1 million shares, or 5.6% of all shares outstanding.13 This level of trading activity is well above




  12
        Data obtained from CRSP. This trading volume level excludes trading volume on the Toronto Stock Exchange.
  13
       Estimated by averaging the daily ratio of trading volume to the number of shares outstanding, and multiplying by
  5 (the number of trading days in a typical week). During Interval-1, the average weekly trading volume was 7.2 million
  shares, or 2.2% of shares outstanding during that time. During Interval-2, the average weekly trading volume was 14.8
  million shares, or 4.4% of shares outstanding during that time. During Interval-3, the average weekly trading volume
  was 37.4 million shares, or 10.9% of shares outstanding during that time.




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  levels accepted by courts as being indicative of market efficiency for common stock.14 In the case

  of the common stock of Coated Sales, Inc., the Cammer court cited the conclusion of Alan R.

  Bromberg and Lewis D. Lowenfels that “weekly trading of 2% or more of the outstanding shares

  would justify a strong presumption that the market for the security is an efficient one; 1% would

  justify a substantial presumption.”15 The trading volume for Valeant stock during the Class Period

  was above the threshold for a strong presumption of market efficiency.

            51.        Both in terms of average daily trading volume and the percentage of outstanding

  shares traded weekly, the market for Valeant stock was active. Consistent with the Cammer

  opinion, economic theory, and empirical research, the active trading volume in Valeant stock is

  strong evidence of the efficiency of the market for Valeant stock over the course of the Class

  Period.

                       2.     Analyst Coverage and Other Avenues of Information
                              Dissemination

                                       a. Analyst Coverage

            52.        Securities analysts disseminate and interpret information about the companies they

  cover. They conduct research and provide valuation opinions, helping market participants acquire

  relevant information and understand the implications of that information for valuation and

  investment decisions. Consequently, securities analysts facilitate the flow of information and the

  digestion of information within the marketplace. These functions promote market efficiency.

            53.        I obtained analyst reports on Valeant published during the Class Period by 27

  different analyst firms: Aegis Capital, Barclays, BMO Capital, BTIG, Canaccord Genuity, Cantor



  14
       Cammer, 711 F. Supp. at 1286.
  15
       Id., at 1293.




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  Fitzgerald, CIBC World Markets, CRT Capital, Deutsche Bank, Evercore ISI, Gordon Haskett,

  Guggenheim, Jefferies, JP Morgan, Ladenburg Thalmann, Lazard Capital, Moody’s Analytics,

  Morgan Stanley, Paradigm Capital, Piper Jaffray, RBC Capital, Rodman & Renshaw, Scotiabank,

  Susquehanna, TD Securities, UBS, and Wells Fargo.16

            54.     Transcripts of Valeant’s conference calls conducted during the Class Period reveal

  that at least two additional firms followed Valeant: Mizuho Securities and Stifel Nicolaus.

            55.     Consequently, analysts at 29 firms, at least, covered Valeant during the Class

  Period.

            56.     Coverage by 29 analysts, of which at least 27 published reports, in a period of three

  years and two months, is broad analyst coverage. Barber, et al., [1994] found that coverage by one

  or two analysts strengthened the presumption of efficiency for a publicly traded stock.17

            57.     Consistent with the Cammer opinion, financial economic principles, and published

  empirical research, the coverage of Valeant by professional securities analysts is evidence of the

  efficiency of the market for Valeant stock during the Class Period.


                                       b. Institutional Ownership and Buy-Side Analysis

            58.     Thomson Eikon compiles and provides institutional ownership data derived from

  SEC Form 13-F filings. The data show the holdings of Valeant stock by major investment

  institutions as of the end of each quarter. Major institutions are defined as firms or individuals that

  exercise investment discretion over the assets of others in excess of $100 million. Large investment




  16
       The complete list of analyst reports I obtained is presented in Exhibit-1.
  17
      “The Fraud-on-the-Market Theory and the Indicators of Common Stocks’ Efficiency,” by Brad M. Barber, Paul
  A. Griffin, and Baruch Lev, The Journal of Corporation Law, 1994, pp. 302 and 310-311.




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  firms often employ financial analysts who conduct their own research on the securities they buy.

  According to the SEC filings compiled and reported by Thomson Eikon, at least 1,337 major

  institutions owned Valeant stock during the Class Period.18 This fact further supports a finding that

  the market for Valeant stock was efficient during the Class Period.


                                        c. News Coverage

           59.       The news media also facilitate the flow of information to the marketplace, thereby

  promoting market efficiency. In the case of Valeant, such coverage was extensive. A Factiva

  database search established that over 15,000 articles were published about the Company during

  the Class Period.19

           60.       The articles obtained from Factiva include published news articles and press

  releases. Information about Valeant also emerged throughout the Class Period in the form of SEC

  filings, conference calls, and Company presentations.

           61.       Therefore, during the Class Period, information about Valeant was readily available

  to market participants, provided by analysts, news media, and various other sources. This news

  and analyst coverage is further evidence of the efficiency of the market for Valeant stock.20




  18
      According to the SEC filings compiled and reported by Thomson Eikon data, 1,337 unique institutions held
  Valeant stock on at least one of the following reporting dates: 31 March 2013, 30 June 2013, 30 September 2013, 31
  December 2013, 31 March 2014, 30 June 2014, 30 September 2014, 31 December 2014, 31 March 2015, 30 June
  2015, 30 September 2015, and 31 December 2015. There may have been additional institutions that held Valeant stock
  during the Class Period, though not on the quarterly reporting dates. Data compiled by Thomson Eikon from these
  same filings indicate that at least 740 institutions held shares of Valeant stock during Interval-1, at least 870 institutions
  held shares as during Interval-2, and at least 1,072 institutions held shares during Interval-3.
  19
       Based on a Factiva search for articles published during the Class Period where “Valeant Pharmaceuticals
  International Inc.” was the “Company” search field parameter, the language was “English,” and the sources were “All
  Sources.” There were at least 3,200, 6,000, and 6,600 articles published about the Company during Interval-1,
  Interval-2, and Interval-3, respectively.
  20
       This factor was deemed particularly important in Cheney v. CyberGuard Corp., 213 F.R.D. 484 (S.D. Fla. 2003).




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                   3.      Market Makers and Listing on the New York Stock Exchange

           62.     The number of market makers is one of the factors the Cammer court determined

  indicates market efficiency. Market makers are financial intermediaries who trade in a particular

  security, standing ready to buy and sell with individual investors, institutions, and other market

  makers. A large number of market makers implies that many market participants are trading that

  particular security, which generally results in a high degree of liquidity and lower transaction cost.

  With a large number of market makers, it is generally easy for investors to execute trades in a

  timely fashion and with reasonable transaction costs.

           63.     The subject company in the Cammer case, Coated Sales, Inc., was listed on the

  NASDAQ, an over-the-counter market consisting of multiple competing market makers, using

  electronic systems to make quotes and effect trades.

           64.     The Cammer court’s understanding that the market-making infrastructure of a stock

  market is indicative of its efficiency, or lack thereof, makes the fact that Valeant stock traded on

  the NYSE during the Class Period highly relevant. The NYSE is one of the most renowned, most

  liquid, and most efficient forums for trading stocks in the world. Securities on the NYSE are traded

  under the supervision of a lead market maker or “Designated Market Maker” (“DMM”), formerly

  known as a specialist.21 DMMs are responsible for maintaining a fair and orderly market for each

  security to which they are assigned.22

           65.     In fact, citing Bromberg and Lowenfels, the Cammer court explicitly acknowledged

  the importance of an NYSE listing and the implications of such a listing for market efficiency.




  21
       “Fact Sheet; Designated Market Makers,” NYSE Euronext, 2012.
  22
      “Organization and Functioning of Securities Markets,” by Frank Reilly and Keith Brown, in Equity and Fixed
  Income CFA Program Curriculum, vol. 5, Pearson Custom Publishing, 2008.




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                   “We think that, at a minimum, there should be a presumption – probably
                   conditional for class determination – that certain markets are developed and
                   efficient for virtually all the securities traded there: the New York and
                   American Stock Exchanges, the Chicago Board Options Exchange and the
                   NASDAQ National Market System.”
                   Cammer, 711 F. Supp. at 1292 (quoting Bromberg & Lowenfels, Securities Fraud and
                   Commodities Fraud, §8.6 (1988)).


           66.     At the time of the Cammer opinion the NYSE and NASDAQ were distinctly

  separate exchanges. NASDAQ market makers did not make markets for NYSE-listed securities.

  However, since that time, the stock markets have evolved, and beginning in April 2005, NASDAQ

  enabled trading in most NYSE-listed securities through its market making platform.23 This

  NASDAQ market making activity is in addition to the principal market for listed securities on the

  NYSE.

           67.     According to Bloomberg, there were at least 217 market makers for Valeant stock

  during the Class Period, including well-known firms such as: Barclays Capital, Deutsche Bank,

  Goldman Sachs, JP Morgan, and UBS.24

           68.     The facts that it traded on the NYSE and had a large number of market makers are

  strong evidence that Valeant stock traded in an efficient market throughout the Class Period.

  Valeant’s listing on the NYSE gave its stock access to a highly developed network of brokers, and

  its market was overseen by the NYSE DMM. These facts are compelling evidence of the efficiency

  of the market for Valeant stock.




  23
       “Nasdaq to Enable Customers to Trade NYSE Stocks,” Reuters, March 28, 2005.
  24
    Market maker data obtained from Bloomberg. At least 147, 127, and 152 firms made a market in Valeant common
  stock during Interval-1, Interval-2, and Interval-3, respectively.




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                     4.      S-3 Registration Eligibility

             69.     The Cammer court recognized that “it would be helpful to allege the Company was

  entitled to file an S-3 Registration Statement in connection with public offerings or, if ineligible,

  such ineligibility was only because of timing factors rather than because the minimum stock

  requirements set forth in the instructions to Form S-3 were not met. Again, it is the number of

  shares traded and value of shares outstanding that involve the facts which imply efficiency.”25

             70.     A company is eligible for S-3 registration when, among other things, it has filed

  Exchange Act reports for a specified length of time and has outstanding float above a certain

  sizable value. At the time of the Cammer opinion, the conditions for S-3 registration were that a

  company had filed financial reports with the SEC for 36 months, and had outstanding float over

  $150 million held by non-affiliates, or $100 million of such float coupled with annual trading

  volume exceeding 3 million shares.26

             71.     In 1992, the SEC amended its requirements for S-3 registration eligibility to 12

  months of filings and at least $75 million of float. Since 2007, the SEC has allowed companies

  with less than $75 million of float to file an S-3 registration so long as the company has been filing

  financial reports for at least a year, has “a class of common equity securities listed and registered

  on a national securities exchange, and the issuers do not sell more than the equivalent of one-third

  of their public float in primary offerings over any period of 12 calendar months.”27 Despite the




  25
       Cammer, 711 F. Supp. at 1288 (emphasis added).
  26
     For a discussion of the generally accepted definitions of shares outstanding and float, see “Float Adjustment
  Methodology,” S&P Dow Jones Indices, July 2012.
  27
      “Revisions To The Eligibility Requirements For Primary Securities Offerings On Forms S-3 And F-3,” SEC
  Release No. 33-8878, 19 December 2007.




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  fact that the $75 million requirement has been loosened, courts continue to focus on the $75 million

  benchmark when analyzing this Cammer factor.28

           72.      The Cammer court noted that S-3 registration eligibility is indicative of market

  efficiency because the filing requirement ensures that financial data are available to market

  participants, and the “public float” requirement indicates that many market participants would have

  examined the information.29


                    “Proposed Form S-3 recognizes the applicability of the efficient market
                    theory to the registration statement framework with respect to those
                    registrants which usually provide high quality corporate reports, including
                    Exchange Act reports, and whose corporate information is broadly
                    disseminated, because such companies are widely followed by professional
                    analysts and investors in the market place. Because of the foregoing
                    observations made by the SEC, the existence of Form S-3 status is an
                    important factor weighing in favor of a finding that a market is efficient.”
                    Cammer, 711 F. Supp. at 1284-85.


                    “The ‘public float’ aspect of the Form S-3 requirements ensures that enough
                    investors have in fact read the previously filed document.”
                    Id. at 1285.


                    “Again, it is the number of shares traded and value of shares outstanding
                    that involve the facts which imply efficiency.”
                    Id. at 1287.


                                     a. Size of Float Requirement

           73.      Valeant satisfied both the original and revised size of float requirement for S-3

  registration eligibility throughout the Class Period. Valeant’s average float during the Class Period




  28
       See, e.g., Vinh Nguyen v. Radient Pharm. Corp., 287 F.R.D. 563, 573 (C.D. Cal. 2012).
  29
       Cammer, 711 F. Supp. at 1284-85.




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  of $27.9 billion, far exceeding the level required for S-3 registration.30 During the Class Period,

  float ranged between $7.4 billion and $58.0 billion, always exceeding the minimum requirement

  for S-3 registration by a wide margin.31

           74.      Consistent with the Cammer opinion, Valeant’s satisfaction of the float requirement

  for S-3 registration eligibility is evidence of the efficiency of the market for Valeant stock during

  the Class Period.


                                      b. Financial Filings

           75.      Valeant regularly filed financial reports with the SEC throughout the Class Period.

  However, toward the end of Class Period, Valeant delayed its FY 2015 Form 10-K financial filing.

  The delay was related to the issues raised in this litigation and was relatively brief. The Company

  cited the following reasons for the delay:


                    “Valeant Pharmaceuticals International, Inc. (NYSE: VRX) (TSX: VRX)
                    (‘Valeant’ or the ‘Company’) today announced that based on the work of
                    the Ad Hoc Committee of the Board of Directors appointed to review the
                    Company's relationship with Philidor and related matters, as well as
                    additional work and analysis by the Company, the Company has
                    preliminarily identified certain sales to Philidor during 2014, prior to
                    Valeant's entry into an option to acquire Philidor, that should have been
                    recognized when product was dispensed to patients rather than on delivery
                    to Philidor. … The Company expects to delay filing its 2015 10-K pending
                    completion of the review of related accounting matters by the Ad Hoc
                    Committee, with the assistance of its independent advisors, and the
                    Company's ongoing assessment of the impact on financial reporting and
                    internal controls.”
                    “Valeant Ad Hoc Committee has Made Substantial Progress in Its Review of Philidor
                    and Related Accounting Matters,” PR Newswire, 22 February 2016, 10:09 PM.



  30
    During Interval-1, Interval-2, and Interval-3, Valeant’s stock float averaged $19.8 billion, $28.1 billion, and $37.3
  billion, respectively.
  31
    During Interval-1, Valeant’s stock float ranged between $12.7 billion and $31.0 billion. During Interval-2, Valeant’s
  float ranged between $22.0 billion and $42.3 billion. During Interval-3, Valeant’s stock float ranged between $7.4
  billion and $58.0 billion.




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           76.      Despite meeting the minimum float requirement for S-3 registration, the Company

  was ineligible for S-3 registration as of 22 February 2016 through the end of the Class Period three

  weeks later on account of its delay in filing its FY 2015 Form 10-K. As noted above, this filing

  delay was related to the issues raised in this litigation.

           77.      Following the announcement of the Company’s filing delay, 20 analyst firms

  published 79 reports between 22 February 2016 through the end of the Class Period. During this

  same period, there were more than 900 news articles published about the Company. Information

  about the Company was available to investors even after the Company delayed its filing, and major

  reported news was about the delay itself. To the extent that S-3 registration eligibility indicates

  Company characteristics associated with market efficiency, i.e. size and information availability,

  the Company possessed those particular characteristics throughout the Class Period, including

  during the brief period during which Valeant was inelligible to file an S-3 registration statement.

  As noted, despite the ineligbility due to the filing delay, Valeant nonetheless satisfied this Cammer

  factor because the ineligbility was due to timing alone.

           78.      Not only was Valiant eligible for S-3 registration throughout all but the last 3 weeks

  of the Class Period, but the Company did file an S-3 Registration Statement during the Class

  Period, on 10 June 2013.32


           B.       Krogman Factors

           79.      In addition to evaluating market efficiency using the Cammer factors, I also

  examined Valeant stock and its market with respect to the three additional Krogman factors.




  32
       Valeant Pharmaceuticals International, Inc., Form S-3, filed 10 June 2013.




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                    1.       Market Capitalization

           80.      During the Class Period, the market capitalization of Valeant averaged $44.2

  billion,33 putting Valeant in the 1st decile of U.S. companies by size – meaning that Valeant was

  larger than at least 90% of all other publicly-traded companies in the United States.34

           81.      Consistent with the Krogman opinion, Valeant’s sizeable market capitalization

  throughout the Class Period is further evidence of the efficiency of the market for Valeant stock.

                    2.       Float

           82.      Valeant’s float averaged $27.9 billion during the Class Period.35 While float

  excludes shares held by insiders and affiliated corporate entities,36 Valeant’s float was still larger

  than the total market capitalization of at least 90% of all other publicly-traded companies in the

  United States.37 The size of Valeant’s float satisfied the second Krogman factor for market

  efficiency.




  33
       According to share price data obtained from CRSP and shares outstanding data obtained from Company SEC
  filings. During Interval-I, Valeant’s float ranged between $12.7 billion and $31.0 billion. During Interval-2, Valeant’s
  float ranged between $22.0 billion and $42.3 billion. During Interval-3, Valeant’s stock float ranged between $7.4
  billion and $58.0 billion.
  34
     Using averaged month-end data from CRSP for 31 January 2013 through 29 February 2016, I grouped public
  companies into deciles, so that the 1st decile contains the largest 10% of all public companies listed on the NYSE,
  AMEX, NASDAQ, and ARCA while the 10th decile contains the smallest 10%.
  35
       According to share price data obtained from CRSP and shares outstanding data obtained from Company SEC
  filings. During Interval-1, Interval-2, and Interval-3, Valeant’s common stock float averaged $19.8 billion, $28.1
  billion, and $37.3 billion, respectively.

  36
      I conservatively excluded from float the shares held by Ruane, Cunniff & Goldfarb (the “Sequoia Fund”),
  Pershing Square Capital Management, L.P., ValueAct Capital Management, and T. Rowe Price Associates, Inc in the
  calculation of float. Including these shares in float would increase the average public float during the Class Period to
  $40.4 billion.
  37
      This calculation is based upon averaged month-end data from CRSP for 31 January 2013 through 29 February
  2016.




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           83.      Float can also be analyzed as a percentage of total shares outstanding, as well as in

  absolute share and value terms. On average during the Class Period, there were 209.8 million

  shares in Valeant’s float and 333.1 million shares outstanding, resulting in an average float of

  63.0% of shares outstanding.38

           84.      While the ratio of float to market capitalization indicates substantial insider

  ownership of Valeant stock, the sheer magnitude of the float, larger than the entire market

  capitalizations of most publicly traded companies was substantial enough to strongly support a

  conclusion of market efficiency.

                    3.       Bid-Ask Spread

           85.      From CRSP, I obtained data on daily closing bid and ask quotes for Valeant stock

  during the Class Period.

           86.      I measured the percentage bid-ask spread as the difference between the bid and ask

  quotes, divided by the average of the bid and ask quotes, which is the standard way of measuring

  percentage bid-ask spreads in the finance literature.39 Exhibit-4 presents Valeant stock bid-ask

  spread data.




  38
      On average during Interval-1, there were 203.4 million shares in float and 322.9 million shares outstanding,
  resulting in an average float of 63.0% of shares outstanding. On average during Interval-2, there were 206.1 million
  shares in float and 335.4 million shares outstanding, resulting in an average float of 61.4% of shares outstanding. On
  average during Interval-3, there were 221.1 million shares in float and 343.0 million shares outstanding, resulting in
  an average float of 64.5% of shares outstanding. Excluding the shares held by the Sequoia Fund, Pershing Square
  Capital Management, L.P., ValueAct Capital Management, and T. Rowe Price Associates, Inc from the calculation,
  Valeant’s average shares in float during the Class Period was 304.4 shares or 91.4% of shares outstanding.
  39
      “Price Reversals, Bid-Ask Spreads, and Market Efficiency,” by Allen B. Atkins and Edward A. Dyl, Journal of
  Financial and Quantitative Analysis, Vol. 25, No. 4, 1990, pp. 535-547.




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          87.      The average bid-ask spread for Valeant stock over the course of the Class Period

  was 0.02%.40 By comparison, the average of month-end bid-ask spreads over the course of the

  Class Period for all stocks in the CRSP database was 0.60%.41 Valeant stock’s average bid-ask

  spread was substantially narrower than the mean level among all other CRSP stocks – which are

  the stocks traded on the NYSE, AMEX, NASDAQ, and ARCA.

          88.      In dollar terms, Valeant stock’s bid-ask spread during the Class Period averaged

  $0.03 per share.42 For all stocks in the CRSP database, the average bid-ask spread during the Class

  Period was $0.12 per share.43

          89.      The average bid-ask spread in the market for Valeant stock over the course of the

  Class Period was well below the typical bid-ask spreads exhibited by other publicly-traded stocks

  in the United States. Valeant’s narrow bid-ask spread strongly supports a conclusion of market

  efficiency.




  40
      During Interval-1, the average bid-ask spread for Valeant common stock was 0.02%. During Interval-2, the
  average bid-ask spread for Valeant common stock was 0.02%. During Interval-3, the average bid-ask spread for
  Valeant common stock was 0.04%.
  41
      This calculation is based upon averaged month-end data from CRSP for 31 January 2013 through 29 February
  2016. The average month-end bid-ask spread for all stocks in the CRSP database was 0.60%, 0.55%, and 0.66%,
  during Interval-1, Interval-2, and Interval-3, respectively.

  42
      During Interval-1, the average bid-ask spread for Valeant common stock was $0.02. During Interval-2, the
  average bid-ask spread for Valeant common stock was $0.02. During Interval-3, the average bid-ask spread for Valeant
  common stock was $0.06.

  43
       This calculation is based upon averaged month-end data from CRSP for 31 January 2013 through 29 February
  2016. The average month-end bid-ask spread for all stocks in the CRSP database was $0.11, $0.13, and $0.14, during
  Interval-1, Interval-2, and Interval-3 respectively.




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  VII.      EMPIRICAL DEMONSTRATION OF MARKET EFFICIENCY FOR
            VALEANT STOCK

            90.        The fifth Cammer factor is empirical evidence showing a cause-and-effect

  relationship between the dissemination of company-specific information and movement in the

  security price.44 The Cammer court noted that a demonstration of a cause and effect relationship

  “would be helpful to a plaintiff seeking to allege an efficient market.”45

            91.        While the Cammer court stated that the empirical factor is “helpful” and

  “convincing,” in Waggoner v. Barclays PLC, 875 F.3d 79 (2d Cir. 2017), the Second Circuit

  emphasized, consistent with financial principles and empirical findings, that the empirical factor

  is not necessary to establish market efficiency, especially when the other factors are satisfied by

  wide margins and circumstances are not unusual. For example, in Waggoner v. Barclays PLC, the

  Second Circuit stated that “a plaintiff seeking to demonstrate market efficiency need not always

  present direct evidence of price impact through event studies.”46

            92.        Nonetheless, appropriately significant reactions to new valuation-relevant

  information do demonstrate market efficiency and are compelling evidence. Collective event tests

  that prove that the stock reacted to information flow would also empirically demonstrate the

  efficiency of the subject security.

            93.        I conducted two sets of empirical tests of the efficiency of the market for Valeant

  stock.




  44
       Cammer, 711 F. Supp. at 1291.

  45
       Id., at 1287.
  46
       Id., at 97.




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         94.     The first empirical test was a series of event studies that investigates whether

  Valeant stock reacted significantly to major news events during the Class Period. I focused the

  event studies on dates on which Valeant formally announced substantial acquisitions, and on dates

  on which Valeant issued a press release or filed an SEC filing discussing its relationship with

  Philidor.

         95.     The second type of empirical examination was a collective test that investigates

  whether Valeant stock exhibited market efficiency by moving more on a set of high information

  flow dates than on all other more ordinary days, which would prove that information reaches the

  market, that the market trades on that information, and the stock price reacts to the flow of

  information.

         96.     The events tested collectively were the Company’s earnings or guidance

  announcements. This test addresses whether Valeant stock exhibited market efficiency by

  examining whether the stock observably responded to the increased flow of information that

  generally transpires on earnings or guidance announcement dates by moving more on these dates

  collectively as compared to all ordinary non- or lesser-news dates.

         97.     According to the finance literature, the flow of company-specific information is

  elevated on earnings or guidance announcement dates. More movement on days with more

  information would indicate a cause and effect relationship between information and movements

  in the Valeant stock price, which demonstrates informational market efficiency.

         98.     I conducted this collective event analysis using a Fisher’s Exact Test. This

  statistical test determines whether the incidence of statistically significant security price

  movements is significantly more frequent on earnings or guidance announcement dates as

  compared to all other ordinary non- or lesser-news days in the Class Period. A significantly higher




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  incidence of statistically significant price movements on earnings or guidance announcement dates

  indicates that the security price reacts to information, which therefore indicates market efficiency.

  I ran this test over the complete Class Period.


          A.       Event Study Test of Market Efficiency

          99.      Historically, the event study has been the paramount tool for testing market

  efficiency, as renowned financial economist and Nobel laureate Eugene Fama attested:


                   “The cleanest evidence on market-efficiency comes from event studies,
                   especially event studies on daily returns. When an information event can be
                   dated precisely and the event has a large effect on prices, the way one
                   abstracts from expected returns to measure abnormal daily returns is a
                   second-order consideration. As a result, event studies give a clear picture of
                   the speed of adjustment of prices to information.”
                   “Efficient Capital Markets: II,” by Eugene Fama, Journal of Finance, 1991, p. 1607.


          100.     Event study analysis is one of the most commonly used analytic methodologies

  employed by finance researchers. Campbell, Lo, and MacKinlay [1997] present an excellent

  description and examples of the methodology and write about how it is generally accepted and

  widely used in academic research.47 Crew, et al., [2017] write about how the methodology is

  generally accepted and widely used in forensic applications.48

          101.     An event study measures how much a security price rises or falls in response to

  new, company-specific information. One component of an event study is statistical regression

  analysis that determines how much of a security price change is explained by market and sector




  47
     Chapter 4 of The Econometrics of Financial Markets, by John Y. Campbell, Andrew W. Lo, and A. Craig
  MacKinlay, Princeton University Press, 1997.
  48
    “Federal Securities Acts and Areas of Expert Analysis,” by Nicholas I. Crew, Marine A. Moore, and Kevin L. Gold,
  in Chapter 27 of the Litigation Services Handbook: The Role of the Financial Expert, 6th ed., edited by Roman L.
  Weil, Daniel G. Lentz, and Elizabeth A. Evans, John Wiley & Sons, Inc., 2017.




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  factors, rather than company-specific information, so that those influences can be statistically

  factored out. The portion of a security price change that cannot be attributable to market or sector

  factors is called the residual security price movement or “residual return.” The event study isolates

  the residual return and also tests whether the residual return can reasonably be explained as merely

  a random fluctuation.

          102.    If a security’s return over an event period is statistically significant, it indicates that

  the security price movement cannot be attributed to market factors, sector factors, or to random

  volatility, but rather was caused by new, company-specific information. Such proof of a cause and

  effect relationship between the release of information and movement in the security price

  demonstrates market efficiency.

                  1.       A Caveat about Non-Significant Security Price Movements

          103.    It is important to note that an event study tests the joint hypothesis that the security

  trades in an efficient market and that the valuation impact of the information disseminated on an

  event date is of such a large magnitude as to exceed the threshold for statistical significance. A

  finding of statistical significance indicates market efficiency, but a finding of non-significance

  does not necessarily establish inefficiency because a modest non-significant stock price reaction

  may be the accurate and efficient stock price reaction to a particular disclosure.49

          104.    For example, if a company reports earnings that are in line with the expectations of

  analysts and investors, even though the announcement would be important, the mix of information

  may not have changed sufficiently on that date to elicit a statistically significant security price

  reaction. Similarly, if a materially positive statement is made alongside countervailing



  49
      “Event Studies in Securities Litigation: Low Power, Confounding Effects, And Bias,” by Alon Brav and J.B.
  Heaton, Washington University Law Review, 30 March 2015, p. 602.




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  confounding news that impacts the stock price in the opposite direction, one might not reasonably

  expect this mix of new information to cause a statistically significant stock price reaction. In these

  examples, a modest stock price movement, or even no movement at all, may be the appropriate

  stock price reaction. In such cases, the event study finding that the stock return was non-significant

  would not indicate inefficiency. In fact, in such cases, a non-significant stock price movement

  would indicate that the stock is behaving as it should in an efficient market.

          105.    Similarly, when a company deceives analysts and investors by concealing

  important information, the effect of the concealment would generally not be a significant stock

  price movement at the time of the concealment and over its duration. The concealment would

  maintain the mix of information as it previously was, so the appropriate price reaction, all else

  being equal, would be a maintenance of the price level where it previously was.

          106.    Therefore, ideal candidate events for inclusion in a market efficiency event study

  are events on which company-specific information was released that is new, unexpected, not

  confounded by major countervailing news, and may potentially be of such import as to reasonably

  be expected to elicit a stock price reaction over the threshold for statistical significance. As

  important events of interest may not possess all of these ideal characteristics, not every event

  selected for a traditional event study will prove to be statistically significant in an efficient market.

          107.    Furthermore, in a collective test, where the events are screened based on

  information flow rather than on the basis of being major valuation-relevant events, far from all of

  the events may be statistically significant in an efficient market. The threshold indicating market

  efficiency in a collective test is a significantly greater frequency of statistically significant events

  (or significantly different price dynamics), not that all individual events within the group are

  statistically significant.




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                   2.       Event Selection

                                    a. Selection of Acquisition Announcement Events

          108.     Given that a “critical element” of the Company’s strategy was growth through

  acquisition, announcements of large acquisitions could be expected to observably impact the value

  of the Company.50 It follows that on certain dates when the Company announced an acquisition,

  the value of Valeant would be expected to move.

          109.     However, not all acquisition announcements would be expected to elicit a

  statistically significance price reaction, as certain acquisition announcements may have been

  anticipated and/or the incremental valuation impact might not have been large enough to exceed

  the threshold for statistical significance. Considering that Valeant’s market capitalization averaged

  $44.2 billion during the Class Period, the valuation impact of any particular acquisition would

  have to be very substantial in order to be expected to elicit a statistically significant stock price

  reaction. That is, although an acquisition might be economically significant to the Company, the

  valuation impact of the acquisition may not be over the threshold for statistical significance, unless

  the deal were very large and unexpected, and the terms were profoundly favorable or unfavorable.

          110.     I reviewed the Company’s press releases during the Class Period to identify all

  formal acquisition proposals announced by Valeant and screened for the acquisitions that were

  above five percent of the Company’s market capitalization at the time of the announcement. I

  reviewed analyst reports to verify that these particular events were major events that reasonably

  would have significant impact on the Company’s stock valuation.




  50
      Valeant Pharmaceuticals International, Inc., Form 10-K for fiscal year ended 31 December 2015, filed 29 April
  2016 p. 1.




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          111.     Using the criteria described above, I identified three acquisition announcements

  during the Class Period that would reasonably be expected to elicit a statistically significant price

  reaction, and so were good candidate events for a market efficiency event study. The three event

  dates are: 28 May 2013; 22 April 2014; and 23 February 2015.

          112.     The news on these three acquisition announcement event dates during the Class

  Period included the following information:

             i.    28 May 2013 – the Company issued a press release tiled “Valeant
                   Pharmaceuticals International, Inc. To Acquire Bausch + Lomb for $8.7
                   Billion.”51
            ii.    22 April 2014 – the Company issued a press released titled “Valeant Proposes to
                   Combine with Allergan for $48.30 in Cash and 0.83 Shares of Valeant Stock for
                   Each Allergan Share,”52 and held a conference call with investors.53
           iii.    23 February 2015 – on 22 February 2015, after the close of trading, the
                   Company issued a press release title “Valeant To Acquire Salix Pharmaceuticals
                   For $158.00 Per Share in Cash.”54

                                    b. Selection of Philidor Disclosure Events

          113.     Not only did the Cammer court single out the empirical factor as “one of the most

  convincing ways to demonstrate efficiency,” but it also recognized the special importance of the

  specific information allegedly misrepresented that is the subject of the litigation:



  51
     “Valeant Pharmaceuticals International, Inc. To Acquire Bausch + Lomb For $8.7 Billion,” PR Newswire,
  Company press release, 27 May 2013.
  52
      “Valeant Proposes to Combine with Allergan for $48.30 in Cash and 0.83 Shares of Valeant Stock for Each
  Allergan Share,” Canada NewsWire, Company press release, 22 April 2014.

  53
     “Valeant Pharmaceuticals International, Inc. Conference Call to Discuss the Proposed Acquisition of Allergan,”
  Thomson Reuters, 22 April 2014.
  54
       “Valeant To Acquire Salix Pharmaceuticals For $158.00 Per Share in Cash,” Canada NewsWire, Company press
  release, 22 February 2015, 4:00 PM.




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                 “The central question under the fraud on the market theory is whether the
                 stock price, at the time a plaintiff effected a trade, reflected the
                 ‘misinformation’ alleged to have been disseminated.”
                 Cammer, 711 F. Supp. at 1282 (emphasis in original).


         114.    By focusing an event study on information events related to the allegations in the

  Complaint, one is able to ascertain whether the market for Valeant stock was efficient, not only

  generally, but also specifically with respect to the particular information at issue in this case.

  Consequently, the empirical behavior of Valeant stock following such information events is

  important for determining whether the market for the Company’s stock was efficient for purposes

  of the fraud-on-the-market principle.

         115.    An event study testing market efficiency does not require a comprehensive

  identification of all events during the Class Period, including all of those cited in the Complaint,

  on which new allegation-related information was disclosed. An objective screen may capture only

  some of those events. Further, because of the high threshold for statistical significance, some

  information may be economically significant without being statistically significant.

         116.    To identify additional potential event dates, I reviewed Valeant’s press releases and

  SEC filings during the Class Period to identify major news events on which the Company

  discussed its relationship with Philidor. There were seven such event dates during the Class Period:

  19 October 2015; 26 October 2015; 30 October 2015; 10 November 2015; 23 February 2016; 29

  February 2016; and 15 March 2016. The news on these dates included the following information:




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             iv.   19 October 2015 – the Company issued a press release detailing its Q3 2015
                   financial results and held a conference call with investors.55 In its prepared
                   conference call comments, the Company preemptively provided responses to
                   potential Philidor questions.56
             v.    26 October 2015 – the Company filed its Form 10-Q for Q3 2015 and held a
                   conference call with investors.57 On the conference call with investors Valeant
                   provided additional details regarding its relationship with Philidor, including the
                   Company’s purchase option for Philidor, and the accounting and disclosure
                   policies for Philidor.58 In its Form 10-Q, the Company disclosed that it had the
                   “power to direct Philidor’s activities and its obligation to absorb their losses and
                   rights to receive their benefits.”59
             vi.   30 October 2015 – the Company issued a press release titled “Valeant To
                   Terminate Relationship With Philidor.”60 In its press release, Valeant stated that it
                   was “severing all ties with Philidor Rx Services, LLC, and that Philidor has
                   informed Valeant that it will shut down operations as soon as possible, consistent
                   with applicable laws.”61



  55
     “Valeant Pharmaceuticals Reports Third Quarter 2015 Financial Results,” PR Newswire, 19 October 2015, 6:00
  AM; “Q3 2015 Valeant Pharmaceuticals International Inc Earnings Call,” Thomson Reuters, 19 October 2015 8:00
  AM GMT.
  56
      “Valeant Pharmaceuticals International, Inc. Q3 2015 Financial Results,” Investor Presentation, dated 19 October
  2015; “Q3 2015 Valeant Pharmaceuticals International Inc Earnings Call,” Thomson Reuters, 19 October 2015, 8:00
  AM GMT.
  57
      Valeant Pharmaceuticals International, Inc., Form 10-Q for the Quarter Ended 30 September 2015, filed 26
  October 2015; “Valeant Pharmaceuticals International Inc To Hold Investor Conference Call,” Thomson Reuters, 26
  October 2015, 8:00 AM GMT.
  58
      “Valeant Pharmaceuticals International, Inc. Q3 2015 Financial Results,” Investor Presentation, dated 26 October
  2015.
  59
      Valeant Pharmaceuticals International, Inc., Form 10-Q for the Quarter Ended 30 September 2015, filed 26
  October 2015, p. 13.

  60
      “Valeant To Terminate Relationship With Philidor,” Company press release, Dow Jones Newswire, 30 October
  2015, 5:00 AM.
  61
       Id.




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             vii.    10 November 2015 – Valeant held a conference call to update investors on its
                     “strategy with respect to specialty pharmacies, to explain our transition plans for
                     Philidor, to discuss our business performance for the first half of the quarter,” and
                     take questions from analysts and investors.62
             viii.   23 February 2016 – on 22 February 2016, after the close of trading, the
                     Company issued a press release titled “Ad Hoc Committee has Made Substantial
                     Progress in Its Review of Philidor and Related Accounting Matters.”63 The
                     Company also disclosed that “approximately $58 million in net revenues
                     previously recognized in 2014 should have been booked in subsequent periods.”64
                     The Company announced a conference call on 29 February 2016 to “discuss
                     unaudited financial results for the fourth quarter of 2015, and provide a business
                     update.”65
              ix.    29 February 2016 – on 28 February 2016 (Sunday), Valeant issued a press
                     release titled “Valeant Pharmaceuticals Announces Management and Business
                     Update.”66 The press release announced that the Company “will be rescheduling
                     its previously announced call to discuss preliminary fourth quarter 2015 results,
                     deliver a business review, and provide updated guidance for 2016. In the interim,
                     the Company is withdrawing its prior financial guidance.”67
               x.    15 March 2016 – the Company issued a press release titled “Valeant
                     Pharmaceuticals Reports Preliminary Unaudited Fourth Quarter 2015 Financial




  62
     “Valeant Pharmaceuticals International Inc Conference Call to Provide Business Update,” Thomson Reuters, 10
  November 2015, 8:00 AM GMT, p. 3.
  63
      “Valeant Ad Hoc Committee has Made Substantial Progress in Its Review of Philidor and Related Accounting
  Matters,” PR Newswire, Company press release, 22 February 2016, 10:09 PM.
  64
       Id.
  65
       Id.

  66
      “Valeant Pharmaceuticals Announces Management and Business Update,” PR Newswire, Company press release,
  28 February 2016, 7:27 PM.
  67
       Id.




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                    Information.”68 The Company was unable to file audited financial results due to
                    the ongoing investigation into its relationship with Philidor. The Company
                    provided Q1 and FY 2016 guidance.69

                    3.     Isolating the Impact of Company-Specific Information

             117.   Event study analysis determines how much of the Company’s stock return

  following each of the events was driven by Company-specific information as opposed to market

  and sector factors.

             118.   The method, which is generally accepted and widely used in econometric modeling,

  involves running a regression to determine how the price of Valeant stock typically behaved in

  relation to the overall stock market and its industry sector, and then using the regression model to

  determine how much of each event day’s actual return is explained by the market and sector

  factors. The portion of the stock return that is apportioned to market and sector factors is called

  the explained return.

             119.   The explained return is then subtracted from the actual return to isolate the residual

  return, which is the stock’s return after controlling for market and sector effects.

             120.   The regression equation models the return of Valeant stock as a function of: 1) a

  constant term; 2) the returns of the overall stock market; and 3) a sector index return.

             121.   For    the     overall    stock     market     factor,    I    used     the    CRSP

  NYSE/AMEX/NASDAQ/ARCA Market Index (the “Market Index”), which is a generally

  accepted and widely used measure of the overall stock market performance. The Market Index

  appropriately incorporates payment of dividends by the constituent companies.


  68
     “Valeant Pharmaceuticals Reports Preliminary Unaudited Fourth Quarter 2015 Financial Information,” PR
  Newswire, Company press release, 15 March 2016.
  69
       Id.




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           122.     For the sector factor, I constructed a value-weighted index comprising the same

  collection of companies that Valeant identified as representative of its peers (the “Sector Index”).

  In its 2012, 2013, 2014, 2015, and 2016 Form 10-K filings, Valeant compared itself to 8

  companies,70 8 companies,71 13 companies,72 12 companies,73 and 12 companies,74 respectively.

  The Sector Index was constructed using the same collection of companies identified by Valeant.

  In each year, the Sector Index’s constituents match those identified by the Company for that

  respective year.

           123.     All returns used in the regression are logarithmic returns – that is, the natural

  logarithm of the ratio of the current day’s closing price plus dividends to the previous day’s closing

  price. Logarithmic returns are commonly used in event studies and equity analysis. Analysts and




  70
     For the fiscal year ended 31 December 2012 Valeant compared its performance to Allergan, Endo Pharmaceuticals
  Holdings Inc., Forest Laboratories, Inc., Gilead Sciences, Inc., Mylan Inc., Perrigo Company, Shire Pharmaceuticals
  Group plc, and Watson Pharmaceuticals, Inc. (Valeant Pharmaceuticals International, Inc., Form 10-K for the Fiscal
  Year Ended 31 December 2012, filed 28 February 2013, p. 23).
  71
       For the fiscal year ended 31 December 2013 Valeant compared its performance to Actavis Inc, Allergan, Endo
  Health Solutions, Forest Laboratories, Gilead Sciences Inc., Shire plc, Mylan Inc., and Perrigo Co. (Valeant
  Pharmaceuticals International, Inc., Form 10-K for the Fiscal Year Ended 31 December 2013, filed 28 February 2014,
  p. 24).
  72
       For fiscal year ended 31 December 2014 Valeant compared its performance to Actavis Inc, Allergan, Amgen,
  Biogen, Bristol Myers Squibb & Co., Celgene, Danaher Corporation, Gilead Sciences Inc., Lilly (Eli) & Co., Shire
  plc, Mylan Inc., Perrigo Co., and Vertex Pharmaceuticals Inc. (Valeant Pharmaceuticals International, Inc., Form 10-K
  for the Fiscal Year Ended 31 December 2014, filed 25 February 2015, p. 24).
  73
       For the fiscal year ended 31 December 2015 Valeant compared its performance to Allergan, Amgen, Biogen,
  Bristol Myers Squibb & Co., Celgene, Danaher Corporation, Gilead Sciences Inc., Lilly (Eli) & Co., Shire plc, Mylan
  Inc., Perrigo Co., and Vertex Pharmaceuticals Inc. (Valeant Pharmaceuticals International, Inc., Form 10-K for the
  Fiscal Year Ended 31 December 2015, filed 29 April 2016, p. 35).
  74
       For the fiscal year ended 31 December 2016 Valeant compared its performance to Allergan, Amgen, Biogen,
  Bristol Myers Squibb & Co., Celgene, Danaher Corporation, Gilead Sciences Inc., Lilly (Eli) & Co., Shire plc, Mylan
  Inc., Perrigo Co., and Vertex Pharmaceuticals Inc. (Valeant Pharmaceuticals International, Inc., Form 10-K for the
  Fiscal Year Ended 31 December 2016, filed 1 March 2017, p. 37).




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  researchers generally use logarithmic returns instead of percent price changes because of various

  computational advantages.75

           124.     Valeant’s stock prices, trading volume, and returns are shown in Exhibit-4.

  Exhibit-5 presents Market Index and Sector Index data.

           125.     Due to the length of the Class Period, and the Company’s growth, I ran rolling

  regressions. That is, I ran a separate regression for each event on data from the year prior to each

  respective event (approximately 252 trading days). This way the regression estimates are

  contemporaneous with the events being tested. I used dummy (or indicator) variables to control

  for potentially abnormal returns on all test dates (earnings or guidance announcement events,

  Philidor-related announcement events, and acquisition announcement events). Using dummy

  (indicator) variables to control for potentially unusual events in the estimation period, especially

  when those dates are the subject of the event study analysis, so that the model parameters properly

  reflect typical stock price movements, is a widely used and generally accepted methodology, as

  noted in the academic and finance literature.76

           126.     The choice of using the one-year period preceding each event date for the regression

  estimation period is also a widely used and generally accepted methodology in event study

  analysis.



  75
       Appendix-1 presents the mathematical formula for the logarithmic return and a discussion of the measure.
  76
       See: “Event Studies with a Contaminated Estimation Period,” by Nihat Aktas, Eric de Bodt, and Jean-Gabriel
  Cousin, Journal of Corporate Finance, 2007; “Measuring the Effects of Regulation with Stock Price Data,” by John
  J. Binder, The RAND Journal of Economics, 1985; “Intervention Analysis with Applications to Economic and
  Environmental Problems,” by G. E. P. Box and G. C. Tiao, Journal of the American Statistical Association, 1975;
  “Testing for Market Efficiency: A Comparison of the Cumulative Average Residual Methodology and Intervention
  Analysis,” by David F. Larcker, Lawrence A. Gordon and George E. Pinches, Journal of Financial & Quantitative
  Analysis, 1980; “Measuring Abnormal Performance: The Event Parameter Approach Using Joint Generalized Least
  Squares,” by Paul H. Malatesta, The Journal of Financial and Quantitative Analysis, 1986; “Conditioning the Return-
  Generating Process on Firm-Specific Events: A Discussion of Event Study Methods,” by Rex Thompson, The Journal
  of Financial and Quantitative Analysis, 1985.




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                     “Three general choices for the placement of an estimation window are
                     before the event window, surrounding the event window, and after the event
                     window.”
                     “Materiality and Magnitude: Event Studies in the Courtroom,” by David I. Tabak
                     and Frederick C. Dunbar in Litigation Services Handbook, The Role of the Financial
                     Expert, 3rd ed., edited by Roman L. Weil, Michael J. Wagner, and Peter B. Frank,
                     John Wiley & Sons, Inc., 2001, p. 19.5.


           127.      The regression results are presented in Exhibit-6.

           128.      I computed the explained portion of the Valeant stock return on each event date by

  adding: 1) the estimated regression intercept term, 2) the respective day’s Market Index return

  multiplied by the Market Index coefficient estimated by the regression, and 3) the respective day’s

  Sector Index return multiplied by the regression’s Sector Index coefficient.

           129.      I then computed the residual return for each event date by subtracting the explained

  return from the actual return.

                     4.       t-Test

           130.      For each event, a statistical test called a t-test was conducted to determine whether

  the residual return of Valeant stock was statistically significant. Statistical significance means that

  the event return, after controlling for the market and sector effects, was of such magnitude that it

  cannot be attributed to random volatility, but alternatively must have been caused by Company-

  specific information. A t-test compares the residual return on an event date to the typical residual

  return exhibited over the regression estimation period. If the event date residual return is far greater

  (positively or negatively) than the typical residual return, the t-test indicates that the residual return

  is statistically significant.77



  77
       The test is called the t-test because it involves the computation of a t-statistic, which is the event day residual
  return divided by the standard deviation of residual returns from the control period, i.e., the regression estimation data
  comprising all other days. If the absolute value of the t-statistic is greater than the critical t-statistic value (1.96 for
  large samples), the likelihood that the residual return could have been caused by random volatility alone is less than




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          131.     The event study results for Valeant stock are presented below and summarized in

  Exhibit-7a and Exhibit-7b.


          B.       Acquisition Announcement Event Study Results

                   1.       Acquisition Announcement Event Study: 28 May 2013

          132.     On 27 May 2013 (Sunday), the Company issued a press release stating that it had

  entered into a definitive agreement under which it would acquire Bausch and Lomb for $8.7 billion

  in an all-cash deal.78 While unconfirmed reports of the acquisition leaked on 24 May 2013,79 the

  Company’s formal announcement and confirmation including proposed terms occurred on 27 May

  2013. The Company also held a conference call that day to “discuss its definitive agreement to

  acquire Bausch + Lomb Holdings.”80

          133.     Analysts commented that Bausch and Lomb would be a good strategic fit, has a

  strong growth profile, and would lead to significant accretion.


                   “We value the combination of Valeant and B+L based on expected 43.5%
                   accretion to our 2014E cash EPS. By applying (pre-B+L speculation) P/cash
                   EPS (~11.5x) and EV/EBITDA (13.2x) multiples to our accretion analysis,
                   we arrive at a 12-month target of US$112.00 (increased from US$82.00),
                   which implies a 32.6% return and supports our BUY rating.”
                   “Valeant Reels in A Big One,” by Neil Maruoka and Shilpa Joshi, Canaccord, analyst
                   report, 27 May 2013, p. 1.




  5%, which is generally accepted to be so unlikely that the random volatility explanation can be rejected, and the
  security return for that day is deemed statistically significant.
  78
      “Valeant Pharmaceuticals International, Inc. To Acquire Bausch + Lomb for $8.7 Billion,” Dow Jones, Company
  press release, 27 May 2013.
  79
     “Bausch & Lomb Said to Be Near $9 Billion Sale to Valeant,” by Michael J. De La Merced, The New York Times,
  24 May 2013.
  80
     “Valeant Pharmaceuticals International, Inc. Conference Call to Discuss its Definitive Agreement to Acquire
  Bausch + Lomb Holdings,” Thomson Reuters, 28 May 2013, 8:00 AM GMT.




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             “We are adding B&L contribution to our model starting in 4Q13 (expected
             close in 3Q13) and now project 2013-15 revenue and EPS of $5.28B and
             $5.86, $8.31B and $8.58, $8.85B and $10.32 vs $4.47B and $5.70, $4.81B
             and $6.45, and $5.12B and $7.20, respectively (see details for accretion
             analysis). Our $103 PT is 12x our new 2014E cash EPS of $8.58 (see
             details).”
             “Post B&L Conf Call, Raising PT to $103 (vs $82),” by David Steinberg and Edward
             Chung, Deutsche Bank, analyst report, 27 May 2013, p. 1.


             “Thoughts on the stock: Stay long VRX Investors understand how sig a deal
             this would be for Valeant given the 13% stk move on Friday as the story of
             a potential deal hit the news wires. The deal makes sense, the synergies are
             sig and we think there is more to go for this stk as mgt continues to execute
             on running the base biz and finding and integrating new deals. Valuation:
             We maintain our Buy rating and incr. our PT to $96 (was $81).”
             “Who Says There Is Nothing Left to Buy?” by Marc Goodman, et al., UBS, analyst
             report, 28 May 2013, p. 1.


             “Making the Friday speculations come true, Valeant has formally
             announced its acquisition of Bausch & Lomb (private) for $8.7B in cash.
             Valeant's guidance is >40% accretive to 2013 with >$800M in synergies
             expected by the end of 2014. We also expect it to take the tax rate from 32%
             to <5% shortly after a Q3 close. We find this an extraordinary deal and
             continue to see upside from here.”
             “Bausch & Lomb: Just Another ‘Tuck-In’,” by Core Davis, et al., Jefferies, analyst
             report, 28 May 2013, p. 1.


             “[W]e are raising our EPS estimates in 2014-2016 to reflect the Bausch
             acquisition and raising our target to $120. This reflects a 10.3x multiple off
             our new 2015 EPS of $11.64. We now see a 31% EPS CAGR through 2016.
             VRX once again becomes one of our top picks. We find the deal extremely
             attractive and expect the stock to trade well -- especially after the planned
             $1.5-$2.0B equity offering.”
             “New Model: $12 in '15; Raise PT to $120,” by Core Davis, et al., Jefferies, analyst
             report, 28 May 2013, p. 1.


             “We think VRX's acquisition of BOL makes sense and the financial
             parameters seem better than expected. We look for details on synergy and
             growth targets but expect a favorable reaction and reiterate our Positive
             rating, increasing our target to $105/share.”
             “Valeant Pharmaceuticals International, Inc.: Bausch & Lomb Deal Targets More
             Accretion Than Expected,” by Andrew Finkelstein, SIG, analyst report, 28 May 2013,
             p. 1.




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                   “In the wake of this transaction, which Valeant has indicated is expected to
                   be immediately accretive to earnings, we have raised our 2013 cash EPS
                   estimate from $5.65 to $7.38. Total revenue for 2013 is guided to be $7.1bn
                   and adjusted cash flow from operations roughly $2bn. In the wake of this
                   news, we maintain our Buy rating and raise our 12-month price target from
                   $80.00 to $110.00 per share.”
                   “Bausch & Lomb Acquisition - Raising Price Target,” by Raghuram Selvaraju and
                   Yi Chen, Aegis Capital Corp., analyst report, 28 May 2013, p. 1.


           134.    On 28 May 2013, Valeant stock increased 8.32% (on a logarithmic return basis).

  The residual return on Valeant stock was 7.43%. A residual return of 7.43% is unusually large for

  Valeant stock. This residual return is associated with a t-statistic value of 4.28, which is

  statistically significant at the 95% confidence level. Therefore, the residual return was too large to

  have been merely a random fluctuation.

                   2.       Acquisition Announcement Event Study: 22 April 2014

           135.    On 22 April 2014, the Company issued a press release titled “Valeant proposes to

  combine with Allergan for $48.30 in cash and 0.83 shares of Valeant stock for each Allergan

  share.”81 The Company also held a conference call to “discuss the proposed acquisition of

  Allergan.”82 The proposed transactions valued the Allergan acquisition at $45.6 billion.83

           136.    The deal’s prospects were viewed positively as Allergan was considered a good

  strategic fit for Valeant.


                   “We see excellent strategic fit in a combination, with complementary
                   dermatology and ophthalmology franchises. Accretion is likely modest.
                   While there is tremendous opportunity for cost savings (we project $1.85


  81
      “Valeant Proposes to Combine with Allergan for $48.30 in Cash and 0.83 Shares of Valeant Stock for Each
  Allergan Share,” Canada NewsWire, Company press release, 22 April 2014.

  82
     “Valeant Pharmaceuticals International, Inc. Conference Call to Discuss the Proposed Acquisition of Allergan,”
  Thomson Reuters, 22 April 2014.
  83
       “Valeant, Ackman Make $45.6B Allergan Bid,” Associated Press, 22 April 2014.




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                 billion), we expect that higher resultant debt levels will partially offset these
                 synergies, suggesting modest accretion of 10.9%.”
                 “Placing Allergan in its Sights,” by Neil Maruoka and Shilpa Joshi, Canaccord,
                 analyst report, 22 April 2014, p. 1.


                 “The deal makes clear strategic sense for Valeant as it would establish
                 dominance in the growing aesthetics and eye care market. Based on
                 consensus estimates, Allergan’s revenues are expected to grow by a CAGR
                 of 8.3% from 2013 to 2017. If this deal goes through, Valeant will most
                 likely need to divest some assets, but they will have the option of keeping
                 the market leaders from Allergan. Based on our scenario analysis, we
                 estimate that the deal could produce roughly $1.5B-$2.6B in total annual
                 synergies (including tax savings) and $0.8B-$1.7B in operating (R&D +
                 SG&A) synergies.”
                 “Another Bold Move: VRX Will Likely Offer ~$50B for AGN; Could Be 8%-17%
                 Accretive,” by Alex Arfaei, BMO, analyst report, 22 April 2014, p. 1.


                 “We see a strong fit between Valeant and Allergan’s Aesthetics and
                 Ophthalmics (Eye drug) franchises. In Ophthalmics, Allergan would
                 contribute a leading presence in Glaucoma and Dry eye — two critical Rx
                 segments where Valeant has insignificant offerings. Valeant would
                 contribute a solid presence at the OTC end of the eye drug market. The
                 combined franchise would likely dominate the Ophthalmics market. The
                 new company could also be a world leader in Aesthetics — a high-priority
                 target and a high-growth performer for VRX.”
                 “Valeant Joins Pershing To Target Allergan,” by Lennox Gibbs, TD Securities,
                 analyst report, 23 April 2014, p. 1.


         137.    On 22 April 2014, Valeant stock increased 7.19% (on a logarithmic return basis).

  The residual return on Valeant stock was 4.65%. A residual return of 4.65% is unusually large for

  Valeant stock. This residual return is associated with a t-statistic value of 2.96, which is

  statistically significant at the 95% confidence level. Therefore, the residual return was too large to

  have been merely a random fluctuation.




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                    3.     Acquisition Announcement Event Study: 23 February 2015

             138.   On 22 February 2015 (Sunday) the Company issued a press release titled “Valeant

  To Acquire Salix Pharmaceuticals For $158.00 Per Share In Cash.”84 The deal valued Salix at

  $14.5 billion.85 That day, Valeant also reported Q4 and FY 2014 financial results.86

             139.   Contemporaneous market commentary considered the Salix acquisition a positive

  development for the Company.


                    “We see the key benefits of the transaction as: 1) a new product class (GI
                    will be 24% of revenue post acquisition); 2) cost synergies ($500 mln in run
                    rate savings in the first six months; 20%+ accretive in 2016); 3) potential
                    upside from FDA approval for Xifaxan's IBS-D offering (which we estimate
                    could double Xifaxan' s annual sales) and other near-term pipeline drugs.”
                    “Entering The GI Market - Announces Salix Acquisition,” by Stephanie Price and
                    Varun Choyah, CIBC, analyst report, 23 February 2015, p. 1.


                    “The 4Q14 beat and announcement of the SLXP deal (NC, $157.85) keep
                    us positive on VRX shares. Therefore, we are increasing our PT for VRX's
                    stock from $178 to $210.”
                    “VRX - BUY - Raising PT From $178 to $210 Post 4Q14 Beat and SLXP Deal,” by
                    Louise Chen, et al., Guggenheim, analyst report, 23 February 2015, p. 1.


             140.   On 23 February 2015, Valeant stock increased 13.73% (on a logarithmic return

  basis). The residual return on Valeant stock was 13.72%. A residual return of 13.72% is unusually

  larger for Valeant stock. This residual return is associated with a t-statistic value of 9.38, which

  is statistically significant at the 95% confidence level. Therefore, the residual return was too large

  to have been merely a random fluctuation.




  84
       “Valeant To Acquire Salix Pharmaceuticals For $158.00 Per Share in Cash,” Canada NewsWire, Company press
  release, 22 February 2015, 4:00 PM.

  85
       Id.
  86
       “VRX Valeant Pharmaceuticals earns $912.2-million in 2014,” Canada Stockwatch, 23 February 2015.




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                     4.     Summary of Acquisition Announcement Event Study Results

              141.   Valeant stock exhibited strongly statistically significant stock price reactions

  following all three of the major acquisition announcements.


              C.     Philidor Disclosure Event Study Results

                     1.     Philidor Disclosure Event Study: 19 October 2015

              142.   On 19 October 2015, the Company issued a press release detailing its Q3 2015

  financial results and held a conference call with investors.87 In the presentation slide deck

  accompanying the earnings conference call, Valeant provided a slide titled “Questions from

  Investors,” which included the following question: “How does Valeant work with specialty

  pharmacies and what is Valeant’s relationship with Philidor?”88 In the slides addressing this

  question, the Company characterized “their relationship with Philidor and our other specialty

  pharmacies as proprietary and as one of our competitive advantages.”89

              143.   In his prepared comments during the conference call, the Company’s CEO Michael

  Pearson elaborated further:


                     “[Michael Pearson, Chairman and CEO]: The topic of specialty pharmacies
                     has not been a focus of ours on past calls because we believe this was a
                     competitive advantage that we did not want to disclose to our competitors.
                     But given all the incorrect assertions by some, we will provide an update on
                     this call. Similar to many pharmaceutical companies in the US, an
                     increasing percentage of our revenue is coming from products dispensed
                     through multiple specialty pharmacies. We find specialty pharmacies
                     improve patients’ access to medicines at an affordable price, and help
                     ensure physicians are able to prescribe the medications they believe most
  87
     “Valeant Pharmaceuticals Reports Third Quarter 2015 Financial Results,” PR Newswire, 19 October 2015, 6:00
  AM; “Q3 2015 Valeant Pharmaceuticals International Inc Earnings Call,” Thomson Reuters, 19 October 2015 8:00
  AM GMT.
  88
      “Valeant Pharmaceuticals International, Inc.; Q3 2015 Financial Results; October 19, 2015,” Company
  presentation, 19 October 2015, p. 19.
  89
       Id., p. 34.




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                   appropriate for their patients. In almost all cases, our inventory with
                   specialty pharmacies in this channel and the title to our medicine only
                   transfers to the pharmacy when the actual prescription is filled.
                   …
                   Since we do not recognize the revenue of our products until the
                   prescriptions are filled, this consolidation has the impact of delaying
                   revenue recognition as compared to products that are sold through
                   traditional distribution channels.”
                   “Q3 2015 Valeant Pharmaceuticals International Inc. Earnings Call,” Thomson
                   Reuters, Company conference call, 19 October 2015, 8:00 AM, pp. 7-8.


          144.     Contemporaneous media commentary discussed Valeant’s relationship with

  Philidor.


                   “Then on Monday during a quarterly conference call with analysts its
                   executive outlined certain key changes to its business model and disclosed
                   its relationship to one of these third-party pharmacies that distributes some
                   of its key drugs. … Most Wall Street analysts were nonplussed by Valeant's
                   disclosures, and several analysts admitted that they knew almost nothing
                   specifically about Philidor or Valeant's exact relationship with the company
                   before Monday.”
                   “Pricing Concerns Continue To Hit Pharma Companies,” by Maureen Farrell, Dow
                   Jones Newswires, 20 October 2015.


          145.     On 19 October 2015, Valeant stock declined 8.05% (on a logarithmic return basis).

  The residual return on Valeant stock was -8.26%. A residual return of -8.26% is associated with a

  t-statistic value of -4.12, which is statistically significant at the 95% confidence level. Therefore,

  the residual return was too large to have been merely a random fluctuation.

                   2.      Philidor Disclosure Event Study: 26 October 2015

          146.     On 26 October 2015, the Company filed its Form 10-Q for Q3 2015 and held a

  conference call with investors.90 In its Form 10-Q filed that day, the Company disclosed that it had


  90
      “Valeant Pharmaceuticals International, Inc., Form 10-Q for the Quarter Ended 30 September 2015, filed 26
  October 2015; “Valeant Pharmaceuticals International Inc To Hold Investor Conference Call,” Thomson Reuters, 26
  October 2015, 8:00 AM GMT.




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  “power to direct Philidor’s activities and its obligation to absorb their losses and rights to receive

  their benefits.”91

          147.    In the same filing, the Company stated:


                  “[T]hat its Audit and Risk Committee and the full Board of Directors have
                  reviewed the Company’s accounting for its Philidor arrangement and have
                  confirmed the appropriateness of the Company’s related revenue
                  recognition and accounting treatment. Based on its review conducted
                  through that date, the Company believed that it was in compliance with
                  applicable law. In light of the recent allegations made regarding Philidor,
                  however, the Board of Directors decided to establish an ad hoc committee
                  of the board to review allegations related to the Company’s business
                  relationship with Philidor and related matters.”
                  Valeant Pharmaceuticals International, Inc., Form 10-Q for the Quarter Ended 30
                  September 2015, filed 26 October 2015, p. 38.


          148.    On the conference call with analysts and investors, Valeant provided additional

  details regarding its relationship with Philidor, including the Company’s purchase option for

  Philidor and certain accounting policies.


                  “[Howard Schiller, Board Member and former CFO]: In the case of
                  Philidor, an option purchase, however, there was no day one as we did not
                  buy Philidor. They retained their systems and policies. The Philidor
                  employees did not report to Valeant. Philidor remained an independent
                  company. Valeant paid an upfront payment of $100 million to acquire an
                  option to purchase Philidor, as well as sales-based milestones of up to $133
                  million, of which $33 million has already been paid. Philidor has remained
                  an independent company while Valeant has retained certain rights that
                  include a joint steering committee, the right to approve certain employees
                  and their position, the right to audit, adherence to certain covenants with
                  respect to clients to all applicable laws, and the right to conduct HIPAA
                  security risk assessments. Philidor is a separate limited liability entity and
                  we believe we do not have any legal liability for Philidor.”
                  “Valeant Pharmaceuticals International Inc To Hold Investor Conference Call,”
                  Thomson Reuters, Company conference call, 26 October 2015, 8:00 AM, p. 6.




  91
      Valeant Pharmaceuticals International, Inc., Form 10-Q for the Quarter Ended 30 September 2015, filed 26
  October 2015, p. 13.




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         149.    Contemporaneous news commentary discussed the issues raised by the new

  disclosures.


                 “Today, Valeant further said it paid $100 million in late 2014 to acquire the
                 option, which can be exercised for a cost of $0. Valeant also said at the time
                 the option was acquired Philidor’s year-to-date net sales were $111 million,
                 far below a 10% consolidated revenue threshold that would make the entity
                 material. Thus, the option purchase and consolidation wasn’t independently
                 disclosed. Philidor represents less than 1% of total assets and 7% of
                 consolidated revenue, Valeant said.
                 “Valeant Pharmaceuticals Says Philidor Rx Was Not Material, Distances Itself From
                 Liability,” by Antoine Garam, Forbes, 26 October 2016.


                 “Among the items to tackle the thorny accounting issues surrounding the
                 company was the firm’s relationship with one of its distributors. Criticism
                 by short sellers and some media focuses on the until recently
                 unacknowledged specialized pharmacy network. Valeant (VRX, US)
                 brought out all of its financial executives to explain, more than once, that
                 prior lack of disclosure about Philidor RX Services was acceptable under
                 the accounting standards. That’s because, the company said, Philidor’s
                 revenues did not meet the threshold for segment reporting, either before or
                 after the company purchased an option at $100 million to buy the company
                 for $0.”
                 “Valeant’s Newest Disclosure — The $100 Million Option to Buy a Company for
                 Nothing,” by Francine McKenna, MarketWatch, 26 October 2015.


         150.    On 26 October 2015, Valeant stock declined 5.41% (on a logarithmic return basis).

  The residual return on Valeant stock was -5.98%. A residual return of -5.98% is associated with a

  t-statistic value of -2.36, which is statistically significant at the 95% confidence level. Therefore,

  the residual return was too large to have been merely a random fluctuation.




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                    3.     Philidor Disclosure Event Study: 30 October 2015

             151.   On 30 October 2015, the Company issued a press release titled “Valeant To

  Terminate Relationship With Philidor.”92 In its press release Valeant stated that it was “severing

  all ties with Philidor Rx Services, LLC, and that Philidor has informed Valeant that it will shut

  down operations as soon as possible, consistent with applicable laws.”93

             152.   The press release also provided the following comments from CEO Michael

  Pearson:


                    “‘The newest allegations about activities at Philidor raise additional
                    questions about the company’s business practices,’ said J. Michael Pearson,
                    Valeant’s chairman and chief executive officer. ‘We have lost confidence
                    in Philidor’s ability to continue to operate in a manner that is acceptable to
                    Valeant and the patients and doctors we serve.’ ‘We understand that
                    patients, doctors and business partners have been disturbed by the reports
                    of improper behavior at Philidor, just as we have been,’ Pearson said. ‘We
                    know the allegations have also led them to question Valeant and our
                    integrity, and for that I take complete responsibility. Operating honestly and
                    ethically is our first priority, and you have my absolute commitment that we
                    will make it right.’”
                    “Press Release: Valeant To Terminate Relationship With Philidor,” Company press
                    release, Dow Jones Newswire, 30 October 2015, 5:00 AM.


             153.   Contemporaneous news commentary discussed the new disclosures.


                    “Valeant Pharmaceuticals International Inc., down $17.73 to $93.77. The
                    company is cutting ties with Philidor, which is shutting down following
                    accusations that it was a ‘phantom pharmacy’ used solely to artificially
                    boost sales.”
                    “Valeant And CVS Are Big Market Movers,” Associated Press, 30 October 2015, 5:15
                    PM.




  92
      “Valeant To Terminate Relationship With Philidor,” Company press release, Dow Jones Newswire, 30 October
  2015, 5:00 AM.
  93
       Id.




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                  “Valeant Pharmaceuticals International slumped 15.9 percent as it
                  announced it was severing ties with mail-order pharmacy Philidor RX,
                  which has been criticized for predatory pricing of drugs.”
                  “US Stocks End Banner October On Down Note,” Agence France Presse, 4:46 PM.


          154.    On 30 October 2015, Valeant stock declined 17.32% (on a logarithmic return basis).

  The residual return on Valeant stock was -16.21%. A residual return of -16.21% is associated with

  a t-statistic value of -6.25. Therefore, the stock return is statistically significant at the 95%

  confidence level, which indicates that the residual decline was too severe to have been merely a

  random fluctuation.

                  4.       Philidor Disclosure Event Study: 10 November 2015

          155.    On 10 November 2015, Valeant held a conference call to update analysts and

  investors on its “strategy with respect to specialty pharmacies, to explain our transition plans for

  Philidor, to discuss our business performance for the first half of the quarter.”94 Among other

  things, CEO Michael Pearson stated:


                  “We began working with Philidor because we believed a strong relationship
                  with one specialty pharmacy would deliver better, faster customer service
                  for doctors and patients. We were also looking for a pharmacy which would
                  be willing to process prescriptions before adjudicating the claims, which
                  would allow us, rather than the patient, to assume the risk if the commercial
                  payer denied the claim. As you know, however, when some other recent
                  allegations surrounding Philidor’s business practices came to light we
                  decided it was appropriate to terminate our relationship.”
                  “Valeant Pharmaceuticals International Inc Conference Call to Provide Business
                  Update,” Thomson Reuters, 10 November 2015, 8:00 AM, p. 3.


          156.    On 10 November 2015, Valeant stock declined 2.05% (on a logarithmic return

  basis). The residual return on Valeant stock was -2.58%. A residual return of -2.58% is associated



  94
     “Valeant Pharmaceuticals International Inc Conference Call to Provide Business Update,” Thomson Reuters, 10
  November 2015, 8:00 AM GMT, p. 3.




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  with a t-statistic value of -0.91, which indicates that while the stock price fell, the residual return

  was not statistically significant at the 95% confidence level.

                  5.      Philidor Disclosure Event Study: 23 February 2016

          157.    On 22 February 2016, after the close of trading, the Company issued a press release

  stating, among other things, that the Company “identified certain sales to Philidor during 2014,

  prior to Valeant’s entry into an option to acquire Philidor, that should have been recognized when

  product was dispensed to patients rather than on delivery to Philidor.”95 According to the

  Company, “approximately $58 million of net revenues previously recognized in the second half of

  2014 should not have been recognized upon delivery of product to Philidor. Correcting the

  misstatements is expected to reduce reported 2014 GAAP EPS by approximately $0.10 and

  increase 2015 GAAP EPS by approximately $0.09.”96

          158.    While shares were reported to have decline on this news during after-hours trading,

  the price movement the next day was positive but not statistically significant.


                  “Valeant shares tumbled more than nine per cent in after-hours trading on
                  Monday on the back of a report that the specialty pharmaceutical company
                  will have to restate its earnings.”
                  “Valeant Slides on Report Company to Restate Earnings,” by Adam Sampson,
                  Financial Times, 22 February 2016, 5:14 PM.


          159.    On 23 February 2016, Valeant stock increased 4.32% (on a logarithmic return

  basis), with a residual return of 6.28%. A residual return of 6.28% is associated with a t-statistic




  95
      “Valeant Ad Hoc Committee Has Made Substantial Progress in Its Review of Philidor and Related Accounting
  Matters,” Company press release, 22 February 2016.
  96
      “Valeant Ad Hoc Committee Has Made Substantial Progress in Its Review of Philidor and Related Accounting
  Matters,” Company press release, 22 February 2016.




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  value of 1.72, which indicates that the residual return was not statistically significant at the 95%

  confidence level.

                  6.      Philidor Disclosure Event Study: 29 February 2016

          160.    On 28 February 2016 (Sunday), the Company issued a press release that included

  the disclosure the “Ad Hoc Committee is continuing its review of the circumstances relating to”

  the “accounting matters and appropriate actions to be taken.”97 The Ad Hoc Committee referred

  to was the one the Board of Directors established to review allegations related to the Company’s

  business relationship with Philidor.

          161.    The press release also announced that the Company was “withdrawing its prior

  financial guidance” and it expected to “provide preliminary financial information for the fourth

  quarter of 2015, and 2016 guidance, in the near term.”98

          162.    On 29 February 2016, the Company announced that it was under investigation by

  the SEC.99 Further, Moody’s placed Valeant’s corporate credit ratings under review, stating that it

  “reflect[ed] concerns that Valeant’s underlying operating performance is weaker than Moody’s

  previous expectations.”100


                  “A day that began badly for Valeant Pharmaceuticals International Inc. got
                  a whole lot worse in the last hour of trading. A spokeswoman said the SEC
                  is investigating the company. Valeant's stock was already down nearly 10%
                  Monday after the company Sunday night pulled its guidance, delayed a call

  97
      “Valeant Pharmaceuticals Announces Management and Business Update,” PR Newswire, Company Press
  Release, 28 February 2016.
  98
      “Valeant Pharmaceuticals Announces Management and Business Update,” PR Newswire, Company Press
  Release, 28 February 2016.
  99
      “Valeant Says It’s Under Investigation by SEC; Shares Sink 20%,” by Cynthia Koons and Arie Shapira,
  Bloomberg News, 29 February 2016 15:36 EDT.
  100
      “Moody's reviews Valeant's ratings for downgrade,” Moody’s Investors Services Press Release, 29 February
  2016.




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                     to discuss its fourth-quarter earnings, revealed that Allergan PLC was
                     challenging the patent to a key drug, and then saw Moody's put it on
                     negative ratings watch. The WSJ is reporting: Valeant ‘confirms that it has
                     several ongoing investigations,’ including by the SEC, a Valeant
                     spokeswoman said in a statement. She also noted that the company faces
                     investigations from U.S. Attorney's offices in New York and Massachusetts
                     and from Congress. Scrutiny from the Justice Department and Congress was
                     previously known. Shares of Valeant closed down more than 18% and hit a
                     three-year intraday low of $63.75.”
                     “Valeant's Day Goes from Bad to Worse,” by Stephen Grocer, Dow Jones Newswires,
                     29 February 2016, 4:18 PM.


            163.     On 29 February 2016, Valeant stock declined 20.35% (on a logarithmic return

  basis). The residual return on Valeant stock was -17.72%. A residual return of -17.72% is

  associated with a t-statistic value of -4.82, which is statistically significant at the 95% confidence

  level. Therefore, the residual return was too large to have been merely a random fluctuation.

                     7.       Philidor Disclosure Event Study: 15 March 2016

            164.     On 15 March 2016, prior to the start of trading, the Company issued a press release

  announcing preliminary unaudited financial results for Q4 2015, revised its FY 2016 guidance

  downward, and held a conference call with analysts and investors.101 Valeant also disclosed $51.3

  million in costs related to Philidor, which included write-downs of fixed assets and bad debt

  expenses during the period 1 November 2015 through 31 December 2015. In addition, the

  Company disclosed a “$79.0 million impairment charge related to Philidor Rx Services.”102




  101
      Valeant Pharmaceuticals International, Inc., Form 8 K, filed 15 March 2016, and “Q4 2015 Valeant
  Pharmaceuticals International Inc Earnings Call Unaudited,” Thomson Reuters, 15 March 2016 8:00 AM GMT.
  102
        Valeant Pharmaceuticals International, Inc., Form 8 K, filed 15 March 2016.




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                 “Shares of Valeant Pharmaceuticals International Inc. plummeted by half
                 after the drugmaker slashed its guidance and said it could be in danger of
                 defaulting on some of its debt.”
                 “Valeant Shares Cut in Half -- Health-Care Roundup,” Dow Jones Newswires, 15
                 March 2016, 4:32 PM.


                 “The crisis around Valeant Pharmaceuticals International's long-term
                 prospects has suddenly turned into a fight for its immediate survival.
                 Valeant on Tuesday finally unveiled its unaudited fourth-quarter results and
                 2016 financial guidance. The shocker for investors: news from returning
                 chief Michael Pearson that the company can't say for sure when audited
                 financials for 2015 will be ready to file with the Securities and Exchange
                 Commission. This isn't merely a technical matter; failure to file the already
                 delayed results could set off a chain of events that could leave Valeant in
                 breach of bank-loan and debt covenants. That in turn could spark a default
                 that could ripple across the company's $30.2 billion in long-term liabilities.
                 No wonder the already hobbled stock lost more than 40% of its value at one
                 point Tuesday. A default could raise the prospect of a bankruptcy filing,
                 which could leave equity holders with little or no value.”
                 “Valeant: Why Investors Are Dumping the Stock; Valeant’s Update Tuesday Started
                 the Clock Ticking On Its $30 Billion Debt Mountain,” by Charley Grant, The Wall
                 Street Journal, 15 March 2016, 11:56 AM.


         165.    On 15 March 2016, Valeant stock declined 72.28% (on a logarithmic return basis).

  The residual return on Valeant stock was -69.78%. A residual return of -69.78% is associated with

  a t-statistic value of -18.63, which is statistically significant at the 95% confidence level.

  Therefore, the residual return was too large to have been merely a random fluctuation.

                 8.     Summary of Philidor Disclosure Event Study Results

         166.    Valeant stock exhibited statistically significant stock price reactions following five

  of the seven Philidor disclosure events.


         D.      Collective Empirical Test Conducted on All Earnings or Guidance
                 Announcement Event Dates

         167.    In addition to assessing market efficiency by observing whether the stock price

  reacted appropriately on important news events individually, one at a time, one can also test for

  market efficiency by assessing collectively whether the stock generally moved more on days with



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  greater information flow than on more typical days with less news. That is, if the stock price

  movements are generally greater among a collection of news days than among all other non- or

  lesser-news days, this result would establish that there is a cause and effect relationship between

  the flow of information and stock price movements, which indicates market efficiency.

          168.    I conducted a collective empirical test of market efficiency based on these

  principles. I focused the analysis on earnings or guidance announcements. A company’s financial

  results and forecasts are among the most important considerations to investors assessing the value

  of its stock. While not every earnings or guidance announcement contains new, unexpected, highly

  impactful valuation information, the finance literature notes that such information more frequently

  arrives on earnings announcement dates than on ordinary dates.103

          169.    Numerous well-known and highly-regarded academic studies (for example, Beaver

  [1968], Ball and Brown [1968], Ball [1978], Watts [1978], Patell and Wolfson [1984], and Ball

  and Kothari [1991]) have specifically examined stock price movements caused by earnings

  announcements, and concur that earnings announcements are unusually important information

  events generally.

          170.    Consequently, a pattern of greater stock price movement on earnings or guidance

  announcement days as compared to all other non- or lesser-news dates is indicative of market

  efficiency.

          171.    To be conservative and strictly abide by the selection rule, I included among the

  non-news days” any acquisition announcement event dates and Philidor disclosure event dates that




  103
      Financial Reporting: An Accounting Revolution, 3rd ed., William H. Beaver, 1998, p. 38; and “Earnings
  Management to Exceed Thresholds,” by Francois Degeorge, Jayendu Patel, and Richard Zeckhauser, Journal of
  Business, 1999, p. 1.




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  were not also earnings or guidance announcement dates, even though these dates were high

  information flow dates.

         172.      Table-1 presents a list of earnings or guidance announcements made during the

  Class Period.


          Table-1: Earnings or Guidance Announcements During the Class Period
                                    Announcement                                   Effective Event
                             Date                    Time          Type               Test Date                     Source

           [1]      Friday, January 04, 2013     Before Trading   Guidance      Friday, January 04, 2013        Company 8-K
           [2]    Thursday, February 28, 2013    Before Trading   Earnings    Thursday, February 28, 2013    Company Press Release
           [3]      Thursday, May 02, 2013       Before Trading   Earnings      Thursday, May 02, 2013       Company Press Release
           [4]    Wednesday, August 07, 2013     Before Trading   Earnings    Wednesday, August 07, 2013     Company Press Release
           [5]    Thursday, October 31, 2013     Before Trading   Earnings    Thursday, October 31, 2013     Company Press Release
           [6]     Tuesday, January 07, 2014     During Trading   Guidance     Tuesday, January 07, 2014     Company Press Release
           [7]    Thursday, February 27, 2014    Before Trading   Earnings    Thursday, February 27, 2014    Company Press Release
           [8]       Tuesday, April 22, 2014     Before Trading   Guidance      Tuesday, April 22, 2014      Company Press Release
           [9]      Thursday, May 08, 2014       Before Trading   Earnings      Thursday, May 08, 2014       Company Press Release
          [10]       Thursday, July 31, 2014     Before Trading   Earnings      Thursday, July 31, 2014      Company Press Release
          [11]   Wednesday, September 24, 2014   Before Trading   Guidance   Wednesday, September 24, 2014   Company Press Release
          [12]     Monday, October 20, 2014      Before Trading   Earnings     Monday, October 20, 2014      Company Press Release
          [13]    Thursday, January 08, 2015     Before Trading   Guidance    Thursday, January 08, 2015     Company Press Release
          [14]     Sunday, February 22, 2015     Weekend          Earnings    Monday, February 23, 2015      Company Press Release
          [15]     Wednesday, April 29, 2015     Before Trading   Earnings     Wednesday, April 29, 2015     Company Press Release
          [16]       Thursday, July 23, 2015     Before Trading   Earnings      Thursday, July 23, 2015      Company Press Release
          [17]     Monday, October 19, 2015      Before Trading   Earnings     Monday, October 19, 2015      Company Press Release
          [18]   Wednesday, December 16, 2015    Before Trading   Guidance   Wednesday, December 16, 2015    Company Press Release
          [19]      Tuesday, March 15, 2016      Before Trading   Earnings     Tuesday, March 15, 2016          Company 8-K



         173.      There was no doubt additional valuation-relevant information aside from earnings

  information was disseminated on these event dates. Stock price reactions to such additional

  information would be further support of market efficiency.

                   1.         Fisher’s Exact Test of Market Efficiency Evident in
                              Significance Incidence Rates

         174.      Fisher’s Exact Test is a commonly used and widely accepted methodology for

  testing whether incidence rates are different between two groups of data. When applied to testing

  market efficiency, Fisher’s Exact Test examines whether the frequency of significant events (the

  incidence of significance) is the same or different between a group of news events and a group of

  non- or lesser news dates.



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         175.    The use of tests that compare price changes on news day to non- or lesser -news

  days for purposes of assessing informational market efficiency in securities cases is now widely

  used and well documented. For example, such tests were recognized by the group of eight

  testifying finance experts (including but in addition to myself) who wrote an Amici Curiae brief

  for Halliburton II as legitimate tests for market efficiency.


                 “Another way to perform an event study is to divide the days of the class
                 period ex ante into expected news days and non-news days before
                 examining price movements, and then compare the stock’s price
                 movements in the two categories to see if there is a statistically significant
                 difference in price movement between the two categories. If the study finds
                 a difference in price movement between the two sample sets (e.g., earnings-
                 release dates versus non-earnings-release dates), that is statistical evidence
                 that the market incorporates new public information into the price of the
                 stock.”
                 Brief of Testifying Economists as Amici Curiae in Support of Respondent, Halliburton
                 Co. and David Lesar v., Erica P. John Fund, Inc., FKA Archdiocese of Milwaukee
                 Supporting Fund, Inc., 5 February 2014, p. 10.


         176.    Several courts have accepted tests that compare price changes on a sample of news

  days to a sample of non-news days, as valid tests for establishing market efficiency.


                 “For that reason, courts have instead endorsed the comparison test that
                 [Plaintiffs’ expert] used. See, e.g., In re Alstom SA Sec. Litig., 253 F.R.D.
                 266, 280 (S.D.N.Y.2008). This test ‘involves comparing the percentage of
                 days with news that have a statistically significant price movement to the
                 percentage of days without news that have a statistically significant price
                 movement.’ Paul A. Ferrillo et al., The ‘Less Than’ Efficient Capital
                 Markets Hypothesis: Requiring More Proof from Plaintiffs in Fraud-on-the-
                 Market Cases, 78 St. John’s L. Rev. 81, 120 (2004). If the stock price is
                 significantly more likely to change on News Days than on Non-News Days,
                 that suggests a causal relationship between material news and the stock
                 price.”
                 McIntire v. China Media Express Holdings, Inc., 38 F. Supp. 2d 415 (S.D.N.Y. 2014).




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              “There is no dispute that z-tests are commonly used and widely accepted
              statistical tools. … [Defendant’s expert] contends that, because the article
              was not peer-reviewed, a z-test cannot be used to show market efficiency.
              Were Feinstein using a novel or questionable statistical technique, the Court
              would place more weight on the absence of peer review. But it is not
              necessary for every application of a commonly used statistical technique to
              be peer-reviewed. Indeed, the elegance of statistical methods is that they
              can be applied to data sets of varying substantive significance, from rates of
              emphysema to transactions on modern securities markets. Because the
              Court is convinced that the z-test is a well-established and sound statistical
              technique, the lack of peer review does not seriously undermine Feinstein’s
              application of the z-test.”
              In re Petrobras Securities Litigation, No. 14-cv-9662 (JSR) (S.D.N.Y. Feb. 2, 2016).


              “Plaintiffs’ expert[] conducted an event study using Tidel’s trading data. He
              identified two-day periods in which information pertaining to Tidel was
              released to the public and separated those two day[] [periods] from other
              two day periods in which there was no public information pertaining to
              Tidel. The periods were classified into “information” versus “non-
              information days” …. [Plaintiffs’ expert] concluded that the price changes
              on information days versus non-information days was statistically
              significant, meaning there was a related cause and effect relationship
              between [a] the release of information pertaining to Tidel and [b] Tidel’s
              stock price. Simply put, [Plaintiffs’ expert’s] tests indicated that Tidel’s
              stock price reacted within a two day window to news releases concerning
              Tidel, which indicates market efficiency.”
              Lehocky v. Tidel Tech., Inc., 220 F.R.D. 491 (S.D. Tex. 2004).


              “The expert also concluded FCStone’s stock was approximately one-
              and-a-half to two times as likely to experience a change in stock price on
              days when company-specific news was announced than on days when it was
              not. However, for legal purposes, the critical question is whether the price
              quickly absorbs and reflects news about the company because this is what
              allows the legal presumption that (1) the price incorporates public
              information and (2) the investor relied on the price as the repository of that
              public information. [The defendants’ expert’s] report establishes that when
              news about the company is made public, the company’s stock price
              immediately incorporates the information. This is the essence of an efficient
              market — perhaps not for an economist’s purposes, but for purposes of
              Basic.”
              Lumen v. Anderson, No. 08-0514-CV-W-HFS (W.D. Mo. Feb. 10, 2012).




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                 “Additionally, experts routinely use, and courts accept, collective tests on
                 the earnings and guidance dates like the one utilized by Bettencourt. See In
                 re NII Holdings, 311 F.R.D. at 412 (finding expert’s collective test of
                 company’s earnings announcements objective and reliable).”
                 City Of Cape Coral Municipal Firefighters’ Retirement Plan, Et Al., v. Emergent
                 Biosolutions, Inc., Hq, Et Al., 16-cv-2625, 2018 WL 2840420, at 7.


         177.    Widespread support for collective tests that compare price changes on a sample of

  news days to non-news days as tests of market efficiency is further evident in the following articles.


                 “Assume for the moment that a stock does not trade in an efficient market,
                 meaning that the daily stock prices do not reflect full information and
                 significant abnormal returns are not associated with the disclosure of
                 information. It then logically follows that, for a security trading in an
                 inefficient market, we will observe that: a) the securities’ returns are
                 determined arbitrarily or in a random fashion, and b) there will be no link
                 between disclosures and significant abnormal returns – in other words,
                 disclosures and significant returns are randomly distributed. To test this
                 hypothesis, we have established a new statistical method employing a
                 generally accepted approach called Bootstrap testing. This approach has
                 been accepted by both the DVI and HealthSouth courts. We have created
                 test statistics to determine if the actual observations are likely to have been
                 generated in a random fashion. If information disclosures are not linked to
                 abnormal returns, then we would not expect there to be a statistically
                 significant relationship that distinguishes those days when there are/are not
                 disclosures of information from those days when there are/are not abnormal
                 returns. In other words, there is no cause-and-effect correlation, because, in
                 an inefficient market, the distributions of abnormal returns and disclosures
                 are both random events.”
                 “The Curious Incident of the Dog That Didn’t Bark and Establishing Cause-and-
                 Effect in Class Action Securities Litigation,” by Michael L. Hartzmark, and H. Nejat
                 Seyhun, Va. L. & Bus. Rev. 6 (2011): 415. (emphasis in original).


                 “In terms of the application of the EMH [Efficient Market Hypothesis] to
                 securities class actions, an important question is whether any allegedly
                 fraudulent information would cause a change in the issuer's stock price.
                 However, because the market does not know (at the time) whether any
                 information it receives is legitimate or fraudulent, this question can be
                 answered by testing whether the market for a particular issuer's stock
                 responds to news more generally. If it does, then one is more confident that
                 the stock price would be affected by any material false information or would
                 have responded to material omitted information. If the stock price does not




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                 generally respond to news, then the presumption should then become that
                 the stock was not affected by any false news and may not have responded
                 to allegedly omitted information. Because stock prices move all the time,
                 one must compare the movements in response to news stories with a control
                 group of prices.”
                 “The ‘Less Than’ Efficient Capital Markets Hypothesis: Requiring More Proof from
                 Plaintiffs in Fraud-on-the-Market Cases,” by Paul A. Ferrillo, Frederick C. Dunbar
                 and David Tabak, vol. 78, St. John’s L. Rev. 81, 119-22 (2004).


         178.    I conducted a Fisher’s Exact Test using the event study results from the earnings or

  guidance announcement news event days compared against all other days in the Class Period.


                                 a. Fisher’s Exact Test

         179.    There was a total of 804 days during the Class Period on which Valeant stock

  traded. Of the 804 days, 62 days had statistically significant residual returns. There were 11

  statistically significant earnings or guidance announcement days out of the total 19 earnings or

  guidance announcement days. 51 of the remaining 785 non-news days were statistically

  significant. Accordingly, the proportion of statistically significant days among the earnings or

  guidance announcement days is 57.9% and the proportion of statistically significant days among

  all other days is 6.5%.

         180.    This incidence of statistically significant days within the news day group was

  significantly greater than within the non-news group. The difference in incidence frequency is

  associated with a p-value of 0.000001%. This finding indicates that the significance frequency rate

  difference between the two samples is far too acute to accept the notion that the price of Valeant

  stock behaved no differently on news event days with a greater flow of information than all other

  days. The difference in significance incidence frequency is statistically significant at greater than

  the 99% confidence level. This finding proves that Valeant stock reacted to information,

  demonstrating informationally efficiency over the course of the Class Period.




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         E.      Valeant Stock Market Efficiency Summary and Conclusion

         181.    Valeant stock traded on the NYSE, and numerous market makers facilitated trading

  in the security. The Company was widely covered by analysts and the news media. Institutional

  ownership of Valeant stock was widespread, and trading was active. Market capitalization and

  float were high. The security’s bid-ask spread was narrow. Current and historical financial

  information about the Company was readily available to investors and analysts. The Company

  qualified for S-3 registration, throughout the Class Period, except during the 3-week period from

  22 February 2016 through the end of the Class Period, when it delayed SEC filings. Even during

  that period, Valeant met the float size requirement for S-3 eligibility, which is the more salient

  characteristic relevant to market efficiency.

         182.    Not only did Valeant stock satisfy the first four Cammer and all three Krogman

  factors, which indicate market efficiency, but it also satisfied the empirical Cammer factor,

  demonstrating market efficiency in a manner observable via empirical tests. The empirical tests

  prove that there was a cause and effect relationship between the release of Company information

  and movements in the Valeant stock price.

         183.    Given these facts, I conclude that Valeant stock traded in an efficient market over

  the course of the Class Period.



  VIII. EFFICIENCY OF THE MARKET FOR VALEANT OPTIONS

         184.    I was asked to also assess whether the market for Valeant options was efficient

  during the Class Period. Stock options are contracts that allow the holder of the contract to buy or

  sell an underlying stock at a prespecified price (“strike price”) at or up to a specified date

  (“expiration date”).




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         185.    Exchange-traded options are traded in units called “contracts.” Each option contract

  entitles the holder to buy or sell 100 shares of the underlying stock upon exercise. The holder of

  one call option contract has the right, but not the obligation, to purchase 100 shares of the

  underlying stock at the strike price, and the holder of a put option contract has the right, but not

  the obligation, to sell 100 shares of the underlying stock at the strike price.

         186.    Because the relationship between option contracts and the underlying stock is

  derivative, the value of a call option should generally increase (decrease) following an increase

  (decrease) in the price of the underlying stock, and the value of a put option should generally

  decrease (increase) following an increase (decrease) in the price of the underlying stock, holding

  all other parameters equal.

         187.    Therefore, the factors that indicate the efficiency of the market for Valeant common

  stock examined above are relevant to assessing the efficiency of the market for the Valeant options.

  These factors compel a conclusion that Valeant options traded in an efficient market over the

  course of the Class Period.

         188.    In particular, the Cammer court explicitly acknowledged the importance of a

  Chicago Board Options Exchange listing and the implications of such a listing for market

  efficiency:


                 “We think that, at a minimum, there should be a presumption – probably
                 conditional for class determination – that certain markets are developed and
                 efficient for virtually all the securities traded there: the New York and
                 American Stock Exchanges, the Chicago Board Options Exchange and the
                 NASDAQ National Market System.”
                 Cammer, 711 F. Supp. at 1292 (quoting Bromberg & Lowenfels, Securities Fraud and
                 Commodities Fraud, §8.6 (1988)).


         189.    That the Valeant Options traded on the Chicago Board Options Exchange is strong

  evidence that the Valeant Options traded in an efficient market throughout the Class Period.



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              A.       Event Study Test of Market Efficiency for Valeant Options

              190.     In an informationally efficient market, one would expect the price of Valeant call

  options to increase (decline) following the positive (negative) events tested in the common stock

  event study. Conversely, one would expect the price of Valeant put options to increase (decline)

  following the negative (positive) events tested in the common stock (controlling for changing time

  to expiration and volatility). To test this hypothesis, I conducted empirical tests, subjecting Valeant

  options to examination on the same event dates used in the common stock study.

              191.     According to option pricing principles, a combination portfolio consisting of a

  purchased call option, a written put option, and a long position in a risk-free investment initially

  equal to the present value of the option strike price should replicate an investment in Valeant

  common stock. The options literature explains that such a combination can be treated as a

  “synthetic stock”, and its behavior in an efficient market should track the behavior of actual

  stock.104 Based on this principle I constructed a timeseries of synthetic stock prices so that I could

  test whether the option prices responded to the release of new Company-specific information, in a

  statistically significant manner similar to the behavior of the underlying stock.105

              192.     If an investor were to purchase a synthetic share of Valeant stock, that investor

  would need to buy a call option at its ask price, sell a put at its bid price, and invest at the risk-free

  rate to execute this transaction. This combination of values would produce the “synthetic ask

  price” for the synthetic stock.106




  104
        This relationship holds for non-dividend paying stocks, and Valeant did not pay a dividend during the Class Period.
  105
        See, for example, Option, Futures, and other Derivatives, by John C. Hull, eighth edition, Prentice Hall, 2012.
  106
        The call and put options must have the same strike price and time to expiration.




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              193.     For the risk-free rate I used the 1-Year Treasury Constant Maturity Rate.107 The

  synthetic ask price is computed as follows:

              SAsk = CAsk – PBid + PV(K),

  where:

              S = Synthetic stock price,

              C = Call price,

              P = Put price,

              PV(K) = Present value of the strike price (invested cash).

              194.     Alternatively, if an investor were to sell a synthetic share of Valeant stock, that

  investor would need to sell a call option at its bid price, buy a put option at its ask price, and borrow

  the present value of the strike price. This combination of values would produce the “synthetic bid

  price” for the synthetic stock. I used the Broker-Call Money Rate Index to obtain the interest rate

  for borrowed money.108 Interest rate data are presented in Exhibit-8.

              195.     The synthetic bid price is be computed as follows:



              SBid = CBid – PAsk + PV(K),

            where:
                     S = Synthetic stock price,
                     C = Call price,
                     P = Put price,
                     PV(K) = Present value of the strike price (borrowed money).




  107
        Interest rate data was obtained from the Federal Reserve at: https://fred.stlouisfed.org/series/DGS1.
  108
        Broker-Call Money Rate Index obtained from Bloomberg.




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           196.     Using the above formulas and end-of-day option contract price data obtained from

  iVolatility, I computed synthetic stock prices from Valeant options, for every day during the Class

  Period. I used every option contract for which there was a posted end-of-day price. On each day,

  I averaged (equal-weighted) all computed synthetic stock bid prices, to arrive at that day’s

  synthetic stock bid price. On each day, I averaged (equal-weighted) all computed synthetic stock

  ask prices, to arrive at that day’s synthetic stock ask price. I then took the midpoint of the synthetic

  stock ask and bid prices, to arrive at each respective day’s synthetic stock price constructed from

  option prices.

           197.     From the synthetic stock prices, I calculated daily logarithmic returns.109 The prices

  and returns of the synthetic stock are presented in Exhibit-9.

           198.     I ran regressions on the daily synthetic stock price returns using the same

  explanatory variables, estimation periods, and dummy variables that I used for the common stock

  event study regressions. The regression results are presented in Exhibit-10.

           199.     I computed the explained portion of Valeant synthetic stock return on each event

  date by adding: 1) the estimated regression intercept term, 2) the respective day’s Market Index

  return multiplied by the Market Index coefficient estimated by the regression, and 3) the respective

  day’s Sector Index return multiplied by the Sector Index coefficient estimated by the regression.

  Residual returns were computed by subtracting the explained return from the actual return.

           200.     Just as with the common stock, a t-test was conducted to determine whether the

  residual return of the Valeant synthetic stock (which reflects the option prices) was statistically




  109
     Because creating a synthetic share of stock requires that the call option and put option have the same strike price
  and time to expiration, the analysis was performed on only option contracts that could be matched based on strike
  price, date of execution, and date of expiration.




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  significant on the event dates. The results of the event study are presented below and summarized

  in Exhibit-11a and Exhibit-11b.


         B.      Acquisition Announcement Options Event Study Results

                 1.       Acquisition Announcement Options Event Study Results: 28
                          May 2013

         201.    On 28 May 2013, Valeant synthetic stock increased 8.85% (on a logarithmic return

  basis). The residual return on Valeant synthetic stock was 8.03%. A residual return of 8.03% is

  associated with a t-statistic value of 4.84, which is statistically significant at the 95% confidence

  level. Therefore, the synthetic stock residual return was too large to have been merely a random

  fluctuation.

                 2.       Acquisition Announcement Options Event Study Results: 22
                          April 2014

         202.    On 22 April 2014, Valeant synthetic stock increased 7.32% (on a logarithmic return

  basis). The residual return on Valeant synthetic stock was 4.99%. A residual return of 4.99% is

  associated with a t-statistic value of 3.31, which is statistically significant at the 95% confidence

  level. Therefore, the synthetic stock residual return was too large to have been merely a random

  fluctuation.

                 3.       Acquisition Announcement Options Event Study Results: 23
                          February 2015

         203.    On 23 February 2015, Valeant synthetic stock increased 13.82% (on a logarithmic

  return basis). The residual return on Valeant synthetic stock was 13.81%. A residual return of

  13.81% is associated with a t-statistic value of 9.86, which is statistically significant at the 95%

  confidence level. Therefore, the synthetic stock residual return was too large to have been merely

  a random fluctuation.




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                  4.      Summary of Acquisition Announcement Options Event Study
                          Results

          204.    Valeant synthetic stock exhibited strongly statistically significant stock price

  reactions following all three of the major acquisition announcements, just as the common stock

  exhibited statistically significant stock price reactions on these same dates.


          C.      Philidor Disclosure Options Event Study Results

                  1.      Philidor Disclosure Options Event Study: 19 October 2015

          205.    On 19 October 2015, Valeant synthetic stock declined 8.14% (on a logarithmic

  return basis). The residual return on Valeant synthetic stock was -8.34%. A residual return

  of -8.34% is associated with a t-statistic value of -4.22, which is statistically significant at the 95%

  confidence level. Therefore, the synthetic stock residual return was too severe to have been merely

  a random fluctuation.

                  2.      Philidor Disclosure Options Event Study: 26 October 2015

          206.    On 26 October 2015, Valeant synthetic stock declined 5.39% (on a logarithmic

  return basis). The residual return on Valeant synthetic stock was -5.90%. A residual return

  of -5.90% is associated with a t-statistic value of -2.35, which is statistically significant at the 95%

  confidence level. Therefore, the synthetic stock residual return was too severe to have been merely

  a random fluctuation.

                  3.      Philidor Disclosure Options Event Study: 30 October 2015

          207.    On 30 October 2015, Valeant synthetic stock declined 17.13% (on a logarithmic

  return basis). The residual return on Valeant synthetic stock was -16.07%. A residual return

  of -16.07% is associated with a t-statistic value of -6.26, which is statistically significant at the




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  95% confidence level. Therefore, the synthetic stock residual return was too severe to have been

  merely a random fluctuation.

                 4.      Philidor Disclosure Options Event Study: 10 November 2015

         208.    On 10 November 2015, Valeant synthetic stock declined 1.66% (on a logarithmic

  return basis). The residual return on Valeant synthetic stock was -2.16%. A residual return

  of -2.16% is associated with a t-statistic value of -0.77, which indicates that the synthetic stock

  residual return was not statistically significant at the 95% confidence level.

                 5.      Philidor Disclosure Options Event Study: 23 February 2016

         209.    On 23 February 2016, Valeant synthetic stock increased 5.01% (on a logarithmic

  return basis). The residual return on Valeant synthetic stock 6.91%. A residual return of 6.91% is

  associated with a t-statistic value of 1.93, which indicates that the synthetic stock residual return

  was not statistically significant at the 95% confidence level.

                 6.      Philidor Disclosure Options Event Study: 29 February 2016

         210.    On 29 February 2016, Valeant synthetic stock declined 20.83% (on a logarithmic

  return basis). The residual return on Valeant synthetic stock was -18.27%. A residual return

  of -18.27% is associated with a t-statistic value of -5.08, which is statistically significant at the

  95% confidence level. Therefore, the synthetic stock residual return was too severe to have been

  merely a random fluctuation.

                 7.      Philidor Disclosure Options Event Study: 15 March 2016

         211.    On 15 March 2016, Valeant synthetic stock declined 73.01% (on a logarithmic

  return basis). The residual return on Valeant synthetic stock was -70.56%. A residual return

  of -70.56% is associated with a t-statistic value of -19.27, which is statistically significant at the




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  95% confidence level. Therefore, the synthetic stock residual return was too severe to have been

  merely a random fluctuation.

                 8.     Summary of Philidor Disclosure Options Event Study Results

         212.    The Philidor disclosure options event study shows that for the same 5 of 7 Philidor

  disclosure events on which the common stock reacted with statistically significant price

  movements, the synthetic stock composed from Valeant options similarly exhibited statistically

  significant price movements. Moreover, all synthetic stock price movements on event dates were

  in the same direction as the common stock price movements. The event study shows that the cause

  and effect relationship already observed between new, unexpected, valuation-relevant information

  and significant reactions in the market price of Valeant common stock was similarly reflected in

  the price movements of the Valeant options. These findings demonstrate that Valeant options

  contracts reacted to new information, which is the hallmark of an informationally efficient market.

         213.    Given these facts, I conclude that the Valeant option contracts traded in an efficient

  market during the Class Period.



  IX.    SECTION 10(B) COMMON DAMAGES METHODOLOGY

         214.    Counsel for Plaintiffs asked me to opine on whether damages in this matter can be

  computed using a common methodology for all Class members in connection with their claims

  under Section 10(b) of the Exchange Act.

         215.    Assuming a verdict for the Plaintiffs on the allegations of fraud, Section 10(b) per

  share damages, respectively for each investor and security, can be measured as follows:

            i.   First, valuation tools, which would include event study analysis such as that
                 described herein, and potentially other empirical analyses if necessary, would be
                 used to establish that the disclosure(s), correcting the alleged misrepresentations




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                   and omissions, caused the price of the Valeant security to fall. This analysis, after
                   controlling for potentially non-fraud-related information, would establish that the
                   alleged misrepresentations and omissions had caused the security to be artificially
                   inflated, and that the corrective disclosure(s) caused the inflation to dissipate, in
                   turn causing investor losses.110 This analysis would apply on a class-wide basis.
             ii.   Second, an inflation ribbon would be constructed, using generally accepted
                   empirical analysis and valuation tools, indicating how much artificial inflation
                   caused by the alleged misrepresentations and omissions was in the price of
                   Valeant stock or options on each day during the Class Period. An inflation ribbon
                   is a time series of the difference between a security’s actual price observed in the
                   marketplace, and the estimated price that the security would have traded at each
                   day had there been full disclosure from the outset of the Class Period.
                   Construction of the inflation ribbon generally employs event study analysis,
                   combined with widely used and generally accepted valuation tools and models.
                   The inflation ribbon is often constructed by working chronologically backwards
                   from the final corrective disclosure to the start of the Class Period, accounting for
                   alleged fraud-related residual price declines as they occurred. Inflation prior to a
                   corrective disclosure that dissipated inflation is greater than the inflation
                   afterward by the amount of inflation that dissipated. The full array of generally
                   accepted and widely used valuation tools can be applied, if necessary, to calculate
                   the but-for security prices under the assumption of prior full disclosure. This
                   analysis would also apply on a class-wide basis.
            iii.   Third, the measure of per security damages generally applied in securities cases is
                   the reduction in the inflation ribbon over an investor’s holding period (the
                   economic/inflation loss) that was caused by corrective disclosures. That is, for
                   each Class member, per security damages would be calculated as the difference
                   between the inflation on the date the securities were purchased and the inflation
                   on the date those same securities were subsequently sold, excluding any inflation


  110
     For written put option contracts, the analysis would be performed to determine whether the misrepresentations and
  omissions negatively affected the security price and the disclosure(s) caused the put price to rise, thereby causing
  investor losses.




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                 dissipation caused by factors other than corrective disclosure. Per security
                 damages are limited, however, to be no greater than the decline in the security
                 price over the holding period, which is the investment loss actually sustained.
          iv.    Pursuant to the Private Securities Litigation Reform Act of 1995 (the “PSLRA”)
                 (15 U.S.C. § 78u-4(e)), for any common stock sold during the 90-day period after
                 the end of the Class Period, per share damages would be calculated as the lesser
                 of the reduction in the dollar inflation over the investor’s holding period (the
                 economic/inflation loss), or the decline in the stock price (the investment loss),
                 respectively, where the terminal stock price is deemed to be the average price
                 from the final corrective disclosure date to the sale date. Also, pursuant to the
                 PSLRA, for any shares held 90 days or more beyond the final corrective
                 disclosure, damages would equal the lesser of the reduction in the dollar inflation
                 over the investor’s holding period (the economic/inflation loss) or the decline in
                 the stock price (the investment loss), where the terminal stock price is deemed to
                 be the average price over the 90 days following the final corrective disclosure.
           v.    The calculation of each Class member’s damages would be a mechanical
                 arithmetical exercise, conducted the same way for all Class members, applying
                 the results of the Class-wide analyses described above to each Class member’s
                 trading data.

         216.    It should be noted that I have not conducted a loss causation analysis at this time

  and reserve the right to address such issues at the appropriate stage. The loss causation analysis

  that will be necessary to actually calculate damages in the current case requires the full

  development of the record.

         217.    Nonetheless, the methodology discussed herein allows the calculation of individual

  and class-wide damages stemming from various alleged misrepresentations and omissions and

  therefore will accommodate alternative potential determinations of liability. Economic analyses

  (including valuation and empirical event study analysis) can be used to estimate the relationship

  between specific statements or sets of statements and the subsequent effect on security prices, in



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  the case of affirmative statements, omissions, and/or corrective disclosures. As such, class-wide

  damages in response to the specific misrepresentations and omissions ultimately established by

  the Plaintiffs can be calculated in a straightforward manner common to all Class members. Out-

  of-pocket damages can be measured as the difference between the amount of price inflation at

  purchase and the amount of inflation in the price of Valeant’s securities at sale taking into account

  formulaic prescriptions in relevant case law and statutes.

         218.    I have examined the facts and circumstances of this case and I have identified no

  particularly unusual facts or circumstances complicating the quantification of artificial inflation

  and damages. If specific issues or challenges complicating the quantification of artificial inflation

  and damages are encountered when the damage computation is ultimately undertaken, the standard

  tools of valuation and attribution analysis can be applied to measure inflation and damages caused

  by the alleged misrepresentations and omissions according to Plaintiffs’ theory of liability. Such

  valuation analysis is undertaken continuously, every day, for virtually every publicly traded

  security, and these tools address the very complexities that could potentially be encountered in the

  course of computing inflation and damages. Among the commonly used valuation tools that are

  available to investors and analysts in real time, and to forensic analysts when computing damages,

  are for example: valuation multiple models, such as those based on earnings, EBITDA, revenue,

  book value, and cash flow; discounted cash flow models (DCF); return attribution analysis; and

  the literature regarding valuation effects of factors such as reputation and quality of accounting. In

  addition, forensic analysts have the added benefit of event study analysis, which quantifies price

  effects when information did reach the market.




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          219.    Consequently, each Class member’s damages under Section 10(b) can be computed

  in the same way respective to each Class members’ claims using readily available daily pricing

  information, in accordance with this widely used and generally accepted methodology.

          220.    I have not yet been asked to calculate damages for any of the claims alleged on

  behalf of the Class, and such calculations will likely depend, in part, on the completion of

  discovery. However, the methodology described above is generally accepted and widely used for

  calculating damages consistently on a Class-wide basis in securities class actions.



  X.      SECTION 20A COMMON DAMAGES METHODOLOGY

          221.    Counsel for Plaintiffs also asked me to opine on whether Section 20A damages can

  be computed using a common methodology for all Class members who have claims under Section

  20A of the Exchange Act.

          222.    The formula for calculating damages under Section 20A of the Exchange Act is

  spelled out in the statute:


                  “Any person who violates any provision of this title [15 USCS §§ 78a et
                  seq.] or the rules or regulations thereunder by purchasing or selling a
                  security while in possession of material, nonpublic information shall be
                  liable in an action in any court of competent jurisdiction to any person who,
                  contemporaneously with the purchase or sale of securities that is the subject
                  of such violation, has purchased (where such violation is based on a sale of
                  securities) or sold (where such violation is based on a purchase of securities)
                  securities of the same class.”
                  15 USC § 78t-1(a)


                  “The total amount of damages imposed under subsection (a) shall not
                  exceed the profit gained or loss avoided in the transaction or transactions
                  that are the subject of the violation.”
                  15 USC § 78t-1(b)(1)




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         223.    Therefore, to compute 20A damages, one would identify when any defendant sold

  securities during the Class Period at an inflated price and measure the loss avoided equal to the

  decline in the security price between the date of such sale and the later date when inflation was

  fully dissipated on account of corrective disclosure. The decline in price over this period is the per

  security loss avoided. The total loss avoided for such securities would be the number of securities

  sold multiplied by the per security loss avoided.

         224.    If a defendant took a short position in Valeant securities, either a direct short

  position in the stock or a short exposure via written call options or purchased put options, the profit

  gained when the price fell would be the increase in the value of that position between the time the

  short position was opened and the date when either the position was closed via reversing

  transactions, or the date of full corrective disclosure that dissipated the artificial inflation in the

  security price, whichever occurred first.

         225.    Consistent with the statute terms presented above, compensable damages to persons

  who contemporaneously bought or sold Valeant securities would be the losses sustained or profits

  deprived, computed in similar fashion as defendants’ profits gained and losses avoided. That is, a

  sustained loss would be the decline in the value of the Valeant security position between the

  contemporaneous time of purchase and the later sale date, or the date of full corrective disclosure

  that dissipated the artificial inflation in the security price, whichever occurred first. A deprived

  profit would occur if an investor closed a short position (comprising any combination of short

  stock, purchased put options, and/or written call options) contemporaneously with a defendant

  opening a short position. The investor’s deprived profit would be the increase in the value of the

  short position between the time the investor closed the short position and what that position would




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  have been had it been held open until the full corrective disclosure that dissipated the artificial

  inflation in the stock price.

          226.    Should it be that the aggregate sum of defendants’ losses avoided and profits gained

  is less than the aggregate sum of Class Members’ losses sustained and deprived profits, the

  aggregate sum of defendants’ loss avoided and profits gained can be allocated to Class Members

  on a pro-rata basis.

          227.    The profits gained by the defendants and/or losses avoided by the defendants does

  not depend on any individual investor’s circumstances. Similarly, the loss sustained and/or the

  deprived profit suffered by any investor only depends on the investor’s holdings of Valeant

  securities and the prices of those securities. Consequently, the computation of damages under

  Section 20A of the Exchange Act is common to all investors.

          228.    I understand that different courts have defined “contemporaneous” trading

  differently, but the 20A damage computation methodology described here is common to all Class

  Members regardless of whatever definition is used.



  XI.     SECTION 11 PER SHARE DAMAGES FOR VALEANT COMMON
          STOCK

          229.    According to Section 11 of the Securities Act, statutory damages to investors are

  computed as follows:


                  “[T]he difference between the amount paid for the security (not exceeding
                  the price at which the security was offered to the public) and (1) the value
                  thereof as of the time such suit was brought, or (2) the price at which such
                  security shall have been disposed of in the market before suit, or (3) the
                  price at which such security shall have been disposed of after suit but before
                  judgment if such damages shall be less difference between the amount paid
                  for the security (not exceeding the price at which the security was offered
                  to the public) and the value thereof as of the time such suit was brought.”
                  Section 11 of the Securities Act of 1933.




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             230.    As detailed in the excerpt from the statute above, Section 11 damages for any

  particular investor depend on several considerations that can be determined in the claims process,

  including: (i) when the stock was purchased or acquired; (ii) the price at the time of purchase; (iii)

  whether the stock was sold, and if so, when it was sold and for how much; and/or (iv) if held on

  the date of suit, the value of the stock on that date.

             231.    For any individual Class member, that investor’s recoverable loss under the

  statutory formula would be, for each share purchased, the difference between the lesser of (A) the

  investor’s (i) actual purchase price of the share or (ii) the price of the offering, and (B) the

  investor’s (i) the value of the shares on the day suit was brought if the investor continued to hold

  the shares on the day suit was brought, or (ii) actual sale price if the shares were sold prior to the

  date suit was brought, or (iii) the actual sale price if the shares were sold after the date of suit but

  before judgment, if the sale price was less than the price of the offering and greater than the value

  on the date of suit.


             A.      The March 2015 Offering

             232.    On 17 March 2015, the Company announced that it had priced an initial public

  offering of 7,286,432 shares of common stock at $199.00 per share.111 The Company stated that it

  “expect(s) to use the net proceeds of this offering, together with the Incremental Term Loans, the

  Acquisition Senior Notes and cash on hand, to fund (i) the transactions contemplated by the [Salix]

  Merger Agreement, (ii) the repayment of all outstanding loans and termination of commitments

  under Salix's existing credit facilities, (iii) the redemption of Salix’s 6.00% Senior Notes due 2021,

  (iv) the payment of any cash consideration necessary upon the conversion of Salix's 1.5%


  111
        “Valeant Pharmaceuticals Prices Offering Of $1.45 Billion Of Common Shares,” PR Newswire, 17 March 2015.




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  Convertible Senior Notes due 2019 and 2.75% Convertible Senior Notes due 2015 and (v) certain

  fees and expenses related to the Transactions.”112

             233.     On the initial filing date of the Section 11 claims in this lawsuit, 24 June 2016,

  Valeant’s share price was $20.27. The difference between the $199.00 per share offering price and

  the $20.27 per share value on 24 June 2013 amounts to $178.73 per share.

                      1.       Examples of Section 11 Per Share Damages Computation

             234.     To illustrate how recoverable damages are computed for an investor who purchased

  shares in the March 2015 Offering and sold prior to the date of suit, assume an investor purchased

  1,000 Valeant Common shares on 17 March 2015 for $199.00 per share and sold those shares on

  16 March 2016 for $33.54 per share. According to the statute, this investor’s recoverable losses

  are $165.46 per share, the difference between the $199.00 offering price and the $33.54 per share

  selling price. For this transaction, absent Defendants proving negative causation, this investor’s

  recoverable losses amount to $165,460 ($165.46 per share multiplied by 1,000 shares).

             235.     For investors who sold after the date of suit, or continue to hold those shares today,

  statutory damages are the difference between the $199.00 per share offering price and the $20.27

  share value on the date the suit was brought, or $178.73 per share.

             236.     In the absence of a showing by Defendants of negative causation, it is my opinion

  that the full measure of damages would be applied to all purchases traceable to the March 2015

  Offering. It is my understanding that to date, Defendants have not provided any evidence or

  proffered any expert testimony in support of negative causation. I reserve the right to address such




  112
        Valeant Pharmaceuticals International Inc., Form 424B5, filed 18 March 2015.




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  affirmative defenses in a rebuttal report if Defendants decide to proffer any evidence in support

  thereof.

         237.      Damages can be calculated for each Class member in the common formulaic

  manner presented above.



  XII.   LIMITING FACTORS AND OTHER ASSUMPTIONS

         238.      This report is furnished solely for the purpose of court proceedings in the above

  referenced matter and may not be used or referred to for any other purpose. The analysis and

  opinions contained in this report are based on information available as of the date of this report. I

  reserve the right to supplement or amend this report, including in the event additional information

  becomes available.




             Steven P. Feinstein, Ph.D., CFA




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  XIII. APPENDIX-1: LOGARITHMIC RETURNS

  A-1.   Logarithmic returns, rather than percent change returns are commonly used in stock
         return regressions and event study analysis and were used in the regression modeling
         here. The formula for a logarithmic return is:


                            P + dt   
                  Rt = ln  t        
                            Pt −1     

         where:
                  Rt is the logarithmic return on day t;
                  Pt is the stock price at the end of day t;
                  Pt-1 is the stock price from the previous day, day t-1;
                  dt is the dividend on day t, if any.

  A-2.   The formula for converting a logarithmic return into a dollar return is:

                  DRt = Pt −1  (eRt − 1)
         where:
                  DRt is the dollar return on day t;
                  Pt-1 is the stock price from the previous day, day t-1;
                  e is natural e (approximately 2.7);
                  Rt is the logarithmic return on day t.

  A-3.   If a security falls from $20 to $18, the percent change in price is -10%, equal to the $2
         decline divided by the original $20 price. The logarithmic return, however, is -10.54%,
         equal to ln($18/$20).
  A-4.   The logarithmic return relates a price change to an average of the original, final, and
         intervening prices over the course of a price decline. As such, for large price declines, it
         is possible for a logarithmic price decline to exceed 100%, since the price decline may be
         greater than the average of the beginning and ending prices.
  A-5.   An attractive feature of a logarithmic return is that it can be decomposed into contributing
         factors linearly. That is, the portion of a logarithmic return caused by company-specific
         information is isolated by subtracting from the total logarithmic return the portion of the
         total return caused by market and peer group factor.




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     •   RBC Capital Markets, 15 March 2016.
     •   S&P Capital IQ, 15 March 2016.
     •   ScotiaBank, 15 March 2016.
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     •   BTIG, 16 March 2016.
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     •   Evercore ISI, 16 March 2016.
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     •   Rodman & Renshaw, 16 March 2016.
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     •   TD Securities, 16 March 2016.
     •   Wells Fargo Securities, 16 March 2016.
     •   BMO Capital Markets, 17 March 2016.
     •   Moody’s Analytics, 17 March 2016.
     •   Moody’s Investors Services, 17 March 2016.
     •   Guggenheim Securities, 18 March 2016.
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     •   ScotiaBank, 18 March 2016.
     •   UBS Research, 18 March 2016.
     •   Wells Fargo Securities, 18 March 2016.
     •   Barclays, 21 March 2016.
     •   BMO Capital Markets, 21 March 2016.



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     •   BTIG, 21 March 2016.
     •   Canaccord Genuity, 21 March 2016.
     •   Evercore ISI, 21 March 2016.
     •   J.P. Morgan, 21 March 2016.
     •   Morningstar Credit Research, 21 March 2016.
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     •   RBC Capital Markets, 28 March 2016.
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     •   RBC Capital Markets, 1 April 2016.
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     •   BMO Capital Markets, 5 April 2016.
     •   Canaccord Genuity, 5 April 2016.
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     •   RBC Capital Markets, 5 April 2016.
     •   BTIG, 7 April 2016.
     •   Morningstar Credit Research, 7 April 2016.
     •   Morningstar, 7 April 2016.
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     •   Deutsche Bank, 8 April 2016.


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     •   Valeant Pharmaceuticals International, Inc., Form 10-K, for the fiscal year ended 31
         December 2011, filed 29 February 2012.
     •   Valeant Pharmaceuticals International, Inc., Form DEF_14A, filed 30 April 2012.




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     •   Valeant Pharmaceuticals International Inc., Form 10-Q, for the quarterly period ended 31
         March 2012, filed 4 May 2012.
     •   Valeant Pharmaceuticals International Inc., Form 10-Q, for the quarterly period ended 30
         June 2012, filed 3 August 2012.
     •   Valeant Pharmaceuticals International Inc., Form 10-Q, for the quarterly period ended 30
         September 2012, filed 5 November 2012.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 4 January 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 7 February 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-KA, filed 25 February 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 10-K, for the fiscal year ended 31
         December 2012, filed 28 February 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 28 February 2013.
     •   Valeant Pharmaceuticals International, Inc., Form PRE_14A, filed 18 March 2013.
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     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 2 May 2013.
     •   Valeant Pharmaceuticals International Inc., Form 10-Q, for the quarterly period ended 31
         March 2013, filed 3 May 2013.
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     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 30 May 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 31 May 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 10 June 2013.
     •   Valeant Pharmaceuticals International, Inc., Form S-3ASR, filed 10 June 2013.
     •   Valeant Pharmaceuticals International, Inc., Form DEFA14A, filed 14 June 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 424B5, filed 17 June 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-KA, filed 17 June 2013.
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     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 19 June 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 24 June 2013.
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     •   Valeant Pharmaceuticals International Inc., Form 10-Q, for the quarterly period ended 30
         June 2013, filed 7 August 2013.



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     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 7 August 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 8 August 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 13 August 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 9 September 2013.
     •   Anacor Pharmaceuticals, Inc, Form 8-K, filed 19 September 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-KA, filed 21 October 2013.
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     •   Valeant Pharmaceuticals International Inc., Form 10-Q, for the quarterly period ended 30
         September 2013, filed 1 November 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 15 November 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 18 November 2013.
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     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 5 December 2013.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 7 January 2014.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 27 February 2014.
     •   Valeant Pharmaceuticals International, Inc., Form 10-K, for the fiscal year ended 31
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     •   Valeant Pharmaceuticals International, Inc., Form 425, filed 21 April 2014.
     •   Valeant Pharmaceuticals International, Inc., Form 425, filed 21 April 2014.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 21 April 2014.
     •   Valeant Pharmaceuticals International, Inc., Form 425, filed 22 April 2014.
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     •   Valeant Pharmaceuticals International, Inc., Form 425, filed 23 April 2014.
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     •   Valeant Pharmaceuticals International, Inc., Form 425, filed 15 May 2014.
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     •   Valeant Pharmaceuticals International, Inc., Form 425, filed 19 May 2014.
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     •   Valeant Pharmaceuticals International, Inc., Form 425, filed 12 June 2014.
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     •   Valeant Pharmaceuticals International, Inc., Form 425, filed 17 June 2014.
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     •   Valeant Pharmaceuticals International, Inc., Form 425, filed 10 October 2014.
     •   Valeant Pharmaceuticals International, Inc., Form 425, filed 17 October 2014.
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     •   Valeant Pharmaceuticals International Inc., Form 10-Q, for the quarterly period ended 30
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     •   Valeant Pharmaceuticals International, Inc., Form 425, filed 17 November 2014.
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     •   Valeant Pharmaceuticals International, Inc., Form DFAN14A, filed 17 November 2014.
     •   Valeant Pharmaceuticals International, Inc., Form RW, filed 19 November 2014.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 28 November 2014.
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     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 15 January 2015.
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     •   Salix, Pharmaceuticals Ltd, Form 8-K, filed 23 February 2015.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 23 February 2015.
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     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 16 March 2015.
     •   Valeant Pharmaceuticals International, Inc., Form FWP, filed 16 March 2015.
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     •   Salix, Pharmaceuticals Ltd, Form 8-K, filed 1 April 2015.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 7 April 2015.
     •   Valeant Pharmaceuticals International, Inc., Form DEF_14A, filed 9 April 2015.
     •   Progenics Pharmaceuticals, Inc, Form 8-K, filed 24 April 2015.
     •   Valeant Pharmaceuticals International, Inc., Form 8-K, filed 29 April 2015.
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         Conference,” Thomson Reuters, conference call, 14 January 2014.
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         Thomson Reuters, conference call, 27 February 2014.
     •   “Valeant Pharmaceuticals International, Inc. Conference Call to Discuss the Proposed
         Acquisition of Allergan,” Thomson Reuters, conference call, 22 April 2014.
     •   “Q1 2014 Valeant Pharmaceuticals International, Inc. Earnings Conference Call,”
         Thomson Reuters, conference call, 8 May 2014.
     •   “Valeant Pharmaceuticals International, Inc. Annual Shareholder Meeting,” Thomson
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         Thomson Reuters, conference call, 31 July 2014.
     •   “Q3 2014 Valeant Pharmaceuticals International, Inc. Earnings Conference Call,”
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     •   “Valeant Pharmaceuticals International, Inc. 2015 Financial Guidance Conference Call,”
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     •   “Valeant Pharmaceuticals International, Inc. 2015 Financial Guidance Call,” Thomson
         Reuters, conference call, 8 January 2015.
     •   “Valeant Pharmaceuticals International, Inc. at JPMorgan Healthcare Conference,”
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     •   “Q4 2014 Valeant Pharmaceuticals International, Inc. Earnings Conference Call,”
         Thomson Reuters, conference call, 23 February 2015.
     •   “Q1 2015 Valeant Pharmaceuticals International, Inc. Earnings Conference Call,”
         Thomson Reuters, conference call, 29 April 2015.
     •   “Q2 2015 Valeant Pharmaceuticals International, Inc. Earnings Conference Call,”
         Thomson Reuters, conference call, 23 July 2015.
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     •   “Valeant Pharmaceuticals International, Inc. Investor Conference Call,” Investor
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     •   “Valeant Pharmaceuticals International, Inc. To Hold Investor Conference Call,”
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     •   “Valeant Pharmaceuticals International, Inc. Conference Call to Provide Business
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     •   “Valeant Pharmaceuticals International, Inc. Jefferies Autumn Global Healthcare
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                                Curriculum Vitae
                          Steven P. Feinstein, Ph.D., CFA


                                       Babson College
                                       Finance Division
                                   Babson Park, MA 02457
                                        781-239-5275
                                    Feinstein@Babson.edu

  EDUCATION

  1989   YALE UNIVERSITY
         Ph.D. in Economics (Concentration in Finance)

  1986   YALE UNIVERSITY
         M.Phil. in Economics

  1983   YALE UNIVERSITY
         M.A. in Economics

  1981   POMONA COLLEGE
         B.A. in Economics (Phi Beta Kappa, cum laude)


  TEACHING EXPERIENCE

  1996 - present       BABSON COLLEGE
                       Babson Park, MA
                       Full-time Faculty, Finance Division
                       Associate Professor (2000-present)
                       Donald P. Babson Chair in Applied Investments (2002-2010)
                       Faculty Director of the Babson College Fund (2002-2009)
                       Director of the Stephen D. Cutler Investment Management Center
                       (2002-2007)
                       Assistant Professor (1996-2000)

  1990 - 1995          BOSTON UNIVERSITY SCHOOL OF MANAGEMENT
                       Boston, MA
                       Full-time Faculty, Department of Finance

  1993 - 1994          WASHINGTON UNIVERSITY, OLIN SCHOOL OF BUSINESS
                       St. Louis, MO
                       Visiting Assistant Professor, Department of Finance




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                                Curriculum Vitae
                          Steven P. Feinstein, Ph.D., CFA


  BUSINESS EXPERIENCE

  2008 - present       CROWNINSHIELD FINANCIAL RESEARCH, INC.
                       Brookline, MA
                       President and Senior Expert

  1996 - 2008          THE MICHEL-SHAKED GROUP
                       Boston, MA
                       Senior Expert (2001 - 2008)
                       Affiliated Expert (1996 - 2001)

  1987 - 1990          FEDERAL RESERVE BANK OF ATLANTA
                       Economist


  PROFESSIONAL DESIGNATIONS

  1998   Awarded the Chartered Financial Analyst designation by the Association for Investment
         Management and Research.


  RESEARCH AWARDS

  1999   Greater Boston Real Estate Board/Real Estate Finance Association – Research Grant and
         Featured Speaker at Real Estate Finance Association Meetings.


  PAPERS AND PUBLICATIONS

         “What A Solar Eclipse Has To Do With Market Efficiency,” (with Daniel Bettencourt)
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        “Market Signals of Investment Unsuitability,” (with Alexander Liss and Steven Achatz)
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        “Planning Capital Expenditure,” in The Portable MBA in Financing and Accounting, J. L.
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        2009.

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        “Valuation of Credit Guarantees,” (with Allen J. Michel and Israel Shaked). Journal of
        Forensic Economics 17(1), pp. 17-37, 2005.

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        “Scenario Learning: A Powerful Tool for the 21st Century Planner,” (with Jeffrey Ellis
        and Dennis Stearns) The Journal of Financial Planning, April 2000.

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        Michel and Israel Shaked) American Bankruptcy Institute Journal, January 2000.

        “Measuring Risk with the Bodie Put When Stocks Exhibit Mean Reversion,” The Journal
        of Risk, Vol. 1, No. 3, 1999.

        “Just-in-Time Mathematics: Integrating the Teaching of Finance Theory and
        Mathematics,” (with Gordon Prichett) Primus, Vol. IX, No. 2, June 1999.

        Atlanta Park Medical Center v. Hamlin Asset Management. (with Natalie Taylor).
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        “Dealing with Delta,” Derivatives Week, VII, No. 44, November 2, 1998.

        “Expected Return in Option Pricing: A Non-Mathematical Explanation,” Derivatives
        Week, VII, No. 35, August 31, 1998.

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        “The Hull and White Implied Volatility,” Boston University Working Paper #92-51,
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        Assessment,” (with Don Smith) in Financial Systems and Risk Management, the
        proceedings of the US-Japan Forum on Financial Strategy in the 1990s, sponsored by
        Osaka Foundation of International Exchange and Boston University, August 1991.

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        Derivatives: New Instruments and Their Uses. Atlanta: Federal Reserve Bank.

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        New Instruments and Their Uses. Atlanta: Federal Reserve Bank.

        “The Black-Scholes Formula is Nearly Linear in Sigma for At-the-Money Options;
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        Goetzmann) Federal Reserve Bank of Atlanta Economic Review, September/October
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        Book review of In Who’s Interest: International Banking and American Foreign Policy,
        by Benjamin J. Cohen, Yale University Press, in Federal Reserve Bank of Atlanta
        Economic Review, Summer 1987.


  PRESENTATIONS

        “Stock Price Reactivity to Earnings Announcements: A Cross-Sectional Analysis of the
        Cammer/Krogman Factors,” (with Miguel Villanueva) at the Boston Area Finance
        Symposium, April 2018.

        “Stock Price Reactivity to Earnings Announcements: A Cross-Sectional Analysis of the
        Cammer/Krogman Factors,” (with Miguel Villanueva) at the Eastern Finance Association
        Conference, April 2018.

        “Determining the Defendant's Ability to Pay,” at Taxpayers Against Fraud Education
        Fund Conference, October 2010.

        “The Computation of Damages in Securities Fraud Cases,” at the Grant and Eisenhofer
        Institutional Investor Conference, December 2002.

        “The Role of the Financial Expert in Complex Litigation,” at the Financial Management
        Association Conference, October 2000.

        “Entrepreneurial Incentives and Resource Allocation Among Corporate Venturing
        Initiatives,” (with Joel Shulman and U. Srinivasa Rangan), Babson Entrepreneurship
        Research Conference, May 2000.

        “Application of Real Options in Purchasing Strategies,” (with Juan Orozco), presented at
        the International Applied Business Research Conference, March 2000.

        “A Future for Real Estate Futures,” (with Linda Stoller) at the Fairfield County chapter of
        the Real Estate Finance Association, November 1999, and at the Greater Boston Real
        Estate Board, November 2000.

        “Atlanta Park Medical Center v. Hamlin Asset Management,” (with Natalie Taylor) at the
        1999 convention of the North American Case Research Association.

        “Using Future Worlds in the Financial Planning Process,” (with Jeffrey Ellis) at the
        Institute of Certified Financial Planners Masters Retreat, October 1999.




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        “Toward a Better Understanding of Real Options: A Weighted Average Discount Rate
        Approach,” at the 1999 Financial Management Association Conference, the 1999
        European Financial Management Association Conference, and the 1999 Multinational
        Finance Society Conference.

        “Just-In-Time Mathematics: Integrating the Teaching of Finance Theory and
        Mathematics,” (with Gordon Prichett) at the 1999 Financial Management Association
        Conference.

        “Alternative Dow Investments for the Individual Investor: Diamonds, Synthetics, and the
        Real Thing,” at the 1999 Academy of Financial Services Convention.
        “Evidence of Yield Burning in Municipal Refundings,” at Financial Management
        Association Convention, October 1997; Government Finance Officers Association, 1997;
        and Northeast Regional Convention of the National Association of State Treasurers,
        1997.

        “Teaching the Strong-Form Efficient Market Hypothesis,” at Conference on Classroom
        Experiments in the Teaching of Economics at University of Virginia, September 1995.

        “Efficient Consolidation of Implied Standard Deviations,” (with Shaikh Hamid) at
        Midwest Finance Association, March 1995.

        “A Test of Intertemporal Averaging of Implied Volatilities,” (with Shaikh Hamid) at
        Eastern Finance Association, April 1995.

        “Taking Advantage of Volatility: Non-linear Forecasting and Options Strategies,” (with
        Hassan Ahmed) at Chicago Board of Trade / Chicago Board Options Exchange
        Conference on Risk Management, February 1992.

        “Immunizing Against Interest Rate Risk Using the Macaulay Duration Statistic: An
        Assessment,” (with Don Smith) at Japan-U.S. Conference on Financial Strategies in the
        1990s, Osaka, Japan, August 1991.

        “The Hull and White Implied Volatility,” at American Finance Association Convention,
        December 1990.


  REVIEWED ARTICLES AND BOOKS FOR:

        Harvard Business School Publishing
        Elsevier
        Journal of Economic Education
        Journal of Forensic Economics
        Journal of Risk



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                                Curriculum Vitae
                          Steven P. Feinstein, Ph.D., CFA


        Financial Review
        North American Case Research Association
        Financial Management
        Journal of Business
        Journal of Money, Credit and Banking
        Quarterly Review of Economics and Finance
        Blackwell
        Prentice Hall
        Southwestern Publishing

  COURSES TAUGHT

        Capital Markets
        Mod B: Decision Making and Applications, Finance stream (MBA)
        Financial Reporting and Corporate Finance (MBA)
        Valuation (MBA)
        Investments (MBA and Executive)
        Equity Markets (MBA)
        Fixed Income Analysis (Undergraduate and MBA)
        Babson College Fund (Undergraduate and MBA)
        Options and Futures (Undergraduate)
        Advanced Derivative Securities (MBA)
        Corporate Finance (MBA and Executive)
        Financial Management (MBA)
        Risk Management (MBA)
        Corporate Financial Strategy (MBA)
        Integrated Management (Undergraduate)
        Cross-Functional Management (Integrated curriculum, Undergraduate)
        Continuous-Time Finance (Doctoral)
        Portfolio Theory / Management Information Systems (Executive)
        Quantitative Methods for Investment Management (Undergraduate and MBA)
        Introduction to Derivative Securities (Executive)
        International Finance (Executive)


  TEACHING AWARDS

        Reid Teaching Award, Washington University, Olin School of Business, 1993-94.




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        “Is Insider Trading Part of the Fabric?” by Gretchen Morgenson, The New York Times,
        May 19, 2012.

        “Bankers Rigging Municipal Contract Bids Admit to Cover-Up Lies,” by William
        Selway and Martin Z. Braun, Bloomberg Markets Magazine, November 24, 2010.

        “Hospital Move Presents Buy-Out Groups with New Risks,” by Francesco Guerra,
        Christopher Bowe, and Rebecca Knight, Financial Times, July 15, 2006.

        “Funds of Knowledge Add Value,” by Rebecca Knight, Financial Times, March 12,
        2006.

        “City’s Financial Picture Worse Than Ever, Sanders Says,” by Matthew T. Hall, San
        Diego Union-Tribune, January 7, 2006.

        “Downer: Stock Market Takes Another Dive,” by John Chesto, Boston Herald, July 23,
        2002.

        “Banks, Developers, Are Main Beneficiaries,” [editorial column] by Steven Feinstein,
        The Boston Globe, March 31, 2002, p. C4.

        “Washington Investing: What Michael Saylor is Really Worth,” by Jerry Knight, The
        Washington Post, March 6, 2000.

        “IBM Retools Pensions,” by Stephanie Armour, USA Today, May 4, 1999.

        “L.A. MTA’s Law Firm Says Lissack Strategy Will be a Replay,” by Andrea Figler,
        Bond Buyer, September 30, 1998.

        “Fed Key Player in Rescue of Floundering Hedge Fund,” by Andrew Fraser, Associated
        Press, September 25, 1998.

        “Top Banks Plan Bailout for Fund,” by Andrew Fraser, Associated Press, September 24,
        1998.

        “Clarion Call to the Small Investor,” by Jo-Ann Johnston, The Boston Globe, March 4,
        1998.

        “L.A. Authority Study Shows Rampant Yield Burning Abuse,” by Michael Stanton, The
        Bond Buyer, April 22, 1997.




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        “Dispute Over Yield Burning Dominates GFOA Session,” by Michael Stanton, The Bond
        Buyer, January 29, 1997.

        “Men Behaving Badly (Yield Burning),” Grants Municipal Bond Observer, January 24,
        1997.

        “Municipal Bond Dealers Face Scrutiny,” by Peter Truell, The New York Times,
        December 17, 1996.

        “Iowa Market Takes Stock of Presidential Candidates,” by Stanley W. Angrist, The Wall
        Street Journal, August 28, 1995.

        “Looking for Clues in Options Prices,” by Sylvia Nasar, The New York Times, July 18,
        1991.

        “For Fed, A New Set of Tea Leaves,” by Sylvia Nasar, The New York Times, July 5,
        1991.


  MEMBERSHIP IN PROFESSIONAL SOCIETIES

        American Finance Association
        CFA Society Boston
        Chartered Financial Analyst Institute
        Financial Management Association
        Foundation for Advancement of Research in Financial Economics (founding member)
        National Association of Forensic Economics
        North American Case Research Association




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  Mary K. Jones, et al., vs. Pfizer Inc., et al.
  United States District Court
  Southern District of New York
  Civil Action no. 10-cv-03864-AKH
  Deposition Testimony
  January 2012 and October 2014

  In Re Questcor Pharmaceuticals, Inc. Securities Litigation
  Civil Action No. 12-cv-01623-DMG
  United States District Court
  Central District of California
  Deposition Testimony
  October 2014

  In Re Longtop Financial Technologies, Ltd. Securities Litigation
  Civil Action No. 11-cv-3658-SAS
  United States District Court
  Southern District of New York
  Trial Testimony
  November 2014

  In Re Delcath Systems, Inc. Securities Litigation
  Civil Action No. 13 Civ. 3116 (LGS)
  United States District Court
  Southern District of New York
  Deposition Testimony
  December 2014

  In Re Prudential Financial, Inc. Securities Litigation
  Civil Action No. 2:12-cv-05275-SDW-MCA
  United States District Court
  District of New Jersey
  Deposition Testimony
  January 2015

  In Re Walter Energy, Inc. Securities Litigation
  Civil Action No. 2:12-cv-00281-VEH
  United States District Court
  Northern District of Alabama
  Deposition Testimony
  January 2014 and March 2015




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  In Re CVS Caremark Corporation Securities Litigation
  Civil Action No. 1:09-cv-00554-S-DLM
  United States District Court
  District of Rhode Island
  Deposition Testimony
  March 2015

  In Re JPMorgan Chase & Co. Securities Litigation
  Civil Action No. 1:12-cv-03852-GBD
  United States District Court
  Southern District of New York
  Deposition Testimony
  March 2015

  In Re Baxter International Inc., et al. Securities Litigation
  Civil Action No. 1:10-cv-06016
  United States District Court
  Northern District of Illinois Eastern Division
  Deposition Testimony
  November 2014 and May 2015

  In Re Goldman, Sachs & Co., et al. Securities Litigation
  Civil Action No. 10 Civ. 4429 (MGC)
  United States District Court
  Southern District of New York
  Deposition Testimony
  June 2015

  In Re United States of America, et al. v. Frank Kurnik and Pharmerica Corp., et al.
  Case No. 3:11-cv-1464-JFA
  United States District Court
  District South Carolina
  Deposition Testimony
  June 2015

  In Re HCA Holdings, Inc., Securities Litigation
  Civil Action No. 3:11-cv-01033
  United States District Court
  Middle District of Tennessee
  Nashville Division
  Deposition Testimony
  June 2015




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  In Re Claude A. Reese, et al. v. Robert A. Malone, et al.
  Civil Action No. C08-1008 MJP
  United States District Court
  Western District of Washington at Seattle
  Deposition Testimony
  June 2015

  In Re Bridgepoint Education, Inc. Securities Litigation
  Civil Action No. 3:12-cv-01737-JM-JLB
  United States District Court
  Southern District of California
  Deposition Testimony
  July 2015

  In Re Dana Corporation, et al. Securities Litigation
  Civil Action No. 3:05-cv-07393-JGC
  United States District Court
  Northern District of Ohio
  Deposition Testimony
  June 2015 and August 2015

  In Re Las Vegas Sands Corp. Securities Litigation
  Civil Action No. 2:10-cv-00765-KJD-LRL
  United States District Court
  District of Nevada
  Deposition Testimony
  March 2015 and December 2015

  In Re Groupon, Inc. Securities Litigation
  Civil Action No. 12-cv-2450
  United States District Court
  Northern District of Illinois
  Deposition Testimony
  February 2014 and December 2015
  Testimony at Evidentiary Hearing
  September 2014




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  In Re: Petrobras Securities Litigation
  Case No. 14-cv-9662 (JSR)
  United States District Court
  Southern District of New York
  Deposition Testimony
  October 2015 and December 2015
  Testimony at Evidentiary Hearing
  December 2015

  In Re Symbol Technologies, Inc. Securities Litigation
  Civil Action No. 05-cv-3923-DRH
  United States District Court
  Eastern District of New York
  Deposition Testimony
  June 2014 and January 2016

  In Re KBR, Inc. Securities Litigation
  Case No. 4:14-CV-01287
  United States District Court
  Southern District of Texas
  Deposition Testimony
  April 2016

  In Re: Petrobras Securities Litigation
  Case No. 15-cv-04226 (JSR)
  Case No. 15-cv-03923 (JSR)
  Case No. 15-cv-03911 (JSR)
  United States District Court
  Southern District of New York
  Deposition Testimony
  June 2016

  In Re World Acceptance Corporation Securities Litigation
  Case No. 6:14-cv-01606
  United States District Court
  District of South Carolina
  Deposition Testimony
  February 2017




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  In Re Silver Wheaton Corp. Securities Litigation
  Case No. 4 2:15-cv-05146
  United States District Court
  Central District of California
  Deposition Testimony
  February 2017

  In Re Medtronic, Inc. Securities Litigation
  Master File No. 0:13-cv-01686-JRT-FLN
  United States District Court
  District of Minnesota
  Deposition Testimony
  April 2017

  In Re LSB Industries, Inc. Securities Litigation
  Master File No. 1:15-cv-07614-RA
  United States District Court
  Southern District of New York
  Deposition Testimony
  June 2017

  In Re Resource Capital Corp. Securities Litigation
  Master File No. 1:15-cv-07081-LLS
  United States District Court
  Southern District of New York
  Deposition Testimony
  July 2017

  In Re American Realty Capital Properties Inc. Securities Litigation
  Master File No. 1:14-cv-08668-ER
  United States District Court
  Southern District of New York
  Deposition Testimony
  June 2017
  Testimony at Evidentiary Hearing
  August 2017

  In Re Marvell Technology Group, Ltd. Securities Litigation
  Master File No. 5:15-cv-05447-WHA
  United States District Court
  Northern District of California
  Deposition Testimony
  August 2017




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                          Steven P. Feinstein, Ph.D., CFA
                         Testimony in the Last Four Years


  In Re Eletrobras Securities Litigation
  Master File No. 1:15-cv-5754-JGK
  United States District Court
  Southern District of New York
  Deposition Testimony
  September 2017

  In Re Insulet Corporation Securities Litigation
  Master File No. 15-12345-MLW
  United States District Court
  District of Massachusetts
  Deposition Testimony
  October 2017

  In Re Deutsche Bank AG Securities Litigation
  Master File No. 1:09-cv-01714-DAB
  United States District Court
  Southern District of New York
  Deposition Testimony
  January 2018

  Daniel Turocy, et al., v. El Pollo Loco Holdings. Inc., et al.
  Case No. 8:15-cv-01343-DOC-KES
  United States District Court
  Central District of California
  Deposition Testimony
  February 2018

  In Re Federal Home Loan Mortgage Corporation Securities Litigation
  Master File No. 4:08-cv-00160-BYP
  United States District Court
  Northern District of Ohio Eastern Division
  Deposition Testimony
  August 2017
  Deposition Testimony
  November 2017
  Testimony at Evidentiary Hearing
  April 2018




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                          Steven P. Feinstein, Ph.D., CFA
                         Testimony in the Last Four Years


  In re BHP Billiton Limited Securities Litigation
  Civil Action No. 1:16-cv-01445-NRB
  United States District Court
  Southern District New York
  Deposition Testimony
  April 2018

  In Re Medtronic, Inc. Securities Litigation
  Master File No. 0:13-cv-01686-JRT-FLN
  United States District Court
  District of Minnesota
  Deposition Testimony
  May 2018

  In Re Puma Biotechnology, Inc. Securities Litigation
  Case No. 8:15-cv-00865-AG-JLG
  United States District Court
  Central District of California
  Deposition Testimony
  April 2017
  Deposition Testimony
  June 2018

  In Re Community Health Systems Securities Litigation
  Case No. 11-cv-0433
  United States District Court
  Middle District of Tennessee
  Deposition Testimony
  June 2018

  In Re Orbital ATK, Inc. Securities Litigation
  Case No. 1:16-cv-01031-TSE-MSN
  United States District Court
  Eastern District of Virginia
  Deposition Testimony
  July 2018

  In Re Correction Corporation of America Securities Litigation
  Case No. 3:16-cv-02267
  United States District Court
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  Deposition Testimony
  July 2018




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  In Re Blackberry Limited Securities Litigation
  Case No. 1:13-cv-7060-TPG
  United States District Court
  Southern District of New York
  Deposition Testimony
  July 2018

  In Re SunEdison, Inc. Securities Litigation
  Case No. 16-md-2742-PKC
  United States District Court
  Southern District of New York
  Deposition Testimony
  July 2018

  In Re Flower Foods, Inc. Securities Litigation
  Case No. 7:16-CV-00222-WLS
  United States District Court
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  Valdosta Division
  September 2018




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                                           Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
     1/3/2012      $47.97         $47.96            $47.97          1,790,100
     1/4/2012      $46.69         $46.69            $46.71          1,486,800     -2.70%
     1/5/2012      $47.16         $47.17            $47.18          2,494,900      1.00%
     1/6/2012      $47.48         $47.45            $47.47          5,085,900      0.68%
     1/9/2012      $49.03         $49.00            $49.01          2,853,400      3.21%
    1/10/2012      $49.72         $49.71            $49.72          4,554,800      1.40%
    1/11/2012      $48.71         $48.72            $48.73          2,614,300     -2.05%
    1/12/2012      $49.38         $49.38            $49.39          3,720,500      1.37%
    1/13/2012      $49.19         $49.19            $49.20          2,194,300     -0.39%
    1/17/2012      $50.98         $50.92            $50.94          5,768,600      3.57%
    1/18/2012      $50.97         $50.99            $51.00          1,937,600     -0.02%
    1/19/2012      $51.34         $51.33            $51.34          1,995,500      0.72%
    1/20/2012      $50.91         $50.91            $50.92          2,506,100     -0.84%
    1/23/2012      $50.54         $50.54            $50.55          1,666,900     -0.73%
    1/24/2012      $49.78         $49.79            $49.80          2,549,100     -1.52%
    1/25/2012      $50.72         $50.69            $50.70          1,270,900      1.87%
    1/26/2012      $49.22         $49.21            $49.22          2,566,100     -3.00%
    1/27/2012      $49.17         $49.17            $49.18          1,047,500     -0.10%
    1/30/2012      $48.74         $48.75            $48.76          1,265,800     -0.88%
    1/31/2012      $48.49         $48.48            $48.49          1,359,400     -0.51%
     2/1/2012      $50.46         $50.48            $50.50          2,202,500      3.98%
     2/2/2012      $50.08         $50.05            $50.06          1,004,500     -0.76%
     2/3/2012      $50.50         $50.51            $50.52          1,143,600      0.84%
     2/6/2012      $50.13         $50.13            $50.14          1,225,000     -0.74%
     2/7/2012      $49.77         $49.77            $49.78            711,700     -0.72%
     2/8/2012      $49.57         $49.54            $49.55            820,200     -0.40%
     2/9/2012      $48.49         $48.51            $48.52          2,295,600     -2.20%
    2/10/2012      $47.91         $47.88            $47.89          1,036,100     -1.20%
    2/13/2012      $48.45         $48.43            $48.44          2,221,100      1.12%
    2/14/2012      $48.49         $48.49            $48.50            949,800      0.08%
    2/15/2012      $48.23         $48.26            $48.27          1,420,200     -0.54%
    2/16/2012      $47.98         $47.99            $48.00          1,251,500     -0.52%
    2/17/2012      $47.39         $47.39            $47.40          1,436,100     -1.24%
    2/21/2012      $46.56         $46.55            $46.56          3,114,000     -1.77%
    2/22/2012      $46.49         $46.47            $46.48          1,927,100     -0.15%
    2/23/2012      $47.55         $47.54            $47.55          1,349,700      2.25%

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                                           Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    2/24/2012      $47.93         $47.95            $47.96          1,710,000      0.80%
    2/27/2012      $50.58         $50.58            $50.59          4,684,400      5.38%
    2/28/2012      $51.08         $51.08            $51.09          1,562,600      0.98%
    2/29/2012      $52.91         $52.91            $52.92          4,667,400      3.52%
     3/1/2012      $54.32         $54.31            $54.32          2,728,500      2.63%
     3/2/2012      $53.85         $53.85            $53.86          1,462,500     -0.87%
     3/5/2012      $54.31         $54.28            $54.29          1,840,200      0.85%
     3/6/2012      $53.86         $53.85            $53.86          1,987,300     -0.83%
     3/7/2012      $54.49         $54.49            $54.50          1,818,900      1.16%
     3/8/2012      $55.13         $55.14            $55.15          1,335,000      1.17%
     3/9/2012      $55.58         $55.56            $55.57          1,092,100      0.81%
    3/12/2012      $54.59         $54.59            $54.60          1,148,300     -1.80%
    3/13/2012      $54.57         $54.56            $54.57          1,742,900     -0.04%
    3/14/2012      $53.73         $53.73            $53.74          1,314,400     -1.55%
    3/15/2012      $54.70         $54.68            $54.69          1,724,800      1.79%
    3/16/2012      $53.64         $53.64            $53.65          1,285,900     -1.96%
    3/19/2012      $53.80         $53.80            $53.81            778,600      0.30%
    3/20/2012      $53.31         $53.31            $53.32            885,700     -0.91%
    3/21/2012      $53.72         $53.71            $53.72          1,040,600      0.77%
    3/22/2012      $53.07         $53.04            $53.05            959,500     -1.22%
    3/23/2012      $53.75         $53.75            $53.77            825,000      1.27%
    3/26/2012      $54.61         $54.61            $54.62            801,400      1.59%
    3/27/2012      $54.05         $54.06            $54.07            949,600     -1.03%
    3/28/2012      $53.69         $53.68            $53.69            982,100     -0.67%
    3/29/2012      $53.89         $53.87            $53.88            962,300      0.37%
    3/30/2012      $53.69         $53.71            $53.72            623,700     -0.37%
     4/2/2012      $54.82         $54.80            $54.81            872,400      2.08%
     4/3/2012      $54.46         $54.47            $54.48            687,900     -0.66%
     4/4/2012      $54.13         $54.12            $54.13            723,900     -0.61%
     4/5/2012      $54.76         $54.76            $54.77            738,100      1.16%
     4/9/2012      $53.94         $53.93            $53.94            697,100     -1.51%
    4/10/2012      $52.95         $52.95            $52.96          1,447,400     -1.85%
    4/11/2012      $52.51         $52.50            $52.51          1,098,200     -0.83%
    4/12/2012      $53.71         $53.71            $53.72          1,100,600      2.26%
    4/13/2012      $52.80         $52.81            $52.83            992,200     -1.71%
    4/16/2012      $53.81         $53.79            $53.80          1,191,200      1.89%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    4/17/2012      $54.91         $54.91            $54.93          1,579,900      2.02%
    4/18/2012      $55.31         $55.30            $55.31            864,700      0.73%
    4/19/2012      $55.05         $55.06            $55.07          1,527,600     -0.47%
    4/20/2012      $55.10         $55.12            $55.13            939,300      0.09%
    4/23/2012      $54.94         $54.94            $54.95          1,087,700     -0.29%
    4/24/2012      $55.90         $55.89            $55.90          1,221,500      1.73%
    4/25/2012      $55.97         $55.94            $55.95          1,194,300      0.13%
    4/26/2012      $55.85         $55.83            $55.84            882,600     -0.21%
    4/27/2012      $55.94         $55.97            $55.98            742,900      0.16%
    4/30/2012      $55.63         $55.63            $55.64            728,900     -0.56%
     5/1/2012      $56.30         $56.29            $56.30          2,450,500      1.20%
     5/2/2012      $56.45         $56.44            $56.45          1,398,400      0.27%
     5/3/2012      $51.24         $51.23            $51.24         13,708,800     -9.68%
     5/4/2012      $50.93         $50.92            $50.93          3,096,400     -0.61%
     5/7/2012      $52.14         $52.12            $52.13          2,712,800      2.35%
     5/8/2012      $52.05         $52.03            $52.04          2,497,400     -0.17%
     5/9/2012      $52.25         $52.25            $52.26          2,181,400      0.38%
    5/10/2012      $53.17         $53.16            $53.17          2,625,000      1.75%
    5/11/2012      $52.94         $52.93            $52.94          1,206,400     -0.43%
    5/14/2012      $51.01         $51.00            $51.01          1,830,800     -3.71%
    5/15/2012      $49.83         $49.82            $49.83          1,746,600     -2.34%
    5/16/2012      $49.16         $49.16            $49.17          2,246,800     -1.35%
    5/17/2012      $48.28         $48.27            $48.28          3,056,100     -1.81%
    5/18/2012      $47.03         $47.04            $47.05          2,485,200     -2.62%
    5/21/2012      $47.19         $47.19            $47.20          3,329,800      0.34%
    5/22/2012      $47.78         $47.77            $47.78          2,270,100      1.24%
    5/23/2012      $46.65         $46.64            $46.65          1,978,000     -2.39%
    5/24/2012      $48.04         $48.04            $48.05          1,905,700      2.94%
    5/25/2012      $48.48         $48.49            $48.50          1,350,000      0.91%
    5/29/2012      $48.40         $48.37            $48.38            896,900     -0.17%
    5/30/2012      $47.92         $47.92            $47.93          1,057,700     -1.00%
    5/31/2012      $48.66         $48.71            $48.72          2,152,700      1.53%
     6/1/2012      $47.00         $47.00            $47.02          2,316,400     -3.47%
     6/4/2012      $46.51         $46.50            $46.51          1,695,600     -1.05%
     6/5/2012      $47.48         $47.47            $47.48          1,790,500      2.06%
     6/6/2012      $48.28         $48.27            $48.28          1,449,700      1.67%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
     6/7/2012      $48.56         $48.53            $48.54          1,475,900      0.58%
     6/8/2012      $48.52         $48.51            $48.52          1,027,400     -0.08%
    6/11/2012      $46.41         $46.41            $46.42          1,609,900     -4.45%
    6/12/2012      $45.99         $45.99            $46.00          4,281,300     -0.91%
    6/13/2012      $45.15         $45.13            $45.14          2,869,000     -1.84%
    6/14/2012      $45.95         $45.92            $45.93          1,945,200      1.76%
    6/15/2012      $44.93         $44.93            $44.94          2,398,300     -2.24%
    6/18/2012      $46.31         $46.29            $46.30          1,318,500      3.03%
    6/19/2012      $47.84         $47.84            $47.85          1,608,800      3.25%
    6/20/2012      $48.24         $48.23            $48.24          1,552,600      0.83%
    6/21/2012      $45.23         $45.24            $45.25          3,836,700     -6.44%
    6/22/2012      $46.60         $46.62            $46.63          1,788,900      2.98%
    6/25/2012      $46.02         $46.01            $46.02            984,000     -1.25%
    6/26/2012      $45.94         $45.94            $45.95          1,782,900     -0.17%
    6/27/2012      $45.19         $45.20            $45.21          1,299,500     -1.65%
    6/28/2012      $43.73         $43.72            $43.73          3,811,700     -3.28%
    6/29/2012      $44.79         $44.80            $44.81          2,657,000      2.40%
     7/2/2012      $44.96         $44.93            $44.94          1,252,200      0.38%
     7/3/2012      $46.99         $46.94            $46.95          1,342,700      4.42%
     7/5/2012      $46.83         $46.83            $46.84          1,241,800     -0.34%
     7/6/2012      $46.00         $46.01            $46.03            863,300     -1.79%
     7/9/2012      $46.19         $46.19            $46.20          1,122,000      0.41%
    7/10/2012      $44.87         $44.90            $44.91          1,552,400     -2.90%
    7/11/2012      $45.02         $45.01            $45.02          1,376,500      0.33%
    7/12/2012      $45.03         $45.01            $45.03          2,043,700      0.02%
    7/13/2012      $45.27         $45.25            $45.26          1,333,400      0.53%
    7/16/2012      $45.05         $45.04            $45.05          1,466,300     -0.49%
    7/17/2012      $47.02         $47.00            $47.01          1,421,300      4.28%
    7/18/2012      $47.95         $47.95            $47.96          1,810,300      1.96%
    7/19/2012      $47.97         $47.97            $47.98          1,408,900      0.04%
    7/20/2012      $47.63         $47.61            $47.62          1,508,000     -0.71%
    7/23/2012      $46.00         $45.98            $45.99          2,307,400     -3.48%
    7/24/2012      $46.00         $46.01            $46.02          2,024,700      0.00%
    7/25/2012      $47.01         $47.00            $47.01          1,304,700      2.17%
    7/26/2012      $47.68         $47.68            $47.69          1,464,000      1.42%
    7/27/2012      $49.12         $49.09            $49.10          1,793,400      2.98%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    7/30/2012      $48.64         $48.63            $48.64          1,639,400     -0.98%
    7/31/2012      $47.56         $47.55            $47.56          1,678,500     -2.25%
     8/1/2012      $46.89         $46.89            $46.90          2,913,300     -1.42%
     8/2/2012      $46.93         $46.88            $46.89          3,015,700      0.09%
     8/3/2012      $47.93         $47.92            $47.93          1,721,100      2.11%
     8/6/2012      $48.11         $48.13            $48.14          1,003,100      0.37%
     8/7/2012      $49.58         $49.59            $49.61          5,141,600      3.01%
     8/8/2012      $50.36         $50.38            $50.39          1,639,400      1.56%
     8/9/2012      $49.96         $49.96            $49.97          1,089,400     -0.80%
    8/10/2012      $50.36         $50.33            $50.34          1,241,600      0.80%
    8/13/2012      $49.96         $49.97            $49.98          1,066,100     -0.80%
    8/14/2012      $50.76         $50.76            $50.77          1,750,000      1.59%
    8/15/2012      $51.27         $51.26            $51.27          1,941,100      1.00%
    8/16/2012      $50.61         $50.61            $50.62          1,406,500     -1.30%
    8/17/2012      $51.90         $51.90            $51.91          2,490,300      2.52%
    8/20/2012      $52.52         $52.50            $52.51          1,718,500      1.19%
    8/21/2012      $52.32         $52.32            $52.33          3,041,000     -0.38%
    8/22/2012      $52.07         $52.05            $52.06          1,043,700     -0.48%
    8/23/2012      $51.25         $51.24            $51.25          1,317,200     -1.59%
    8/24/2012      $52.10         $52.08            $52.09          1,178,800      1.64%
    8/27/2012      $51.71         $51.71            $51.72          1,485,000     -0.75%
    8/28/2012      $51.52         $51.51            $51.52            819,500     -0.37%
    8/29/2012      $51.75         $51.74            $51.75            549,700      0.45%
    8/30/2012      $51.19         $51.16            $51.18            552,000     -1.09%
    8/31/2012      $51.27         $51.27            $51.28            613,800      0.16%
     9/4/2012      $58.78         $58.78            $58.79         11,049,800     13.67%
     9/5/2012      $59.30         $59.30            $59.31          2,814,900      0.88%
     9/6/2012      $60.19         $60.20            $60.21          2,161,400      1.49%
     9/7/2012      $59.47         $59.46            $59.47          1,581,600     -1.20%
    9/10/2012      $59.15         $59.13            $59.14          1,006,100     -0.54%
    9/11/2012      $58.04         $58.03            $58.04          1,602,500     -1.89%
    9/12/2012      $58.40         $58.38            $58.39          1,035,200      0.62%
    9/13/2012      $58.64         $58.63            $58.64          1,321,300      0.41%
    9/14/2012      $56.37         $56.32            $56.34          4,103,800     -3.95%
    9/17/2012      $55.90         $55.90            $55.91          1,394,400     -0.84%
    9/18/2012      $55.54         $55.52            $55.53          1,516,800     -0.65%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    9/19/2012      $55.69         $55.68            $55.69            871,600      0.27%
    9/20/2012      $55.69         $55.69            $55.70          1,090,000      0.00%
    9/21/2012      $55.11         $55.12            $55.13          1,967,900     -1.05%
    9/24/2012      $54.98         $55.00            $55.02          1,756,900     -0.24%
    9/25/2012      $55.48         $55.49            $55.50          1,845,400      0.91%
    9/26/2012      $55.27         $55.34            $55.35            954,600     -0.38%
    9/27/2012      $55.59         $55.58            $55.59            947,800      0.58%
    9/28/2012      $55.27         $55.26            $55.27          1,193,600     -0.58%
    10/1/2012      $56.16         $56.16            $56.17          1,653,700      1.60%
    10/2/2012      $55.87         $55.85            $55.86            783,300     -0.52%
    10/3/2012      $56.95         $56.94            $56.95          1,828,100      1.91%
    10/4/2012      $56.94         $56.93            $56.94          1,264,900     -0.02%
    10/5/2012      $56.70         $56.69            $56.70            485,400     -0.42%
    10/8/2012      $56.52         $56.51            $56.52            440,100     -0.32%
    10/9/2012      $55.89         $55.84            $55.85            572,800     -1.12%
   10/10/2012      $55.26         $55.26            $55.27            980,700     -1.13%
   10/11/2012      $56.04         $56.05            $56.06            520,400      1.40%
   10/12/2012      $55.74         $55.73            $55.74            481,400     -0.54%
   10/15/2012      $56.35         $56.36            $56.37            599,300      1.09%
   10/16/2012      $57.67         $57.67            $57.68          1,091,500      2.32%
   10/17/2012      $58.61         $58.60            $58.61          1,342,600      1.62%
   10/18/2012      $58.07         $57.99            $58.00          1,046,100     -0.93%
   10/19/2012      $56.44         $56.44            $56.45          1,658,300     -2.85%
   10/22/2012      $55.99         $55.97            $55.98            739,900     -0.80%
   10/23/2012      $54.62         $54.62            $54.63            792,900     -2.48%
   10/24/2012      $55.02         $55.01            $55.02            608,000      0.73%
   10/25/2012      $55.27         $55.27            $55.28            595,800      0.45%
   10/26/2012      $55.62         $55.65            $55.66            643,600      0.63%
   10/31/2012      $55.93         $55.94            $55.95          1,071,200      0.56%
    11/1/2012      $56.76         $56.76            $56.78          1,117,800      1.47%
    11/2/2012      $56.37         $56.37            $56.39          2,530,500     -0.69%
    11/5/2012      $55.29         $55.28            $55.29          1,116,500     -1.93%
    11/6/2012      $54.00         $53.99            $54.00          1,803,800     -2.36%
    11/7/2012      $53.33         $53.32            $53.33          1,725,400     -1.25%
    11/8/2012      $54.07         $54.06            $54.07          1,390,300      1.38%
    11/9/2012      $53.96         $53.95            $53.96          2,094,500     -0.20%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
   11/12/2012      $54.98         $54.98            $54.99          1,117,800      1.87%
   11/13/2012      $55.04         $55.02            $55.03          1,512,900      0.11%
   11/14/2012      $53.56         $53.56            $53.57          1,333,600     -2.73%
   11/15/2012      $53.32         $53.32            $53.33          1,283,800     -0.45%
   11/16/2012      $55.03         $55.02            $55.03          2,092,200      3.16%
   11/19/2012      $55.29         $55.29            $55.30          1,059,700      0.47%
   11/20/2012      $55.12         $55.11            $55.12            737,600     -0.31%
   11/21/2012      $55.02         $55.00            $55.02            657,100     -0.18%
   11/23/2012      $55.39         $55.45            $55.46            607,000      0.67%
   11/26/2012      $56.19         $56.21            $56.22          1,309,600      1.43%
   11/27/2012      $54.91         $54.91            $54.92          1,019,100     -2.30%
   11/28/2012      $55.05         $55.04            $55.05          1,712,100      0.25%
   11/29/2012      $55.40         $55.38            $55.39          2,007,300      0.63%
   11/30/2012      $55.28         $55.28            $55.29          3,198,800     -0.22%
    12/3/2012      $55.37         $55.37            $55.38          1,560,500      0.16%
    12/4/2012      $56.90         $56.89            $56.90          3,375,200      2.73%
    12/5/2012      $57.71         $57.71            $57.72          2,523,500      1.41%
    12/6/2012      $57.71         $57.71            $57.72          1,156,900      0.00%
    12/7/2012      $57.79         $57.78            $57.79            897,800      0.14%
   12/10/2012      $58.16         $58.13            $58.14            878,600      0.64%
   12/11/2012      $59.23         $59.24            $59.25          1,298,600      1.82%
   12/12/2012      $59.26         $59.28            $59.29          1,368,700      0.05%
   12/13/2012      $58.08         $58.09            $58.10          1,460,200     -2.01%
   12/14/2012      $59.03         $59.01            $59.02          1,496,600      1.62%
   12/17/2012      $59.46         $59.47            $59.48          1,677,400      0.73%
   12/18/2012      $59.91         $59.88            $59.90          1,728,100      0.75%
   12/19/2012      $59.75         $59.76            $59.78          1,710,300     -0.27%
   12/20/2012      $61.03         $61.03            $61.04          2,522,600      2.12%
   12/21/2012      $60.84         $60.85            $60.86          2,137,700     -0.31%
   12/24/2012      $60.39         $60.41            $60.42            652,500     -0.74%
   12/26/2012      $60.31         $60.31            $60.33            777,400     -0.13%
   12/27/2012      $59.68         $59.67            $59.68          2,041,300     -1.05%
   12/28/2012      $58.87         $58.85            $58.86            673,200     -1.37%
   12/31/2012      $59.77         $59.77            $59.78          1,944,300      1.52%
     1/2/2013      $60.75         $60.74            $60.75          2,440,500      1.63%
     1/3/2013      $61.07         $61.06            $61.07          2,613,500      0.53%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
     1/4/2013      $60.71         $60.69            $60.70          3,051,700     -0.59%
     1/7/2013      $61.31         $61.31            $61.32          1,213,000      0.98%
     1/8/2013      $62.29         $62.29            $62.30          1,616,300      1.59%
     1/9/2013      $63.82         $63.82            $63.83          1,605,200      2.43%
    1/10/2013      $63.91         $63.91            $63.92          1,279,200      0.14%
    1/11/2013      $63.63         $63.61            $63.62          1,074,200     -0.44%
    1/14/2013      $63.58         $63.58            $63.59            697,800     -0.08%
    1/15/2013      $63.70         $63.72            $63.74          1,396,700      0.19%
    1/16/2013      $63.52         $63.52            $63.53          1,232,900     -0.28%
    1/17/2013      $63.78         $63.78            $63.79          1,594,300      0.41%
    1/18/2013      $63.77         $63.78            $63.79          1,042,900     -0.02%
    1/22/2013      $64.20         $64.20            $64.21          1,370,000      0.67%
    1/23/2013      $63.84         $63.84            $63.85          1,074,300     -0.56%
    1/24/2013      $64.55         $64.56            $64.57          1,002,900      1.11%
    1/25/2013      $65.64         $65.64            $65.66          1,287,700      1.67%
    1/28/2013      $65.55         $65.56            $65.57            818,200     -0.14%
    1/29/2013      $65.85         $65.86            $65.87          1,604,900      0.46%
    1/30/2013      $66.17         $66.18            $66.19          2,315,800      0.48%
    1/31/2013      $66.32         $66.33            $66.35          1,276,500      0.23%
     2/1/2013      $67.25         $67.23            $67.24          1,215,300      1.39%
     2/4/2013      $66.41         $66.41            $66.42          1,606,100     -1.26%
     2/5/2013      $66.64         $66.64            $66.65          1,041,700      0.35%
     2/6/2013      $66.91         $66.91            $66.92            627,600      0.40%
     2/7/2013      $67.24         $67.22            $67.23            689,500      0.49%
     2/8/2013      $67.80         $67.81            $67.82            725,300      0.83%
    2/11/2013      $67.56         $67.57            $67.58            852,600     -0.35%
    2/12/2013      $67.43         $67.44            $67.45            842,700     -0.19%
    2/13/2013      $67.50         $67.49            $67.50            916,400      0.10%
    2/14/2013      $66.39         $66.41            $66.42          1,223,900     -1.66%
    2/15/2013      $66.53         $66.54            $66.55          1,040,300      0.21%
    2/19/2013      $67.02         $67.00            $67.01            691,300      0.73%
    2/20/2013      $66.24         $66.24            $66.25          1,087,100     -1.17%
    2/21/2013      $65.69         $65.72            $65.73          1,372,100     -0.83%
    2/22/2013      $65.74         $65.75            $65.76            862,000      0.08%
    2/25/2013      $65.46         $65.47            $65.48          1,047,800     -0.43%
    2/26/2013      $65.16         $65.16            $65.17          1,074,000     -0.46%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    2/27/2013      $66.74         $66.76            $66.78          1,180,100      2.40%
    2/28/2013      $67.46         $67.41            $67.42          1,180,400      1.07%
     3/1/2013      $67.63         $67.63            $67.64          2,117,900      0.25%
     3/4/2013      $69.41         $69.39            $69.40          2,537,600      2.60%
     3/5/2013      $69.79         $69.79            $69.80          1,293,700      0.55%
     3/6/2013      $68.52         $68.51            $68.52            894,900     -1.84%
     3/7/2013      $69.84         $69.81            $69.83          1,152,000      1.91%
     3/8/2013      $70.78         $70.78            $70.79          1,186,200      1.34%
    3/11/2013      $70.53         $70.53            $70.55            901,800     -0.35%
    3/12/2013      $70.60         $70.60            $70.61            999,300      0.10%
    3/13/2013      $69.93         $69.91            $69.92          1,031,800     -0.95%
    3/14/2013      $70.07         $70.04            $70.05          1,251,500      0.20%
    3/15/2013      $69.86         $69.85            $69.86          1,708,700     -0.30%
    3/18/2013      $70.54         $70.52            $70.54          1,117,800      0.97%
    3/19/2013      $71.44         $71.43            $71.44          2,820,700      1.27%
    3/20/2013      $73.33         $73.28            $73.29          2,211,300      2.61%
    3/21/2013      $72.86         $72.86            $72.87          2,027,700     -0.64%
    3/22/2013      $73.97         $73.97            $73.98          1,376,700      1.51%
    3/25/2013      $73.95         $73.96            $73.97          1,264,100     -0.03%
    3/26/2013      $74.40         $74.38            $74.40            774,700      0.61%
    3/27/2013      $74.12         $74.11            $74.12            925,100     -0.38%
    3/28/2013      $75.02         $75.01            $75.02            845,900      1.21%
     4/1/2013      $76.05         $76.05            $76.07          1,298,200      1.36%
     4/2/2013      $75.37         $75.34            $75.37          1,958,700     -0.90%
     4/3/2013      $71.87         $71.88            $71.89          6,156,100     -4.76%
     4/4/2013      $72.61         $72.61            $72.62          4,019,300      1.02%
     4/5/2013      $71.79         $71.79            $71.80          1,120,600     -1.14%
     4/8/2013      $72.12         $72.12            $72.13            934,200      0.46%
     4/9/2013      $72.12         $72.10            $72.11          1,036,300      0.00%
    4/10/2013      $73.00         $72.99            $73.00            799,700      1.21%
    4/11/2013      $73.79         $73.79            $73.80            888,600      1.08%
    4/12/2013      $73.17         $73.16            $73.17            932,000     -0.84%
    4/15/2013      $72.12         $72.12            $72.13          1,130,400     -1.45%
    4/16/2013      $73.09         $73.06            $73.07            755,200      1.34%
    4/17/2013      $72.86         $72.85            $72.86            880,000     -0.32%
    4/18/2013      $72.81         $72.81            $72.83            814,100     -0.07%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    4/19/2013      $75.52         $75.50            $75.52          1,188,200      3.65%
    4/22/2013      $74.20         $74.18            $74.19          1,056,800     -1.76%
    4/23/2013      $74.98         $74.98            $74.99            946,100      1.05%
    4/24/2013      $74.82         $74.83            $74.84            942,500     -0.21%
    4/25/2013      $73.59         $73.59            $73.60          1,545,300     -1.66%
    4/26/2013      $73.16         $73.16            $73.17          1,249,100     -0.59%
    4/29/2013      $75.94         $75.92            $75.94          3,607,400      3.73%
    4/30/2013      $76.08         $76.07            $76.08          1,427,600      0.18%
     5/1/2013      $73.69         $73.68            $73.69          1,638,800     -3.19%
     5/2/2013      $72.15         $72.13            $72.15          1,830,800     -2.11%
     5/3/2013      $73.68         $73.65            $73.66          1,228,600      2.10%
     5/6/2013      $73.42         $73.43            $73.44            835,900     -0.35%
     5/7/2013      $74.07         $74.06            $74.07            725,900      0.88%
     5/8/2013      $73.86         $73.87            $73.88            713,700     -0.28%
     5/9/2013      $72.74         $72.74            $72.75          1,267,000     -1.53%
    5/10/2013      $73.52         $73.52            $73.53          2,889,500      1.07%
    5/13/2013      $75.89         $75.90            $75.91          1,427,300      3.17%
    5/14/2013      $77.30         $77.30            $77.31          1,426,100      1.84%
    5/15/2013      $76.33         $76.33            $76.34            854,100     -1.26%
    5/16/2013      $75.75         $75.75            $75.76            724,400     -0.76%
    5/17/2013      $78.17         $78.13            $78.14          1,428,700      3.14%
    5/20/2013      $75.38         $75.35            $75.36          1,113,300     -3.63%
    5/21/2013      $75.53         $75.55            $75.56          1,035,700      0.20%
    5/22/2013      $74.82         $74.85            $74.86            871,900     -0.94%
    5/23/2013      $74.67         $74.66            $74.67            652,300     -0.20%
    5/24/2013      $84.47         $84.45            $84.46         10,383,600     12.33%
    5/28/2013      $91.80         $91.80            $91.81         11,535,900      8.32%
    5/29/2013      $90.81         $90.75            $90.77          3,686,100     -1.08%
    5/30/2013      $91.00         $91.01            $91.05          1,595,800      0.21%
    5/31/2013      $91.12         $91.12            $91.13          1,825,100      0.13%
     6/3/2013      $88.21         $88.27            $88.28          1,817,700     -3.25%
     6/4/2013      $85.18         $85.18            $85.19          1,919,500     -3.50%
     6/5/2013      $84.16         $84.14            $84.15          1,627,700     -1.20%
     6/6/2013      $84.87         $84.89            $84.90          1,100,400      0.84%
     6/7/2013      $85.59         $85.56            $85.58          1,284,500      0.84%
    6/10/2013      $85.11         $85.13            $85.14          1,019,900     -0.56%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    6/11/2013      $83.77         $83.77            $83.78          1,141,100     -1.59%
    6/12/2013      $83.36         $83.36            $83.39          1,298,600     -0.49%
    6/13/2013      $85.81         $85.81            $85.82          1,131,400      2.90%
    6/14/2013      $84.20         $84.23            $84.24          1,129,900     -1.89%
    6/17/2013      $84.82         $84.85            $84.87            909,300      0.73%
    6/18/2013      $85.86         $85.86            $85.87          2,443,500      1.22%
    6/19/2013      $86.41         $86.42            $86.43          8,347,300      0.64%
    6/20/2013      $83.84         $83.87            $83.91          3,789,900     -3.02%
    6/21/2013      $84.42         $84.34            $84.36          2,611,400      0.69%
    6/24/2013      $84.00         $83.95            $83.98          1,860,500     -0.50%
    6/25/2013      $85.24         $85.24            $85.25          2,052,300      1.47%
    6/26/2013      $84.95         $84.93            $84.95          1,814,400     -0.34%
    6/27/2013      $86.15         $86.14            $86.15          2,505,700      1.40%
    6/28/2013      $86.08         $86.06            $86.07          1,555,100     -0.08%
     7/1/2013      $88.00         $87.99            $88.01          1,793,400      2.21%
     7/2/2013      $89.99         $89.99            $90.02          2,481,600      2.24%
     7/3/2013      $89.50         $89.50            $89.52            851,000     -0.55%
     7/5/2013      $88.77         $88.74            $88.75            798,300     -0.82%
     7/8/2013      $90.03         $90.03            $90.04          1,247,000      1.41%
     7/9/2013      $89.96         $89.92            $89.93          1,506,900     -0.08%
    7/10/2013      $90.20         $90.17            $90.18            974,900      0.27%
    7/11/2013      $92.47         $92.47            $92.48          1,730,200      2.49%
    7/12/2013      $92.90         $92.90            $92.91          1,346,500      0.46%
    7/15/2013      $93.80         $93.80            $93.81          1,569,100      0.96%
    7/16/2013      $91.53         $91.51            $91.52          1,547,900     -2.45%
    7/17/2013      $91.45         $91.43            $91.45          1,282,900     -0.09%
    7/18/2013      $91.39         $91.39            $91.41            925,000     -0.07%
    7/19/2013      $90.80         $90.79            $90.80          1,081,500     -0.65%
    7/22/2013      $90.81         $90.79            $90.80          1,219,000      0.01%
    7/23/2013      $90.49         $90.44            $90.45          1,047,800     -0.35%
    7/24/2013      $91.33         $91.32            $91.33          1,425,000      0.92%
    7/25/2013      $91.99         $91.99            $92.00          1,075,000      0.72%
    7/26/2013      $91.96         $91.97            $91.98            457,100     -0.03%
    7/29/2013      $91.70         $91.63            $91.64            666,400     -0.28%
    7/30/2013      $91.00         $90.99            $91.00          1,001,100     -0.77%
    7/31/2013      $93.60         $93.59            $93.60          1,375,600      2.82%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
     8/1/2013      $96.04         $96.03             $96.04         2,069,800      2.57%
     8/2/2013      $96.45         $96.45             $96.46           890,400      0.43%
     8/5/2013      $95.57         $95.51             $95.52           671,200     -0.92%
     8/6/2013      $95.72         $95.72             $95.77         1,203,900      0.16%
     8/7/2013      $97.59         $97.60             $97.63         2,003,300      1.93%
     8/8/2013     $101.68        $101.68            $101.69         2,147,100      4.11%
     8/9/2013     $101.87        $101.88            $101.93         1,450,700      0.19%
    8/12/2013     $101.95        $101.93            $101.95         1,437,800      0.08%
    8/13/2013     $103.98        $103.99            $104.00         1,649,900      1.97%
    8/14/2013     $103.90        $103.87            $103.89         1,502,500     -0.08%
    8/15/2013     $102.93        $102.92            $102.93         1,575,700     -0.94%
    8/16/2013     $103.00        $103.01            $103.04         1,045,700      0.07%
    8/19/2013     $101.06        $101.02            $101.03         1,552,700     -1.90%
    8/20/2013     $101.53        $101.50            $101.51           801,500      0.46%
    8/21/2013      $99.77         $99.71             $99.72         1,526,400     -1.75%
    8/22/2013      $99.30         $99.27             $99.28         1,098,600     -0.47%
    8/23/2013      $99.52         $99.49             $99.50         1,323,300      0.22%
    8/26/2013      $99.60         $99.56             $99.57           995,700      0.08%
    8/27/2013      $95.80         $95.79             $95.80         1,639,000     -3.89%
    8/28/2013      $97.85         $97.83             $97.84           798,800      2.12%
    8/29/2013      $98.95         $98.96             $98.97           830,600      1.12%
    8/30/2013      $98.34         $98.35             $98.36         1,030,700     -0.62%
     9/3/2013      $99.35         $99.34             $99.35         1,070,500      1.02%
     9/4/2013      $99.94         $99.96             $99.97         1,006,300      0.59%
     9/5/2013      $99.80         $99.76             $99.79           829,500     -0.14%
     9/6/2013     $100.24        $100.18            $100.19           740,400      0.44%
     9/9/2013     $101.33        $101.33            $101.34           716,300      1.08%
    9/10/2013     $100.20        $100.19            $100.20           958,900     -1.12%
    9/11/2013     $100.26        $100.26            $100.29           880,100      0.06%
    9/12/2013      $99.57         $99.53             $99.54           610,400     -0.69%
    9/13/2013      $99.20         $99.20             $99.22           832,500     -0.37%
    9/16/2013     $101.22        $101.18            $101.19           798,100      2.02%
    9/17/2013     $102.77        $102.78            $102.79         1,232,900      1.52%
    9/18/2013     $102.83        $102.84            $102.85         1,074,600      0.06%
    9/19/2013     $106.12        $106.05            $106.07         1,605,200      3.15%
    9/20/2013     $104.41        $104.41            $104.45         1,450,800     -1.62%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    9/23/2013     $103.08        $103.07            $103.08         1,118,200     -1.28%
    9/24/2013     $103.73        $103.71            $103.72         1,965,700      0.63%
    9/25/2013     $102.34        $102.34            $102.35           852,300     -1.35%
    9/26/2013     $103.29        $103.32            $103.33           449,600      0.92%
    9/27/2013     $104.72        $104.72            $104.74           601,800      1.37%
    9/30/2013     $104.33        $104.34            $104.35           782,100     -0.37%
    10/1/2013     $108.16        $108.13            $108.15         1,171,500      3.61%
    10/2/2013     $109.80        $109.80            $109.82         1,529,600      1.50%
    10/3/2013     $111.40        $111.40            $111.41         2,856,000      1.45%
    10/4/2013     $111.01        $111.00            $111.01         1,743,100     -0.35%
    10/7/2013     $110.32        $110.30            $110.32         1,248,300     -0.62%
    10/8/2013     $105.92        $105.88            $105.89         1,727,800     -4.07%
    10/9/2013     $107.03        $106.98            $107.03         1,307,800      1.04%
   10/10/2013     $110.00        $110.01            $110.05           871,100      2.74%
   10/11/2013     $109.43        $109.46            $109.49           407,600     -0.52%
   10/14/2013     $109.78        $109.74            $109.75           587,100      0.32%
   10/15/2013     $109.73        $109.67            $109.69           622,600     -0.05%
   10/16/2013     $110.63        $110.54            $110.57           627,300      0.82%
   10/17/2013     $112.00        $111.97            $112.00           867,600      1.23%
   10/18/2013     $113.02        $112.99            $113.01           998,500      0.91%
   10/21/2013     $112.30        $112.29            $112.30           965,800     -0.64%
   10/22/2013     $112.53        $112.44            $112.45           992,500      0.20%
   10/23/2013     $114.37        $114.35            $114.37         1,162,400      1.62%
   10/24/2013     $114.29        $114.29            $114.30         1,281,500     -0.07%
   10/25/2013     $112.57        $112.55            $112.57           801,400     -1.52%
   10/28/2013     $110.42        $110.42            $110.45         1,085,400     -1.93%
   10/29/2013     $111.06        $110.99            $111.00         1,017,400      0.58%
   10/30/2013     $109.06        $109.02            $109.03         1,543,300     -1.82%
   10/31/2013     $105.72        $105.72            $105.77         5,138,900     -3.11%
    11/1/2013     $111.20        $111.15            $111.16         2,535,000      5.05%
    11/4/2013     $110.33        $110.30            $110.31         1,148,400     -0.79%
    11/5/2013     $109.45        $109.50            $109.51           729,800     -0.80%
    11/6/2013     $106.45        $106.43            $106.44         1,517,700     -2.78%
    11/7/2013     $103.04        $103.09            $103.12         1,399,400     -3.26%
    11/8/2013     $105.44        $105.42            $105.44           858,700      2.30%
   11/11/2013     $105.16        $105.17            $105.19           594,000     -0.27%

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                                        Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
   11/12/2013     $105.74        $105.74            $105.75           648,800      0.55%
   11/13/2013     $107.15        $107.15            $107.16         1,038,100      1.32%
   11/14/2013     $105.86        $105.91            $105.92           915,000     -1.21%
   11/15/2013     $107.12        $107.09            $107.11         1,118,700      1.18%
   11/18/2013     $106.74        $106.79            $106.81           897,700     -0.36%
   11/19/2013     $105.92        $105.92            $105.93           620,200     -0.77%
   11/20/2013     $106.56        $106.56            $106.58           769,900      0.60%
   11/21/2013     $108.68        $108.64            $108.66           947,400      1.97%
   11/22/2013     $109.55        $109.55            $109.57         1,265,800      0.80%
   11/25/2013     $108.99        $108.99            $109.00           783,200     -0.51%
   11/26/2013     $109.22        $109.22            $109.26           758,600      0.21%
   11/27/2013     $108.35        $108.36            $108.37           469,000     -0.80%
   11/29/2013     $109.63        $109.61            $109.62           398,900      1.17%
    12/2/2013     $109.78        $109.79            $109.80           836,300      0.14%
    12/3/2013     $109.19        $109.20            $109.21           874,700     -0.54%
    12/4/2013     $107.90        $107.91            $107.92         1,096,900     -1.19%
    12/5/2013     $106.40        $106.41            $106.43         1,196,300     -1.40%
    12/6/2013     $107.67        $107.68            $107.71           946,800      1.19%
    12/9/2013     $107.97        $107.99            $108.00         1,026,900      0.28%
   12/10/2013     $108.62        $108.63            $108.65         1,022,800      0.60%
   12/11/2013     $106.49        $106.50            $106.51         1,228,900     -1.98%
   12/12/2013     $106.24        $106.25            $106.26         1,008,800     -0.24%
   12/13/2013     $106.83        $106.86            $106.87           798,100      0.55%
   12/16/2013     $110.92        $110.91            $110.92         2,012,600      3.76%
   12/17/2013     $109.32        $109.33            $109.34           938,000     -1.45%
   12/18/2013     $112.41        $112.40            $112.41         1,295,600      2.79%
   12/19/2013     $111.90        $111.90            $111.91           726,900     -0.45%
   12/20/2013     $112.00        $112.00            $112.01         1,051,400      0.09%
   12/23/2013     $112.62        $112.60            $112.61           634,600      0.55%
   12/24/2013     $113.02        $113.11            $113.12           380,300      0.35%
   12/26/2013     $113.56        $113.44            $113.45           415,900      0.48%
   12/27/2013     $113.60        $113.57            $113.60           543,600      0.04%
   12/30/2013     $117.42        $117.43            $117.45         1,259,600      3.31%
   12/31/2013     $117.40        $117.43            $117.44         1,062,700     -0.02%
     1/2/2014     $116.98        $116.99            $117.00         1,937,000     -0.36%
     1/3/2014     $117.16        $117.16            $117.18           787,400      0.15%

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                                        Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
     1/6/2014     $112.62        $112.61            $112.62         2,402,900     -3.95%
     1/7/2014     $125.35        $125.32            $125.34         3,319,500     10.71%
     1/8/2014     $128.30        $128.25            $128.26         3,026,000      2.33%
     1/9/2014     $132.17        $132.12            $132.17         1,383,400      2.97%
    1/10/2014     $133.50        $133.48            $133.49         1,658,000      1.00%
    1/13/2014     $130.62        $130.54            $130.57         1,560,900     -2.18%
    1/14/2014     $135.01        $134.90            $134.92         1,756,200      3.31%
    1/15/2014     $133.50        $133.48            $133.49         1,188,700     -1.12%
    1/16/2014     $137.34        $137.25            $137.28         1,538,700      2.84%
    1/17/2014     $137.93        $137.91            $137.92         2,320,700      0.43%
    1/21/2014     $136.88        $136.87            $136.88         1,537,500     -0.76%
    1/22/2014     $137.82        $137.72            $137.76           897,900      0.68%
    1/23/2014     $135.02        $134.98            $135.00         1,167,300     -2.05%
    1/24/2014     $132.12        $132.19            $132.20         1,712,300     -2.17%
    1/27/2014     $131.00        $131.00            $131.01         1,638,400     -0.85%
    1/28/2014     $132.80        $132.72            $132.76         1,000,300      1.36%
    1/29/2014     $132.80        $132.79            $132.80           920,900      0.00%
    1/30/2014     $136.60        $136.51            $136.54         1,166,000      2.82%
    1/31/2014     $135.64        $135.62            $135.63         1,187,700     -0.71%
     2/3/2014     $133.36        $133.36            $133.44         1,531,200     -1.70%
     2/4/2014     $135.56        $135.56            $135.57         1,160,200      1.64%
     2/5/2014     $134.61        $134.60            $134.61         1,432,400     -0.70%
     2/6/2014     $134.43        $134.35            $134.36           999,800     -0.13%
     2/7/2014     $137.93        $137.93            $137.96         1,550,800      2.57%
    2/10/2014     $138.13        $138.07            $138.13         1,122,400      0.14%
    2/11/2014     $141.31        $141.35            $141.37         1,915,300      2.28%
    2/12/2014     $140.77        $140.82            $140.85         1,310,200     -0.38%
    2/13/2014     $141.79        $141.73            $141.74         1,281,300      0.72%
    2/14/2014     $139.57        $139.54            $139.55         1,231,200     -1.58%
    2/18/2014     $146.47        $146.41            $146.43         2,208,700      4.83%
    2/19/2014     $145.02        $145.02            $145.03         1,788,700     -0.99%
    2/20/2014     $148.00        $148.00            $148.01         2,110,300      2.03%
    2/21/2014     $146.26        $146.28            $146.30         1,569,000     -1.18%
    2/24/2014     $145.73        $145.71            $145.72         1,544,200     -0.36%
    2/25/2014     $145.06        $145.03            $145.05         1,570,400     -0.46%
    2/26/2014     $146.34        $146.26            $146.30         2,905,300      0.88%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    2/27/2014     $148.00        $147.99            $148.00         2,122,300      1.13%
    2/28/2014     $144.86        $144.79            $144.80         2,276,700     -2.14%
     3/3/2014     $143.38        $143.33            $143.34         2,072,084     -1.03%
     3/4/2014     $146.23        $146.24            $146.28         1,499,853      1.97%
     3/5/2014     $145.13        $145.15            $145.16         1,241,591     -0.76%
     3/6/2014     $138.55        $138.55            $138.58         4,773,397     -4.64%
     3/7/2014     $141.37        $141.37            $141.41         3,641,662      2.01%
    3/10/2014     $140.74        $140.70            $140.71         1,923,329     -0.45%
    3/11/2014     $139.96        $139.99            $140.00         1,297,900     -0.56%
    3/12/2014     $141.00        $141.04            $141.05         1,768,491      0.74%
    3/13/2014     $139.33        $139.34            $139.35         2,269,580     -1.19%
    3/14/2014     $140.01        $139.98            $139.99         1,255,793      0.49%
    3/17/2014     $140.90        $140.95            $140.97         1,251,451      0.63%
    3/18/2014     $144.18        $144.16            $144.18         1,321,478      2.30%
    3/19/2014     $140.79        $140.76            $140.78         1,605,926     -2.38%
    3/20/2014     $140.40        $140.34            $140.35           991,331     -0.28%
    3/21/2014     $135.55        $135.55            $135.56         2,002,599     -3.52%
    3/24/2014     $131.47        $131.40            $131.45         3,474,965     -3.06%
    3/25/2014     $131.53        $131.54            $131.56         1,417,466      0.05%
    3/26/2014     $129.07        $129.07            $129.09         2,483,092     -1.89%
    3/27/2014     $127.19        $127.19            $127.24         2,705,088     -1.47%
    3/28/2014     $127.68        $127.65            $127.66         2,178,878      0.38%
    3/31/2014     $131.83        $131.92            $131.95         2,177,454      3.20%
     4/1/2014     $133.25        $133.25            $133.26         2,060,264      1.07%
     4/2/2014     $133.69        $133.69            $133.70         1,796,094      0.33%
     4/3/2014     $129.10        $129.07            $129.08         1,948,793     -3.49%
     4/4/2014     $124.69        $124.76            $124.79         3,311,776     -3.48%
     4/7/2014     $119.23        $119.19            $119.20         4,164,465     -4.48%
     4/8/2014     $122.03        $122.05            $122.09         5,178,060      2.32%
     4/9/2014     $129.34        $129.34            $129.35         3,226,627      5.82%
    4/10/2014     $123.33        $123.52            $123.53         3,599,136     -4.76%
    4/11/2014     $118.79        $118.79            $118.80         2,061,729     -3.75%
    4/14/2014     $116.99        $116.98            $116.99         2,640,868     -1.53%
    4/15/2014     $120.12        $120.08            $120.12         2,877,066      2.64%
    4/16/2014     $121.45        $121.42            $121.45         1,885,722      1.10%
    4/17/2014     $122.05        $122.02            $122.04         1,358,672      0.49%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    4/21/2014     $126.01        $126.02            $126.03         2,789,973      3.19%
    4/22/2014     $135.41        $135.27            $135.29        17,982,948      7.19%
    4/23/2014     $133.23        $133.27            $133.28         5,003,009     -1.62%
    4/24/2014     $134.42        $134.56            $134.57         3,109,829      0.89%
    4/25/2014     $133.73        $133.78            $133.79         3,838,058     -0.51%
    4/28/2014     $133.51        $133.51            $133.56         5,589,725     -0.16%
    4/29/2014     $133.63        $133.62            $133.63         2,882,115      0.09%
    4/30/2014     $133.71        $133.68            $133.69         2,306,175      0.06%
     5/1/2014     $138.13        $138.13            $138.14         3,616,291      3.25%
     5/2/2014     $136.35        $136.33            $136.35         2,561,880     -1.30%
     5/5/2014     $136.19        $136.16            $136.19         2,635,124     -0.12%
     5/6/2014     $133.35        $133.32            $133.35         2,243,730     -2.11%
     5/7/2014     $133.35        $133.26            $133.32         3,121,860      0.00%
     5/8/2014     $131.17        $131.22            $131.25         2,649,712     -1.65%
     5/9/2014     $131.17        $131.15            $131.16         3,023,480      0.00%
    5/12/2014     $130.16        $130.20            $130.29         3,864,072     -0.77%
    5/13/2014     $129.64        $129.63            $129.64         2,304,280     -0.40%
    5/14/2014     $126.97        $126.97            $126.99         2,966,968     -2.08%
    5/15/2014     $124.04        $124.04            $124.05         4,465,522     -2.33%
    5/16/2014     $126.76        $126.76            $126.78         3,373,114      2.17%
    5/19/2014     $127.21        $127.26            $127.27         2,177,931      0.35%
    5/20/2014     $130.97        $130.98            $131.00         4,848,673      2.91%
    5/21/2014     $129.90        $129.93            $129.95         1,828,663     -0.82%
    5/22/2014     $130.83        $130.85            $130.86         1,900,913      0.71%
    5/23/2014     $133.46        $133.36            $133.37         2,050,822      1.99%
    5/27/2014     $129.95        $129.95            $130.00         4,363,751     -2.67%
    5/28/2014     $126.95        $127.02            $127.04         8,032,690     -2.34%
    5/29/2014     $129.22        $129.21            $129.22         3,480,497      1.77%
    5/30/2014     $131.21        $131.23            $131.24        11,609,314      1.53%
     6/2/2014     $134.17        $134.17            $134.18         6,252,306      2.23%
     6/3/2014     $132.26        $132.26            $132.27         3,757,663     -1.43%
     6/4/2014     $128.82        $128.80            $128.82         4,965,026     -2.64%
     6/5/2014     $128.34        $128.31            $128.32         3,782,435     -0.37%
     6/6/2014     $127.46        $127.44            $127.46         1,979,523     -0.69%
     6/9/2014     $126.63        $126.60            $126.63         1,826,374     -0.65%
    6/10/2014     $125.55        $125.55            $125.56         2,497,256     -0.86%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    6/11/2014     $125.18        $125.15            $125.16         3,076,870     -0.30%
    6/12/2014     $120.75        $120.73            $120.76         6,213,629     -3.60%
    6/13/2014     $119.60        $119.57            $119.59         4,139,018     -0.96%
    6/16/2014     $117.75        $117.73            $117.74         4,226,568     -1.56%
    6/17/2014     $118.87        $118.82            $118.84         5,473,959      0.95%
    6/18/2014     $118.43        $118.39            $118.42         3,683,456     -0.37%
    6/19/2014     $117.55        $117.61            $117.62         3,887,140     -0.75%
    6/20/2014     $121.93        $121.86            $121.87         4,799,731      3.66%
    6/23/2014     $121.21        $121.30            $121.31         2,369,801     -0.59%
    6/24/2014     $120.52        $120.52            $120.54         2,201,761     -0.57%
    6/25/2014     $125.94        $125.93            $125.94         4,677,100      4.40%
    6/26/2014     $126.50        $126.54            $126.55         2,757,852      0.44%
    6/27/2014     $128.85        $128.86            $128.88         2,990,900      1.84%
    6/30/2014     $126.12        $126.13            $126.14         2,314,502     -2.14%
     7/1/2014     $125.58        $125.61            $125.62         1,582,704     -0.43%
     7/2/2014     $126.00        $125.99            $126.00         1,380,760      0.33%
     7/3/2014     $126.00        $125.95            $126.00           748,692      0.00%
     7/7/2014     $123.29        $123.25            $123.29         1,679,756     -2.17%
     7/8/2014     $122.17        $122.15            $122.16         1,918,289     -0.91%
     7/9/2014     $120.94        $120.93            $120.94         1,186,918     -1.01%
    7/10/2014     $120.68        $120.58            $120.59         2,003,292     -0.22%
    7/11/2014     $120.47        $120.44            $120.47         1,116,839     -0.17%
    7/14/2014     $121.08        $121.04            $121.05         1,006,950      0.51%
    7/15/2014     $119.45        $119.34            $119.35         1,957,091     -1.36%
    7/16/2014     $121.71        $121.71            $121.72         2,970,417      1.87%
    7/17/2014     $121.52        $121.50            $121.52         2,543,436     -0.16%
    7/18/2014     $121.97        $121.98            $121.99         1,958,699      0.37%
    7/21/2014     $125.54        $125.53            $125.54         3,235,480      2.88%
    7/22/2014     $122.54        $122.54            $122.55         2,999,409     -2.42%
    7/23/2014     $124.62        $124.58            $124.60         2,031,367      1.68%
    7/24/2014     $124.36        $124.29            $124.31         1,482,377     -0.21%
    7/25/2014     $123.52        $123.48            $123.51         1,014,642     -0.68%
    7/28/2014     $123.53        $123.50            $123.51         1,442,876      0.01%
    7/29/2014     $123.70        $123.62            $123.65         1,250,324      0.14%
    7/30/2014     $125.83        $125.79            $125.83         2,579,257      1.71%
    7/31/2014     $117.39        $117.26            $117.34        11,037,063     -6.94%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
     8/1/2014     $118.21        $118.26            $118.27         4,986,090      0.70%
     8/4/2014     $116.79        $116.79            $116.80         1,913,688     -1.21%
     8/5/2014     $110.66        $110.69            $110.71         8,471,651     -5.39%
     8/6/2014     $110.02        $110.04            $110.05         3,925,751     -0.58%
     8/7/2014     $106.73        $106.70            $106.71         3,362,916     -3.04%
     8/8/2014     $109.17        $109.20            $109.21         2,691,632      2.26%
    8/11/2014     $107.25        $107.25            $107.26         3,356,224     -1.77%
    8/12/2014     $108.07        $108.09            $108.11         2,076,489      0.76%
    8/13/2014     $109.17        $109.17            $109.20         2,445,201      1.01%
    8/14/2014     $111.04        $110.94            $111.02         4,394,741      1.70%
    8/15/2014     $112.26        $112.26            $112.27         2,921,577      1.09%
    8/18/2014     $109.78        $109.79            $109.81         2,657,609     -2.23%
    8/19/2014     $113.72        $113.80            $113.82         3,684,058      3.53%
    8/20/2014     $113.10        $113.11            $113.14         1,784,311     -0.55%
    8/21/2014     $113.81        $113.78            $113.79         1,356,281      0.63%
    8/22/2014     $117.26        $117.18            $117.21         3,026,793      2.99%
    8/25/2014     $115.48        $115.49            $115.52         1,716,797     -1.53%
    8/26/2014     $117.10        $117.09            $117.10         1,593,183      1.39%
    8/27/2014     $116.71        $116.66            $116.67         1,350,617     -0.33%
    8/28/2014     $116.86        $116.81            $116.82         1,104,945      0.13%
    8/29/2014     $117.30        $117.25            $117.26         1,028,401      0.38%
     9/2/2014     $120.10        $120.13            $120.15         1,916,662      2.36%
     9/3/2014     $119.03        $118.96            $118.97         1,498,105     -0.89%
     9/4/2014     $117.32        $117.29            $117.30         1,508,458     -1.45%
     9/5/2014     $119.68        $119.63            $119.64         1,842,210      1.99%
     9/8/2014     $120.05        $120.06            $120.07         1,355,904      0.31%
     9/9/2014     $120.03        $120.02            $120.03         2,059,729     -0.02%
    9/10/2014     $119.88        $119.87            $119.88         1,805,731     -0.13%
    9/11/2014     $120.41        $120.38            $120.39         2,088,929      0.44%
    9/12/2014     $122.05        $122.00            $122.04         2,500,847      1.35%
    9/15/2014     $121.43        $121.41            $121.43         2,093,361     -0.51%
    9/16/2014     $122.15        $122.18            $122.19         1,491,611      0.59%
    9/17/2014     $121.85        $121.84            $121.85         1,628,560     -0.25%
    9/18/2014     $120.52        $120.54            $120.56         1,620,882     -1.10%
    9/19/2014     $117.43        $117.47            $117.48         3,333,795     -2.60%
    9/22/2014     $116.28        $116.34            $116.36         2,054,508     -0.98%

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                                        Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    9/23/2014     $115.95        $115.95            $115.96         3,652,251     -0.28%
    9/24/2014     $124.00        $123.99            $124.00         6,956,796      6.71%
    9/25/2014     $127.80        $127.75            $127.78         5,609,219      3.02%
    9/26/2014     $128.99        $128.99            $129.00         2,910,623      0.93%
    9/29/2014     $130.26        $130.26            $130.30         2,663,223      0.98%
    9/30/2014     $131.20        $131.01            $131.06         2,320,935      0.72%
    10/1/2014     $131.67        $131.67            $131.69         3,723,608      0.36%
    10/2/2014     $126.99        $126.83            $126.87         3,947,292     -3.62%
    10/3/2014     $129.62        $129.62            $129.64         3,851,337      2.05%
    10/6/2014     $128.41        $128.45            $128.46         1,675,803     -0.94%
    10/7/2014     $125.23        $125.18            $125.20         4,235,317     -2.51%
    10/8/2014     $125.90        $125.95            $125.96         2,382,843      0.53%
    10/9/2014     $122.35        $122.34            $122.35         2,990,645     -2.86%
   10/10/2014     $118.29        $118.29            $118.30         3,191,133     -3.37%
   10/13/2014     $113.56        $113.53            $113.54         2,807,442     -4.08%
   10/14/2014     $114.94        $114.94            $114.96         2,761,865      1.21%
   10/15/2014     $114.34        $114.40            $114.42         4,135,772     -0.52%
   10/16/2014     $118.54        $118.55            $118.57         3,188,192      3.61%
   10/17/2014     $120.21        $120.19            $120.21         3,565,756      1.40%
   10/20/2014     $124.78        $124.77            $124.78         3,400,991      3.73%
   10/21/2014     $130.38        $130.38            $130.42         3,944,008      4.39%
   10/22/2014     $128.77        $128.83            $128.84         1,928,610     -1.24%
   10/23/2014     $128.02        $128.04            $128.07         2,088,599     -0.58%
   10/24/2014     $129.13        $129.15            $129.18         1,831,757      0.86%
   10/27/2014     $130.56        $130.52            $130.55         2,825,550      1.10%
   10/28/2014     $131.07        $131.04            $131.05         2,741,232      0.39%
   10/29/2014     $129.76        $129.73            $129.74         2,417,161     -1.00%
   10/30/2014     $131.51        $131.51            $131.54         1,507,549      1.34%
   10/31/2014     $133.04        $133.04            $133.05         1,225,944      1.16%
    11/3/2014     $132.85        $132.86            $132.88         2,174,644     -0.14%
    11/4/2014     $133.61        $133.62            $133.63         2,968,496      0.57%
    11/5/2014     $131.91        $131.91            $131.92         2,314,442     -1.28%
    11/6/2014     $128.77        $128.72            $128.77         2,523,632     -2.41%
    11/7/2014     $126.11        $126.06            $126.08         2,713,765     -2.09%
   11/10/2014     $127.99        $127.99            $128.00         1,850,022      1.48%
   11/11/2014     $130.03        $130.02            $130.03         2,360,916      1.58%

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                                        Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
   11/12/2014     $131.09        $131.09            $131.12         2,187,314      0.81%
   11/13/2014     $131.90        $131.95            $131.97         1,482,145      0.62%
   11/14/2014     $134.21        $134.24            $134.26         2,117,625      1.74%
   11/17/2014     $136.73        $136.70            $136.73         8,868,287      1.86%
   11/18/2014     $141.94        $141.95            $141.96         5,743,382      3.74%
   11/19/2014     $142.47        $142.43            $142.45         2,277,791      0.37%
   11/20/2014     $142.68        $142.68            $142.70         2,184,004      0.15%
   11/21/2014     $145.37        $145.37            $145.38         2,258,349      1.87%
   11/24/2014     $142.56        $142.61            $142.66         2,950,847     -1.95%
   11/25/2014     $144.76        $144.76            $144.78         1,440,591      1.53%
   11/26/2014     $144.73        $144.78            $144.79         1,142,971     -0.02%
   11/28/2014     $145.45        $145.44            $145.50           978,673      0.50%
    12/1/2014     $145.81        $145.82            $145.84         1,526,118      0.25%
    12/2/2014     $146.39        $146.36            $146.37         1,237,274      0.40%
    12/3/2014     $145.27        $145.27            $145.30         1,253,164     -0.77%
    12/4/2014     $144.33        $144.33            $144.36         1,254,666     -0.65%
    12/5/2014     $144.89        $144.89            $144.90         1,833,793      0.39%
    12/8/2014     $143.94        $143.90            $143.91         1,238,737     -0.66%
    12/9/2014     $141.00        $141.00            $141.01         3,028,963     -2.06%
   12/10/2014     $137.96        $138.03            $138.04         1,812,813     -2.18%
   12/11/2014     $138.89        $138.89            $138.90         1,335,200      0.67%
   12/12/2014     $138.71        $138.66            $138.71         1,062,695     -0.13%
   12/15/2014     $138.16        $138.12            $138.13         1,788,110     -0.40%
   12/16/2014     $136.92        $136.96            $136.98         1,570,558     -0.90%
   12/17/2014     $140.00        $140.06            $140.07         1,367,324      2.22%
   12/18/2014     $143.00        $143.05            $143.08         2,207,293      2.12%
   12/19/2014     $146.06        $146.01            $146.06         2,044,308      2.12%
   12/22/2014     $144.16        $144.13            $144.15         2,214,878     -1.31%
   12/23/2014     $140.55        $140.62            $140.65         2,482,161     -2.54%
   12/24/2014     $140.33        $140.33            $140.38           593,594     -0.16%
   12/26/2014     $141.46        $141.47            $141.55           617,160      0.80%
   12/29/2014     $141.87        $141.90            $141.92           577,641      0.29%
   12/30/2014     $143.02        $143.04            $143.05         1,119,654      0.81%
   12/31/2014     $143.11        $143.09            $143.11         1,188,218      0.06%
     1/2/2015     $144.45        $144.45            $144.48         2,182,337      0.93%
     1/5/2015     $144.29        $144.18            $144.24         2,674,901     -0.11%

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                                        Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
     1/6/2015     $142.83        $142.78            $142.80         2,641,377     -1.02%
     1/7/2015     $145.12        $145.07            $145.09         2,214,315      1.59%
     1/8/2015     $154.10        $153.99            $154.02         5,817,995      6.00%
     1/9/2015     $153.58        $153.60            $153.61         2,039,747     -0.34%
    1/12/2015     $155.50        $155.50            $155.51         2,530,041      1.24%
    1/13/2015     $158.04        $158.04            $158.06         3,583,114      1.62%
    1/14/2015     $156.80        $156.81            $156.82         3,143,466     -0.79%
    1/15/2015     $154.29        $154.23            $154.26         2,444,900     -1.61%
    1/16/2015     $156.93        $156.92            $156.93         1,872,412      1.70%
    1/20/2015     $156.05        $156.00            $156.02         1,959,591     -0.56%
    1/21/2015     $157.02        $157.00            $157.01         2,005,810      0.62%
    1/22/2015     $159.19        $159.13            $159.15         2,034,009      1.37%
    1/23/2015     $159.66        $159.62            $159.66         1,908,808      0.29%
    1/26/2015     $159.86        $159.79            $159.80         1,652,760      0.13%
    1/27/2015     $160.80        $160.77            $160.80         1,336,529      0.59%
    1/28/2015     $160.59        $160.51            $160.54         2,141,402     -0.13%
    1/29/2015     $161.51        $161.42            $161.47         1,383,591      0.57%
    1/30/2015     $159.97        $159.91            $159.94         1,409,813     -0.96%
     2/2/2015     $161.98        $161.92            $161.93         1,625,777      1.25%
     2/3/2015     $159.71        $159.66            $159.69         3,684,925     -1.41%
     2/4/2015     $160.87        $160.80            $160.83         1,616,396      0.72%
     2/5/2015     $161.45        $161.42            $161.43         2,237,119      0.36%
     2/6/2015     $161.99        $161.92            $161.96         1,243,517      0.33%
     2/9/2015     $160.10        $160.10            $160.11         2,506,030     -1.17%
    2/10/2015     $164.13        $164.07            $164.10         1,712,820      2.49%
    2/11/2015     $164.34        $164.29            $164.31         2,207,722      0.13%
    2/12/2015     $167.50        $167.49            $167.50         2,907,282      1.90%
    2/13/2015     $167.00        $166.98            $166.99         1,206,057     -0.30%
    2/17/2015     $168.63        $168.64            $168.65         1,169,445      0.97%
    2/18/2015     $168.42        $168.37            $168.38           974,180     -0.12%
    2/19/2015     $169.13        $169.12            $169.13         1,090,897      0.42%
    2/20/2015     $173.26        $173.18            $173.19         3,499,487      2.41%
    2/23/2015     $198.75        $198.88            $198.92        19,636,609     13.73%
    2/24/2015     $202.00        $201.40            $201.52        12,810,324      1.62%
    2/25/2015     $198.00        $197.84            $197.87         6,079,115     -2.00%
    2/26/2015     $201.25        $201.26            $201.31         5,874,674      1.63%

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                                        Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    2/27/2015     $197.48        $197.40            $197.48         6,588,161     -1.89%
     3/2/2015     $203.35        $203.40            $203.42         6,050,766      2.93%
     3/3/2015     $202.61        $202.72            $202.75         3,441,033     -0.36%
     3/4/2015     $203.15        $203.14            $203.17         3,207,068      0.27%
     3/5/2015     $203.95        $203.91            $203.94         2,152,878      0.39%
     3/6/2015     $198.71        $198.63            $198.64         3,756,156     -2.60%
     3/9/2015     $204.69        $204.62            $204.66         4,328,437      2.97%
    3/10/2015     $201.48        $201.38            $201.44         2,665,476     -1.58%
    3/11/2015     $193.71        $193.82            $193.83        12,144,647     -3.93%
    3/12/2015     $192.62        $192.58            $192.59         3,872,461     -0.56%
    3/13/2015     $197.43        $197.44            $197.50         4,785,183      2.47%
    3/16/2015     $202.34        $202.38            $202.42         3,917,437      2.46%
    3/17/2015     $200.73        $200.67            $200.69         3,342,493     -0.80%
    3/18/2015     $203.41        $203.45            $203.47         1,528,791      1.33%
    3/19/2015     $202.09        $202.04            $202.09         1,520,886     -0.65%
    3/20/2015     $204.26        $204.16            $204.23         1,165,763      1.07%
    3/23/2015     $203.67        $203.60            $203.61         1,426,619     -0.29%
    3/24/2015     $203.11        $203.06            $203.07         1,274,410     -0.28%
    3/25/2015     $197.01        $196.93            $196.97         2,277,057     -3.05%
    3/26/2015     $198.46        $198.40            $198.44         1,980,496      0.73%
    3/27/2015     $197.84        $197.76            $197.79         1,016,932     -0.31%
    3/30/2015     $201.38        $201.27            $201.36         1,310,585      1.77%
    3/31/2015     $198.62        $198.80            $198.90         1,542,068     -1.38%
     4/1/2015     $197.39        $197.46            $197.51         1,876,148     -0.62%
     4/2/2015     $198.45        $198.32            $198.38         1,138,503      0.54%
     4/6/2015     $197.84        $197.77            $197.79         1,077,249     -0.31%
     4/7/2015     $198.94        $198.94            $198.95         1,109,028      0.55%
     4/8/2015     $205.96        $206.00            $206.04         1,990,232      3.47%
     4/9/2015     $205.72        $205.67            $205.68         1,594,998     -0.12%
    4/10/2015     $207.50        $207.50            $207.54         1,162,145      0.86%
    4/13/2015     $209.46        $209.60            $209.66         1,516,985      0.94%
    4/14/2015     $208.94        $209.02            $209.07         1,538,181     -0.25%
    4/15/2015     $206.16        $206.08            $206.15         1,539,942     -1.34%
    4/16/2015     $207.36        $207.21            $207.29           972,141      0.58%
    4/17/2015     $205.32        $205.28            $205.32         1,485,122     -0.99%
    4/20/2015     $205.21        $205.12            $205.16           976,561     -0.05%

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                                        Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    4/21/2015     $210.85        $210.96            $211.01         1,506,756      2.71%
    4/22/2015     $206.93        $206.96            $207.00         1,997,812     -1.88%
    4/23/2015     $209.39        $209.26            $209.27         1,672,676      1.18%
    4/24/2015     $210.42        $210.33            $210.38         1,515,541      0.49%
    4/27/2015     $202.02        $202.06            $202.09         3,080,051     -4.07%
    4/28/2015     $205.46        $205.34            $205.43         3,268,444      1.69%
    4/29/2015     $214.06        $214.19            $214.30         4,563,931      4.10%
    4/30/2015     $216.93        $216.83            $216.88         4,263,626      1.33%
     5/1/2015     $223.02        $222.94            $223.01         2,553,784      2.77%
     5/4/2015     $222.86        $222.89            $222.93         1,627,467     -0.07%
     5/5/2015     $219.24        $219.16            $219.21         2,021,039     -1.64%
     5/6/2015     $216.26        $216.08            $216.15         1,113,699     -1.37%
     5/7/2015     $218.25        $218.27            $218.41         1,295,108      0.92%
     5/8/2015     $221.88        $221.88            $221.89         1,282,841      1.65%
    5/11/2015     $223.79        $223.63            $223.74         1,282,880      0.86%
    5/12/2015     $222.96        $222.98            $223.03         1,691,380     -0.37%
    5/13/2015     $219.90        $219.90            $219.97         1,391,488     -1.38%
    5/14/2015     $222.82        $222.67            $222.77           931,397      1.32%
    5/15/2015     $224.63        $224.50            $224.54         1,181,189      0.81%
    5/18/2015     $225.43        $225.33            $225.36         1,220,604      0.36%
    5/19/2015     $227.65        $227.53            $227.61         1,267,599      0.98%
    5/20/2015     $228.47        $228.40            $228.42         1,360,291      0.36%
    5/21/2015     $233.27        $233.37            $233.46         1,719,327      2.08%
    5/22/2015     $237.53        $237.04            $237.12         1,945,397      1.81%
    5/26/2015     $235.31        $235.35            $235.42         2,044,177     -0.94%
    5/27/2015     $239.12        $238.93            $239.02         2,389,990      1.61%
    5/28/2015     $241.73        $241.56            $241.60         2,645,713      1.09%
    5/29/2015     $238.77        $238.55            $238.63         1,395,498     -1.23%
     6/1/2015     $239.36        $239.31            $239.36         1,296,178      0.25%
     6/2/2015     $238.00        $238.00            $238.03         1,374,361     -0.57%
     6/3/2015     $239.44        $239.38            $239.44         1,059,630      0.60%
     6/4/2015     $232.88        $232.89            $232.94         1,341,810     -2.78%
     6/5/2015     $235.41        $235.30            $235.35         1,094,802      1.08%
     6/8/2015     $232.85        $232.93            $233.02         1,338,678     -1.09%
     6/9/2015     $231.73        $231.80            $231.86         1,880,685     -0.48%
    6/10/2015     $229.12        $228.99            $229.03         2,786,758     -1.13%

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                                        Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    6/11/2015     $233.87        $233.83            $233.86         2,763,031      2.05%
    6/12/2015     $229.64        $229.43            $229.48         1,223,569     -1.83%
    6/15/2015     $230.56        $230.62            $230.65         1,119,079      0.40%
    6/16/2015     $228.70        $228.61            $228.67         1,688,847     -0.81%
    6/17/2015     $230.20        $230.26            $230.36         1,230,759      0.65%
    6/18/2015     $233.95        $233.80            $233.84         1,174,910      1.62%
    6/19/2015     $228.22        $228.23            $228.24         1,630,257     -2.48%
    6/22/2015     $232.90        $233.09            $233.10         1,194,977      2.03%
    6/23/2015     $233.25        $233.35            $233.40         1,234,982      0.15%
    6/24/2015     $229.19        $229.12            $229.13         2,045,344     -1.76%
    6/25/2015     $233.21        $233.14            $233.21         2,049,051      1.74%
    6/26/2015     $228.83        $229.06            $229.27         2,578,995     -1.90%
    6/29/2015     $220.31        $220.32            $220.35         1,770,703     -3.79%
    6/30/2015     $222.15        $222.17            $222.23         2,163,506      0.83%
     7/1/2015     $228.24        $228.30            $228.37         1,392,871      2.70%
     7/2/2015     $228.49        $228.35            $228.39           981,188      0.11%
     7/6/2015     $226.30        $226.35            $226.38         1,677,281     -0.96%
     7/7/2015     $227.40        $227.35            $227.44         1,653,350      0.48%
     7/8/2015     $224.46        $224.64            $224.66         1,408,604     -1.30%
     7/9/2015     $223.39        $223.39            $223.44         1,374,822     -0.48%
    7/10/2015     $232.32        $232.13            $232.32         1,441,147      3.92%
    7/13/2015     $235.16        $235.16            $235.19         1,339,143      1.22%
    7/14/2015     $236.75        $236.52            $236.64         1,110,145      0.67%
    7/15/2015     $235.84        $235.70            $235.82         1,600,777     -0.39%
    7/16/2015     $238.85        $238.90            $238.96         1,312,146      1.27%
    7/17/2015     $236.10        $235.95            $235.99         1,376,406     -1.16%
    7/20/2015     $239.88        $239.84            $239.90         1,591,865      1.59%
    7/21/2015     $240.59        $240.51            $240.55         1,016,730      0.30%
    7/22/2015     $238.92        $238.98            $239.11         1,388,930     -0.70%
    7/23/2015     $253.84        $253.66            $253.81         3,764,536      6.06%
    7/24/2015     $251.92        $251.84            $251.91         2,257,423     -0.76%
    7/27/2015     $257.30        $257.60            $257.64         2,066,753      2.11%
    7/28/2015     $257.95        $258.03            $258.11         1,853,808      0.25%
    7/29/2015     $255.23        $255.02            $255.11         2,064,732     -1.06%
    7/30/2015     $254.28        $254.11            $254.23         1,479,633     -0.37%
    7/31/2015     $257.53        $257.53            $257.62         1,314,040      1.27%

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                                        Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
     8/3/2015     $257.21        $257.09            $257.13         1,771,755     -0.12%
     8/4/2015     $259.98        $259.89            $260.00         1,152,422      1.07%
     8/5/2015     $262.52        $262.40            $262.52         1,242,167      0.97%
     8/6/2015     $248.40        $248.50            $248.57         3,551,447     -5.53%
     8/7/2015     $247.79        $247.56            $247.72         2,158,375     -0.25%
    8/10/2015     $247.15        $247.16            $247.24         1,278,108     -0.26%
    8/11/2015     $245.99        $246.11            $246.27         1,213,042     -0.47%
    8/12/2015     $244.03        $244.12            $244.16         3,042,655     -0.80%
    8/13/2015     $246.17        $246.17            $246.32         1,415,104      0.87%
    8/14/2015     $246.57        $246.57            $246.64           949,987      0.16%
    8/17/2015     $249.75        $249.60            $249.65           954,684      1.28%
    8/18/2015     $249.97        $249.70            $249.83           873,743      0.09%
    8/19/2015     $244.91        $244.71            $244.84         1,262,141     -2.05%
    8/20/2015     $229.06        $228.84            $229.03         3,305,463     -6.69%
    8/21/2015     $222.19        $221.95            $222.02         3,924,010     -3.05%
    8/24/2015     $220.25        $220.05            $220.25         4,584,048     -0.88%
    8/25/2015     $220.08        $220.00            $220.08         2,595,826     -0.08%
    8/26/2015     $227.24        $227.28            $227.44         2,156,165      3.20%
    8/27/2015     $234.90        $234.90            $235.08         1,816,673      3.32%
    8/28/2015     $236.12        $236.17            $236.22           982,983      0.52%
    8/31/2015     $230.60        $230.49            $230.57         1,559,055     -2.37%
     9/1/2015     $224.05        $223.81            $223.92         2,059,366     -2.88%
     9/2/2015     $232.18        $231.98            $232.09         1,805,983      3.56%
     9/3/2015     $228.47        $228.37            $228.46         1,485,526     -1.61%
     9/4/2015     $229.53        $229.50            $229.53         1,228,176      0.46%
     9/8/2015     $233.80        $233.50            $233.77         1,925,268      1.84%
     9/9/2015     $227.85        $227.85            $228.05         1,253,048     -2.58%
    9/10/2015     $228.79        $228.55            $228.65         1,781,567      0.41%
    9/11/2015     $225.64        $225.57            $225.64         1,609,884     -1.39%
    9/14/2015     $222.92        $222.83            $222.88         1,603,252     -1.21%
    9/15/2015     $228.22        $228.09            $228.17         1,465,343      2.35%
    9/16/2015     $233.21        $233.28            $233.38         1,405,466      2.16%
    9/17/2015     $241.01        $241.00            $241.14         1,795,781      3.29%
    9/18/2015     $242.14        $241.66            $242.10         1,754,405      0.47%
    9/21/2015     $229.00        $229.15            $229.30         4,972,044     -5.58%
    9/22/2015     $216.76        $216.61            $216.76         4,612,648     -5.49%

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                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
    9/23/2015     $217.21        $217.07            $217.16         1,958,189       0.21%
    9/24/2015     $209.50        $209.50            $209.54         4,169,919      -3.61%
    9/25/2015     $199.47        $199.39            $199.46         6,280,110      -4.91%
    9/28/2015     $166.50        $166.33            $166.38        19,751,945     -18.07%
    9/29/2015     $158.08        $158.08            $158.09        14,511,879      -5.19%
    9/30/2015     $178.38        $178.63            $178.73        11,676,108      12.08%
    10/1/2015     $179.60        $179.52            $179.60         6,384,414       0.68%
    10/2/2015     $182.32        $182.52            $182.54         7,697,345       1.50%
    10/5/2015     $163.46        $163.45            $163.62        11,648,163     -10.92%
    10/6/2015     $166.00        $165.88            $165.91         7,376,898       1.54%
    10/7/2015     $169.83        $169.70            $169.83         4,183,341       2.28%
    10/8/2015     $171.17        $171.08            $171.17         3,644,569       0.79%
    10/9/2015     $175.94        $175.86            $175.94         4,358,000       2.75%
   10/12/2015     $173.85        $173.66            $173.74         3,255,799      -1.20%
   10/13/2015     $166.50        $166.49            $166.50         3,880,617      -4.32%
   10/14/2015     $177.29        $177.21            $177.26         8,142,276       6.28%
   10/15/2015     $168.87        $168.72            $168.84        10,683,872      -4.87%
   10/16/2015     $177.56        $177.55            $177.56         6,033,655       5.02%
   10/19/2015     $163.83        $163.73            $163.80         9,997,878      -8.05%
   10/20/2015     $146.74        $146.66            $146.76        16,210,064     -11.02%
   10/21/2015     $118.61        $118.20            $118.35        88,607,831     -21.28%
   10/22/2015     $109.87        $110.43            $110.45        57,766,099      -7.65%
   10/23/2015     $116.16        $115.81            $115.89        24,749,273       5.57%
   10/26/2015     $110.04        $110.04            $110.07        27,810,071      -5.41%
   10/27/2015     $109.54        $109.56            $109.60        10,871,823      -0.46%
   10/28/2015     $117.00        $116.92            $116.99        10,701,638       6.59%
   10/29/2015     $111.50        $111.50            $111.51        18,818,895      -4.81%
   10/30/2015      $93.77         $93.79             $93.81        44,882,470     -17.32%
    11/2/2015     $100.47        $100.51            $100.60        26,455,480       6.90%
    11/3/2015      $97.86         $97.84             $97.86        15,507,283      -2.63%
    11/4/2015      $91.98         $91.98             $92.00        14,566,134      -6.20%
    11/5/2015      $78.77         $78.76             $78.77        57,293,517     -15.50%
    11/6/2015      $81.77         $81.76             $81.77        25,270,919       3.74%
    11/9/2015      $85.41         $85.34             $85.41        19,976,516       4.36%
   11/10/2015      $83.68         $83.63             $83.67        28,711,708      -2.05%
   11/11/2015      $78.90         $78.90             $78.91        16,933,839      -5.88%

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                                        Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
   11/12/2015      $73.77         $73.76             $73.80        17,453,083      -6.72%
   11/13/2015      $75.41         $75.51             $75.53        14,631,969       2.20%
   11/16/2015      $73.32         $73.34             $73.37        10,267,177      -2.81%
   11/17/2015      $70.32         $70.32             $70.39        13,442,769      -4.18%
   11/18/2015      $72.60         $72.59             $72.60        11,844,381       3.19%
   11/19/2015      $84.00         $83.97             $84.05        25,422,665      14.59%
   11/20/2015      $91.00         $90.84             $90.88        24,969,454       8.00%
   11/23/2015      $87.41         $87.35             $87.41        25,583,183      -4.02%
   11/24/2015      $87.45         $87.40             $87.42        16,530,071       0.05%
   11/25/2015      $87.02         $86.97             $87.00        13,068,171      -0.49%
   11/27/2015      $87.09         $86.87             $86.90         4,218,736       0.08%
   11/30/2015      $89.96         $89.94             $89.96        14,051,833       3.24%
    12/1/2015      $98.78         $98.67             $98.72        22,989,513       9.35%
    12/2/2015      $96.23         $96.19             $96.23        13,067,448      -2.62%
    12/3/2015      $93.66         $93.60             $93.63         9,457,737      -2.71%
    12/4/2015      $95.31         $95.33             $95.37         8,677,357       1.75%
    12/7/2015      $92.24         $92.24             $92.28         4,856,583      -3.27%
    12/8/2015      $93.86         $93.88             $93.91         7,326,711       1.74%
    12/9/2015      $94.40         $94.42             $94.45         6,273,906       0.57%
   12/10/2015      $97.19         $97.14             $97.19         5,133,587       2.91%
   12/11/2015      $93.06         $93.08             $93.10         8,187,721      -4.34%
   12/14/2015      $94.14         $94.16             $94.17         5,393,446       1.15%
   12/15/2015     $109.59        $109.64            $109.65        24,243,151      15.20%
   12/16/2015     $118.47        $118.47            $118.49        23,338,245       7.79%
   12/17/2015     $111.38        $111.38            $111.43         9,504,850      -6.17%
   12/18/2015     $108.52        $108.53            $108.57         8,060,601      -2.60%
   12/21/2015     $108.76        $108.76            $108.81         3,824,821       0.22%
   12/22/2015     $113.12        $113.18            $113.24         4,725,729       3.93%
   12/23/2015     $114.94        $114.96            $115.00         3,455,829       1.60%
   12/24/2015     $114.11        $114.12            $114.15         2,223,220      -0.72%
   12/28/2015     $102.14        $102.15            $102.20        15,441,844     -11.08%
   12/29/2015     $101.39        $101.41            $101.42        10,007,808      -0.74%
   12/30/2015     $102.33        $102.28            $102.30         8,081,255       0.92%
   12/31/2015     $101.65        $101.64            $101.65         5,863,395      -0.67%
     1/4/2016      $98.50         $98.48             $98.50         9,598,155      -3.15%
     1/5/2016     $100.86        $100.86            $100.89         6,154,732       2.37%

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                                        Exhibit-4
                                  Valeant Common Stock
                                Prices, Volume, and Returns
                            3 January 2012 through 15 March 2016
                                                                   Valeant        Valeant
                  Valeant        Valeant          Valeant          Trading      Logarithmic
     Date       Closing Price   Closing Bid     Closing Ask        Volume         Return
     1/6/2016     $102.40        $102.42            $102.47        10,380,248       1.52%
     1/7/2016     $97.39         $97.39             $97.44          6,377,553      -5.02%
     1/8/2016      $91.06         $91.06             $91.12         7,874,009      -6.72%
    1/11/2016      $85.45         $85.45             $85.49         9,928,313      -6.36%
    1/12/2016      $87.91         $87.94             $87.97         6,492,973       2.84%
    1/13/2016     $85.54         $85.49             $85.54          4,974,971      -2.73%
    1/14/2016      $89.77         $89.78             $89.81         5,001,912       4.83%
    1/15/2016     $88.70         $88.64             $88.69          7,614,805      -1.20%
    1/19/2016      $88.98         $88.94             $88.97         4,061,453       0.32%
    1/20/2016     $89.35         $89.38             $89.45          5,863,855       0.41%
    1/21/2016     $90.27         $90.24             $90.27          3,171,471       1.02%
    1/22/2016     $88.60         $88.60             $88.62          3,919,410      -1.87%
    1/25/2016      $92.63         $92.63             $92.70         5,658,298       4.45%
    1/26/2016     $98.57         $98.61             $98.66          8,792,371       6.22%
    1/27/2016     $94.43         $94.42             $94.45          5,597,542      -4.29%
    1/28/2016      $86.12         $86.07             $86.12         7,920,388      -9.21%
    1/29/2016      $90.22         $90.17             $90.18         6,444,314       4.65%
     2/1/2016     $95.65         $95.68             $95.74          6,153,912       5.84%
     2/2/2016     $91.45         $91.46             $91.48         14,245,297      -4.49%
     2/3/2016      $94.19         $94.12             $94.17         6,209,853       2.95%
     2/4/2016     $96.94         $96.96             $96.99          7,560,986       2.88%
     2/5/2016     $96.59         $96.59             $96.62          6,103,199      -0.36%
     2/8/2016      $89.63         $89.64             $89.67         5,316,010      -7.48%
     2/9/2016      $86.95         $86.95             $86.96         6,729,583      -3.04%
    2/10/2016      $85.96         $85.90             $85.94         4,484,257      -1.15%
    2/11/2016      $83.44         $83.40             $83.41         7,128,622      -2.98%
    2/12/2016      $88.39         $88.33             $88.36         5,312,404       5.76%
    2/16/2016     $91.26         $91.24             $91.25          3,870,323       3.20%
    2/17/2016     $94.65         $94.62             $94.65          4,511,549       3.65%
    2/18/2016     $94.11         $94.12             $94.15          4,640,868      -0.57%
    2/19/2016      $84.99         $84.99             $85.01        14,770,677     -10.19%
    2/22/2016      $75.92         $75.91             $75.92        31,649,013     -11.29%
    2/23/2016      $79.27         $79.26             $79.29        15,372,074       4.32%
    2/24/2016     $83.83         $83.83             $83.88          8,903,366       5.59%
    2/25/2016     $84.71         $84.72             $84.74          5,757,198       1.04%
    2/26/2016     $80.65         $80.65             $80.80         10,084,059      -4.91%

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                                   Valeant Common Stock
                                 Prices, Volume, and Returns
                             3 January 2012 through 15 March 2016
                                                                    Valeant     Valeant
                   Valeant        Valeant          Valeant          Trading   Logarithmic
     Date        Closing Price   Closing Bid     Closing Ask        Volume      Return
    2/29/2016       $65.80         $65.79            $65.80      27,302,372     -20.35%
     3/1/2016       $65.45         $65.46            $65.51      41,571,126      -0.53%
     3/2/2016       $67.47         $67.53            $67.56      18,257,510       3.04%
     3/3/2016       $64.89         $64.85            $64.89      10,829,391      -3.90%
     3/4/2016       $61.31         $61.30            $61.31      13,653,409      -5.68%
     3/7/2016       $65.66         $65.64            $65.66      14,784,747       6.85%
     3/8/2016       $63.15         $63.18            $63.20       6,742,546      -3.90%
     3/9/2016       $66.86         $66.84            $66.86       9,882,241       5.71%
    3/10/2016       $66.15         $66.15            $66.18       6,829,080      -1.07%
    3/11/2016       $69.55         $69.56            $69.60       6,906,623       5.01%
    3/14/2016       $69.04         $69.00            $69.03       9,407,547      -0.74%
    3/15/2016       $33.51         $33.50            $33.55     138,949,843     -72.28%
 Source: CRSP.




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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                        1/3/2012       1.60%          1.45%
                        1/4/2012      -0.04%         -0.74%
                        1/5/2012       0.29%          0.26%
                        1/6/2012      -0.29%          0.20%
                        1/9/2012       0.28%          0.67%
                       1/10/2012       1.04%          2.05%
                       1/11/2012       0.10%         -0.45%
                       1/12/2012       0.30%          0.56%
                       1/13/2012      -0.53%         -0.55%
                       1/17/2012       0.39%          0.90%
                       1/18/2012       1.22%          1.02%
                       1/19/2012       0.56%         -0.02%
                       1/20/2012       0.09%         -0.25%
                       1/23/2012       0.16%          0.48%
                       1/24/2012      -0.08%         -0.69%
                       1/25/2012       0.99%          1.11%
                       1/26/2012      -0.49%          0.01%
                       1/27/2012       0.07%          0.14%
                       1/30/2012      -0.37%         -0.55%
                       1/31/2012      -0.01%          0.00%
                        2/1/2012       1.11%          0.58%
                        2/2/2012       0.18%         -0.97%
                        2/3/2012       1.46%          4.30%
                        2/6/2012      -0.10%          0.98%
                        2/7/2012       0.14%         -0.20%
                        2/8/2012       0.22%         -0.13%
                        2/9/2012       0.10%         -0.71%
                       2/10/2012      -0.84%         -0.18%
                       2/13/2012       0.74%          1.24%
                       2/14/2012      -0.15%          0.46%
                       2/15/2012      -0.42%         -0.32%
                       2/16/2012       1.24%          0.59%
                       2/17/2012       0.14%         -5.49%
                       2/21/2012       0.02%         -2.63%
                       2/22/2012      -0.31%          0.23%
                       2/23/2012       0.57%          0.78%
                       2/24/2012       0.15%          0.20%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       2/27/2012       0.08%          0.14%
                       2/28/2012       0.29%          1.35%
                       2/29/2012      -0.57%          0.03%
                        3/1/2012       0.68%          1.53%
                        3/2/2012      -0.49%         -0.28%
                        3/5/2012      -0.46%         -0.68%
                        3/6/2012      -1.75%         -1.38%
                        3/7/2012       0.79%          0.75%
                        3/8/2012       1.08%          1.53%
                        3/9/2012       0.45%          0.02%
                       3/12/2012      -0.14%         -0.16%
                       3/13/2012       1.75%          1.04%
                       3/14/2012      -0.39%         -0.49%
                       3/15/2012       0.65%          0.44%
                       3/16/2012       0.13%         -0.73%
                       3/19/2012       0.40%          0.42%
                       3/20/2012      -0.45%         -0.29%
                       3/21/2012      -0.11%          0.40%
                       3/22/2012      -0.81%          0.79%
                       3/23/2012       0.45%          0.07%
                       3/26/2012       1.39%          1.12%
                       3/27/2012      -0.37%         -0.00%
                       3/28/2012      -0.55%         -0.24%
                       3/29/2012      -0.19%          0.65%
                       3/30/2012       0.33%          0.67%
                        4/2/2012       0.80%          0.20%
                        4/3/2012      -0.45%         -0.44%
                        4/4/2012      -1.19%         -1.05%
                        4/5/2012      -0.08%          0.35%
                        4/9/2012      -1.14%         -1.82%
                       4/10/2012      -1.82%         -1.89%
                       4/11/2012       0.85%          0.35%
                       4/12/2012       1.50%          0.57%
                       4/13/2012      -1.25%          0.07%
                       4/16/2012      -0.06%          0.17%
                       4/17/2012       1.48%          1.69%
                       4/18/2012      -0.40%         -0.09%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       4/19/2012      -0.47%          3.41%
                       4/20/2012       0.16%         -0.58%
                       4/23/2012      -0.96%         -0.58%
                       4/24/2012       0.32%          0.68%
                       4/25/2012       1.37%          0.88%
                       4/26/2012       0.68%          1.28%
                       4/27/2012       0.39%         -0.11%
                       4/30/2012      -0.43%         -0.66%
                        5/1/2012       0.49%         -0.46%
                        5/2/2012      -0.20%         -0.88%
                        5/3/2012      -1.00%         -0.27%
                        5/4/2012      -1.58%         -1.37%
                        5/7/2012       0.06%          0.28%
                        5/8/2012      -0.54%         -0.90%
                        5/9/2012      -0.60%          0.09%
                       5/10/2012       0.29%          0.87%
                       5/11/2012      -0.28%          0.83%
                       5/14/2012      -1.22%         -0.35%
                       5/15/2012      -0.60%         -0.70%
                       5/16/2012      -0.49%          0.00%
                       5/17/2012      -1.60%         -2.21%
                       5/18/2012      -0.82%         -0.66%
                       5/21/2012       1.76%          1.48%
                       5/22/2012      -0.05%         -0.13%
                       5/23/2012       0.28%         -0.96%
                       5/24/2012       0.10%          1.39%
                       5/25/2012      -0.15%          0.09%
                       5/29/2012       1.12%          0.83%
                       5/30/2012      -1.56%         -0.82%
                       5/31/2012      -0.20%         -0.42%
                        6/1/2012      -2.48%         -2.53%
                        6/4/2012      -0.10%          0.58%
                        6/5/2012       0.78%          0.18%
                        6/6/2012       2.24%          1.37%
                        6/7/2012      -0.14%         -0.60%
                        6/8/2012       0.71%          1.26%
                       6/11/2012      -1.40%         -0.78%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       6/12/2012       1.16%          0.21%
                       6/13/2012      -0.70%         -0.59%
                       6/14/2012       0.94%          1.08%
                       6/15/2012       1.01%          0.69%
                       6/18/2012       0.22%          0.44%
                       6/19/2012       1.15%          0.77%
                       6/20/2012      -0.15%         -0.14%
                       6/21/2012      -2.37%         -1.44%
                       6/22/2012       0.72%          0.86%
                       6/25/2012      -1.55%         -1.32%
                       6/26/2012       0.48%          0.10%
                       6/27/2012       0.90%          1.37%
                       6/28/2012      -0.21%         -1.28%
                       6/29/2012       2.53%          2.57%
                        7/2/2012       0.39%          1.28%
                        7/3/2012       0.89%          0.76%
                        7/5/2012      -0.41%         -1.04%
                        7/6/2012      -1.00%         -0.75%
                        7/9/2012      -0.22%          0.10%
                       7/10/2012      -0.88%         -0.79%
                       7/11/2012      -0.03%         -1.00%
                       7/12/2012      -0.49%         -0.01%
                       7/13/2012       1.51%          1.24%
                       7/16/2012      -0.25%          0.14%
                       7/17/2012       0.67%          1.19%
                       7/18/2012       0.62%         -0.44%
                       7/19/2012       0.28%          0.40%
                       7/20/2012      -1.00%         -1.67%
                       7/23/2012      -1.02%         -1.48%
                       7/24/2012      -0.95%         -1.37%
                       7/25/2012       0.07%          0.30%
                       7/26/2012       1.54%          1.61%
                       7/27/2012       1.87%          3.62%
                       7/30/2012      -0.08%         -0.45%
                       7/31/2012      -0.50%         -2.24%
                        8/1/2012      -0.45%          0.55%
                        8/2/2012      -0.73%          2.00%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                        8/3/2012       1.90%          0.63%
                        8/6/2012       0.35%          0.51%
                        8/7/2012       0.63%          0.01%
                        8/8/2012       0.02%         -0.50%
                        8/9/2012       0.16%          0.22%
                       8/10/2012       0.19%          0.22%
                       8/13/2012      -0.19%         -0.06%
                       8/14/2012      -0.00%          0.97%
                       8/15/2012       0.27%          0.34%
                       8/16/2012       0.79%         -1.37%
                       8/17/2012       0.26%         -0.11%
                       8/20/2012      -0.06%         -0.36%
                       8/21/2012      -0.23%          0.39%
                       8/22/2012      -0.01%         -0.48%
                       8/23/2012      -0.74%         -0.53%
                       8/24/2012       0.55%          1.72%
                       8/27/2012      -0.06%         -0.13%
                       8/28/2012       0.02%          0.05%
                       8/29/2012       0.10%          0.11%
                       8/30/2012      -0.78%         -0.13%
                       8/31/2012       0.59%          0.18%
                        9/4/2012       0.07%          0.69%
                        9/5/2012      -0.06%          0.19%
                        9/6/2012       1.93%          1.96%
                        9/7/2012       0.56%         -0.17%
                       9/10/2012      -0.57%          0.06%
                       9/11/2012       0.34%         -0.35%
                       9/12/2012       0.26%          0.22%
                       9/13/2012       1.52%          0.69%
                       9/14/2012       0.61%          1.01%
                       9/17/2012      -0.46%          2.25%
                       9/18/2012      -0.18%          1.13%
                       9/19/2012       0.13%         -0.01%
                       9/20/2012      -0.19%          0.50%
                       9/21/2012       0.04%          0.75%
                       9/24/2012      -0.31%         -0.23%
                       9/25/2012      -1.09%         -0.31%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       9/26/2012      -0.55%         -0.82%
                       9/27/2012       1.00%          0.58%
                       9/28/2012      -0.45%         -0.15%
                       10/1/2012       0.28%          1.11%
                       10/2/2012       0.12%          1.12%
                       10/3/2012       0.25%          0.97%
                       10/4/2012       0.76%          0.18%
                       10/5/2012      -0.01%         -0.15%
                       10/8/2012      -0.36%          0.06%
                       10/9/2012      -0.98%         -1.43%
                      10/10/2012      -0.56%         -0.92%
                      10/11/2012       0.17%          0.41%
                      10/12/2012      -0.35%         -0.17%
                      10/15/2012       0.72%          0.13%
                      10/16/2012       0.99%          1.00%
                      10/17/2012       0.51%          0.89%
                      10/18/2012      -0.27%         -0.92%
                      10/19/2012      -1.58%         -2.20%
                      10/22/2012       0.02%         -0.18%
                      10/23/2012      -1.30%         -1.67%
                      10/24/2012      -0.26%          2.14%
                      10/25/2012       0.33%          0.17%
                      10/26/2012      -0.14%         -0.28%
                      10/31/2012       0.25%         -0.66%
                       11/1/2012       1.11%          0.92%
                       11/2/2012      -0.98%         -0.29%
                       11/5/2012       0.22%         -0.14%
                       11/6/2012       0.78%          0.56%
                       11/7/2012      -2.13%         -2.29%
                       11/8/2012      -1.16%         -1.30%
                       11/9/2012       0.09%          0.39%
                      11/12/2012      -0.02%          5.31%
                      11/13/2012      -0.42%         -1.14%
                      11/14/2012      -1.48%         -0.98%
                      11/15/2012      -0.29%          0.08%
                      11/16/2012       0.62%          1.22%
                      11/19/2012       1.90%          1.15%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                      11/20/2012       0.10%          0.79%
                      11/21/2012       0.31%          0.02%
                      11/23/2012       1.26%          1.09%
                      11/26/2012      -0.16%         -0.46%
                      11/27/2012      -0.44%         -0.36%
                      11/28/2012       0.75%          0.33%
                      11/29/2012       0.54%          0.66%
                      11/30/2012       0.03%          0.10%
                       12/3/2012      -0.42%         -0.41%
                       12/4/2012      -0.13%         -0.04%
                       12/5/2012       0.18%          0.43%
                       12/6/2012       0.28%         -0.79%
                       12/7/2012       0.25%          0.14%
                      12/10/2012       0.15%          0.84%
                      12/11/2012       0.61%          1.67%
                      12/12/2012       0.03%         -0.35%
                      12/13/2012      -0.59%         -1.22%
                      12/14/2012      -0.31%         -0.70%
                      12/17/2012       1.01%          1.08%
                      12/18/2012       1.10%          0.62%
                      12/19/2012      -0.47%         -1.22%
                      12/20/2012       0.49%         -0.27%
                      12/21/2012      -0.85%         -0.91%
                      12/24/2012      -0.22%          0.03%
                      12/26/2012      -0.50%         -0.64%
                      12/27/2012      -0.07%         -0.02%
                      12/28/2012      -0.93%         -0.66%
                      12/31/2012       1.63%          1.17%
                        1/2/2013       2.47%          1.69%
                        1/3/2013      -0.19%          0.81%
                        1/4/2013       0.56%          0.96%
                        1/7/2013      -0.26%          0.79%
                        1/8/2013      -0.22%          0.50%
                        1/9/2013       0.34%          0.94%
                       1/10/2013       0.68%          0.85%
                       1/11/2013       0.02%         -0.72%
                       1/14/2013      -0.03%         -0.11%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       1/15/2013       0.20%          0.27%
                       1/16/2013      -0.07%         -0.36%
                       1/17/2013       0.59%          0.28%
                       1/18/2013       0.29%          0.48%
                       1/22/2013       0.52%          0.01%
                       1/23/2013       0.03%         -0.73%
                       1/24/2013       0.06%          1.29%
                       1/25/2013       0.52%          0.62%
                       1/28/2013      -0.13%         -0.75%
                       1/29/2013       0.36%          0.49%
                       1/30/2013      -0.39%          0.05%
                       1/31/2013      -0.08%         -0.41%
                        2/1/2013       0.92%          2.25%
                        2/4/2013      -1.11%         -1.73%
                        2/5/2013       0.92%          1.52%
                        2/6/2013       0.13%         -0.31%
                        2/7/2013      -0.21%         -0.15%
                        2/8/2013       0.54%          1.01%
                       2/11/2013      -0.10%         -0.49%
                       2/12/2013       0.22%          0.30%
                       2/13/2013       0.14%          0.77%
                       2/14/2013       0.08%          0.27%
                       2/15/2013      -0.20%          0.13%
                       2/19/2013       0.69%          0.98%
                       2/20/2013      -1.34%         -0.97%
                       2/21/2013      -0.71%         -0.83%
                       2/22/2013       0.86%          1.48%
                       2/25/2013      -1.73%         -0.66%
                       2/26/2013       0.56%          0.34%
                       2/27/2013       1.22%          1.35%
                       2/28/2013      -0.06%         -0.13%
                        3/1/2013       0.18%          0.93%
                        3/4/2013       0.36%          1.09%
                        3/5/2013       0.92%          1.56%
                        3/6/2013       0.17%          0.58%
                        3/7/2013       0.23%         -0.96%
                        3/8/2013       0.49%          0.58%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       3/11/2013       0.27%          0.84%
                       3/12/2013      -0.19%          0.40%
                       3/13/2013       0.08%         -0.33%
                       3/14/2013       0.59%         -0.01%
                       3/15/2013      -0.15%         -0.95%
                       3/18/2013      -0.53%         -0.56%
                       3/19/2013      -0.29%         -0.42%
                       3/20/2013       0.72%          0.69%
                       3/21/2013      -0.76%         -0.18%
                       3/22/2013       0.58%          1.16%
                       3/25/2013      -0.31%         -0.91%
                       3/26/2013       0.73%          0.90%
                       3/27/2013      -0.01%          1.77%
                       3/28/2013       0.40%          1.54%
                        4/1/2013      -0.54%         -0.81%
                        4/2/2013       0.27%          1.04%
                        4/3/2013      -1.19%         -0.91%
                        4/4/2013       0.38%          0.38%
                        4/5/2013      -0.35%         -0.65%
                        4/8/2013       0.66%         -0.04%
                        4/9/2013       0.37%          1.26%
                       4/10/2013       1.15%          1.68%
                       4/11/2013       0.32%          2.23%
                       4/12/2013      -0.38%          0.12%
                       4/15/2013      -2.59%         -2.30%
                       4/16/2013       1.46%          1.26%
                       4/17/2013      -1.48%         -0.10%
                       4/18/2013      -0.57%         -1.25%
                       4/19/2013       0.93%          2.84%
                       4/22/2013       0.43%          0.90%
                       4/23/2013       1.01%         -0.35%
                       4/24/2013       0.22%         -3.23%
                       4/25/2013       0.49%          1.16%
                       4/26/2013      -0.25%          0.18%
                       4/29/2013       0.73%          0.47%
                       4/30/2013       0.41%         -0.41%
                        5/1/2013      -1.07%         -3.54%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                        5/2/2013       0.94%          2.53%
                        5/3/2013       1.03%          3.51%
                        5/6/2013       0.26%         -0.62%
                        5/7/2013       0.51%         -1.22%
                        5/8/2013       0.50%         -0.84%
                        5/9/2013      -0.37%          0.38%
                       5/10/2013       0.47%          1.42%
                       5/13/2013      -0.06%          1.23%
                       5/14/2013       0.93%          2.01%
                       5/15/2013       0.39%          0.24%
                       5/16/2013      -0.46%         -1.76%
                       5/17/2013       0.94%          1.68%
                       5/20/2013       0.06%         -1.02%
                       5/21/2013       0.16%          0.90%
                       5/22/2013      -0.97%         -0.68%
                       5/23/2013      -0.24%         -0.12%
                       5/24/2013      -0.10%          0.16%
                       5/28/2013       0.63%          0.82%
                       5/29/2013      -0.70%         -0.89%
                       5/30/2013       0.42%          0.51%
                       5/31/2013      -1.37%         -1.76%
                        6/3/2013       0.46%         -1.21%
                        6/4/2013      -0.56%         -1.33%
                        6/5/2013      -1.35%         -2.39%
                        6/6/2013       0.89%          2.21%
                        6/7/2013       1.13%          1.71%
                       6/10/2013       0.02%         -0.07%
                       6/11/2013      -1.09%         -0.18%
                       6/12/2013      -0.82%         -1.35%
                       6/13/2013       1.49%          1.56%
                       6/14/2013      -0.54%          0.36%
                       6/17/2013       0.72%         -1.05%
                       6/18/2013       0.73%          1.06%
                       6/19/2013      -1.35%         -1.98%
                       6/20/2013      -2.61%         -2.73%
                       6/21/2013       0.14%         -0.78%
                       6/24/2013      -1.24%         -2.37%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       6/25/2013       1.03%          1.66%
                       6/26/2013       0.89%          1.99%
                       6/27/2013       0.81%         -0.10%
                       6/28/2013      -0.28%          0.05%
                        7/1/2013       0.67%          0.43%
                        7/2/2013      -0.14%          0.45%
                        7/3/2013       0.04%         -0.24%
                        7/5/2013       0.90%          1.83%
                        7/8/2013       0.52%          0.32%
                        7/9/2013       0.77%          1.42%
                       7/10/2013       0.06%          1.33%
                       7/11/2013       1.45%          0.69%
                       7/12/2013       0.25%          1.81%
                       7/15/2013       0.23%          0.52%
                       7/16/2013      -0.38%         -1.19%
                       7/17/2013       0.30%          0.65%
                       7/18/2013       0.54%          0.81%
                       7/19/2013       0.15%          1.85%
                       7/22/2013       0.28%         -0.26%
                       7/23/2013      -0.12%         -0.72%
                       7/24/2013      -0.49%          0.64%
                       7/25/2013       0.40%          1.42%
                       7/26/2013       0.01%          2.15%
                       7/29/2013      -0.38%         -1.28%
                       7/30/2013       0.04%          0.11%
                       7/31/2013       0.02%         -0.42%
                        8/1/2013       1.22%          0.99%
                        8/2/2013       0.13%          0.56%
                        8/5/2013      -0.07%         -0.59%
                        8/6/2013      -0.66%         -1.18%
                        8/7/2013      -0.45%          0.09%
                        8/8/2013       0.54%         -0.42%
                        8/9/2013      -0.19%         -0.39%
                       8/12/2013      -0.01%         -0.40%
                       8/13/2013       0.15%         -0.01%
                       8/14/2013      -0.41%         -0.46%
                       8/15/2013      -1.30%         -2.22%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       8/16/2013      -0.29%         -0.21%
                       8/19/2013      -0.71%          0.42%
                       8/20/2013       0.57%          1.26%
                       8/21/2013      -0.62%          0.13%
                       8/22/2013       0.91%          1.35%
                       8/23/2013       0.44%         -0.50%
                       8/26/2013      -0.28%          0.65%
                       8/27/2013      -1.64%         -2.34%
                       8/28/2013       0.26%          1.76%
                       8/29/2013       0.32%          1.01%
                       8/30/2013      -0.48%         -0.61%
                        9/3/2013       0.45%          1.13%
                        9/4/2013       0.76%          0.46%
                        9/5/2013       0.18%          0.07%
                        9/6/2013       0.11%         -0.24%
                        9/9/2013       1.08%          1.43%
                       9/10/2013       0.72%          0.55%
                       9/11/2013       0.27%         -0.10%
                       9/12/2013      -0.40%          0.57%
                       9/13/2013       0.27%          0.28%
                       9/16/2013       0.51%         -0.10%
                       9/17/2013       0.50%         -0.29%
                       9/18/2013       1.25%          1.46%
                       9/19/2013      -0.11%          0.26%
                       9/20/2013      -0.73%         -0.23%
                       9/23/2013      -0.42%         -1.25%
                       9/24/2013      -0.12%          0.13%
                       9/25/2013      -0.17%         -0.95%
                       9/26/2013       0.40%          1.17%
                       9/27/2013      -0.36%          0.65%
                       9/30/2013      -0.49%         -0.75%
                       10/1/2013       0.87%          0.63%
                       10/2/2013      -0.07%         -0.34%
                       10/3/2013      -0.87%         -0.68%
                       10/4/2013       0.67%          1.54%
                       10/7/2013      -0.85%         -1.44%
                       10/8/2013      -1.32%         -2.89%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       10/9/2013      -0.05%         -0.71%
                      10/10/2013       2.08%          3.92%
                      10/11/2013       0.69%          0.19%
                      10/14/2013       0.41%          0.94%
                      10/15/2013      -0.69%         -0.54%
                      10/16/2013       1.27%          2.27%
                      10/17/2013       0.77%          1.78%
                      10/18/2013       0.69%          0.43%
                      10/21/2013       0.01%         -1.09%
                      10/22/2013       0.55%          1.47%
                      10/23/2013      -0.53%          0.40%
                      10/24/2013       0.40%          1.15%
                      10/25/2013       0.31%          0.10%
                      10/28/2013       0.03%         -0.92%
                      10/29/2013       0.44%          1.22%
                      10/30/2013      -0.57%          2.07%
                      10/31/2013      -0.35%         -1.03%
                       11/1/2013       0.14%          0.41%
                       11/4/2013       0.43%         -1.02%
                       11/5/2013      -0.30%          0.71%
                       11/6/2013       0.30%         -1.58%
                       11/7/2013      -1.40%         -1.56%
                       11/8/2013       1.23%          2.38%
                      11/11/2013       0.10%          0.91%
                      11/12/2013      -0.22%          0.49%
                      11/13/2013       0.85%          1.40%
                      11/14/2013       0.46%          0.82%
                      11/15/2013       0.44%          1.02%
                      11/18/2013      -0.46%         -0.95%
                      11/19/2013      -0.34%          0.45%
                      11/20/2013      -0.33%          1.36%
                      11/21/2013       0.86%          0.52%
                      11/22/2013       0.46%          2.09%
                      11/25/2013      -0.14%          0.29%
                      11/26/2013       0.11%         -0.17%
                      11/27/2013       0.27%          0.10%
                      11/29/2013       0.02%          0.07%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       12/2/2013      -0.37%          0.35%
                       12/3/2013      -0.37%         -1.79%
                       12/4/2013      -0.10%         -0.19%
                       12/5/2013      -0.35%          0.73%
                       12/6/2013       0.96%          1.33%
                       12/9/2013       0.19%          0.59%
                      12/10/2013      -0.28%         -2.24%
                      12/11/2013      -1.21%         -2.44%
                      12/12/2013      -0.26%         -0.01%
                      12/13/2013       0.13%          0.75%
                      12/16/2013       0.64%          0.62%
                      12/17/2013      -0.23%         -1.00%
                      12/18/2013       1.44%          3.56%
                      12/19/2013      -0.10%         -0.01%
                      12/20/2013       0.69%          1.19%
                      12/23/2013       0.62%          0.62%
                      12/24/2013       0.35%          0.07%
                      12/26/2013       0.40%          0.52%
                      12/27/2013      -0.01%         -0.38%
                      12/30/2013       0.03%          0.60%
                      12/31/2013       0.42%          0.34%
                        1/2/2014      -0.88%         -0.34%
                        1/3/2014       0.05%         -0.28%
                        1/6/2014      -0.34%         -1.12%
                        1/7/2014       0.61%          0.39%
                        1/8/2014       0.02%          2.99%
                        1/9/2014       0.01%          0.80%
                       1/10/2014       0.36%          0.99%
                       1/13/2014      -1.17%         -1.62%
                       1/14/2014       1.02%          2.65%
                       1/15/2014       0.51%         -0.35%
                       1/16/2014      -0.03%          1.14%
                       1/17/2014      -0.35%          0.56%
                       1/21/2014       0.33%          1.97%
                       1/22/2014       0.15%          0.02%
                       1/23/2014      -0.82%         -0.60%
                       1/24/2014      -2.13%         -2.09%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       1/27/2014      -0.67%         -1.13%
                       1/28/2014       0.73%          1.96%
                       1/29/2014      -1.00%         -1.09%
                       1/30/2014       1.14%          2.02%
                       1/31/2014      -0.58%         -0.47%
                        2/3/2014      -2.34%         -2.52%
                        2/4/2014       0.76%          2.83%
                        2/5/2014      -0.19%         -2.30%
                        2/6/2014       1.18%         -1.23%
                        2/7/2014       1.25%          2.46%
                       2/10/2014       0.16%          1.94%
                       2/11/2014       1.05%          0.77%
                       2/12/2014       0.12%          0.20%
                       2/13/2014       0.69%          0.96%
                       2/14/2014       0.41%         -0.72%
                       2/18/2014       0.32%          4.98%
                       2/19/2014      -0.69%          0.47%
                       2/20/2014       0.64%          1.72%
                       2/21/2014      -0.08%         -0.54%
                       2/24/2014       0.62%          0.83%
                       2/25/2014      -0.13%          0.62%
                       2/26/2014       0.10%          0.43%
                       2/27/2014       0.49%          0.91%
                       2/28/2014       0.17%         -1.50%
                        3/3/2014      -0.66%         -1.09%
                        3/4/2014       1.53%          2.20%
                        3/5/2014       0.04%         -0.54%
                        3/6/2014       0.17%         -3.24%
                        3/7/2014      -0.08%         -0.08%
                       3/10/2014      -0.13%         -0.14%
                       3/11/2014      -0.55%         -0.14%
                       3/12/2014       0.13%          0.08%
                       3/13/2014      -1.12%         -1.60%
                       3/14/2014      -0.14%         -0.99%
                       3/17/2014       0.82%          0.49%
                       3/18/2014       0.76%          2.13%
                       3/19/2014      -0.68%         -1.06%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       3/20/2014       0.47%         -1.02%
                       3/21/2014      -0.29%         -3.82%
                       3/24/2014      -0.61%         -0.77%
                       3/25/2014       0.34%          0.75%
                       3/26/2014      -0.82%         -1.13%
                       3/27/2014      -0.11%         -1.20%
                       3/28/2014       0.45%         -1.56%
                       3/31/2014       0.91%          2.13%
                        4/1/2014       0.82%          2.00%
                        4/2/2014       0.28%          0.60%
                        4/3/2014      -0.31%         -0.62%
                        4/4/2014      -1.27%         -1.91%
                        4/7/2014      -1.17%         -1.72%
                        4/8/2014       0.54%         -2.14%
                        4/9/2014       1.12%          2.18%
                       4/10/2014      -2.10%         -5.50%
                       4/11/2014      -0.98%          0.02%
                       4/14/2014       0.65%          0.92%
                       4/15/2014       0.52%          1.86%
                       4/16/2014       1.06%          2.08%
                       4/17/2014       0.23%          0.38%
                       4/21/2014       0.35%          2.99%
                       4/22/2014       0.55%          4.11%
                       4/23/2014      -0.28%          0.64%
                       4/24/2014       0.07%          0.06%
                       4/25/2014      -0.95%         -0.29%
                       4/28/2014       0.11%         -0.31%
                       4/29/2014       0.56%          1.31%
                       4/30/2014       0.34%          1.82%
                        5/1/2014       0.08%          1.07%
                        5/2/2014      -0.03%         -1.15%
                        5/5/2014       0.13%          1.69%
                        5/6/2014      -0.88%         -1.93%
                        5/7/2014       0.44%         -0.51%
                        5/8/2014      -0.27%         -1.05%
                        5/9/2014       0.16%          0.24%
                       5/12/2014       1.11%          1.15%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       5/13/2014      -0.07%          0.55%
                       5/14/2014      -0.47%          0.13%
                       5/15/2014      -0.84%         -0.47%
                       5/16/2014       0.34%          0.55%
                       5/19/2014       0.43%          0.77%
                       5/20/2014      -0.70%         -0.65%
                       5/21/2014       0.74%          0.84%
                       5/22/2014       0.35%          1.43%
                       5/23/2014       0.48%         -0.41%
                       5/27/2014       0.59%          0.44%
                       5/28/2014      -0.13%         -1.35%
                       5/29/2014       0.49%          0.77%
                       5/30/2014       0.06%          0.20%
                        6/2/2014       0.07%          0.86%
                        6/3/2014      -0.04%          0.35%
                        6/4/2014       0.25%         -0.64%
                        6/5/2014       0.72%         -0.20%
                        6/6/2014       0.51%         -0.19%
                        6/9/2014       0.19%         -1.97%
                       6/10/2014      -0.04%          0.03%
                       6/11/2014      -0.31%          1.14%
                       6/12/2014      -0.57%         -0.42%
                       6/13/2014       0.31%          0.15%
                       6/16/2014       0.14%          0.09%
                       6/17/2014       0.29%          0.00%
                       6/18/2014       0.69%          0.41%
                       6/19/2014       0.17%         -0.25%
                       6/20/2014       0.21%          1.81%
                       6/23/2014       0.01%          0.16%
                       6/24/2014      -0.70%          0.51%
                       6/25/2014       0.51%          1.04%
                       6/26/2014      -0.06%          0.51%
                       6/27/2014       0.29%          0.47%
                       6/30/2014       0.10%         -0.58%
                        7/1/2014       0.68%          1.53%
                        7/2/2014      -0.03%          1.12%
                        7/3/2014       0.49%          0.22%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                        7/7/2014      -0.61%         -1.14%
                        7/8/2014      -0.74%         -0.50%
                        7/9/2014       0.45%          0.76%
                       7/10/2014      -0.49%          0.17%
                       7/11/2014       0.08%          0.01%
                       7/14/2014       0.45%          1.77%
                       7/15/2014      -0.33%         -1.07%
                       7/16/2014       0.38%         -1.01%
                       7/17/2014      -1.10%         -1.52%
                       7/18/2014       1.02%          3.03%
                       7/21/2014      -0.22%         -0.18%
                       7/22/2014       0.51%          0.52%
                       7/23/2014       0.19%          1.15%
                       7/24/2014       0.02%         -0.29%
                       7/25/2014      -0.50%         -0.66%
                       7/28/2014      -0.05%          0.31%
                       7/29/2014      -0.37%          0.82%
                       7/30/2014       0.05%          0.62%
                       7/31/2014      -1.95%         -2.22%
                        8/1/2014      -0.35%          0.26%
                        8/4/2014       0.71%         -0.08%
                        8/5/2014      -0.89%         -0.89%
                        8/6/2014       0.03%         -1.11%
                        8/7/2014      -0.49%         -1.45%
                        8/8/2014       1.02%          0.99%
                       8/11/2014       0.48%         -0.53%
                       8/12/2014      -0.22%          0.01%
                       8/13/2014       0.66%          1.00%
                       8/14/2014       0.42%          2.40%
                       8/15/2014       0.03%          2.00%
                       8/18/2014       0.85%          0.59%
                       8/19/2014       0.47%          1.51%
                       8/20/2014       0.20%          0.04%
                       8/21/2014       0.25%          0.86%
                       8/22/2014      -0.14%          1.13%
                       8/25/2014       0.45%          1.41%
                       8/26/2014       0.22%         -0.40%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       8/27/2014       0.06%          0.29%
                       8/28/2014      -0.18%          0.04%
                       8/29/2014       0.38%          0.18%
                        9/2/2014       0.00%          1.26%
                        9/3/2014      -0.06%         -0.10%
                        9/4/2014      -0.24%         -1.40%
                        9/5/2014       0.44%         -0.37%
                        9/8/2014      -0.28%          0.76%
                        9/9/2014      -0.63%         -0.52%
                       9/10/2014       0.33%          1.18%
                       9/11/2014       0.13%         -0.53%
                       9/12/2014      -0.66%         -1.17%
                       9/15/2014      -0.29%         -1.35%
                       9/16/2014       0.70%          2.49%
                       9/17/2014       0.08%         -0.38%
                       9/18/2014       0.45%          1.04%
                       9/19/2014      -0.24%          0.08%
                       9/22/2014      -1.01%         -1.00%
                       9/23/2014      -0.60%          0.59%
                       9/24/2014       0.71%          2.95%
                       9/25/2014      -1.57%         -1.13%
                       9/26/2014       0.84%          0.94%
                       9/29/2014      -0.24%         -0.39%
                       9/30/2014      -0.41%         -0.94%
                       10/1/2014      -1.30%         -0.56%
                       10/2/2014       0.08%         -0.72%
                       10/3/2014       0.91%          2.98%
                       10/6/2014      -0.16%         -0.90%
                       10/7/2014      -1.51%         -0.45%
                       10/8/2014       1.58%          3.00%
                       10/9/2014      -2.14%         -2.24%
                      10/10/2014      -1.34%         -1.80%
                      10/13/2014      -1.56%         -3.53%
                      10/14/2014       0.23%         -1.78%
                      10/15/2014      -0.45%         -2.56%
                      10/16/2014       0.38%          1.11%
                      10/17/2014       1.07%          2.16%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                      10/20/2014       0.92%          1.29%
                      10/21/2014       1.90%          3.48%
                      10/22/2014      -0.89%         -0.84%
                      10/23/2014       1.22%          1.22%
                      10/24/2014       0.60%          2.17%
                      10/27/2014      -0.22%          0.51%
                      10/28/2014       1.36%          0.66%
                      10/29/2014      -0.22%         -1.05%
                      10/30/2014       0.50%          2.55%
                      10/31/2014       1.15%         -0.77%
                       11/3/2014      -0.07%         -0.28%
                       11/4/2014      -0.46%         -0.10%
                       11/5/2014       0.49%         -1.33%
                       11/6/2014       0.38%          0.53%
                       11/7/2014       0.20%         -0.66%
                      11/10/2014       0.27%          0.32%
                      11/11/2014       0.11%          0.18%
                      11/12/2014       0.06%         -0.65%
                      11/13/2014      -0.09%         -1.01%
                      11/14/2014       0.13%         -0.72%
                      11/17/2014      -0.02%          0.69%
                      11/18/2014       0.55%          3.96%
                      11/19/2014      -0.24%         -1.08%
                      11/20/2014       0.33%         -1.67%
                      11/21/2014       0.53%          0.07%
                      11/24/2014       0.32%          1.03%
                      11/25/2014      -0.04%          0.50%
                      11/26/2014       0.28%          0.24%
                      11/28/2014      -0.61%          0.06%
                       12/1/2014      -0.90%         -1.00%
                       12/2/2014       0.59%          0.78%
                       12/3/2014       0.52%         -0.20%
                       12/4/2014      -0.21%          0.65%
                       12/5/2014       0.15%          1.01%
                       12/8/2014      -0.95%          0.23%
                       12/9/2014       0.17%         -0.15%
                      12/10/2014      -1.76%         -1.31%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                      12/11/2014       0.41%          0.26%
                      12/12/2014      -1.53%         -0.99%
                      12/15/2014      -0.77%         -0.05%
                      12/16/2014      -0.59%         -2.04%
                      12/17/2014       2.15%          1.95%
                      12/18/2014       2.13%          2.44%
                      12/19/2014       0.46%          1.58%
                      12/22/2014       0.33%         -7.08%
                      12/23/2014       0.22%         -2.61%
                      12/24/2014       0.06%          0.93%
                      12/26/2014       0.37%          1.68%
                      12/29/2014       0.12%          1.99%
                      12/30/2014      -0.43%         -1.11%
                      12/31/2014      -0.88%         -0.81%
                        1/2/2015      -0.02%          0.75%
                        1/5/2015      -1.84%         -0.70%
                        1/6/2015      -0.97%         -0.78%
                        1/7/2015       1.11%          2.44%
                        1/8/2015       1.67%          1.36%
                        1/9/2015      -0.76%         -0.89%
                       1/12/2015      -0.78%          0.57%
                       1/13/2015      -0.23%         -0.34%
                       1/14/2015      -0.52%          0.04%
                       1/15/2015      -0.92%         -1.71%
                       1/16/2015       1.37%          2.60%
                       1/20/2015       0.03%          1.15%
                       1/21/2015       0.45%         -0.03%
                       1/22/2015       1.46%          0.59%
                       1/23/2015      -0.42%          0.17%
                       1/26/2015       0.44%          0.83%
                       1/27/2015      -1.01%         -1.01%
                       1/28/2015      -1.42%         -2.03%
                       1/29/2015       0.84%          0.64%
                       1/30/2015      -1.22%         -0.28%
                        2/2/2015       1.22%          0.41%
                        2/3/2015       1.49%          0.10%
                        2/4/2015      -0.44%         -2.07%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                        2/5/2015       1.14%          2.01%
                        2/6/2015      -0.36%         -1.07%
                        2/9/2015      -0.41%         -1.00%
                       2/10/2015       0.86%          1.42%
                       2/11/2015      -0.04%         -0.15%
                       2/12/2015       1.04%          0.49%
                       2/13/2015       0.47%          0.69%
                       2/17/2015       0.17%          0.80%
                       2/18/2015       0.02%          0.25%
                       2/19/2015      -0.10%          0.24%
                       2/20/2015       0.57%          1.18%
                       2/23/2015      -0.06%          0.17%
                       2/24/2015       0.23%         -0.26%
                       2/25/2015       0.07%          0.12%
                       2/26/2015      -0.15%          0.22%
                       2/27/2015      -0.26%         -0.48%
                        3/2/2015       0.55%          0.95%
                        3/3/2015      -0.41%         -0.77%
                        3/4/2015      -0.38%          0.81%
                        3/5/2015       0.16%          0.77%
                        3/6/2015      -1.39%         -1.91%
                        3/9/2015       0.29%          0.59%
                       3/10/2015      -1.56%         -1.25%
                       3/11/2015      -0.02%          0.11%
                       3/12/2015       1.19%          1.29%
                       3/13/2015      -0.55%         -0.04%
                       3/16/2015       1.17%          2.37%
                       3/17/2015      -0.17%          0.05%
                       3/18/2015       1.20%          1.40%
                       3/19/2015      -0.46%          0.84%
                       3/20/2015       0.93%          1.69%
                       3/23/2015      -0.10%         -1.74%
                       3/24/2015      -0.46%         -0.96%
                       3/25/2015      -1.48%         -2.74%
                       3/26/2015      -0.22%          0.17%
                       3/27/2015       0.25%          0.55%
                       3/30/2015       1.15%          0.46%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       3/31/2015      -0.71%         -2.32%
                        4/1/2015      -0.27%         -1.12%
                        4/2/2015       0.40%         -0.04%
                        4/6/2015       0.65%         -0.16%
                        4/7/2015      -0.21%          0.55%
                        4/8/2015       0.36%          2.03%
                        4/9/2015       0.34%          0.52%
                       4/10/2015       0.46%          0.87%
                       4/13/2015      -0.37%         -0.34%
                       4/14/2015       0.19%          0.19%
                       4/15/2015       0.62%          0.79%
                       4/16/2015      -0.04%         -0.39%
                       4/17/2015      -1.14%         -0.88%
                       4/20/2015       0.80%          0.25%
                       4/21/2015      -0.10%          1.45%
                       4/22/2015       0.41%          0.08%
                       4/23/2015       0.35%          0.53%
                       4/24/2015       0.12%         -1.26%
                       4/27/2015      -0.48%         -2.34%
                       4/28/2015       0.25%         -0.32%
                       4/29/2015      -0.39%         -0.08%
                       4/30/2015      -1.08%         -1.87%
                        5/1/2015       0.92%          2.33%
                        5/4/2015       0.30%          0.32%
                        5/5/2015      -1.16%         -1.39%
                        5/6/2015      -0.34%         -0.34%
                        5/7/2015       0.34%          0.45%
                        5/8/2015       1.20%          2.16%
                       5/11/2015      -0.40%          0.53%
                       5/12/2015      -0.22%         -0.37%
                       5/13/2015       0.02%          0.09%
                       5/14/2015       0.97%          1.13%
                       5/15/2015       0.11%          0.02%
                       5/18/2015       0.33%          0.74%
                       5/19/2015      -0.14%          0.14%
                       5/20/2015      -0.03%          0.17%
                       5/21/2015       0.25%          0.27%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       5/22/2015      -0.22%         -0.13%
                       5/26/2015      -1.05%         -1.25%
                       5/27/2015       0.86%          1.70%
                       5/28/2015      -0.12%          0.23%
                       5/29/2015      -0.58%         -1.16%
                        6/1/2015       0.15%          0.75%
                        6/2/2015       0.04%         -0.74%
                        6/3/2015       0.26%          0.17%
                        6/4/2015      -0.89%         -0.46%
                        6/5/2015      -0.00%          0.07%
                        6/8/2015      -0.66%         -0.61%
                        6/9/2015      -0.00%          0.27%
                       6/10/2015       1.15%          1.21%
                       6/11/2015       0.19%          1.10%
                       6/12/2015      -0.62%         -1.23%
                       6/15/2015      -0.41%          0.05%
                       6/16/2015       0.49%          0.26%
                       6/17/2015       0.17%         -0.04%
                       6/18/2015       0.92%          1.77%
                       6/19/2015      -0.49%         -0.04%
                       6/22/2015       0.58%          1.05%
                       6/23/2015       0.13%          0.40%
                       6/24/2015      -0.74%         -0.77%
                       6/25/2015      -0.27%         -0.10%
                       6/26/2015      -0.08%         -0.24%
                       6/29/2015      -2.17%         -2.89%
                       6/30/2015       0.30%          1.02%
                        7/1/2015       0.55%          0.98%
                        7/2/2015      -0.06%          0.11%
                        7/6/2015      -0.45%          0.06%
                        7/7/2015       0.50%          0.56%
                        7/8/2015      -1.66%         -2.09%
                        7/9/2015       0.27%          0.41%
                       7/10/2015       1.26%          1.04%
                       7/13/2015       1.02%          1.06%
                       7/14/2015       0.47%          1.49%
                       7/15/2015      -0.25%          0.33%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       7/16/2015       0.69%          0.71%
                       7/17/2015      -0.06%         -0.10%
                       7/20/2015      -0.12%          0.38%
                       7/21/2015      -0.41%         -0.61%
                       7/22/2015      -0.24%         -0.07%
                       7/23/2015      -0.55%         -0.21%
                       7/24/2015      -1.01%         -4.77%
                       7/27/2015      -0.71%          0.20%
                       7/28/2015       1.22%          2.40%
                       7/29/2015       0.75%         -0.04%
                       7/30/2015       0.08%          0.16%
                       7/31/2015      -0.08%          0.63%
                        8/3/2015      -0.37%          0.40%
                        8/4/2015      -0.17%         -0.32%
                        8/5/2015       0.26%          0.72%
                        8/6/2015      -0.79%         -3.19%
                        8/7/2015      -0.33%         -0.02%
                       8/10/2015       1.30%          1.05%
                       8/11/2015      -0.93%         -0.95%
                       8/12/2015       0.07%          0.06%
                       8/13/2015      -0.21%         -0.40%
                       8/14/2015       0.38%          0.12%
                       8/17/2015       0.57%          1.02%
                       8/18/2015      -0.35%         -0.17%
                       8/19/2015      -0.88%         -0.33%
                       8/20/2015      -2.19%         -2.36%
                       8/21/2015      -2.84%         -4.06%
                       8/24/2015      -3.93%         -4.29%
                       8/25/2015      -1.03%         -0.43%
                       8/26/2015       3.32%          4.71%
                       8/27/2015       2.41%          1.90%
                       8/28/2015       0.25%         -0.34%
                       8/31/2015      -0.73%         -2.32%
                        9/1/2015      -2.86%         -2.77%
                        9/2/2015       1.62%          2.65%
                        9/3/2015       0.18%         -1.35%
                        9/4/2015      -1.38%         -0.81%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                        9/8/2015       2.34%          3.12%
                        9/9/2015      -1.29%         -1.72%
                       9/10/2015       0.44%          1.25%
                       9/11/2015       0.34%          1.00%
                       9/14/2015      -0.42%         -0.20%
                       9/15/2015       1.14%          1.48%
                       9/16/2015       0.95%          0.30%
                       9/17/2015      -0.07%          1.23%
                       9/18/2015      -1.54%         -1.84%
                       9/21/2015       0.33%         -2.62%
                       9/22/2015      -1.37%         -0.37%
                       9/23/2015      -0.35%         -0.66%
                       9/24/2015      -0.37%         -1.18%
                       9/25/2015      -0.21%         -3.06%
                       9/28/2015      -2.74%         -5.26%
                       9/29/2015      -0.09%          0.91%
                       9/30/2015       1.92%          3.40%
                       10/1/2015       0.19%          1.52%
                       10/2/2015       1.51%          2.16%
                       10/5/2015       1.86%         -0.29%
                       10/6/2015      -0.31%         -2.53%
                       10/7/2015       0.98%          1.52%
                       10/8/2015       0.85%          0.75%
                       10/9/2015       0.14%          0.06%
                      10/12/2015      -0.02%         -0.46%
                      10/13/2015      -0.78%         -2.18%
                      10/14/2015      -0.43%          0.46%
                      10/15/2015       1.46%          2.46%
                      10/16/2015       0.34%          0.98%
                      10/19/2015      -0.07%          0.27%
                      10/20/2015      -0.12%         -2.44%
                      10/21/2015      -0.81%         -0.63%
                      10/22/2015       1.39%          1.33%
                      10/23/2015       0.95%          2.13%
                      10/26/2015      -0.28%          0.81%
                      10/27/2015      -0.45%          2.88%
                      10/28/2015       1.36%          0.44%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                      10/29/2015      -0.22%          0.67%
                      10/30/2015      -0.40%         -1.00%
                       11/2/2015       1.24%          1.89%
                       11/3/2015       0.31%         -0.38%
                       11/4/2015      -0.34%         -0.34%
                       11/5/2015      -0.14%         -1.12%
                       11/6/2015      -0.04%         -0.68%
                       11/9/2015      -0.97%         -0.87%
                      11/10/2015       0.13%          0.73%
                      11/11/2015      -0.41%         -0.66%
                      11/12/2015      -1.46%         -2.19%
                      11/13/2015      -0.98%         -0.25%
                      11/16/2015       1.37%          1.31%
                      11/17/2015      -0.14%          0.68%
                      11/18/2015       1.52%          3.17%
                      11/19/2015      -0.10%         -1.21%
                      11/20/2015       0.30%          0.78%
                      11/23/2015      -0.07%         -0.23%
                      11/24/2015       0.24%          0.09%
                      11/25/2015       0.12%          0.82%
                      11/27/2015       0.08%          0.01%
                      11/30/2015      -0.39%         -1.74%
                       12/1/2015       0.95%          1.53%
                       12/2/2015      -1.08%         -1.06%
                       12/3/2015      -1.44%         -2.75%
                       12/4/2015       1.63%          2.95%
                       12/7/2015      -0.98%         -0.85%
                       12/8/2015      -0.61%          0.47%
                       12/9/2015      -0.66%         -1.44%
                      12/10/2015       0.20%          0.86%
                      12/11/2015      -2.00%         -2.24%
                      12/14/2015       0.16%          0.98%
                      12/15/2015       1.12%          1.53%
                      12/16/2015       1.48%          1.45%
                      12/17/2015      -1.47%         -1.33%
                      12/18/2015      -1.52%         -1.35%
                      12/21/2015       0.71%          0.97%


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                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                      12/22/2015       0.88%          0.59%
                      12/23/2015       1.36%          1.38%
                      12/24/2015      -0.08%          0.18%
                      12/28/2015      -0.33%         -0.86%
                      12/29/2015       1.00%          1.50%
                      12/30/2015      -0.74%         -0.47%
                      12/31/2015      -0.82%         -0.96%
                        1/4/2016      -1.50%         -2.42%
                        1/5/2016       0.14%          0.87%
                        1/6/2016      -1.39%         -0.67%
                        1/7/2016      -2.42%         -3.25%
                        1/8/2016      -1.10%         -1.36%
                       1/11/2016      -0.17%         -1.57%
                       1/12/2016       0.61%          1.15%
                       1/13/2016      -2.62%         -3.76%
                       1/14/2016       1.53%          3.31%
                       1/15/2016      -2.19%         -1.72%
                       1/19/2016      -0.24%         -0.07%
                       1/20/2016      -1.07%          1.04%
                       1/21/2016       0.57%         -1.41%
                       1/22/2016       2.22%          2.23%
                       1/25/2016      -1.68%         -1.62%
                       1/26/2016       1.58%          0.28%
                       1/27/2016      -1.06%         -1.47%
                       1/28/2016       0.51%         -2.44%
                       1/29/2016       2.42%          1.07%
                        2/1/2016      -0.04%         -0.20%
                        2/2/2016      -2.02%         -2.38%
                        2/3/2016       0.57%          1.81%
                        2/4/2016       0.36%         -0.01%
                        2/5/2016      -1.98%         -2.06%
                        2/8/2016      -1.71%         -0.73%
                        2/9/2016      -0.31%          0.65%
                       2/10/2016       0.03%          0.70%
                       2/11/2016      -1.20%         -2.63%
                       2/12/2016       1.99%          1.79%
                       2/16/2016       1.75%          2.37%


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                                     Exhibit-5
                         Market and Sector Index Returns
                        3 January 2012 through 15 March 2016
                                   Market Index   Sector Index
                        Date         Return         Return

                       2/17/2016       1.79%          1.60%
                       2/18/2016      -0.42%         -1.57%
                       2/19/2016      -0.02%         -0.19%
                       2/22/2016       1.42%          0.70%
                       2/23/2016      -1.19%         -1.30%
                       2/24/2016       0.50%          0.33%
                       2/25/2016       1.10%          0.82%
                       2/26/2016       0.03%         -0.41%
                       2/29/2016      -0.59%         -1.83%
                        3/1/2016       2.21%          3.06%
                        3/2/2016       0.57%          0.26%
                        3/3/2016       0.56%         -0.97%
                        3/4/2016       0.41%         -0.41%
                        3/7/2016       0.32%          1.60%
                        3/8/2016      -1.36%         -1.44%
                        3/9/2016       0.56%         -0.97%
                       3/10/2016      -0.13%         -0.17%
                       3/11/2016       1.73%          1.73%
                       3/14/2016      -0.16%         -0.24%
                       3/15/2016      -0.45%         -1.76%

                    Sources: Bloomberg, CRSP, and Crowinshield
                    Financial Research, Inc. computations.




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                                                                                     Exhibit-6
                                                                    Valeant Common Stock Regression Results
                                                               Estimation Period: 252 Trading Days Prior to Event Date
                               Coefficients                         Standard Error                           t -statistic                         Regression Statistics
   Event Date       Intercept Market Index Sector Index   Intercept Market Index Sector Index    Intercept Market Index Sector Index   R Squared Adjusted R Squared Standard Error

  4 January 2013      0.000      0.748        0.411        0.001       0.157         0.118         0.18        4.76         3.50         0.368          0.347            1.59%
 28 February 2013     0.001      0.672        0.440        0.001       0.160         0.131         0.63        4.20         3.37         0.371          0.351            1.52%
    2 May 2013        0.001      0.742        0.396        0.001       0.165         0.125         0.56        4.49         3.17         0.354          0.333            1.55%
   28 May 2013        0.001      0.661        0.465        0.001       0.186         0.133         0.87        3.56         3.49         0.283          0.259            1.74%
  7 August 2013       0.001      0.576        0.363        0.001       0.186         0.121         1.39        3.09         2.99         0.243          0.218            1.65%
 31 October 2013      0.001      0.664        0.289        0.001       0.171         0.106         1.33        3.88         2.73         0.312          0.287            1.45%
  7 January 2014      0.001      0.770        0.311        0.001       0.191         0.111         1.01        4.02         2.80         0.407          0.388            1.47%
 27 February 2014     0.001      0.712        0.408        0.001       0.182         0.100         1.02        3.92         4.06         0.430          0.409            1.51%
  22 April 2014       0.000      0.745        0.516        0.001       0.189         0.095         0.10        3.94         5.43         0.492          0.473            1.57%
    8 May 2014        0.000      0.682        0.554        0.001       0.191         0.098         0.02        3.57         5.65         0.494          0.476            1.56%
   31 July 2014      -0.001      0.684        0.594        0.001       0.184         0.091        -0.95        3.71         6.55         0.527          0.510            1.42%
24 September 2014    -0.002      0.556        0.662        0.001       0.190         0.090        -1.67        2.92         7.36         0.541          0.524            1.44%
 20 October 2014     -0.002      0.526        0.658        0.001       0.187         0.091        -1.58        2.81         7.27         0.534          0.515            1.48%
  8 January 2015     -0.001      0.472        0.609        0.001       0.160         0.078        -0.80        2.95         7.80         0.497          0.478            1.46%
 23 February 2015    -0.001      0.440        0.562        0.001       0.163         0.084        -0.65        2.70         6.73         0.548          0.529            1.46%
  29 April 2015       0.000      0.298        0.534        0.001       0.161         0.088         0.15        1.85         6.05         0.508          0.490            1.43%
   23 July 2015       0.001      0.407        0.538        0.001       0.149         0.086         1.22        2.73         6.26         0.579          0.563            1.31%
 19 October 2015      0.000      0.167        0.858        0.001       0.201         0.124        -0.05        0.83         6.89         0.458          0.441            2.00%
 26 October 2015     -0.001      0.130        0.930        0.002       0.253         0.156        -0.87        0.51         5.96         0.366          0.345            2.53%
 30 October 2015     -0.001      0.276        0.854        0.002       0.255         0.157        -0.89        1.08         5.44         0.422          0.400            2.59%
10 November 2015     -0.002      0.212        0.928        0.002       0.283         0.175        -0.93        0.75         5.31         0.390          0.365            2.83%
16 December 2015     -0.001      0.349        0.916        0.002       0.336         0.208        -0.45        1.04         4.40         0.351          0.321            3.28%
 23 February 2016    -0.003      0.033        1.274        0.002       0.383         0.262        -1.14        0.09         4.87         0.338          0.308            3.66%
 29 February 2016    -0.003      0.037        1.279        0.002       0.384         0.263        -1.14        0.10         4.86         0.363          0.334            3.68%
  15 March 2016      -0.003      0.075        1.262        0.002       0.386         0.265        -1.07        0.19         4.77         0.676          0.660            3.75%




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                                                                Exhibit-7a
                                                        Valeant Event Study Results
                                                       Acquisition Announcement Events

                                           Valeant                     Market
                            Valeant       Prior Day        Valeant      Index    Sector Index             Valeant        Valeant
                            Closing        Closing       Logarithmic Logarithmic Logarithmic             Explained       Residual
         Date                Price          Price          Return      Return      Return                 Return         Return         t -statistic

     28 May 2013             $91.80         $84.47           8.32%            0.63%         0.82%           0.89%          7.43%            4.28
    22 April 2014           $135.41         $126.01          7.19%            0.55%         4.11%           2.54%          4.65%            2.96
  23 February 2015          $198.75         $173.26         13.73%          -0.06%          0.17%           0.01%          13.72%           9.38

Notes:
The threshold for statistical significance at the 95% confidence level using a two-tailed test is a t -statistic of greater (less) than positive
(negative) 1.96.




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                                                                  Exhibit-7b
                                                          Valeant Event Study Results
                                                             Philidor Disclosure Events

                                              Valeant                    Market
                              Valeant        Prior Day       Valeant      Index    Sector Index              Valeant         Valeant
                              Closing         Closing      Logarithmic Logarithmic Logarithmic              Explained        Residual
          Date                 Price           Price         Return      Return      Return                  Return          Return          t -statistic

    19 October 2015           $163.83         $177.56          -8.05%           -0.07%         0.27%           0.21%          -8.26%            -4.12
    26 October 2015           $110.04         $116.16          -5.41%           -0.28%         0.81%           0.57%          -5.98%            -2.36
    30 October 2015            $93.77         $111.50         -17.32%           -0.40%        -1.00%          -1.11%          -16.21%           -6.25
   10 November 2015            $83.68          $85.41          -2.05%           0.13%          0.73%           0.54%          -2.58%            -0.91
   23 February 2016            $79.27          $75.92          4.32%            -1.19%        -1.30%          -1.96%           6.28%               1.72
   29 February 2016            $65.80          $80.65         -20.35%           -0.59%        -1.83%          -2.63%          -17.72%           -4.82
     15 March 2016             $33.51          $69.04         -72.28%           -0.45%        -1.76%          -2.51%          -69.78%          -18.63

Notes:
The threshold for statistical significance at the 95% confidence level using a two-tailed test is a t -statistic of greater (less) than positive
(negative) 1.96.




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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                        1/3/2012       0.12%             2.00%
                        1/4/2012       0.12%             2.00%
                        1/5/2012       0.11%             2.00%
                        1/6/2012       0.12%             2.00%
                        1/9/2012       0.11%             2.00%
                       1/10/2012       0.11%             2.00%
                       1/11/2012       0.11%             2.00%
                       1/12/2012       0.11%             2.00%
                       1/13/2012       0.10%             2.00%
                       1/17/2012       0.11%             2.00%
                       1/18/2012       0.11%             2.00%
                       1/19/2012       0.11%             2.00%
                       1/20/2012       0.11%             2.00%
                       1/23/2012       0.12%             2.00%
                       1/24/2012       0.12%             2.00%
                       1/25/2012       0.12%             2.00%
                       1/26/2012       0.12%             2.00%
                       1/27/2012       0.12%             2.00%
                       1/30/2012       0.12%             2.00%
                       1/31/2012       0.13%             2.00%
                        2/1/2012       0.13%             2.00%
                        2/2/2012       0.14%             2.00%
                        2/3/2012       0.14%             2.00%
                        2/6/2012       0.14%             2.00%
                        2/7/2012       0.14%             2.00%
                        2/8/2012       0.15%             2.00%
                        2/9/2012       0.15%             2.00%
                       2/10/2012       0.15%             2.00%
                       2/13/2012       0.15%             2.00%
                       2/14/2012       0.18%             2.00%
                       2/15/2012       0.18%             2.00%
                       2/16/2012       0.17%             2.00%
                       2/17/2012       0.18%             2.00%
                       2/21/2012       0.17%             2.00%
                       2/22/2012       0.17%             2.00%
                       2/23/2012       0.17%             2.00%
                       2/24/2012       0.18%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       2/27/2012       0.17%             2.00%
                       2/28/2012       0.18%             2.00%
                       2/29/2012       0.18%             2.00%
                        3/1/2012       0.18%             2.00%
                        3/2/2012       0.17%             2.00%
                        3/5/2012       0.17%             2.00%
                        3/6/2012       0.17%             2.00%
                        3/7/2012       0.18%             2.00%
                        3/8/2012       0.18%             2.00%
                        3/9/2012       0.18%             2.00%
                       3/12/2012       0.18%             2.00%
                       3/13/2012       0.20%             2.00%
                       3/14/2012       0.21%             2.00%
                       3/15/2012       0.21%             2.00%
                       3/16/2012       0.21%             2.00%
                       3/19/2012       0.21%             2.00%
                       3/20/2012       0.22%             2.00%
                       3/21/2012       0.21%             2.00%
                       3/22/2012       0.19%             2.00%
                       3/23/2012       0.19%             2.00%
                       3/26/2012       0.19%             2.00%
                       3/27/2012       0.18%             2.00%
                       3/28/2012       0.18%             2.00%
                       3/29/2012       0.18%             2.00%
                       3/30/2012       0.19%             2.00%
                        4/2/2012       0.18%             2.00%
                        4/3/2012       0.20%             2.00%
                        4/4/2012       0.19%             2.00%
                        4/5/2012       0.19%             2.00%
                        4/9/2012       0.19%             2.00%
                       4/10/2012       0.19%             2.00%
                       4/11/2012       0.18%             2.00%
                       4/12/2012       0.18%             2.00%
                       4/13/2012       0.17%             2.00%
                       4/16/2012       0.18%             2.00%
                       4/17/2012       0.18%             2.00%
                       4/18/2012       0.18%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       4/19/2012       0.17%             2.00%
                       4/20/2012       0.18%             2.00%
                       4/23/2012       0.17%             2.00%
                       4/24/2012       0.18%             2.00%
                       4/25/2012       0.18%             2.00%
                       4/26/2012       0.18%             2.00%
                       4/27/2012       0.19%             2.00%
                       4/30/2012       0.20%             2.00%
                        5/1/2012       0.19%             2.00%
                        5/2/2012       0.18%             2.00%
                        5/3/2012       0.19%             2.00%
                        5/4/2012       0.18%             2.00%
                        5/7/2012       0.18%             2.00%
                        5/8/2012       0.18%             2.00%
                        5/9/2012       0.18%             2.00%
                       5/10/2012       0.18%             2.00%
                       5/11/2012       0.18%             2.00%
                       5/14/2012       0.19%             2.00%
                       5/15/2012       0.19%             2.00%
                       5/16/2012       0.20%             2.00%
                       5/17/2012       0.20%             2.00%
                       5/18/2012       0.20%             2.00%
                       5/21/2012       0.21%             2.00%
                       5/22/2012       0.21%             2.00%
                       5/23/2012       0.20%             2.00%
                       5/24/2012       0.21%             2.00%
                       5/25/2012       0.20%             2.00%
                       5/29/2012       0.20%             2.00%
                       5/30/2012       0.19%             2.00%
                       5/31/2012       0.18%             2.00%
                        6/1/2012       0.17%             2.00%
                        6/4/2012       0.18%             2.00%
                        6/5/2012       0.18%             2.00%
                        6/6/2012       0.18%             2.00%
                        6/7/2012       0.18%             2.00%
                        6/8/2012       0.19%             2.00%
                       6/11/2012       0.18%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       6/12/2012       0.19%             2.00%
                       6/13/2012       0.18%             2.00%
                       6/14/2012       0.18%             2.00%
                       6/15/2012       0.18%             2.00%
                       6/18/2012       0.18%             2.00%
                       6/19/2012       0.18%             2.00%
                       6/20/2012       0.20%             2.00%
                       6/21/2012       0.19%             2.00%
                       6/22/2012       0.19%             2.00%
                       6/25/2012       0.19%             2.00%
                       6/26/2012       0.21%             2.00%
                       6/27/2012       0.21%             2.00%
                       6/28/2012       0.22%             2.00%
                       6/29/2012       0.21%             2.00%
                        7/2/2012       0.21%             2.00%
                        7/3/2012       0.21%             2.00%
                        7/5/2012       0.19%             2.00%
                        7/6/2012       0.20%             2.00%
                        7/9/2012       0.20%             2.00%
                       7/10/2012       0.20%             2.00%
                       7/11/2012       0.20%             2.00%
                       7/12/2012       0.20%             2.00%
                       7/13/2012       0.20%             2.00%
                       7/16/2012       0.18%             2.00%
                       7/17/2012       0.18%             2.00%
                       7/18/2012       0.18%             2.00%
                       7/19/2012       0.17%             2.00%
                       7/20/2012       0.17%             2.00%
                       7/23/2012       0.17%             2.00%
                       7/24/2012       0.18%             2.00%
                       7/25/2012       0.17%             2.00%
                       7/26/2012       0.18%             2.00%
                       7/27/2012       0.17%             2.00%
                       7/30/2012       0.18%             2.00%
                       7/31/2012       0.16%             2.00%
                        8/1/2012       0.17%             2.00%
                        8/2/2012       0.17%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                        8/3/2012       0.16%             2.00%
                        8/6/2012       0.16%             2.00%
                        8/7/2012       0.19%             2.00%
                        8/8/2012       0.19%             2.00%
                        8/9/2012       0.20%             2.00%
                       8/10/2012       0.18%             2.00%
                       8/13/2012       0.19%             2.00%
                       8/14/2012       0.19%             2.00%
                       8/15/2012       0.19%             2.00%
                       8/16/2012       0.20%             2.00%
                       8/17/2012       0.20%             2.00%
                       8/20/2012       0.19%             2.00%
                       8/21/2012       0.20%             2.00%
                       8/22/2012       0.19%             2.00%
                       8/23/2012       0.19%             2.00%
                       8/24/2012       0.19%             2.00%
                       8/27/2012       0.18%             2.00%
                       8/28/2012       0.18%             2.00%
                       8/29/2012       0.18%             2.00%
                       8/30/2012       0.17%             2.00%
                       8/31/2012       0.16%             2.00%
                        9/4/2012       0.16%             2.00%
                        9/5/2012       0.17%             2.00%
                        9/6/2012       0.18%             2.00%
                        9/7/2012       0.18%             2.00%
                       9/10/2012       0.18%             2.00%
                       9/11/2012       0.18%             2.00%
                       9/12/2012       0.18%             2.00%
                       9/13/2012       0.17%             2.00%
                       9/14/2012       0.18%             2.00%
                       9/17/2012       0.18%             2.00%
                       9/18/2012       0.18%             2.00%
                       9/19/2012       0.18%             2.00%
                       9/20/2012       0.18%             2.00%
                       9/21/2012       0.18%             2.00%
                       9/24/2012       0.18%             2.00%
                       9/25/2012       0.18%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       9/26/2012       0.17%             2.00%
                       9/27/2012       0.16%             2.00%
                       9/28/2012       0.17%             2.00%
                       10/1/2012       0.17%             2.00%
                       10/2/2012       0.16%             2.00%
                       10/3/2012       0.16%             2.00%
                       10/4/2012       0.18%             2.00%
                       10/5/2012       0.18%             2.00%
                       10/8/2012       0.18%             2.00%
                       10/9/2012       0.18%             2.00%
                      10/10/2012       0.18%             2.00%
                      10/11/2012       0.18%             2.00%
                      10/12/2012       0.18%             2.00%
                      10/15/2012       0.19%             2.00%
                      10/16/2012       0.18%             2.00%
                      10/17/2012       0.18%             2.00%
                      10/18/2012       0.18%             2.00%
                      10/19/2012       0.18%             2.00%
                      10/22/2012       0.19%             2.00%
                      10/23/2012       0.18%             2.00%
                      10/24/2012       0.18%             2.00%
                      10/25/2012       0.19%             2.00%
                      10/26/2012       0.19%             2.00%
                      10/31/2012       0.18%             2.00%
                       11/1/2012       0.18%             2.00%
                       11/2/2012       0.19%             2.00%
                       11/5/2012       0.19%             2.00%
                       11/6/2012       0.19%             2.00%
                       11/7/2012       0.18%             2.00%
                       11/8/2012       0.20%             2.00%
                       11/9/2012       0.18%             2.00%
                      11/12/2012       0.18%             2.00%
                      11/13/2012       0.18%             2.00%
                      11/14/2012       0.18%             2.00%
                      11/15/2012       0.17%             2.00%
                      11/16/2012       0.16%             2.00%
                      11/19/2012       0.16%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                      11/20/2012       0.16%             2.00%
                      11/21/2012       0.17%             2.00%
                      11/23/2012       0.19%             2.00%
                      11/26/2012       0.17%             2.00%
                      11/27/2012       0.18%             2.00%
                      11/28/2012       0.18%             2.00%
                      11/29/2012       0.18%             2.00%
                      11/30/2012       0.18%             2.00%
                       12/3/2012       0.18%             2.00%
                       12/4/2012       0.18%             2.00%
                       12/5/2012       0.18%             2.00%
                       12/6/2012       0.18%             2.00%
                       12/7/2012       0.18%             2.00%
                      12/10/2012       0.18%             2.00%
                      12/11/2012       0.16%             2.00%
                      12/12/2012       0.14%             2.00%
                      12/13/2012       0.14%             2.00%
                      12/14/2012       0.13%             2.00%
                      12/17/2012       0.13%             2.00%
                      12/18/2012       0.16%             2.00%
                      12/19/2012       0.15%             2.00%
                      12/20/2012       0.15%             2.00%
                      12/21/2012       0.15%             2.00%
                      12/24/2012       0.16%             2.00%
                      12/26/2012       0.16%             2.00%
                      12/27/2012       0.15%             2.00%
                      12/28/2012       0.15%             2.00%
                      12/31/2012       0.16%             2.00%
                        1/2/2013       0.15%             2.00%
                        1/3/2013       0.15%             2.00%
                        1/4/2013       0.15%             2.00%
                        1/7/2013       0.15%             2.00%
                        1/8/2013       0.14%             2.00%
                        1/9/2013       0.13%             2.00%
                       1/10/2013       0.14%             2.00%
                       1/11/2013       0.14%             2.00%
                       1/14/2013       0.14%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       1/15/2013       0.14%             2.00%
                       1/16/2013       0.14%             2.00%
                       1/17/2013       0.14%             2.00%
                       1/18/2013       0.14%             2.00%
                       1/22/2013       0.14%             2.00%
                       1/23/2013       0.15%             2.00%
                       1/24/2013       0.15%             2.00%
                       1/25/2013       0.15%             2.00%
                       1/28/2013       0.16%             2.00%
                       1/29/2013       0.15%             2.00%
                       1/30/2013       0.15%             2.00%
                       1/31/2013       0.15%             2.00%
                        2/1/2013       0.15%             2.00%
                        2/4/2013       0.15%             2.00%
                        2/5/2013       0.15%             2.00%
                        2/6/2013       0.15%             2.00%
                        2/7/2013       0.15%             2.00%
                        2/8/2013       0.14%             2.00%
                       2/11/2013       0.15%             2.00%
                       2/12/2013       0.14%             2.00%
                       2/13/2013       0.15%             2.00%
                       2/14/2013       0.16%             2.00%
                       2/15/2013       0.17%             2.00%
                       2/19/2013       0.17%             2.00%
                       2/20/2013       0.17%             2.00%
                       2/21/2013       0.16%             2.00%
                       2/22/2013       0.16%             2.00%
                       2/25/2013       0.16%             2.00%
                       2/26/2013       0.17%             2.00%
                       2/27/2013       0.17%             2.00%
                       2/28/2013       0.17%             2.00%
                        3/1/2013       0.16%             2.00%
                        3/4/2013       0.16%             2.00%
                        3/5/2013       0.15%             2.00%
                        3/6/2013       0.15%             2.00%
                        3/7/2013       0.15%             2.00%
                        3/8/2013       0.15%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       3/11/2013       0.15%             2.00%
                       3/12/2013       0.15%             2.00%
                       3/13/2013       0.15%             2.00%
                       3/14/2013       0.15%             2.00%
                       3/15/2013       0.14%             2.00%
                       3/18/2013       0.15%             2.00%
                       3/19/2013       0.15%             2.00%
                       3/20/2013       0.15%             2.00%
                       3/21/2013       0.14%             2.00%
                       3/22/2013       0.14%             2.00%
                       3/25/2013       0.14%             2.00%
                       3/26/2013       0.14%             2.00%
                       3/27/2013       0.14%             2.00%
                       3/28/2013       0.14%             2.00%
                        4/1/2013       0.14%             2.00%
                        4/2/2013       0.14%             2.00%
                        4/3/2013       0.13%             2.00%
                        4/4/2013       0.13%             2.00%
                        4/5/2013       0.13%             2.00%
                        4/8/2013       0.13%             2.00%
                        4/9/2013       0.13%             2.00%
                       4/10/2013       0.12%             2.00%
                       4/11/2013       0.12%             2.00%
                       4/12/2013       0.11%             2.00%
                       4/15/2013       0.12%             2.00%
                       4/16/2013       0.13%             2.00%
                       4/17/2013       0.13%             2.00%
                       4/18/2013       0.12%             2.00%
                       4/19/2013       0.12%             2.00%
                       4/22/2013       0.12%             2.00%
                       4/23/2013       0.12%             2.00%
                       4/24/2013       0.13%             2.00%
                       4/25/2013       0.12%             2.00%
                       4/26/2013       0.12%             2.00%
                       4/29/2013       0.12%             2.00%
                       4/30/2013       0.11%             2.00%
                        5/1/2013       0.11%             2.00%


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                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                        5/2/2013       0.11%             2.00%
                        5/3/2013       0.11%             2.00%
                        5/6/2013       0.11%             2.00%
                        5/7/2013       0.10%             2.00%
                        5/8/2013       0.11%             2.00%
                        5/9/2013       0.11%             2.00%
                       5/10/2013       0.11%             2.00%
                       5/13/2013       0.13%             2.00%
                       5/14/2013       0.12%             2.00%
                       5/15/2013       0.12%             2.00%
                       5/16/2013       0.12%             2.00%
                       5/17/2013       0.12%             2.00%
                       5/20/2013       0.12%             2.00%
                       5/21/2013       0.12%             2.00%
                       5/22/2013       0.11%             2.00%
                       5/23/2013       0.12%             2.00%
                       5/24/2013       0.12%             2.00%
                       5/28/2013       0.13%             2.00%
                       5/29/2013       0.14%             2.00%
                       5/30/2013       0.13%             2.00%
                       5/31/2013       0.14%             2.00%
                        6/3/2013       0.14%             2.00%
                        6/4/2013       0.14%             2.00%
                        6/5/2013       0.14%             2.00%
                        6/6/2013       0.14%             2.00%
                        6/7/2013       0.14%             2.00%
                       6/10/2013       0.14%             2.00%
                       6/11/2013       0.14%             2.00%
                       6/12/2013       0.14%             2.00%
                       6/13/2013       0.14%             2.00%
                       6/14/2013       0.13%             2.00%
                       6/17/2013       0.13%             2.00%
                       6/18/2013       0.13%             2.00%
                       6/19/2013       0.13%             2.00%
                       6/20/2013       0.14%             2.00%
                       6/21/2013       0.13%             2.00%
                       6/24/2013       0.16%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       6/25/2013       0.17%             2.00%
                       6/26/2013       0.16%             2.00%
                       6/27/2013       0.15%             2.00%
                       6/28/2013       0.15%             2.00%
                        7/1/2013       0.15%             2.00%
                        7/2/2013       0.14%             2.00%
                        7/3/2013       0.14%             2.00%
                        7/5/2013       0.15%             2.00%
                        7/8/2013       0.14%             2.00%
                        7/9/2013       0.14%             2.00%
                       7/10/2013       0.13%             2.00%
                       7/11/2013       0.13%             2.00%
                       7/12/2013       0.12%             2.00%
                       7/15/2013       0.11%             2.00%
                       7/16/2013       0.10%             2.00%
                       7/17/2013       0.11%             2.00%
                       7/18/2013       0.11%             2.00%
                       7/19/2013       0.11%             2.00%
                       7/22/2013       0.10%             2.00%
                       7/23/2013       0.12%             2.00%
                       7/24/2013       0.12%             2.00%
                       7/25/2013       0.12%             2.00%
                       7/26/2013       0.11%             2.00%
                       7/29/2013       0.11%             2.00%
                       7/30/2013       0.11%             2.00%
                       7/31/2013       0.11%             2.00%
                        8/1/2013       0.13%             2.00%
                        8/2/2013       0.11%             2.00%
                        8/5/2013       0.12%             2.00%
                        8/6/2013       0.12%             2.00%
                        8/7/2013       0.12%             2.00%
                        8/8/2013       0.12%             2.00%
                        8/9/2013       0.11%             2.00%
                       8/12/2013       0.12%             2.00%
                       8/13/2013       0.12%             2.00%
                       8/14/2013       0.12%             2.00%
                       8/15/2013       0.13%             2.00%


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                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       8/16/2013       0.13%             2.00%
                       8/19/2013       0.13%             2.00%
                       8/20/2013       0.13%             2.00%
                       8/21/2013       0.14%             2.00%
                       8/22/2013       0.14%             2.00%
                       8/23/2013       0.14%             2.00%
                       8/26/2013       0.13%             2.00%
                       8/27/2013       0.12%             2.00%
                       8/28/2013       0.14%             2.00%
                       8/29/2013       0.14%             2.00%
                       8/30/2013       0.13%             2.00%
                        9/3/2013       0.14%             2.00%
                        9/4/2013       0.14%             2.00%
                        9/5/2013       0.16%             2.00%
                        9/6/2013       0.14%             2.00%
                        9/9/2013       0.12%             2.00%
                       9/10/2013       0.13%             2.00%
                       9/11/2013       0.12%             2.00%
                       9/12/2013       0.13%             2.00%
                       9/13/2013       0.13%             2.00%
                       9/16/2013       0.13%             2.00%
                       9/17/2013       0.12%             2.00%
                       9/18/2013       0.11%             2.00%
                       9/19/2013       0.10%             2.00%
                       9/20/2013       0.11%             2.00%
                       9/23/2013       0.10%             2.00%
                       9/24/2013       0.10%             2.00%
                       9/25/2013       0.10%             2.00%
                       9/26/2013       0.09%             2.00%
                       9/27/2013       0.10%             2.00%
                       9/30/2013       0.10%             2.00%
                       10/1/2013       0.10%             2.00%
                       10/2/2013       0.11%             2.00%
                       10/3/2013       0.11%             2.00%
                       10/4/2013       0.11%             2.00%
                       10/7/2013       0.12%             2.00%
                       10/8/2013       0.15%             2.00%


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                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       10/9/2013       0.15%             2.00%
                      10/10/2013       0.14%             2.00%
                      10/11/2013       0.14%             2.00%
                      10/14/2013       0.14%             2.00%
                      10/15/2013       0.16%             2.00%
                      10/16/2013       0.15%             2.00%
                      10/17/2013       0.13%             2.00%
                      10/18/2013       0.12%             2.00%
                      10/21/2013       0.11%             2.00%
                      10/22/2013       0.10%             2.00%
                      10/23/2013       0.11%             2.00%
                      10/24/2013       0.12%             2.00%
                      10/25/2013       0.11%             2.00%
                      10/28/2013       0.11%             2.00%
                      10/29/2013       0.11%             2.00%
                      10/30/2013       0.11%             2.00%
                      10/31/2013       0.10%             2.00%
                       11/1/2013       0.10%             2.00%
                       11/4/2013       0.09%             2.00%
                       11/5/2013       0.10%             2.00%
                       11/6/2013       0.11%             2.00%
                       11/7/2013       0.11%             2.00%
                       11/8/2013       0.12%             2.00%
                      11/11/2013       0.12%             2.00%
                      11/12/2013       0.13%             2.00%
                      11/13/2013       0.13%             2.00%
                      11/14/2013       0.13%             2.00%
                      11/15/2013       0.13%             2.00%
                      11/18/2013       0.13%             2.00%
                      11/19/2013       0.14%             2.00%
                      11/20/2013       0.12%             2.00%
                      11/21/2013       0.12%             2.00%
                      11/22/2013       0.12%             2.00%
                      11/25/2013       0.14%             2.00%
                      11/26/2013       0.13%             2.00%
                      11/27/2013       0.13%             2.00%
                      11/29/2013       0.13%             2.00%


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                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       12/2/2013       0.13%             2.00%
                       12/3/2013       0.13%             2.00%
                       12/4/2013       0.14%             2.00%
                       12/5/2013       0.13%             2.00%
                       12/6/2013       0.13%             2.00%
                       12/9/2013       0.13%             2.00%
                      12/10/2013       0.14%             2.00%
                      12/11/2013       0.13%             2.00%
                      12/12/2013       0.14%             2.00%
                      12/13/2013       0.14%             2.00%
                      12/16/2013       0.13%             2.00%
                      12/17/2013       0.14%             2.00%
                      12/18/2013       0.13%             2.00%
                      12/19/2013       0.13%             2.00%
                      12/20/2013       0.13%             2.00%
                      12/23/2013       0.14%             2.00%
                      12/24/2013       0.14%             2.00%
                      12/26/2013       0.13%             2.00%
                      12/27/2013       0.12%             2.00%
                      12/30/2013       0.13%             2.00%
                      12/31/2013       0.13%             2.00%
                        1/2/2014       0.13%             2.00%
                        1/3/2014       0.13%             2.00%
                        1/6/2014       0.12%             2.00%
                        1/7/2014       0.13%             2.00%
                        1/8/2014       0.13%             2.00%
                        1/9/2014       0.13%             2.00%
                       1/10/2014       0.12%             2.00%
                       1/13/2014       0.11%             2.00%
                       1/14/2014       0.11%             2.00%
                       1/15/2014       0.13%             2.00%
                       1/16/2014       0.11%             2.00%
                       1/17/2014       0.11%             2.00%
                       1/21/2014       0.12%             2.00%
                       1/22/2014       0.11%             2.00%
                       1/23/2014       0.11%             2.00%
                       1/24/2014       0.11%             2.00%


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                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       1/27/2014       0.11%             2.00%
                       1/28/2014       0.11%             2.00%
                       1/29/2014       0.11%             2.00%
                       1/30/2014       0.10%             2.00%
                       1/31/2014       0.10%             2.00%
                        2/3/2014       0.11%             2.00%
                        2/4/2014       0.12%             2.00%
                        2/5/2014       0.12%             2.00%
                        2/6/2014       0.13%             2.00%
                        2/7/2014       0.12%             2.00%
                       2/10/2014       0.12%             2.00%
                       2/11/2014       0.12%             2.00%
                       2/12/2014       0.12%             2.00%
                       2/13/2014       0.12%             2.00%
                       2/14/2014       0.11%             2.00%
                       2/18/2014       0.12%             2.00%
                       2/19/2014       0.11%             2.00%
                       2/20/2014       0.12%             2.00%
                       2/21/2014       0.12%             2.00%
                       2/24/2014       0.11%             2.00%
                       2/25/2014       0.11%             2.00%
                       2/26/2014       0.11%             2.00%
                       2/27/2014       0.11%             2.00%
                       2/28/2014       0.12%             2.00%
                        3/3/2014       0.12%             2.00%
                        3/4/2014       0.12%             2.00%
                        3/5/2014       0.13%             2.00%
                        3/6/2014       0.12%             2.00%
                        3/7/2014       0.13%             2.00%
                       3/10/2014       0.12%             2.00%
                       3/11/2014       0.13%             2.00%
                       3/12/2014       0.12%             2.00%
                       3/13/2014       0.12%             2.00%
                       3/14/2014       0.12%             2.00%
                       3/17/2014       0.13%             2.00%
                       3/18/2014       0.13%             2.00%
                       3/19/2014       0.15%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       3/20/2014       0.14%             2.00%
                       3/21/2014       0.14%             2.00%
                       3/24/2014       0.14%             2.00%
                       3/25/2014       0.13%             2.00%
                       3/26/2014       0.12%             2.00%
                       3/27/2014       0.12%             2.00%
                       3/28/2014       0.13%             2.00%
                       3/31/2014       0.13%             2.00%
                        4/1/2014       0.13%             2.00%
                        4/2/2014       0.12%             2.00%
                        4/3/2014       0.11%             2.00%
                        4/4/2014       0.11%             2.00%
                        4/7/2014       0.11%             2.00%
                        4/8/2014       0.11%             2.00%
                        4/9/2014       0.10%             2.00%
                       4/10/2014       0.09%             2.00%
                       4/11/2014       0.09%             2.00%
                       4/14/2014       0.10%             2.00%
                       4/15/2014       0.11%             2.00%
                       4/16/2014       0.11%             2.00%
                       4/17/2014       0.11%             2.00%
                       4/21/2014       0.11%             2.00%
                       4/22/2014       0.11%             2.00%
                       4/23/2014       0.11%             2.00%
                       4/24/2014       0.10%             2.00%
                       4/25/2014       0.11%             2.00%
                       4/28/2014       0.10%             2.00%
                       4/29/2014       0.11%             2.00%
                       4/30/2014       0.11%             2.00%
                        5/1/2014       0.10%             2.00%
                        5/2/2014       0.10%             2.00%
                        5/5/2014       0.11%             2.00%
                        5/6/2014       0.10%             2.00%
                        5/7/2014       0.10%             2.00%
                        5/8/2014       0.10%             2.00%
                        5/9/2014       0.10%             2.00%
                       5/12/2014       0.09%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       5/13/2014       0.10%             2.00%
                       5/14/2014       0.10%             2.00%
                       5/15/2014       0.09%             2.00%
                       5/16/2014       0.09%             2.00%
                       5/19/2014       0.09%             2.00%
                       5/20/2014       0.09%             2.00%
                       5/21/2014       0.09%             2.00%
                       5/22/2014       0.09%             2.00%
                       5/23/2014       0.10%             2.00%
                       5/27/2014       0.09%             2.00%
                       5/28/2014       0.10%             2.00%
                       5/29/2014       0.10%             2.00%
                       5/30/2014       0.10%             2.00%
                        6/2/2014       0.10%             2.00%
                        6/3/2014       0.10%             2.00%
                        6/4/2014       0.10%             2.00%
                        6/5/2014       0.10%             2.00%
                        6/6/2014       0.11%             2.00%
                        6/9/2014       0.11%             2.00%
                       6/10/2014       0.11%             2.00%
                       6/11/2014       0.11%             2.00%
                       6/12/2014       0.10%             2.00%
                       6/13/2014       0.11%             2.00%
                       6/16/2014       0.11%             2.00%
                       6/17/2014       0.11%             2.00%
                       6/18/2014       0.10%             2.00%
                       6/19/2014       0.09%             2.00%
                       6/20/2014       0.09%             2.00%
                       6/23/2014       0.10%             2.00%
                       6/24/2014       0.12%             2.00%
                       6/25/2014       0.11%             2.00%
                       6/26/2014       0.11%             2.00%
                       6/27/2014       0.10%             2.00%
                       6/30/2014       0.11%             2.00%
                        7/1/2014       0.11%             2.00%
                        7/2/2014       0.12%             2.00%
                        7/3/2014       0.11%             2.00%


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Case3:15-cv-07658-MAS-LHG
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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                        7/7/2014       0.12%             2.00%
                        7/8/2014       0.11%             2.00%
                        7/9/2014       0.11%             2.00%
                       7/10/2014       0.10%             2.00%
                       7/11/2014       0.11%             2.00%
                       7/14/2014       0.11%             2.00%
                       7/15/2014       0.11%             2.00%
                       7/16/2014       0.11%             2.00%
                       7/17/2014       0.10%             2.00%
                       7/18/2014       0.10%             2.00%
                       7/21/2014       0.11%             2.00%
                       7/22/2014       0.11%             2.00%
                       7/23/2014       0.11%             2.00%
                       7/24/2014       0.11%             2.00%
                       7/25/2014       0.11%             2.00%
                       7/28/2014       0.11%             2.00%
                       7/29/2014       0.12%             2.00%
                       7/30/2014       0.13%             2.00%
                       7/31/2014       0.12%             2.00%
                        8/1/2014       0.13%             2.00%
                        8/4/2014       0.12%             2.00%
                        8/5/2014       0.12%             2.00%
                        8/6/2014       0.11%             2.00%
                        8/7/2014       0.11%             2.00%
                        8/8/2014       0.10%             2.00%
                       8/11/2014       0.10%             2.00%
                       8/12/2014       0.10%             2.00%
                       8/13/2014       0.10%             2.00%
                       8/14/2014       0.10%             2.00%
                       8/15/2014       0.09%             2.00%
                       8/18/2014       0.10%             2.00%
                       8/19/2014       0.11%             2.00%
                       8/20/2014       0.12%             2.00%
                       8/21/2014       0.10%             2.00%
                       8/22/2014       0.10%             2.00%
                       8/25/2014       0.11%             2.00%
                       8/26/2014       0.12%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       8/27/2014       0.11%             2.00%
                       8/28/2014       0.11%             2.00%
                       8/29/2014       0.09%             2.00%
                        9/2/2014       0.10%             2.00%
                        9/3/2014       0.11%             2.00%
                        9/4/2014       0.10%             2.00%
                        9/5/2014       0.10%             2.00%
                        9/8/2014       0.10%             2.00%
                        9/9/2014       0.11%             2.00%
                       9/10/2014       0.11%             2.00%
                       9/11/2014       0.11%             2.00%
                       9/12/2014       0.11%             2.00%
                       9/15/2014       0.11%             2.00%
                       9/16/2014       0.13%             2.00%
                       9/17/2014       0.12%             2.00%
                       9/18/2014       0.12%             2.00%
                       9/19/2014       0.11%             2.00%
                       9/22/2014       0.10%             2.00%
                       9/23/2014       0.10%             2.00%
                       9/24/2014       0.11%             2.00%
                       9/25/2014       0.10%             2.00%
                       9/26/2014       0.11%             2.00%
                       9/29/2014       0.11%             2.00%
                       9/30/2014       0.13%             2.00%
                       10/1/2014       0.10%             2.00%
                       10/2/2014       0.10%             2.00%
                       10/3/2014       0.11%             2.00%
                       10/6/2014       0.11%             2.00%
                       10/7/2014       0.10%             2.00%
                       10/8/2014       0.10%             2.00%
                       10/9/2014       0.10%             2.00%
                      10/10/2014       0.10%             2.00%
                      10/13/2014       0.10%             2.00%
                      10/14/2014       0.09%             2.00%
                      10/15/2014       0.10%             2.00%
                      10/16/2014       0.10%             2.00%
                      10/17/2014       0.11%             2.00%


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                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                      10/20/2014       0.10%             2.00%
                      10/21/2014       0.10%             2.00%
                      10/22/2014       0.11%             2.00%
                      10/23/2014       0.11%             2.00%
                      10/24/2014       0.11%             2.00%
                      10/27/2014       0.11%             2.00%
                      10/28/2014       0.11%             2.00%
                      10/29/2014       0.11%             2.00%
                      10/30/2014       0.11%             2.00%
                      10/31/2014       0.11%             2.00%
                       11/3/2014       0.12%             2.00%
                       11/4/2014       0.11%             2.00%
                       11/5/2014       0.11%             2.00%
                       11/6/2014       0.12%             2.00%
                       11/7/2014       0.12%             2.00%
                      11/10/2014       0.13%             2.00%
                      11/11/2014       0.13%             2.00%
                      11/12/2014       0.14%             2.00%
                      11/13/2014       0.15%             2.00%
                      11/14/2014       0.15%             2.00%
                      11/17/2014       0.15%             2.00%
                      11/18/2014       0.14%             2.00%
                      11/19/2014       0.15%             2.00%
                      11/20/2014       0.14%             2.00%
                      11/21/2014       0.14%             2.00%
                      11/24/2014       0.14%             2.00%
                      11/25/2014       0.14%             2.00%
                      11/26/2014       0.14%             2.00%
                      11/28/2014       0.13%             2.00%
                       12/1/2014       0.13%             2.00%
                       12/2/2014       0.14%             2.00%
                       12/3/2014       0.15%             2.00%
                       12/4/2014       0.14%             2.00%
                       12/5/2014       0.18%             2.00%
                       12/8/2014       0.18%             2.00%
                       12/9/2014       0.23%             2.00%
                      12/10/2014       0.21%             2.00%


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                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                      12/11/2014       0.21%             2.00%
                      12/12/2014       0.19%             2.00%
                      12/15/2014       0.22%             2.00%
                      12/16/2014       0.21%             2.00%
                      12/17/2014       0.23%             2.00%
                      12/18/2014       0.25%             2.00%
                      12/19/2014       0.26%             2.00%
                      12/22/2014       0.28%             2.00%
                      12/23/2014       0.26%             2.00%
                      12/24/2014       0.26%             2.00%
                      12/26/2014       0.26%             2.00%
                      12/29/2014       0.25%             2.00%
                      12/30/2014       0.23%             2.00%
                      12/31/2014       0.25%             2.00%
                        1/2/2015       0.25%             2.00%
                        1/5/2015       0.26%             2.00%
                        1/6/2015       0.25%             2.00%
                        1/7/2015       0.25%             2.00%
                        1/8/2015       0.23%             2.00%
                        1/9/2015       0.22%             2.00%
                       1/12/2015       0.19%             2.00%
                       1/13/2015       0.20%             2.00%
                       1/14/2015       0.18%             2.00%
                       1/15/2015       0.16%             2.00%
                       1/16/2015       0.17%             2.00%
                       1/20/2015       0.17%             2.00%
                       1/21/2015       0.17%             2.00%
                       1/22/2015       0.17%             2.00%
                       1/23/2015       0.17%             2.00%
                       1/26/2015       0.18%             2.00%
                       1/27/2015       0.17%             2.00%
                       1/28/2015       0.17%             2.00%
                       1/29/2015       0.17%             2.00%
                       1/30/2015       0.18%             2.00%
                        2/2/2015       0.17%             2.00%
                        2/3/2015       0.21%             2.00%
                        2/4/2015       0.20%             2.00%


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                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                        2/5/2015       0.20%             2.00%
                        2/6/2015       0.26%             2.00%
                        2/9/2015       0.24%             2.00%
                       2/10/2015       0.25%             2.00%
                       2/11/2015       0.24%             2.00%
                       2/12/2015       0.23%             2.00%
                       2/13/2015       0.23%             2.00%
                       2/17/2015       0.25%             2.00%
                       2/18/2015       0.23%             2.00%
                       2/19/2015       0.23%             2.00%
                       2/20/2015       0.23%             2.00%
                       2/23/2015       0.22%             2.00%
                       2/24/2015       0.22%             2.00%
                       2/25/2015       0.21%             2.00%
                       2/26/2015       0.22%             2.00%
                       2/27/2015       0.22%             2.00%
                        3/2/2015       0.22%             2.00%
                        3/3/2015       0.26%             2.00%
                        3/4/2015       0.26%             2.00%
                        3/5/2015       0.25%             2.00%
                        3/6/2015       0.27%             2.00%
                        3/9/2015       0.27%             2.00%
                       3/10/2015       0.25%             2.00%
                       3/11/2015       0.25%             2.00%
                       3/12/2015       0.24%             2.00%
                       3/13/2015       0.24%             2.00%
                       3/16/2015       0.26%             2.00%
                       3/17/2015       0.27%             2.00%
                       3/18/2015       0.23%             2.00%
                       3/19/2015       0.26%             2.00%
                       3/20/2015       0.24%             2.00%
                       3/23/2015       0.24%             2.00%
                       3/24/2015       0.24%             2.00%
                       3/25/2015       0.25%             2.00%
                       3/26/2015       0.28%             2.00%
                       3/27/2015       0.27%             2.00%
                       3/30/2015       0.27%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       3/31/2015       0.26%             2.00%
                        4/1/2015       0.27%             2.00%
                        4/2/2015       0.25%             2.00%
                        4/6/2015       0.21%             2.00%
                        4/7/2015       0.22%             2.00%
                        4/8/2015       0.22%             2.00%
                        4/9/2015       0.22%             2.00%
                       4/10/2015       0.24%             2.00%
                       4/13/2015       0.23%             2.00%
                       4/14/2015       0.23%             2.00%
                       4/15/2015       0.23%             2.00%
                       4/16/2015       0.22%             2.00%
                       4/17/2015       0.23%             2.00%
                       4/20/2015       0.24%             2.00%
                       4/21/2015       0.23%             2.00%
                       4/22/2015       0.23%             2.00%
                       4/23/2015       0.24%             2.00%
                       4/24/2015       0.24%             2.00%
                       4/27/2015       0.25%             2.00%
                       4/28/2015       0.24%             2.00%
                       4/29/2015       0.25%             2.00%
                       4/30/2015       0.24%             2.00%
                        5/1/2015       0.25%             2.00%
                        5/4/2015       0.25%             2.00%
                        5/5/2015       0.24%             2.00%
                        5/6/2015       0.25%             2.00%
                        5/7/2015       0.24%             2.00%
                        5/8/2015       0.23%             2.00%
                       5/11/2015       0.25%             2.00%
                       5/12/2015       0.25%             2.00%
                       5/13/2015       0.24%             2.00%
                       5/14/2015       0.23%             2.00%
                       5/15/2015       0.23%             2.00%
                       5/18/2015       0.22%             2.00%
                       5/19/2015       0.23%             2.00%
                       5/20/2015       0.23%             2.00%
                       5/21/2015       0.22%             2.00%


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Case3:15-cv-07658-MAS-LHG
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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       5/22/2015       0.23%             2.00%
                       5/26/2015       0.24%             2.00%
                       5/27/2015       0.27%             2.00%
                       5/28/2015       0.26%             2.00%
                       5/29/2015       0.26%             2.00%
                        6/1/2015       0.26%             2.00%
                        6/2/2015       0.26%             2.00%
                        6/3/2015       0.26%             2.00%
                        6/4/2015       0.27%             2.00%
                        6/5/2015       0.29%             2.00%
                        6/8/2015       0.27%             2.00%
                        6/9/2015       0.27%             2.00%
                       6/10/2015       0.28%             2.00%
                       6/11/2015       0.28%             2.00%
                       6/12/2015       0.28%             2.00%
                       6/15/2015       0.28%             2.00%
                       6/16/2015       0.28%             2.00%
                       6/17/2015       0.27%             2.00%
                       6/18/2015       0.26%             2.00%
                       6/19/2015       0.25%             2.00%
                       6/22/2015       0.27%             2.00%
                       6/23/2015       0.30%             2.00%
                       6/24/2015       0.30%             2.00%
                       6/25/2015       0.29%             2.00%
                       6/26/2015       0.29%             2.00%
                       6/29/2015       0.27%             2.00%
                       6/30/2015       0.28%             2.00%
                        7/1/2015       0.28%             2.00%
                        7/2/2015       0.26%             2.00%
                        7/6/2015       0.26%             2.00%
                        7/7/2015       0.25%             2.00%
                        7/8/2015       0.24%             2.00%
                        7/9/2015       0.25%             2.00%
                       7/10/2015       0.28%             2.00%
                       7/13/2015       0.28%             2.00%
                       7/14/2015       0.27%             2.00%
                       7/15/2015       0.28%             2.00%


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                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       7/16/2015       0.29%             2.00%
                       7/17/2015       0.29%             2.00%
                       7/20/2015       0.31%             2.00%
                       7/21/2015       0.34%             2.00%
                       7/22/2015       0.34%             2.00%
                       7/23/2015       0.33%             2.00%
                       7/24/2015       0.32%             2.00%
                       7/27/2015       0.32%             2.00%
                       7/28/2015       0.32%             2.00%
                       7/29/2015       0.33%             2.00%
                       7/30/2015       0.36%             2.00%
                       7/31/2015       0.33%             2.00%
                        8/3/2015       0.33%             2.00%
                        8/4/2015       0.37%             2.00%
                        8/5/2015       0.38%             2.00%
                        8/6/2015       0.35%             2.00%
                        8/7/2015       0.38%             2.00%
                       8/10/2015       0.40%             2.00%
                       8/11/2015       0.37%             2.00%
                       8/12/2015       0.37%             2.00%
                       8/13/2015       0.40%             2.00%
                       8/14/2015       0.41%             2.00%
                       8/17/2015       0.40%             2.00%
                       8/18/2015       0.42%             2.00%
                       8/19/2015       0.39%             2.00%
                       8/20/2015       0.39%             2.00%
                       8/21/2015       0.36%             2.00%
                       8/24/2015       0.33%             2.00%
                       8/25/2015       0.36%             2.00%
                       8/26/2015       0.35%             2.00%
                       8/27/2015       0.36%             2.00%
                       8/28/2015       0.38%             2.00%
                       8/31/2015       0.39%             2.00%
                        9/1/2015       0.39%             2.00%
                        9/2/2015       0.37%             2.00%
                        9/3/2015       0.36%             2.00%
                        9/4/2015       0.36%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                        9/8/2015       0.39%             2.00%
                        9/9/2015       0.39%             2.00%
                       9/10/2015       0.39%             2.00%
                       9/11/2015       0.40%             2.00%
                       9/14/2015       0.40%             2.00%
                       9/15/2015       0.47%             2.00%
                       9/16/2015       0.46%             2.00%
                       9/17/2015       0.39%             2.00%
                       9/18/2015       0.35%             2.00%
                       9/21/2015       0.36%             2.00%
                       9/22/2015       0.35%             2.00%
                       9/23/2015       0.34%             2.00%
                       9/24/2015       0.32%             2.00%
                       9/25/2015       0.35%             2.00%
                       9/28/2015       0.34%             2.00%
                       9/29/2015       0.33%             2.00%
                       9/30/2015       0.33%             2.00%
                       10/1/2015       0.31%             2.00%
                       10/2/2015       0.25%             2.00%
                       10/5/2015       0.26%             2.00%
                       10/6/2015       0.26%             2.00%
                       10/7/2015       0.27%             2.00%
                       10/8/2015       0.27%             2.00%
                       10/9/2015       0.28%             2.00%
                      10/12/2015       0.28%             2.00%
                      10/13/2015       0.27%             2.00%
                      10/14/2015       0.21%             2.00%
                      10/15/2015       0.22%             2.00%
                      10/16/2015       0.23%             2.00%
                      10/19/2015       0.23%             2.00%
                      10/20/2015       0.23%             2.00%
                      10/21/2015       0.23%             2.00%
                      10/22/2015       0.23%             2.00%
                      10/23/2015       0.24%             2.00%
                      10/26/2015       0.25%             2.00%
                      10/27/2015       0.29%             2.00%
                      10/28/2015       0.33%             2.00%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                      10/29/2015       0.33%             2.00%
                      10/30/2015       0.34%             2.00%
                       11/2/2015       0.37%             2.00%
                       11/3/2015       0.39%             2.00%
                       11/4/2015       0.40%             2.00%
                       11/5/2015       0.42%             2.00%
                       11/6/2015       0.47%             2.00%
                       11/9/2015       0.47%             2.00%
                      11/10/2015       0.51%             2.00%
                      11/11/2015       0.51%             2.00%
                      11/12/2015       0.51%             2.00%
                      11/13/2015       0.50%             2.00%
                      11/16/2015       0.50%             2.00%
                      11/17/2015       0.50%             2.00%
                      11/18/2015       0.49%             2.00%
                      11/19/2015       0.49%             2.00%
                      11/20/2015       0.49%             2.00%
                      11/23/2015       0.50%             2.00%
                      11/24/2015       0.52%             2.00%
                      11/25/2015       0.52%             2.00%
                      11/27/2015       0.50%             2.00%
                      11/30/2015       0.51%             2.00%
                       12/1/2015       0.51%             2.00%
                       12/2/2015       0.52%             2.00%
                       12/3/2015       0.57%             2.00%
                       12/4/2015       0.60%             2.00%
                       12/7/2015       0.67%             2.00%
                       12/8/2015       0.76%             2.00%
                       12/9/2015       0.72%             2.00%
                      12/10/2015       0.71%             2.00%
                      12/11/2015       0.68%             2.00%
                      12/14/2015       0.68%             2.00%
                      12/15/2015       0.69%             2.00%
                      12/16/2015       0.70%             2.25%
                      12/17/2015       0.69%             2.25%
                      12/18/2015       0.67%             2.25%
                      12/21/2015       0.64%             2.25%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                      12/22/2015       0.66%             2.25%
                      12/23/2015       0.65%             2.25%
                      12/24/2015       0.64%             2.25%
                      12/28/2015       0.66%             2.25%
                      12/29/2015       0.67%             2.25%
                      12/30/2015       0.64%             2.25%
                      12/31/2015       0.65%             2.25%
                        1/4/2016       0.61%             2.25%
                        1/5/2016       0.68%             2.25%
                        1/6/2016       0.67%             2.25%
                        1/7/2016       0.66%             2.25%
                        1/8/2016       0.64%             2.25%
                       1/11/2016       0.63%             2.25%
                       1/12/2016       0.62%             2.25%
                       1/13/2016       0.60%             2.25%
                       1/14/2016       0.55%             2.25%
                       1/15/2016       0.49%             2.25%
                       1/19/2016       0.48%             2.25%
                       1/20/2016       0.43%             2.25%
                       1/21/2016       0.44%             2.25%
                       1/22/2016       0.47%             2.25%
                       1/25/2016       0.47%             2.25%
                       1/26/2016       0.47%             2.25%
                       1/27/2016       0.47%             2.25%
                       1/28/2016       0.47%             2.25%
                       1/29/2016       0.47%             2.25%
                        2/1/2016       0.47%             2.25%
                        2/2/2016       0.54%             2.25%
                        2/3/2016       0.54%             2.25%
                        2/4/2016       0.52%             2.25%
                        2/5/2016       0.55%             2.25%
                        2/8/2016       0.51%             2.25%
                        2/9/2016       0.52%             2.25%
                       2/10/2016       0.52%             2.25%
                       2/11/2016       0.47%             2.25%
                       2/12/2016       0.51%             2.25%
                       2/16/2016       0.51%             2.25%


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                                      Exhibit-8
                                    Interest Rates
                        3 January 2012 through 15 March 2016
                                      1-Year         Broker-Dealer
                       Date        Treasury Rate      Index Rate

                       2/17/2016       0.53%             2.25%
                       2/18/2016       0.53%             2.25%
                       2/19/2016       0.53%             2.25%
                       2/22/2016       0.55%             2.25%
                       2/23/2016       0.55%             2.25%
                       2/24/2016       0.55%             2.25%
                       2/25/2016       0.56%             2.25%
                       2/26/2016       0.60%             2.25%
                       2/29/2016       0.62%             2.25%
                        3/1/2016       0.68%             2.25%
                        3/2/2016       0.67%             2.25%
                        3/3/2016       0.65%             2.25%
                        3/4/2016       0.67%             2.25%
                        3/7/2016       0.67%             2.25%
                        3/8/2016       0.68%             2.25%
                        3/9/2016       0.68%             2.25%
                       3/10/2016       0.69%             2.25%
                       3/11/2016       0.70%             2.25%
                       3/14/2016       0.70%             2.25%
                       3/15/2016       0.71%             2.25%

                     Sources: Federal Reserve Economic Data and
                                     Bloomberg.




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                                        Exhibit-9
              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                     Synthetic
                                                                       Stock
                       Synthetic Bid Synthetic Ask     Synthetic    Logarithmic
           Date           Price          Price        Stock Price     Return

            1/3/2012      $46.34         $49.31          $47.82
            1/4/2012      $45.20         $48.59          $46.90       -1.96%
            1/5/2012      $45.33         $48.46          $46.89       -0.01%
            1/6/2012      $46.34         $47.97          $47.16        0.56%
            1/9/2012      $47.10         $49.70          $48.40        2.60%
           1/10/2012      $48.68         $51.06          $49.87        2.99%
           1/11/2012      $47.64         $50.18          $48.91       -1.94%
           1/12/2012      $47.70         $50.20          $48.95        0.08%
           1/13/2012      $47.53         $50.26          $48.90       -0.11%
           1/17/2012      $49.54         $51.58          $50.56        3.35%
           1/18/2012      $49.64         $52.18          $50.91        0.69%
           1/19/2012      $49.77         $52.40          $51.08        0.34%
           1/20/2012      $49.77         $52.02          $50.89       -0.38%
           1/23/2012      $49.36         $51.79          $50.58       -0.63%
           1/24/2012      $48.44         $50.98          $49.71       -1.73%
           1/25/2012      $48.84         $51.51          $50.18        0.94%
           1/26/2012      $47.75         $50.90          $49.33       -1.70%
           1/27/2012      $47.79         $50.12          $48.95       -0.76%
           1/30/2012      $47.14         $49.94          $48.54       -0.86%
           1/31/2012      $46.91         $49.77          $48.34       -0.41%
            2/1/2012      $48.53         $51.64          $50.08        3.54%
            2/2/2012      $48.73         $51.23          $49.98       -0.20%
            2/3/2012      $49.24         $51.94          $50.59        1.22%
            2/6/2012      $48.88         $51.43          $50.15       -0.87%
            2/7/2012      $48.76         $50.98          $49.87       -0.57%
            2/8/2012      $48.52         $50.63          $49.57       -0.60%
            2/9/2012      $47.25         $49.93          $48.59       -2.00%
           2/10/2012      $46.61         $48.97          $47.79       -1.66%
           2/13/2012      $47.05         $49.27          $48.16        0.78%
           2/14/2012      $47.29         $49.63          $48.46        0.62%
           2/15/2012      $46.90         $49.57          $48.24       -0.46%
           2/16/2012      $46.78         $49.00          $47.89       -0.72%
           2/17/2012      $46.42         $48.67          $47.55       -0.72%
           2/21/2012      $45.02         $47.42          $46.22       -2.83%
           2/22/2012      $45.11         $47.28          $46.19       -0.06%
           2/23/2012      $45.73         $48.29          $47.01        1.75%


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                                        Exhibit-9
              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           2/24/2012      $46.85         $48.76          $47.80         1.67%
           2/27/2012      $49.15         $51.41          $50.28         5.04%
           2/28/2012      $49.82         $51.96          $50.89         1.22%
           2/29/2012      $51.55         $53.86          $52.71         3.50%
            3/1/2012      $52.43         $54.95          $53.69         1.85%
            3/2/2012      $52.87         $54.67          $53.77         0.15%
            3/5/2012      $52.38         $55.30          $53.84         0.13%
            3/6/2012      $52.38         $55.01          $53.69        -0.28%
            3/7/2012      $52.80         $55.41          $54.10         0.76%
            3/8/2012      $54.01         $55.99          $55.00         1.65%
            3/9/2012      $54.31         $56.47          $55.39         0.70%
           3/12/2012      $53.42         $55.58          $54.50        -1.61%
           3/13/2012      $53.01         $55.41          $54.21        -0.55%
           3/14/2012      $52.58         $54.73          $53.66        -1.02%
           3/15/2012      $53.27         $55.46          $54.36         1.31%
           3/16/2012      $52.50         $54.78          $53.64        -1.34%
           3/19/2012      $52.56         $54.76          $53.66         0.04%
           3/20/2012      $52.00         $54.05          $53.03        -1.20%
           3/21/2012      $52.34         $54.62          $53.48         0.85%
           3/22/2012      $51.75         $53.75          $52.75        -1.37%
           3/23/2012      $52.27         $54.49          $53.38         1.18%
           3/26/2012      $53.33         $55.48          $54.40         1.91%
           3/27/2012      $53.15         $55.13          $54.14        -0.49%
           3/28/2012      $52.41         $54.44          $53.42        -1.33%
           3/29/2012      $52.47         $54.53          $53.50         0.15%
           3/30/2012      $52.67         $54.76          $53.72         0.40%
            4/2/2012      $53.38         $55.51          $54.44         1.34%
            4/3/2012      $53.24         $55.45          $54.35        -0.18%
            4/4/2012      $52.93         $54.96          $53.94        -0.74%
            4/5/2012      $53.53         $55.39          $54.46         0.95%
            4/9/2012      $52.98         $54.67          $53.83        -1.17%
           4/10/2012      $51.90         $53.86          $52.88        -1.78%
           4/11/2012      $51.24         $53.96          $52.60        -0.53%
           4/12/2012      $51.83         $54.54          $53.18         1.10%
           4/13/2012      $51.16         $54.41          $52.78        -0.76%
           4/16/2012      $51.74         $54.91          $53.33         1.03%


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                                        Exhibit-9
              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           4/17/2012      $52.62         $55.91          $54.27         1.75%
           4/18/2012      $53.23         $56.26          $54.75         0.88%
           4/19/2012      $53.25         $56.64          $54.95         0.36%
           4/20/2012      $53.92         $56.52          $55.22         0.49%
           4/23/2012      $53.12         $55.89          $54.51        -1.30%
           4/24/2012      $53.49         $56.84          $55.16         1.20%
           4/25/2012      $54.12         $57.54          $55.83         1.20%
           4/26/2012      $54.11         $57.25          $55.68        -0.27%
           4/27/2012      $54.25         $57.37          $55.81         0.23%
           4/30/2012      $54.02         $57.17          $55.59        -0.38%
            5/1/2012      $54.33         $57.45          $55.89         0.54%
            5/2/2012      $54.30         $57.73          $56.02         0.22%
            5/3/2012      $49.43         $52.65          $51.04        -9.31%
            5/4/2012      $49.32         $52.49          $50.91        -0.26%
            5/7/2012      $50.51         $53.55          $52.03         2.18%
            5/8/2012      $50.43         $52.86          $51.65        -0.74%
            5/9/2012      $50.60         $53.83          $52.22         1.10%
           5/10/2012      $51.12         $54.15          $52.63         0.79%
           5/11/2012      $51.44         $54.75          $53.10         0.88%
           5/14/2012      $49.86         $52.37          $51.11        -3.81%
           5/15/2012      $48.52         $51.41          $49.97        -2.27%
           5/16/2012      $47.73         $50.72          $49.22        -1.50%
           5/17/2012      $46.85         $49.75          $48.30        -1.90%
           5/18/2012      $45.94         $48.70          $47.32        -2.05%
           5/21/2012      $45.66         $48.56          $47.11        -0.44%
           5/22/2012      $45.92         $48.78          $47.35         0.50%
           5/23/2012      $45.09         $47.74          $46.42        -2.00%
           5/24/2012      $46.09         $48.58          $47.33         1.96%
           5/25/2012      $46.90         $49.65          $48.28         1.98%
           5/29/2012      $46.81         $49.76          $48.29         0.02%
           5/30/2012      $46.11         $49.07          $47.59        -1.45%
           5/31/2012      $47.00         $49.55          $48.28         1.43%
            6/1/2012      $45.46         $48.37          $46.92        -2.87%
            6/4/2012      $44.97         $47.82          $46.39        -1.12%
            6/5/2012      $45.68         $48.59          $47.14         1.59%
            6/6/2012      $46.54         $49.46          $48.00         1.82%


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                                        Exhibit-9
              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

            6/7/2012      $47.43         $49.49          $48.46         0.95%
            6/8/2012      $46.63         $49.49          $48.06        -0.83%
           6/11/2012      $45.43         $48.32          $46.88        -2.49%
           6/12/2012      $44.01         $47.03          $45.52        -2.94%
           6/13/2012      $43.74         $46.35          $45.05        -1.04%
           6/14/2012      $44.02         $46.95          $45.48         0.96%
           6/15/2012      $43.59         $46.92          $45.25        -0.50%
           6/18/2012      $44.54         $47.45          $46.00         1.63%
           6/19/2012      $45.94         $48.78          $47.36         2.91%
           6/20/2012      $46.64         $49.62          $48.13         1.62%
           6/21/2012      $44.08         $47.17          $45.62        -5.34%
           6/22/2012      $45.09         $47.78          $46.43         1.76%
           6/25/2012      $44.36         $47.21          $45.78        -1.41%
           6/26/2012      $44.14         $47.09          $45.62        -0.36%
           6/27/2012      $44.00         $46.73          $45.36        -0.56%
           6/28/2012      $42.01         $44.86          $43.44        -4.34%
           6/29/2012      $43.55         $45.94          $44.75         2.97%
            7/2/2012      $43.53         $46.04          $44.79         0.09%
            7/3/2012      $45.39         $48.13          $46.76         4.31%
            7/5/2012      $45.53         $48.09          $46.81         0.11%
            7/6/2012      $44.84         $47.45          $46.15        -1.43%
            7/9/2012      $44.94         $47.16          $46.05        -0.21%
           7/10/2012      $43.84         $46.62          $45.23        -1.79%
           7/11/2012      $43.43         $46.23          $44.83        -0.89%
           7/12/2012      $43.41         $45.88          $44.64        -0.43%
           7/13/2012      $43.65         $46.50          $45.07         0.96%
           7/16/2012      $43.65         $46.45          $45.05        -0.05%
           7/17/2012      $44.88         $47.74          $46.31         2.76%
           7/18/2012      $46.07         $49.10          $47.59         2.71%
           7/19/2012      $46.45         $49.41          $47.93         0.73%
           7/20/2012      $46.26         $48.54          $47.40        -1.13%
           7/23/2012      $44.50         $47.07          $45.79        -3.45%
           7/24/2012      $44.78         $47.47          $46.13         0.74%
           7/25/2012      $45.19         $48.03          $46.61         1.05%
           7/26/2012      $45.89         $48.85          $47.37         1.61%
           7/27/2012      $47.00         $50.37          $48.68         2.74%


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                                        Exhibit-9
              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           7/30/2012      $47.39         $50.12          $48.75         0.14%
           7/31/2012      $46.19         $49.29          $47.74        -2.10%
            8/1/2012      $45.24         $48.58          $46.91        -1.76%
            8/2/2012      $45.53         $48.49          $47.01         0.22%
            8/3/2012      $46.52         $49.65          $48.08         2.25%
            8/6/2012      $46.93         $49.31          $48.12         0.08%
            8/7/2012      $48.35         $51.19          $49.77         3.37%
            8/8/2012      $48.47         $51.04          $49.75        -0.03%
            8/9/2012      $48.63         $51.15          $49.89         0.26%
           8/10/2012      $48.67         $51.11          $49.89         0.00%
           8/13/2012      $48.68         $51.15          $49.92         0.06%
           8/14/2012      $49.29         $51.89          $50.59         1.34%
           8/15/2012      $49.32         $52.20          $50.76         0.33%
           8/16/2012      $49.23         $51.83          $50.53        -0.46%
           8/17/2012      $49.73         $52.53          $51.13         1.18%
           8/20/2012      $50.85         $53.46          $52.15         1.98%
           8/21/2012      $51.15         $53.73          $52.44         0.55%
           8/22/2012      $50.49         $53.19          $51.84        -1.15%
           8/23/2012      $50.09         $52.73          $51.41        -0.83%
           8/24/2012      $50.66         $52.96          $51.81         0.76%
           8/27/2012      $50.58         $52.81          $51.69        -0.22%
           8/28/2012      $50.30         $52.74          $51.52        -0.34%
           8/29/2012      $50.60         $52.62          $51.61         0.18%
           8/30/2012      $50.19         $52.29          $51.24        -0.72%
           8/31/2012      $49.81         $52.53          $51.17        -0.14%
            9/4/2012      $57.69         $59.74          $58.72        13.76%
            9/5/2012      $57.58         $60.10          $58.84         0.21%
            9/6/2012      $58.36         $60.86          $59.61         1.30%
            9/7/2012      $58.54         $60.87          $59.70         0.16%
           9/10/2012      $58.27         $60.22          $59.24        -0.78%
           9/11/2012      $57.13         $59.35          $58.24        -1.70%
           9/12/2012      $57.20         $59.33          $58.27         0.04%
           9/13/2012      $57.17         $59.73          $58.45         0.32%
           9/14/2012      $54.89         $57.94          $56.41        -3.55%
           9/17/2012      $54.37         $57.06          $55.72        -1.24%
           9/18/2012      $53.66         $57.19          $55.43        -0.52%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           9/19/2012      $53.97         $57.07          $55.52         0.17%
           9/20/2012      $53.84         $56.92          $55.38        -0.26%
           9/21/2012      $53.85         $56.70          $55.27        -0.19%
           9/24/2012      $53.25         $56.01          $54.63        -1.16%
           9/25/2012      $53.70         $57.33          $55.52         1.60%
           9/26/2012      $53.60         $56.40          $55.00        -0.94%
           9/27/2012      $53.50         $56.80          $55.15         0.27%
           9/28/2012      $53.13         $56.58          $54.86        -0.53%
           10/1/2012      $54.34         $57.70          $56.02         2.10%
           10/2/2012      $53.97         $57.31          $55.64        -0.68%
           10/3/2012      $54.81         $58.31          $56.56         1.65%
           10/4/2012      $54.97         $58.30          $56.63         0.12%
           10/5/2012      $55.03         $58.26          $56.64         0.02%
           10/8/2012      $54.63         $57.66          $56.14        -0.89%
           10/9/2012      $54.39         $57.31          $55.85        -0.52%
          10/10/2012      $53.68         $56.72          $55.20        -1.17%
          10/11/2012      $54.51         $57.39          $55.95         1.35%
          10/12/2012      $53.91         $57.09          $55.50        -0.82%
          10/15/2012      $54.52         $57.48          $56.00         0.89%
          10/16/2012      $55.63         $58.86          $57.25         2.21%
          10/17/2012      $57.05         $59.78          $58.42         2.02%
          10/18/2012      $56.40         $59.54          $57.97        -0.76%
          10/19/2012      $55.07         $58.27          $56.67        -2.27%
          10/22/2012      $54.23         $57.28          $55.76        -1.62%
          10/23/2012      $52.91         $55.95          $54.43        -2.41%
          10/24/2012      $53.17         $56.33          $54.75         0.58%
          10/25/2012      $53.65         $56.58          $55.11         0.66%
          10/26/2012      $53.94         $56.94          $55.44         0.59%
          10/31/2012      $53.99         $57.69          $55.84         0.72%
           11/1/2012      $54.41         $58.43          $56.42         1.03%
           11/2/2012      $55.01         $57.53          $56.27        -0.27%
           11/5/2012      $53.78         $56.86          $55.32        -1.70%
           11/6/2012      $52.50         $55.49          $53.99        -2.42%
           11/7/2012      $51.55         $54.68          $53.12        -1.64%
           11/8/2012      $52.27         $55.04          $53.66         1.01%
           11/9/2012      $51.55         $56.13          $53.84         0.35%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

          11/12/2012      $52.99         $56.06          $54.53         1.27%
          11/13/2012      $52.98         $56.00          $54.49        -0.07%
          11/14/2012      $51.85         $55.64          $53.75        -1.37%
          11/15/2012      $50.91         $54.75          $52.83        -1.72%
          11/16/2012      $52.53         $56.11          $54.32         2.78%
          11/19/2012      $53.47         $56.86          $55.16         1.55%
          11/20/2012      $53.14         $56.31          $54.73        -0.80%
          11/21/2012      $53.06         $56.35          $54.70        -0.04%
          11/23/2012      $53.30         $56.61          $54.95         0.46%
          11/26/2012      $54.13         $57.10          $55.61         1.19%
          11/27/2012      $53.36         $56.91          $55.13        -0.87%
          11/28/2012      $52.91         $56.32          $54.62        -0.94%
          11/29/2012      $53.32         $56.77          $55.04         0.78%
          11/30/2012      $53.37         $56.62          $54.99        -0.09%
           12/3/2012      $53.69         $56.88          $55.29         0.53%
           12/4/2012      $54.52         $57.93          $56.22         1.69%
           12/5/2012      $55.07         $59.56          $57.31         1.92%
           12/6/2012      $55.87         $59.13          $57.50         0.32%
           12/7/2012      $55.75         $59.35          $57.55         0.10%
          12/10/2012      $56.06         $59.45          $57.75         0.34%
          12/11/2012      $57.11         $60.60          $58.85         1.89%
          12/12/2012      $57.37         $60.92          $59.14         0.49%
          12/13/2012      $56.48         $59.91          $58.20        -1.61%
          12/14/2012      $56.77         $59.98          $58.37         0.31%
          12/17/2012      $57.51         $60.74          $59.13         1.28%
          12/18/2012      $58.08         $61.20          $59.64         0.86%
          12/19/2012      $57.85         $61.11          $59.48        -0.26%
          12/20/2012      $58.66         $62.13          $60.39         1.52%
          12/21/2012      $58.84         $61.95          $60.40         0.00%
          12/24/2012      $58.67         $61.92          $60.30        -0.17%
          12/26/2012      $58.40         $61.93          $60.17        -0.21%
          12/27/2012      $57.63         $60.95          $59.29        -1.47%
          12/28/2012      $57.25         $60.68          $58.96        -0.56%
          12/31/2012      $57.82         $60.89          $59.36         0.67%
            1/2/2013      $59.22         $62.46          $60.84         2.46%
            1/3/2013      $59.09         $62.81          $60.95         0.19%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

            1/4/2013      $58.50         $62.25          $60.38        -0.95%
            1/7/2013      $59.09         $62.52          $60.81         0.71%
            1/8/2013      $60.19         $63.46          $61.83         1.66%
            1/9/2013      $61.76         $64.99          $63.38         2.48%
           1/10/2013      $62.14         $65.15          $63.65         0.43%
           1/11/2013      $61.91         $64.99          $63.45        -0.31%
           1/14/2013      $61.84         $64.54          $63.19        -0.41%
           1/15/2013      $61.52         $64.87          $63.19         0.01%
           1/16/2013      $61.70         $64.81          $63.25         0.09%
           1/17/2013      $62.33         $65.02          $63.68         0.67%
           1/18/2013      $62.13         $64.42          $63.28        -0.63%
           1/22/2013      $62.27         $65.20          $63.74         0.72%
           1/23/2013      $62.36         $65.02          $63.69        -0.07%
           1/24/2013      $62.88         $65.50          $64.19         0.78%
           1/25/2013      $63.57         $66.29          $64.93         1.15%
           1/28/2013      $64.00         $66.50          $65.25         0.49%
           1/29/2013      $64.18         $66.86          $65.52         0.41%
           1/30/2013      $64.35         $67.48          $65.91         0.60%
           1/31/2013      $64.63         $67.43          $66.03         0.18%
            2/1/2013      $65.19         $68.40          $66.79         1.15%
            2/4/2013      $64.92         $67.68          $66.30        -0.74%
            2/5/2013      $65.19         $67.87          $66.53         0.35%
            2/6/2013      $65.18         $67.84          $66.51        -0.03%
            2/7/2013      $65.39         $67.98          $66.69         0.27%
            2/8/2013      $65.97         $68.80          $67.38         1.04%
           2/11/2013      $66.13         $68.58          $67.36        -0.04%
           2/12/2013      $66.05         $68.56          $67.30        -0.08%
           2/13/2013      $65.59         $68.50          $67.05        -0.38%
           2/14/2013      $65.12         $67.75          $66.43        -0.92%
           2/15/2013      $64.78         $67.51          $66.15        -0.43%
           2/19/2013      $65.00         $68.09          $66.55         0.60%
           2/20/2013      $64.64         $67.78          $66.21        -0.51%
           2/21/2013      $63.21         $66.83          $65.02        -1.81%
           2/22/2013      $63.87         $67.15          $65.51         0.75%
           2/25/2013      $64.04         $67.04          $65.54         0.05%
           2/26/2013      $63.38         $66.32          $64.85        -1.06%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
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                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           2/27/2013      $64.68         $67.65          $66.16         2.01%
           2/28/2013      $64.94         $68.40          $66.67         0.77%
            3/1/2013      $65.54         $68.82          $67.18         0.76%
            3/4/2013      $66.95         $69.90          $68.43         1.84%
            3/5/2013      $67.81         $70.91          $69.36         1.35%
            3/6/2013      $67.01         $69.93          $68.47        -1.29%
            3/7/2013      $67.86         $70.44          $69.15         0.98%
            3/8/2013      $69.12         $71.41          $70.26         1.60%
           3/11/2013      $69.15         $71.69          $70.42         0.23%
           3/12/2013      $68.90         $71.58          $70.24        -0.26%
           3/13/2013      $68.43         $71.01          $69.72        -0.75%
           3/14/2013      $68.44         $70.88          $69.66        -0.09%
           3/15/2013      $68.18         $70.76          $69.47        -0.27%
           3/18/2013      $68.36         $71.22          $69.79         0.46%
           3/19/2013      $69.69         $72.29          $70.99         1.70%
           3/20/2013      $71.62         $74.65          $73.13         2.98%
           3/21/2013      $71.44         $74.21          $72.82        -0.43%
           3/22/2013      $71.84         $74.78          $73.31         0.67%
           3/25/2013      $72.34         $74.98          $73.66         0.47%
           3/26/2013      $72.54         $75.17          $73.86         0.27%
           3/27/2013      $72.21         $74.87          $73.54        -0.43%
           3/28/2013      $73.12         $75.56          $74.34         1.08%
            4/1/2013      $74.42         $76.88          $75.65         1.74%
            4/2/2013      $73.98         $76.60          $75.29        -0.47%
            4/3/2013      $70.04         $72.83          $71.43        -5.26%
            4/4/2013      $70.53         $73.22          $71.88         0.62%
            4/5/2013      $69.94         $72.51          $71.23        -0.91%
            4/8/2013      $70.34         $72.74          $71.54         0.44%
            4/9/2013      $70.64         $72.80          $71.72         0.25%
           4/10/2013      $71.41         $73.75          $72.58         1.20%
           4/11/2013      $72.07         $74.47          $73.27         0.94%
           4/12/2013      $71.66         $74.19          $72.93        -0.47%
           4/15/2013      $70.86         $73.67          $72.26        -0.91%
           4/16/2013      $71.34         $73.84          $72.59         0.45%
           4/17/2013      $70.98         $73.49          $72.23        -0.50%
           4/18/2013      $71.12         $73.67          $72.39         0.22%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
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                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           4/19/2013      $73.25         $76.00          $74.63         3.04%
           4/22/2013      $72.86         $75.44          $74.15        -0.64%
           4/23/2013      $72.93         $75.94          $74.43         0.38%
           4/24/2013      $73.54         $75.66          $74.60         0.23%
           4/25/2013      $72.54         $74.45          $73.49        -1.49%
           4/26/2013      $71.77         $74.26          $73.01        -0.66%
           4/29/2013      $74.10         $77.02          $75.56         3.43%
           4/30/2013      $74.34         $77.22          $75.78         0.29%
            5/1/2013      $71.90         $74.99          $73.45        -3.13%
            5/2/2013      $70.65         $73.61          $72.13        -1.80%
            5/3/2013      $71.65         $74.42          $73.04         1.25%
            5/6/2013      $72.23         $74.40          $73.31         0.38%
            5/7/2013      $72.54         $74.89          $73.71         0.54%
            5/8/2013      $72.54         $74.87          $73.71        -0.01%
            5/9/2013      $71.19         $74.02          $72.60        -1.51%
           5/10/2013      $71.45         $74.58          $73.01         0.56%
           5/13/2013      $73.91         $76.58          $75.25         3.01%
           5/14/2013      $75.40         $77.95          $76.67         1.88%
           5/15/2013      $74.84         $77.41          $76.13        -0.71%
           5/16/2013      $74.44         $77.01          $75.73        -0.53%
           5/17/2013      $75.98         $78.96          $77.47         2.27%
           5/20/2013      $73.95         $76.74          $75.34        -2.78%
           5/21/2013      $73.71         $76.90          $75.31        -0.05%
           5/22/2013      $73.26         $76.15          $74.71        -0.80%
           5/23/2013      $72.60         $75.71          $74.16        -0.74%
           5/24/2013      $82.71         $85.21          $83.96        12.42%
           5/28/2013      $90.27         $93.19          $91.73         8.85%
           5/29/2013      $89.11         $91.99          $90.55        -1.29%
           5/30/2013      $89.38         $92.03          $90.71         0.17%
           5/31/2013      $89.75         $92.37          $91.06         0.39%
            6/3/2013      $87.10         $89.42          $88.26        -3.12%
            6/4/2013      $84.11         $86.42          $85.26        -3.45%
            6/5/2013      $82.89         $85.22          $84.06        -1.43%
            6/6/2013      $82.98         $85.56          $84.27         0.25%
            6/7/2013      $83.90         $86.40          $85.15         1.04%
           6/10/2013      $83.64         $86.11          $84.87        -0.33%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           6/11/2013      $82.63         $84.97          $83.80        -1.27%
           6/12/2013      $82.01         $84.37          $83.19        -0.73%
           6/13/2013      $83.79         $86.27          $85.03         2.19%
           6/14/2013      $82.84         $85.03          $83.94        -1.30%
           6/17/2013      $83.14         $85.71          $84.42         0.58%
           6/18/2013      $84.51         $86.75          $85.63         1.41%
           6/19/2013      $84.95         $87.23          $86.09         0.55%
           6/20/2013      $82.55         $85.04          $83.79        -2.71%
           6/21/2013      $82.23         $84.99          $83.61        -0.22%
           6/24/2013      $82.57         $85.33          $83.95         0.40%
           6/25/2013      $83.43         $85.98          $84.71         0.90%
           6/26/2013      $83.69         $86.19          $84.94         0.27%
           6/27/2013      $84.42         $87.17          $85.80         1.00%
           6/28/2013      $84.29         $87.13          $85.71        -0.10%
            7/1/2013      $86.31         $89.07          $87.69         2.28%
            7/2/2013      $88.13         $90.75          $89.44         1.98%
            7/3/2013      $87.66         $90.46          $89.06        -0.43%
            7/5/2013      $87.14         $89.90          $88.52        -0.61%
            7/8/2013      $88.26         $90.76          $89.51         1.11%
            7/9/2013      $88.14         $90.81          $89.47        -0.04%
           7/10/2013      $88.51         $91.08          $89.79         0.36%
           7/11/2013      $90.50         $93.13          $91.82         2.23%
           7/12/2013      $91.34         $93.96          $92.65         0.90%
           7/15/2013      $91.81         $94.47          $93.14         0.53%
           7/16/2013      $89.94         $92.74          $91.34        -1.95%
           7/17/2013      $89.93         $92.42          $91.18        -0.18%
           7/18/2013      $89.95         $92.37          $91.16        -0.02%
           7/19/2013      $89.20         $91.83          $90.52        -0.71%
           7/22/2013      $88.96         $91.51          $90.23        -0.31%
           7/23/2013      $88.60         $91.95          $90.27         0.04%
           7/24/2013      $89.56         $92.44          $91.00         0.80%
           7/25/2013      $89.98         $92.85          $91.42         0.46%
           7/26/2013      $90.03         $92.82          $91.42         0.01%
           7/29/2013      $90.10         $92.84          $91.47         0.05%
           7/30/2013      $89.83         $92.48          $91.16        -0.34%
           7/31/2013      $91.43         $94.25          $92.84         1.82%


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                                        Exhibit-9
              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

            8/1/2013     $94.04         $97.01          $95.53          2.86%
            8/2/2013     $94.57         $97.31          $95.94          0.43%
            8/5/2013     $94.11         $96.57          $95.34         -0.63%
            8/6/2013     $94.31         $96.32          $95.31         -0.03%
            8/7/2013     $95.55         $98.25          $96.90          1.65%
            8/8/2013     $100.08        $102.92         $101.50         4.64%
            8/9/2013     $99.91         $102.68         $101.30        -0.20%
           8/12/2013     $100.31        $102.64         $101.47         0.18%
           8/13/2013     $101.98        $104.45         $103.22         1.70%
           8/14/2013     $102.75        $104.96         $103.86         0.62%
           8/15/2013     $100.76        $103.51         $102.13        -1.67%
           8/16/2013     $101.64        $103.68         $102.66         0.52%
           8/19/2013     $99.70         $102.58         $101.14        -1.50%
           8/20/2013     $99.63         $102.68         $101.16         0.02%
           8/21/2013     $97.94         $101.12         $99.53         -1.62%
           8/22/2013     $97.44         $100.36         $98.90         -0.64%
           8/23/2013     $97.76         $100.58         $99.17          0.27%
           8/26/2013     $97.96         $100.61         $99.29          0.12%
           8/27/2013     $94.17         $96.98          $95.58         -3.81%
           8/28/2013     $95.85         $98.46          $97.16          1.64%
           8/29/2013     $96.82         $99.86          $98.34          1.21%
           8/30/2013     $96.71         $99.70          $98.21         -0.14%
            9/3/2013     $97.55         $100.17         $98.86          0.66%
            9/4/2013     $98.23         $100.96         $99.59          0.74%
            9/5/2013     $97.79         $100.59         $99.19         -0.41%
            9/6/2013     $98.27         $101.42         $99.85          0.66%
            9/9/2013     $99.32         $102.06         $100.69         0.84%
           9/10/2013     $98.83         $101.60         $100.21        -0.48%
           9/11/2013     $98.52         $101.15         $99.84         -0.38%
           9/12/2013     $98.12         $100.78         $99.45         -0.39%
           9/13/2013     $97.50         $100.28         $98.89         -0.56%
           9/16/2013     $98.83         $102.49         $100.66         1.77%
           9/17/2013     $100.69        $104.12         $102.41         1.72%
           9/18/2013     $100.14        $104.22         $102.18        -0.22%
           9/19/2013     $103.87        $107.37         $105.62         3.31%
           9/20/2013     $102.83        $106.09         $104.46        -1.10%


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                                        Exhibit-9
              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           9/23/2013     $101.21        $104.86         $103.03        -1.38%
           9/24/2013     $101.81        $105.17         $103.49         0.44%
           9/25/2013     $100.64        $104.12         $102.38        -1.08%
           9/26/2013     $101.29        $104.37         $102.83         0.44%
           9/27/2013     $101.84        $105.50         $103.67         0.81%
           9/30/2013     $102.21        $105.84         $104.03         0.34%
           10/1/2013     $105.59        $108.90         $107.25         3.05%
           10/2/2013     $107.10        $110.75         $108.92         1.55%
           10/3/2013     $109.17        $112.70         $110.94         1.83%
           10/4/2013     $108.91        $112.18         $110.54        -0.35%
           10/7/2013     $108.39        $111.97         $110.18        -0.33%
           10/8/2013     $104.14        $107.62         $105.88        -3.98%
           10/9/2013     $104.64        $108.07         $106.36         0.45%
          10/10/2013     $107.29        $110.85         $109.07         2.52%
          10/11/2013     $107.28        $111.09         $109.19         0.11%
          10/14/2013     $106.85        $110.63         $108.74        -0.41%
          10/15/2013     $107.53        $110.88         $109.21         0.43%
          10/16/2013     $108.47        $111.80         $110.14         0.85%
          10/17/2013     $109.48        $112.97         $111.23         0.99%
          10/18/2013     $110.64        $113.94         $112.29         0.95%
          10/21/2013     $109.87        $113.56         $111.72        -0.51%
          10/22/2013     $110.75        $113.57         $112.16         0.40%
          10/23/2013     $111.80        $115.24         $113.52         1.20%
          10/24/2013     $112.38        $115.60         $113.99         0.42%
          10/25/2013     $110.54        $114.01         $112.28        -1.52%
          10/28/2013     $108.32        $111.87         $110.09        -1.96%
          10/29/2013     $108.90        $112.25         $110.58         0.44%
          10/30/2013     $106.64        $110.44         $108.54        -1.86%
          10/31/2013     $103.39        $107.51         $105.45        -2.89%
           11/1/2013     $108.04        $112.20         $110.12         4.33%
           11/4/2013     $108.05        $111.48         $109.76        -0.32%
           11/5/2013     $107.46        $110.86         $109.16        -0.55%
           11/6/2013     $104.25        $107.73         $105.99        -2.95%
           11/7/2013     $101.44        $104.92         $103.18        -2.69%
           11/8/2013     $103.25        $106.34         $104.80         1.56%
          11/11/2013     $103.29        $106.43         $104.86         0.06%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

          11/12/2013     $103.45        $106.74         $105.10         0.22%
          11/13/2013     $104.76        $107.88         $106.32         1.16%
          11/14/2013     $103.63        $107.14         $105.38        -0.89%
          11/15/2013     $104.78        $108.24         $106.51         1.07%
          11/18/2013     $104.88        $108.39         $106.64         0.12%
          11/19/2013     $102.31        $108.51         $105.41        -1.16%
          11/20/2013     $104.49        $107.19         $105.84         0.41%
          11/21/2013     $106.36        $109.65         $108.00         2.02%
          11/22/2013     $107.24        $110.59         $108.92         0.84%
          11/25/2013     $107.29        $110.27         $108.78        -0.12%
          11/26/2013     $107.29        $110.18         $108.73        -0.05%
          11/27/2013     $106.50        $109.57         $108.04        -0.65%
          11/29/2013     $107.84        $110.74         $109.29         1.16%
           12/2/2013     $108.04        $110.80         $109.42         0.12%
           12/3/2013     $106.62        $110.54         $108.58        -0.77%
           12/4/2013     $105.41        $109.46         $107.44        -1.06%
           12/5/2013     $104.86        $107.55         $106.20        -1.16%
           12/6/2013     $105.15        $109.44         $107.29         1.02%
           12/9/2013     $105.69        $109.41         $107.55         0.24%
          12/10/2013     $106.39        $109.68         $108.03         0.44%
          12/11/2013     $104.67        $108.53         $106.60        -1.33%
          12/12/2013     $104.35        $107.84         $106.10        -0.48%
          12/13/2013     $104.30        $107.98         $106.14         0.04%
          12/16/2013     $108.51        $112.00         $110.25         3.80%
          12/17/2013     $107.65        $110.87         $109.26        -0.90%
          12/18/2013     $109.30        $113.82         $111.56         2.08%
          12/19/2013     $109.59        $112.80         $111.20        -0.32%
          12/20/2013     $109.92        $112.94         $111.43         0.21%
          12/23/2013     $110.32        $113.69         $112.01         0.52%
          12/24/2013     $110.52        $113.69         $112.10         0.09%
          12/26/2013     $110.73        $114.02         $112.37         0.24%
          12/27/2013     $111.14        $114.41         $112.78         0.36%
          12/30/2013     $114.77        $118.48         $116.63         3.36%
          12/31/2013     $115.11        $118.51         $116.81         0.16%
            1/2/2014     $114.47        $118.29         $116.38        -0.37%
            1/3/2014     $114.75        $118.54         $116.64         0.22%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

            1/6/2014     $110.47        $114.14         $112.30        -3.79%
            1/7/2014     $122.55        $126.47         $124.51        10.32%
            1/8/2014     $124.62        $129.61         $127.11         2.07%
            1/9/2014     $129.31        $132.68         $131.00         3.01%
           1/10/2014     $130.09        $134.23         $132.16         0.89%
           1/13/2014     $128.01        $132.13         $130.07        -1.60%
           1/14/2014     $131.42        $136.60         $134.01         2.98%
           1/15/2014     $130.61        $134.79         $132.70        -0.98%
           1/16/2014     $133.51        $137.86         $135.68         2.22%
           1/17/2014     $134.49        $139.23         $136.86         0.87%
           1/21/2014     $133.41        $139.18         $136.30        -0.41%
           1/22/2014     $133.80        $138.72         $136.26        -0.03%
           1/23/2014     $131.38        $136.55         $133.96        -1.70%
           1/24/2014     $128.99        $134.00         $131.49        -1.86%
           1/27/2014     $127.81        $132.71         $130.26        -0.94%
           1/28/2014     $129.25        $134.67         $131.96         1.30%
           1/29/2014     $128.60        $134.66         $131.63        -0.25%
           1/30/2014     $132.55        $137.52         $135.04         2.56%
           1/31/2014     $132.46        $137.49         $134.98        -0.04%
            2/3/2014     $130.01        $135.26         $132.63        -1.75%
            2/4/2014     $131.42        $136.58         $134.00         1.02%
            2/5/2014     $130.30        $135.61         $132.95        -0.78%
            2/6/2014     $130.86        $135.89         $133.38         0.32%
            2/7/2014     $133.81        $138.77         $136.29         2.16%
           2/10/2014     $134.64        $139.53         $137.08         0.58%
           2/11/2014     $137.79        $143.16         $140.47         2.44%
           2/12/2014     $137.31        $142.34         $139.83        -0.46%
           2/13/2014     $137.94        $142.94         $140.44         0.44%
           2/14/2014     $136.20        $141.40         $138.80        -1.17%
           2/18/2014     $142.88        $147.54         $145.21         4.51%
           2/19/2014     $141.89        $146.93         $144.41        -0.55%
           2/20/2014     $144.50        $149.20         $146.85         1.68%
           2/21/2014     $143.45        $148.35         $145.90        -0.65%
           2/24/2014     $143.03        $148.03         $145.53        -0.25%
           2/25/2014     $141.73        $146.51         $144.12        -0.97%
           2/26/2014     $143.03        $148.18         $145.61         1.03%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           2/27/2014     $144.95        $150.31         $147.63         1.38%
           2/28/2014     $141.00        $146.23         $143.61        -2.76%
            3/3/2014     $139.24        $144.44         $141.84        -1.24%
            3/4/2014     $142.93        $147.92         $145.42         2.49%
            3/5/2014     $141.63        $146.53         $144.08        -0.93%
            3/6/2014     $134.85        $140.21         $137.53        -4.65%
            3/7/2014     $137.27        $142.78         $140.02         1.80%
           3/10/2014     $137.84        $142.19         $140.02        -0.01%
           3/11/2014     $137.28        $142.03         $139.66        -0.26%
           3/12/2014     $137.71        $142.58         $140.14         0.35%
           3/13/2014     $136.76        $141.63         $139.19        -0.68%
           3/14/2014     $136.20        $141.44         $138.82        -0.27%
           3/17/2014     $138.44        $143.13         $140.79         1.40%
           3/18/2014     $140.67        $145.36         $143.01         1.57%
           3/19/2014     $137.52        $142.64         $140.08        -2.07%
           3/20/2014     $137.81        $142.60         $140.20         0.09%
           3/21/2014     $133.04        $137.58         $135.31        -3.55%
           3/24/2014     $127.80        $133.26         $130.53        -3.59%
           3/25/2014     $128.69        $133.54         $131.12         0.45%
           3/26/2014     $125.69        $131.15         $128.42        -2.08%
           3/27/2014     $124.41        $129.54         $126.98        -1.13%
           3/28/2014     $125.21        $130.09         $127.65         0.53%
           3/31/2014     $128.61        $133.61         $131.11         2.67%
            4/1/2014     $130.25        $135.77         $133.01         1.44%
            4/2/2014     $130.17        $135.59         $132.88        -0.10%
            4/3/2014     $125.61        $130.87         $128.24        -3.56%
            4/4/2014     $121.19        $126.91         $124.05        -3.32%
            4/7/2014     $116.10        $121.40         $118.75        -4.37%
            4/8/2014     $118.44        $124.20         $121.32         2.14%
            4/9/2014     $125.60        $130.82         $128.21         5.53%
           4/10/2014     $119.94        $125.15         $122.55        -4.52%
           4/11/2014     $116.69        $121.81         $119.25        -2.73%
           4/14/2014     $113.86        $119.35         $116.60        -2.25%
           4/15/2014     $116.43        $121.53         $118.98         2.02%
           4/16/2014     $118.17        $123.18         $120.68         1.42%
           4/17/2014     $118.85        $123.83         $121.34         0.55%


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                                        Exhibit-9
              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           4/21/2014     $122.28        $127.67         $124.98         2.95%
           4/22/2014     $131.16        $137.77         $134.46         7.32%
           4/23/2014     $129.96        $135.25         $132.61        -1.39%
           4/24/2014     $130.97        $136.32         $133.64         0.78%
           4/25/2014     $129.74        $135.27         $132.50        -0.86%
           4/28/2014     $129.92        $135.12         $132.52         0.01%
           4/29/2014     $129.56        $135.34         $132.45        -0.05%
           4/30/2014     $129.44        $135.16         $132.30        -0.11%
            5/1/2014     $134.11        $139.37         $136.74         3.30%
            5/2/2014     $132.43        $137.99         $135.21        -1.12%
            5/5/2014     $132.20        $137.80         $135.00        -0.16%
            5/6/2014     $129.93        $135.41         $132.67        -1.74%
            5/7/2014     $129.05        $134.20         $131.63        -0.79%
            5/8/2014     $127.66        $132.75         $130.20        -1.09%
            5/9/2014     $127.24        $132.44         $129.84        -0.28%
           5/12/2014     $126.09        $131.17         $128.63        -0.94%
           5/13/2014     $126.76        $132.18         $129.47         0.65%
           5/14/2014     $123.94        $129.06         $126.50        -2.32%
           5/15/2014     $120.53        $125.84         $123.18        -2.66%
           5/16/2014     $122.71        $127.95         $125.33         1.73%
           5/19/2014     $123.07        $128.60         $125.83         0.40%
           5/20/2014     $127.06        $132.12         $129.59         2.95%
           5/21/2014     $126.31        $132.41         $129.36        -0.18%
           5/22/2014     $127.30        $132.75         $130.02         0.51%
           5/23/2014     $129.86        $135.23         $132.55         1.92%
           5/27/2014     $126.09        $131.47         $128.78        -2.88%
           5/28/2014     $123.89        $129.44         $126.66        -1.66%
           5/29/2014     $125.29        $130.97         $128.13         1.15%
           5/30/2014     $127.25        $134.31         $130.78         2.05%
            6/2/2014     $130.67        $135.26         $132.96         1.66%
            6/3/2014     $128.86        $133.82         $131.34        -1.23%
            6/4/2014     $125.91        $130.91         $128.41        -2.26%
            6/5/2014     $125.27        $130.09         $127.68        -0.57%
            6/6/2014     $124.72        $129.29         $127.00        -0.53%
            6/9/2014     $123.99        $128.83         $126.41        -0.47%
           6/10/2014     $122.54        $128.52         $125.53        -0.70%


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                                        Exhibit-9
              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           6/11/2014     $122.16        $127.18         $124.67        -0.69%
           6/12/2014     $118.18        $123.39         $120.79        -3.16%
           6/13/2014     $116.96        $122.07         $119.51        -1.06%
           6/16/2014     $114.83        $120.04         $117.43        -1.76%
           6/17/2014     $116.61        $122.01         $119.31         1.59%
           6/18/2014     $115.00        $121.20         $118.10        -1.02%
           6/19/2014     $114.89        $119.19         $117.04        -0.90%
           6/20/2014     $119.07        $124.28         $121.67         3.88%
           6/23/2014     $118.42        $123.96         $121.19        -0.40%
           6/24/2014     $117.96        $123.40         $120.68        -0.42%
           6/25/2014     $122.31        $128.22         $125.26         3.73%
           6/26/2014     $123.25        $128.82         $126.04         0.62%
           6/27/2014     $125.42        $130.53         $127.98         1.53%
           6/30/2014     $123.42        $129.08         $126.25        -1.36%
            7/1/2014     $122.94        $127.92         $125.43        -0.66%
            7/2/2014     $122.26        $127.85         $125.05        -0.30%
            7/3/2014     $122.57        $128.71         $125.64         0.47%
            7/7/2014     $120.21        $125.68         $122.94        -2.17%
            7/8/2014     $118.61        $124.17         $121.39        -1.27%
            7/9/2014     $117.85        $123.54         $120.70        -0.58%
           7/10/2014     $116.81        $122.67         $119.74        -0.80%
           7/11/2014     $117.42        $122.66         $120.04         0.25%
           7/14/2014     $118.15        $123.28         $120.72         0.56%
           7/15/2014     $116.96        $121.71         $119.34        -1.15%
           7/16/2014     $118.28        $123.23         $120.76         1.18%
           7/17/2014     $119.01        $123.98         $121.49         0.61%
           7/18/2014     $119.58        $124.37         $121.98         0.40%
           7/21/2014     $122.49        $127.31         $124.90         2.37%
           7/22/2014     $120.66        $125.51         $123.08        -1.47%
           7/23/2014     $121.05        $126.22         $123.63         0.45%
           7/24/2014     $121.26        $126.56         $123.91         0.23%
           7/25/2014     $120.74        $125.74         $123.24        -0.54%
           7/28/2014     $120.56        $125.80         $123.18        -0.05%
           7/29/2014     $120.61        $125.84         $123.23         0.04%
           7/30/2014     $123.05        $128.44         $125.75         2.02%
           7/31/2014     $113.97        $119.34         $116.66        -7.50%


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                                        Exhibit-9
              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

            8/1/2014     $115.03        $120.32         $117.68         0.87%
            8/4/2014     $114.30        $119.54         $116.92        -0.64%
            8/5/2014     $108.70        $113.97         $111.33        -4.90%
            8/6/2014     $108.04        $112.82         $110.43        -0.81%
            8/7/2014     $104.10        $109.74         $106.92        -3.23%
            8/8/2014     $106.12        $110.82         $108.47         1.44%
           8/11/2014     $104.66        $109.88         $107.27        -1.12%
           8/12/2014     $104.98        $110.18         $107.58         0.29%
           8/13/2014     $107.38        $112.08         $109.73         1.98%
           8/14/2014     $108.31        $112.30         $110.31         0.52%
           8/15/2014     $109.25        $114.55         $111.90         1.43%
           8/18/2014     $107.52        $112.45         $109.98        -1.72%
           8/19/2014     $110.12        $115.53         $112.83         2.55%
           8/20/2014     $110.31        $115.38         $112.84         0.01%
           8/21/2014     $110.58        $115.95         $113.27         0.38%
           8/22/2014     $113.88        $119.04         $116.46         2.78%
           8/25/2014     $113.20        $118.65         $115.93        -0.46%
           8/26/2014     $113.35        $119.23         $116.29         0.31%
           8/27/2014     $113.78        $119.23         $116.51         0.19%
           8/28/2014     $113.38        $119.62         $116.50        -0.01%
           8/29/2014     $113.79        $119.10         $116.44        -0.05%
            9/2/2014     $116.44        $121.98         $119.21         2.35%
            9/3/2014     $115.94        $121.38         $118.66        -0.46%
            9/4/2014     $114.97        $120.56         $117.77        -0.75%
            9/5/2014     $116.45        $121.55         $119.00         1.04%
            9/8/2014     $116.89        $122.13         $119.51         0.43%
            9/9/2014     $117.45        $122.42         $119.93         0.35%
           9/10/2014     $116.53        $122.21         $119.37        -0.47%
           9/11/2014     $117.16        $122.28         $119.72         0.29%
           9/12/2014     $118.42        $123.98         $121.20         1.23%
           9/15/2014     $118.26        $124.48         $121.37         0.14%
           9/16/2014     $118.69        $124.21         $121.45         0.07%
           9/17/2014     $118.61        $124.58         $121.59         0.12%
           9/18/2014     $118.40        $123.72         $121.06        -0.44%
           9/19/2014     $114.73        $120.28         $117.50        -2.98%
           9/22/2014     $113.38        $119.35         $116.37        -0.97%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           9/23/2014     $113.39        $118.85         $116.12        -0.21%
           9/24/2014     $121.61        $127.34         $124.48         6.95%
           9/25/2014     $124.66        $130.33         $127.49         2.39%
           9/26/2014     $126.01        $130.74         $128.38         0.69%
           9/29/2014     $127.54        $132.69         $130.11         1.34%
           9/30/2014     $127.73        $132.98         $130.35         0.18%
           10/1/2014     $127.93        $133.31         $130.62         0.20%
           10/2/2014     $125.02        $130.38         $127.70        -2.26%
           10/3/2014     $126.64        $131.21         $128.93         0.96%
           10/6/2014     $126.31        $131.18         $128.74        -0.14%
           10/7/2014     $122.68        $128.64         $125.66        -2.42%
           10/8/2014     $122.53        $127.99         $125.26        -0.32%
           10/9/2014     $120.36        $125.78         $123.07        -1.77%
          10/10/2014     $116.05        $122.02         $119.03        -3.33%
          10/13/2014     $111.46        $117.47         $114.47        -3.91%
          10/14/2014     $111.96        $117.56         $114.76         0.26%
          10/15/2014     $110.47        $116.70         $113.59        -1.03%
          10/16/2014     $115.05        $120.92         $117.98         3.80%
          10/17/2014     $116.69        $122.69         $119.69         1.44%
          10/20/2014     $121.04        $127.19         $124.12         3.63%
          10/21/2014     $127.36        $132.85         $130.10         4.71%
          10/22/2014     $126.23        $131.76         $129.00        -0.85%
          10/23/2014     $125.66        $131.60         $128.63        -0.28%
          10/24/2014     $125.93        $131.10         $128.51        -0.09%
          10/27/2014     $127.04        $132.57         $129.81         1.00%
          10/28/2014     $128.55        $133.68         $131.11         1.00%
          10/29/2014     $126.98        $132.53         $129.76        -1.04%
          10/30/2014     $127.79        $134.46         $131.13         1.05%
          10/31/2014     $129.84        $135.46         $132.65         1.15%
           11/3/2014     $129.85        $136.29         $133.07         0.31%
           11/4/2014     $129.77        $136.86         $133.32         0.19%
           11/5/2014     $128.62        $134.39         $131.50        -1.37%
           11/6/2014     $125.61        $132.60         $129.10        -1.84%
           11/7/2014     $122.57        $128.42         $125.50        -2.83%
          11/10/2014     $123.86        $131.08         $127.47         1.56%
          11/11/2014     $125.96        $133.20         $129.58         1.64%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

          11/12/2014     $126.42        $134.28         $130.35         0.59%
          11/13/2014     $128.17        $134.74         $131.46         0.85%
          11/14/2014     $130.09        $136.68         $133.38         1.45%
          11/17/2014     $132.70        $139.50         $136.10         2.02%
          11/18/2014     $139.09        $145.32         $142.20         4.39%
          11/19/2014     $138.66        $144.57         $141.61        -0.42%
          11/20/2014     $139.54        $145.14         $142.34         0.51%
          11/21/2014     $142.46        $147.77         $145.11         1.93%
          11/24/2014     $139.48        $145.38         $142.43        -1.87%
          11/25/2014     $140.93        $146.73         $143.83         0.98%
          11/26/2014     $141.53        $147.10         $144.31         0.34%
          11/28/2014     $142.33        $147.98         $145.15         0.58%
           12/1/2014     $142.04        $148.33         $145.19         0.02%
           12/2/2014     $142.51        $148.43         $145.47         0.19%
           12/3/2014     $142.41        $148.68         $145.55         0.05%
           12/4/2014     $141.63        $147.11         $144.37        -0.81%
           12/5/2014     $142.00        $147.53         $144.76         0.27%
           12/8/2014     $140.68        $146.63         $143.66        -0.77%
           12/9/2014     $137.27        $143.19         $140.23        -2.41%
          12/10/2014     $135.62        $141.01         $138.31        -1.38%
          12/11/2014     $135.76        $141.72         $138.74         0.31%
          12/12/2014     $136.07        $141.73         $138.90         0.12%
          12/15/2014     $134.59        $140.15         $137.37        -1.11%
          12/16/2014     $134.75        $140.12         $137.43         0.05%
          12/17/2014     $135.83        $142.03         $138.93         1.08%
          12/18/2014     $139.35        $145.04         $142.20         2.33%
          12/19/2014     $142.56        $148.28         $145.42         2.24%
          12/22/2014     $141.49        $147.53         $144.51        -0.62%
          12/23/2014     $137.55        $143.51         $140.53        -2.79%
          12/24/2014     $137.66        $143.67         $140.67         0.10%
          12/26/2014     $138.36        $144.17         $141.27         0.43%
          12/29/2014     $138.89        $144.68         $141.79         0.37%
          12/30/2014     $139.52        $145.58         $142.55         0.53%
          12/31/2014     $140.14        $145.93         $143.03         0.34%
            1/2/2015     $140.81        $146.83         $143.82         0.55%
            1/5/2015     $141.19        $147.08         $144.13         0.22%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

            1/6/2015     $139.73        $145.83         $142.78        -0.94%
            1/7/2015     $142.00        $148.03         $145.01         1.55%
            1/8/2015     $150.62        $156.47         $153.54         5.71%
            1/9/2015     $150.76        $155.94         $153.35        -0.12%
           1/12/2015     $151.78        $157.04         $154.41         0.69%
           1/13/2015     $154.70        $160.02         $157.36         1.89%
           1/14/2015     $154.03        $159.23         $156.63        -0.47%
           1/15/2015     $151.86        $157.59         $154.72        -1.22%
           1/16/2015     $153.50        $158.85         $156.17         0.93%
           1/20/2015     $153.05        $158.32         $155.68        -0.31%
           1/21/2015     $153.93        $159.17         $156.55         0.56%
           1/22/2015     $155.82        $160.60         $158.21         1.05%
           1/23/2015     $156.80        $161.85         $159.32         0.70%
           1/26/2015     $157.05        $162.36         $159.70         0.24%
           1/27/2015     $157.77        $162.70         $160.23         0.33%
           1/28/2015     $158.26        $163.45         $160.86         0.39%
           1/29/2015     $158.38        $163.26         $160.82        -0.02%
           1/30/2015     $157.64        $162.74         $160.19        -0.39%
            2/2/2015     $157.82        $163.84         $160.83         0.40%
            2/3/2015     $155.94        $162.60         $159.27        -0.97%
            2/4/2015     $157.16        $163.08         $160.12         0.53%
            2/5/2015     $158.08        $163.87         $160.98         0.53%
            2/6/2015     $159.36        $164.33         $161.85         0.54%
            2/9/2015     $157.57        $162.88         $160.22        -1.01%
           2/10/2015     $160.69        $165.84         $163.27         1.88%
           2/11/2015     $161.30        $166.16         $163.73         0.28%
           2/12/2015     $164.01        $171.06         $167.54         2.30%
           2/13/2015     $164.30        $169.42         $166.86        -0.40%
           2/17/2015     $165.72        $171.49         $168.61         1.04%
           2/18/2015     $165.38        $170.81         $168.10        -0.30%
           2/19/2015     $166.27        $171.20         $168.74         0.38%
           2/20/2015     $170.77        $175.07         $172.92         2.45%
           2/23/2015     $195.79        $201.29         $198.54        13.82%
           2/24/2015     $198.39        $203.74         $201.07         1.27%
           2/25/2015     $194.79        $199.96         $197.38        -1.85%
           2/26/2015     $198.09        $203.56         $200.82         1.73%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           2/27/2015     $194.40        $200.25         $197.32        -1.76%
            3/2/2015     $199.66        $205.12         $202.39         2.53%
            3/3/2015     $199.33        $204.57         $201.95        -0.22%
            3/4/2015     $199.64        $204.78         $202.21         0.13%
            3/5/2015     $200.97        $206.13         $203.55         0.66%
            3/6/2015     $196.28        $201.24         $198.76        -2.38%
            3/9/2015     $201.19        $207.12         $204.16         2.68%
           3/10/2015     $199.17        $204.20         $201.68        -1.22%
           3/11/2015     $189.41        $196.16         $192.79        -4.51%
           3/12/2015     $190.15        $195.53         $192.84         0.03%
           3/13/2015     $193.99        $199.58         $196.79         2.03%
           3/16/2015     $199.18        $204.64         $201.91         2.57%
           3/17/2015     $198.16        $203.11         $200.63        -0.63%
           3/18/2015     $200.83        $205.63         $203.23         1.29%
           3/19/2015     $199.81        $204.70         $202.25        -0.48%
           3/20/2015     $201.22        $206.07         $203.64         0.69%
           3/23/2015     $201.03        $206.53         $203.78         0.06%
           3/24/2015     $200.90        $205.81         $203.35        -0.21%
           3/25/2015     $194.37        $199.96         $197.16        -3.09%
           3/26/2015     $195.25        $200.49         $197.87         0.36%
           3/27/2015     $195.40        $200.53         $197.96         0.05%
           3/30/2015     $197.72        $202.96         $200.34         1.20%
           3/31/2015     $196.48        $201.60         $199.04        -0.65%
            4/1/2015     $193.70        $199.23         $196.47        -1.30%
            4/2/2015     $195.55        $200.76         $198.16         0.86%
            4/6/2015     $195.14        $200.59         $197.87        -0.15%
            4/7/2015     $196.18        $201.52         $198.85         0.50%
            4/8/2015     $202.61        $208.02         $205.32         3.20%
            4/9/2015     $202.27        $207.52         $204.90        -0.21%
           4/10/2015     $204.41        $209.53         $206.97         1.01%
           4/13/2015     $206.04        $211.32         $208.68         0.82%
           4/14/2015     $205.33        $210.68         $208.01        -0.32%
           4/15/2015     $203.27        $208.54         $205.91        -1.01%
           4/16/2015     $203.70        $208.87         $206.28         0.18%
           4/17/2015     $202.33        $207.41         $204.87        -0.69%
           4/20/2015     $201.95        $207.18         $204.56        -0.15%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           4/21/2015     $207.05        $212.43         $209.74         2.50%
           4/22/2015     $204.42        $209.60         $207.01        -1.31%
           4/23/2015     $206.20        $211.64         $208.92         0.92%
           4/24/2015     $206.73        $212.42         $209.58         0.31%
           4/27/2015     $199.74        $204.90         $202.32        -3.52%
           4/28/2015     $202.01        $207.67         $204.84         1.24%
           4/29/2015     $210.24        $216.24         $213.24         4.02%
           4/30/2015     $214.17        $219.36         $216.77         1.64%
            5/1/2015     $219.44        $224.60         $222.02         2.39%
            5/4/2015     $219.56        $224.99         $222.27         0.11%
            5/5/2015     $215.52        $221.08         $218.30        -1.80%
            5/6/2015     $212.50        $217.92         $215.21        -1.43%
            5/7/2015     $215.50        $220.63         $218.06         1.32%
            5/8/2015     $218.39        $223.74         $221.07         1.37%
           5/11/2015     $220.55        $226.02         $223.29         1.00%
           5/12/2015     $219.26        $224.63         $221.95        -0.60%
           5/13/2015     $217.28        $222.42         $219.85        -0.95%
           5/14/2015     $218.95        $224.43         $221.69         0.83%
           5/15/2015     $220.90        $225.91         $223.41         0.77%
           5/18/2015     $222.23        $227.87         $225.05         0.73%
           5/19/2015     $223.93        $229.08         $226.50         0.64%
           5/20/2015     $225.41        $230.90         $228.16         0.73%
           5/21/2015     $230.15        $235.43         $232.79         2.01%
           5/22/2015     $233.79        $238.96         $236.37         1.53%
           5/26/2015     $231.97        $237.34         $234.66        -0.73%
           5/27/2015     $235.05        $240.93         $237.99         1.41%
           5/28/2015     $237.61        $243.68         $240.65         1.11%
           5/29/2015     $235.57        $240.68         $238.12        -1.05%
            6/1/2015     $235.89        $241.23         $238.56         0.18%
            6/2/2015     $234.72        $240.01         $237.37        -0.50%
            6/3/2015     $235.54        $241.06         $238.30         0.39%
            6/4/2015     $229.88        $234.93         $232.40        -2.51%
            6/5/2015     $231.71        $236.90         $234.31         0.82%
            6/8/2015     $229.96        $235.43         $232.69        -0.69%
            6/9/2015     $229.02        $234.69         $231.86        -0.36%
           6/10/2015     $226.86        $232.13         $229.49        -1.02%


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                                        Exhibit-9
              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           6/11/2015     $230.47        $236.51         $233.49         1.73%
           6/12/2015     $226.94        $232.39         $229.67        -1.65%
           6/15/2015     $227.13        $232.38         $229.75         0.04%
           6/16/2015     $224.88        $230.96         $227.92        -0.80%
           6/17/2015     $226.93        $233.03         $229.98         0.90%
           6/18/2015     $230.84        $236.10         $233.47         1.51%
           6/19/2015     $225.94        $231.39         $228.67        -2.08%
           6/22/2015     $230.19        $235.70         $232.94         1.85%
           6/23/2015     $231.03        $236.20         $233.62         0.29%
           6/24/2015     $226.22        $232.41         $229.31        -1.86%
           6/25/2015     $228.50        $236.98         $232.74         1.48%
           6/26/2015     $226.43        $231.90         $229.16        -1.55%
           6/29/2015     $217.60        $223.22         $220.41        -3.89%
           6/30/2015     $218.98        $224.55         $221.76         0.61%
            7/1/2015     $224.65        $230.06         $227.36         2.49%
            7/2/2015     $225.07        $230.64         $227.85         0.22%
            7/6/2015     $222.96        $228.42         $225.69        -0.95%
            7/7/2015     $223.68        $229.30         $226.49         0.35%
            7/8/2015     $221.55        $227.13         $224.34        -0.95%
            7/9/2015     $221.07        $226.28         $223.68        -0.30%
           7/10/2015     $228.93        $234.18         $231.56         3.46%
           7/13/2015     $232.08        $237.31         $234.70         1.35%
           7/14/2015     $233.30        $238.95         $236.12         0.61%
           7/15/2015     $232.37        $237.62         $234.99        -0.48%
           7/16/2015     $236.34        $241.47         $238.91         1.65%
           7/17/2015     $233.07        $238.11         $235.59        -1.40%
           7/20/2015     $236.69        $241.92         $239.31         1.57%
           7/21/2015     $237.18        $242.20         $239.69         0.16%
           7/22/2015     $235.93        $241.31         $238.62        -0.45%
           7/23/2015     $250.09        $256.04         $253.06         5.87%
           7/24/2015     $248.66        $253.77         $251.21        -0.73%
           7/27/2015     $253.81        $259.12         $256.47         2.07%
           7/28/2015     $254.83        $260.28         $257.55         0.42%
           7/29/2015     $252.07        $257.61         $254.84        -1.06%
           7/30/2015     $250.87        $256.23         $253.55        -0.51%
           7/31/2015     $254.69        $259.64         $257.16         1.42%


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                                        Exhibit-9
              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

            8/3/2015     $253.92        $259.32         $256.62        -0.21%
            8/4/2015     $257.05        $261.49         $259.27         1.03%
            8/5/2015     $259.24        $264.12         $261.68         0.92%
            8/6/2015     $246.23        $251.47         $248.85        -5.03%
            8/7/2015     $244.79        $249.44         $247.12        -0.70%
           8/10/2015     $245.05        $250.08         $247.56         0.18%
           8/11/2015     $242.64        $247.83         $245.23        -0.95%
           8/12/2015     $241.21        $246.59         $243.90        -0.55%
           8/13/2015     $243.38        $248.08         $245.73         0.75%
           8/14/2015     $243.81        $248.78         $246.29         0.23%
           8/17/2015     $246.17        $251.25         $248.71         0.98%
           8/18/2015     $246.99        $252.42         $249.71         0.40%
           8/19/2015     $242.29        $247.59         $244.94        -1.93%
           8/20/2015     $225.75        $231.76         $228.76        -6.84%
           8/21/2015     $219.24        $224.92         $222.08        -2.96%
           8/24/2015     $217.21        $223.67         $220.44        -0.74%
           8/25/2015     $217.28        $223.11         $220.20        -0.11%
           8/26/2015     $223.94        $229.82         $226.88         2.99%
           8/27/2015     $231.36        $236.80         $234.08         3.13%
           8/28/2015     $232.45        $237.89         $235.17         0.46%
           8/31/2015     $227.80        $232.97         $230.38        -2.05%
            9/1/2015     $220.92        $226.36         $223.64        -2.97%
            9/2/2015     $228.18        $233.52         $230.85         3.17%
            9/3/2015     $225.17        $230.94         $228.06        -1.22%
            9/4/2015     $225.95        $231.44         $228.69         0.28%
            9/8/2015     $230.45        $235.65         $233.05         1.88%
            9/9/2015     $225.23        $230.50         $227.86        -2.25%
           9/10/2015     $225.63        $230.85         $228.24         0.17%
           9/11/2015     $222.43        $227.49         $224.96        -1.45%
           9/14/2015     $219.41        $225.04         $222.22        -1.22%
           9/15/2015     $224.80        $230.58         $227.69         2.43%
           9/16/2015     $230.12        $235.72         $232.92         2.27%
           9/17/2015     $237.28        $243.91         $240.59         3.24%
           9/18/2015     $238.40        $244.10         $241.25         0.27%
           9/21/2015     $225.42        $231.67         $228.54        -5.41%
           9/22/2015     $213.19        $219.15         $216.17        -5.57%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           9/23/2015     $213.87        $219.84         $216.86          0.32%
           9/24/2015     $205.36        $212.11         $208.74         -3.82%
           9/25/2015     $195.91        $202.55         $199.23         -4.66%
           9/28/2015     $162.21        $170.22         $166.21        -18.12%
           9/29/2015     $154.51        $161.81         $158.16         -4.96%
           9/30/2015     $174.75        $181.54         $178.15         11.90%
           10/1/2015     $175.65        $182.07         $178.86          0.40%
           10/2/2015     $178.26        $185.18         $181.72          1.59%
           10/5/2015     $160.37        $166.93         $163.65        -10.47%
           10/6/2015     $162.44        $168.72         $165.58          1.17%
           10/7/2015     $165.81        $172.46         $169.14          2.13%
           10/8/2015     $167.18        $173.47         $170.32          0.70%
           10/9/2015     $172.31        $178.32         $175.32          2.89%
          10/12/2015     $170.06        $176.44         $173.25         -1.19%
          10/13/2015     $163.52        $169.98         $166.75         -3.82%
          10/14/2015     $173.54        $179.79         $176.66          5.78%
          10/15/2015     $164.95        $171.24         $168.09         -4.97%
          10/16/2015     $173.80        $180.88         $177.34          5.36%
          10/19/2015     $160.27        $166.70         $163.48         -8.14%
          10/20/2015     $143.39        $149.30         $146.34        -11.07%
          10/21/2015     $114.42        $121.49         $117.96        -21.56%
          10/22/2015     $106.92        $113.34         $110.13         -6.87%
          10/23/2015     $112.75        $119.06         $115.90          5.11%
          10/26/2015     $106.96        $112.70         $109.83         -5.39%
          10/27/2015     $106.67        $112.07         $109.37         -0.42%
          10/28/2015     $113.67        $119.45         $116.56          6.37%
          10/29/2015     $108.11        $114.26         $111.19         -4.72%
          10/30/2015     $90.82         $96.56          $93.69         -17.13%
           11/2/2015     $97.71         $102.36         $100.03          6.55%
           11/3/2015     $94.97         $100.26         $97.62          -2.44%
           11/4/2015     $89.66         $94.29          $91.98          -5.95%
           11/5/2015     $75.91         $80.96          $78.44         -15.93%
           11/6/2015     $79.44         $84.47          $81.96           4.39%
           11/9/2015     $82.31         $87.25          $84.78           3.38%
          11/10/2015     $80.95         $85.81          $83.38          -1.66%
          11/11/2015     $77.05         $81.52          $79.28          -5.04%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
                            3 January 2012 through 15 March 2016
                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

          11/12/2015     $72.10         $76.70          $74.40          -6.36%
          11/13/2015     $72.65         $77.41          $75.03           0.85%
          11/16/2015     $70.90         $75.83          $73.36          -2.25%
          11/17/2015     $68.28         $73.05          $70.67          -3.74%
          11/18/2015     $70.34         $75.19          $72.76           2.92%
          11/19/2015     $80.66         $85.52          $83.09          13.28%
          11/20/2015     $87.46         $92.40          $89.93           7.91%
          11/23/2015     $85.49         $90.23          $87.86          -2.33%
          11/24/2015     $85.01         $89.55          $87.28          -0.66%
          11/25/2015     $84.64         $89.07          $86.85          -0.49%
          11/27/2015     $84.62         $89.09          $86.86           0.00%
          11/30/2015     $86.98         $91.97          $89.48           2.97%
           12/1/2015     $95.76         $100.36         $98.06           9.17%
           12/2/2015     $93.98         $98.45          $96.21          -1.91%
           12/3/2015     $90.85         $95.37          $93.11          -3.28%
           12/4/2015     $92.72         $97.24          $94.98           1.99%
           12/7/2015     $89.79         $94.09          $91.94          -3.25%
           12/8/2015     $91.32         $95.83          $93.57           1.76%
           12/9/2015     $91.28         $95.76          $93.52          -0.06%
          12/10/2015     $93.80         $98.13          $95.96           2.58%
          12/11/2015     $91.15         $95.71          $93.43          -2.67%
          12/14/2015     $90.94         $95.79          $93.37          -0.07%
          12/15/2015     $106.11        $111.18         $108.64         15.15%
          12/16/2015     $115.18        $120.14         $117.66          7.97%
          12/17/2015     $109.42        $114.04         $111.73         -5.17%
          12/18/2015     $105.81        $110.12         $107.97         -3.43%
          12/21/2015     $105.80        $110.34         $108.07          0.10%
          12/22/2015     $109.79        $114.07         $111.93          3.51%
          12/23/2015     $112.31        $116.57         $114.44          2.22%
          12/24/2015     $111.97        $116.61         $114.29         -0.13%
          12/28/2015     $99.84         $104.61         $102.23        -11.16%
          12/29/2015     $98.49         $103.14         $100.81         -1.39%
          12/30/2015     $99.65         $104.61         $102.13          1.30%
          12/31/2015     $99.38         $104.18         $101.78         -0.34%
            1/4/2016     $95.55         $100.43         $97.99          -3.80%
            1/5/2016     $97.77         $102.49         $100.13          2.16%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
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                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

            1/6/2016      $99.75        $104.10         $101.93          1.78%
            1/7/2016      $95.24        $99.50          $97.37          -4.58%
            1/8/2016      $88.92        $93.27          $91.09          -6.66%
           1/11/2016      $83.04        $87.46          $85.25          -6.63%
           1/12/2016      $84.89        $89.46          $87.18           2.24%
           1/13/2016      $83.23        $87.60          $85.41          -2.05%
           1/14/2016      $87.44        $91.41          $89.42           4.59%
           1/15/2016      $85.44        $90.49          $87.97          -1.64%
           1/19/2016      $85.95        $90.11          $88.03           0.07%
           1/20/2016      $87.28        $91.66          $89.47           1.62%
           1/21/2016      $88.04        $92.10          $90.07           0.67%
           1/22/2016      $86.44        $90.41          $88.43          -1.84%
           1/25/2016      $90.82        $94.82          $92.82           4.85%
           1/26/2016      $95.93        $100.13         $98.03           5.46%
           1/27/2016      $92.19        $96.21          $94.20          -3.98%
           1/28/2016      $83.94        $88.16          $86.05          -9.05%
           1/29/2016      $87.21        $91.10          $89.15           3.54%
            2/1/2016      $93.02        $97.37          $95.19           6.55%
            2/2/2016      $89.64        $93.52          $91.58          -3.87%
            2/3/2016      $91.23        $95.15          $93.19           1.75%
            2/4/2016      $94.87        $98.58          $96.73           3.72%
            2/5/2016      $94.27        $98.12          $96.19          -0.55%
            2/8/2016      $87.56        $91.37          $89.46          -7.25%
            2/9/2016      $84.73        $88.92          $86.83          -2.99%
           2/10/2016      $83.87        $87.74          $85.80          -1.18%
           2/11/2016      $80.82        $84.79          $82.81          -3.56%
           2/12/2016      $86.02        $89.70          $87.86           5.93%
           2/16/2016      $88.22        $92.27          $90.25           2.68%
           2/17/2016      $92.52        $96.40          $94.46           4.57%
           2/18/2016      $91.73        $95.42          $93.58          -0.94%
           2/19/2016      $83.20        $87.01          $85.11          -9.49%
           2/22/2016      $73.54        $77.75          $75.65         -11.78%
           2/23/2016      $77.60        $81.47          $79.53           5.01%
           2/24/2016      $81.52        $85.70          $83.61           5.00%
           2/25/2016      $81.77        $86.03          $83.90           0.35%
           2/26/2016      $78.64        $82.95          $80.80          -3.77%


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              Valeant Synthetic Stock Prices Derived from Valeant Options
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                                                                      Synthetic
                                                                        Stock
                       Synthetic Bid Synthetic Ask                   Logarithmic
           Date           Price          Price     Synthetic Price     Return

           2/29/2016      $62.91         $68.30          $65.60        -20.83%
            3/1/2016      $63.14         $67.40          $65.27         -0.50%
            3/2/2016      $65.42         $68.60          $67.01          2.63%
            3/3/2016      $63.51         $66.46          $64.99         -3.07%
            3/4/2016      $59.47         $62.77          $61.12         -6.13%
            3/7/2016      $64.14         $66.72          $65.43          6.81%
            3/8/2016      $61.93         $64.46          $63.19         -3.48%
            3/9/2016      $65.06         $67.90          $66.48          5.07%
           3/10/2016      $64.58         $67.22          $65.90         -0.87%
           3/11/2016      $67.63         $70.30          $68.96          4.54%
           3/14/2016      $67.41         $70.17          $68.79         -0.25%
           3/15/2016      $31.71         $34.59          $33.15        -73.01%

         Sources: Crowninshield Financial Research Computation using data from
         Federal Reserve Economic Data, iVolatility, and Bloomberg.




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                                                                                   Exhibit-10
                                                           Synthetic Stock from Valeant Options Regression Results
                                                             Estimation Period: 252 Trading Days Prior to Event Date
                               Coefficients                        Standard Error                        t -statistic                          Regression Statistics
   Event Date       Intercept Market Index Sector Index   Intercept Market Index Sector Index Intercept Market Index Sector Index   R Squared Adjusted R Squared Standard Error

  4 January 2013      0.000      0.633        0.399        0.001       0.147       0.110         0.25        4.30        3.63         0.359          0.338            1.48%
 28 February 2013     0.001      0.578        0.404        0.001       0.150       0.123         0.74        3.85        3.29         0.358          0.337            1.43%
    2 May 2013        0.001      0.663        0.345        0.001       0.157       0.118         0.69        4.23        2.91         0.334          0.312            1.47%
   28 May 2013        0.001      0.622        0.375        0.001       0.177       0.127         1.09        3.50        2.95         0.268          0.245            1.66%
  7 August 2013       0.002      0.540        0.294        0.001       0.179       0.117         1.55        3.01        2.52         0.234          0.209            1.58%
 31 October 2013      0.001      0.618        0.231        0.001       0.163       0.101         1.55        3.80        2.29         0.306          0.280            1.38%
  7 January 2014      0.001      0.676        0.259        0.001       0.184       0.106         1.25        3.68        2.43         0.394          0.374            1.41%
 27 February 2014     0.001      0.629        0.350        0.001       0.173       0.096         1.29        3.64        3.66         0.418          0.396            1.44%
  22 April 2014       0.000      0.662        0.471        0.001       0.182       0.091         0.22        3.65        5.16         0.484          0.465            1.51%
    8 May 2014        0.000      0.597        0.513        0.001       0.184       0.095         0.08        3.24        5.42         0.485          0.466            1.50%
   31 July 2014      -0.001      0.634        0.536        0.001       0.176       0.087        -0.87        3.60        6.16         0.522          0.504            1.35%
24 September 2014    -0.001      0.507        0.594        0.001       0.179       0.085        -1.59        2.84        7.03         0.546          0.529            1.35%
 20 October 2014     -0.001      0.469        0.593        0.001       0.175       0.084        -1.57        2.68        7.02         0.543          0.524            1.38%
  8 January 2015     -0.001      0.428        0.552        0.001       0.152       0.074        -0.74        2.81        7.43         0.497          0.478            1.39%
 23 February 2015    -0.001      0.379        0.509        0.001       0.156       0.080        -0.59        2.42        6.37         0.554          0.536            1.40%
  29 April 2015       0.000      0.247        0.465        0.001       0.152       0.083         0.30        1.63        5.60         0.521          0.503            1.34%
   23 July 2015       0.001      0.360        0.471        0.001       0.140       0.081         1.40        2.57        5.82         0.591          0.576            1.23%
 19 October 2015      0.000      0.178        0.801        0.001       0.198       0.123        -0.00        0.90        6.53         0.449          0.431            1.97%
 26 October 2015     -0.001      0.145        0.869        0.002       0.251       0.155        -0.88        0.58        5.62         0.354          0.333            2.51%
 30 October 2015     -0.001      0.275        0.804        0.002       0.253       0.155        -0.89        1.09        5.17         0.414          0.392            2.57%
10 November 2015     -0.002      0.218        0.874        0.002       0.281       0.174        -0.93        0.78        5.04         0.381          0.356            2.81%
16 December 2015     -0.001      0.357        0.857        0.002       0.328       0.204        -0.46        1.09        4.21         0.349          0.320            3.21%
 23 February 2016    -0.003      0.003        1.246        0.002       0.375       0.256        -1.19        0.01        4.86         0.339          0.309            3.59%
 29 February 2016    -0.003      0.006        1.250        0.002       0.376       0.257        -1.19        0.02        4.85         0.368          0.339            3.60%
  15 March 2016      -0.003      0.033        1.238        0.002       0.377       0.259        -1.11        0.09        4.79         0.688          0.672            3.66%




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                                                              Exhibit-11a
                                                  Valeant Options Event Study Results
                                                       Acquisition Announcement Events

                                           Valeant
                            Valeant       Synthetic        Valeant     Market                             Valeant         Valeant
                           Synthetic      Prior Day       Synthetic     Index     Peer Index             Synthetic       Synthetic
                            Closing        Closing       Logarithmic Logarithmic Logarithmic             Explained       Residual
         Date                Price          Price          Return      Return      Return                 Return          Return        t- statistic

     28 May 2013             $91.73         $83.96           8.85%            0.63%         0.82%           0.81%          8.03%            4.84
    22 April 2014           $134.46         $124.98          7.32%            0.55%         4.11%           2.32%          4.99%            3.31
  23 February 2015          $198.54         $172.92         13.82%          -0.06%          0.17%           0.01%          13.81%           9.86

Notes:
The threshold for statistical significance at the 95% confidence level using a two-tailed test is a t -statistic of greater (less) than positive
(negative) 1.96.




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                                                                Exhibit-11b
                                                    Valeant Options Event Study Results
                                                             Philidor Disclosure Events

                                            Valeant
                              Valeant      Synthetic        Valeant                                          Valeant          Valeant
                             Synthetic     Prior Day       Synthetic Market Index Peer Index                Synthetic        Synthetic
                              Closing       Closing       Logarithmic Logarithmic Logarithmic               Explained        Residual
          Date                 Price         Price          Return      Return      Return                   Return           Return        t- statistic

    19 October 2015           $163.48        $177.34         -8.14%             -0.07%          0.27%          0.20%          -8.34%           -4.22
    26 October 2015           $109.83        $115.90         -5.39%             -0.28%          0.81%          0.52%          -5.90%           -2.35
    30 October 2015           $93.69         $111.19        -17.13%             -0.40%         -1.00%         -1.06%         -16.07%           -6.26
  10 November 2015            $83.38          $84.78         -1.66%             0.13%           0.73%          0.50%          -2.16%           -0.77
   23 February 2016           $79.53          $75.65          5.01%             -1.19%         -1.30%         -1.90%           6.91%               1.93
   29 February 2016           $65.60          $80.80        -20.83%             -0.59%         -1.83%         -2.57%         -18.27%           -5.08
    15 March 2016             $33.15          $68.79        -73.01%             -0.45%         -1.76%         -2.45%         -70.56%          -19.27

Notes:
The threshold for statistical significance at the 95% confidence level using a two-tailed test is a t -statistic of greater (less) than positive
(negative) 1.96.




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